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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al.,1                         Case No. 24-12480 (JTD)

                               Debtors.                     (Joint Administration Requested)


                 DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
           FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
            SENIOR SECURED PRIMING SUPERPRIORITY POSTPETITION
         FINANCING AND (B) USE CASH COLLATERAL, (II) GRANTING LIENS
         AND PROVIDING CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE
            EXPENSE STATUS, (III) GRANTING ADEQUATE PROTECTION
             TO THE PREPETITION SECURED PARTIES, (IV) MODIFYING
           THE AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

         The debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”) hereby file this motion (this “Motion”)2 for entry of an interim order, substantially in



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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Interim
     Order or the applicable DIP Loan Document (as defined below), as applicable. In the event there is any
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the form attached hereto as Exhibit A (the “Interim Order”), and a final order (the “Final Order,”

and together with the Interim Order, the “DIP Orders”), pursuant to sections 105(a), 361, 362, 363,

364, 503, 506, 507, and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Bankruptcy Rules”). In support of this Motion, the Debtors submit the Declaration of David

Orlofsky in Support of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), filed at Docket No. 15; and the Declaration of Christopher Grubb in Support of the

Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (a) Obtain

Senior Secured Priming Superpriority Postpetition Financing and (b) Use Cash Collateral,

(II) Granting Liens and Providing Claims with Superpriority Administrative Expense Status,

(III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the

Automatic Stay, and (V) Granting Related Relief (the “Grubb Declaration”), filed

contemporaneously herewith. In further support of this Motion, the Debtors respectfully represent

as follows:

                                    PRELIMINARY STATEMENT

       1.       As described in the First Day Declaration, the Debtors have faced significant

operational and financial challenges in the months leading to the Petition Date. To continue

operating in the ordinary course throughout this chapter 11 process, the Debtors require immediate

access to additional financing. Accordingly, the Debtors now seek authorization to enter into the




   inconsistency between the meaning of a capitalized term in this Motion, on the one hand, and in the Interim Order
   or a DIP Loan Document, on the other, the meaning in the Interim Order or DIP Loan Document shall govern.



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DIP Facility and continue using Cash Collateral, subject to the terms and conditions of the DIP

Orders and the DIP Loan Documents.

       2.      Prior to the Petition Date, the Debtors engaged in good faith, arm’s-length

negotiations with an Ad Hoc Lender Group of holders of certain Prepetition First Lien Lenders

(the “Ad Hoc Lender Group”) regarding the terms of the DIP Facility, which consists of (i) an

aggregate principal amount of up to $250 million of new money first-out delayed-draw term loans,

plus applicable fees and premiums (“New Money DIP Loans”); and (ii) a second-out roll-up of up

to $500 million (the “Roll Up DIP Loans”) of the Prepetition First Lien Secured Obligations held

by the DIP Lenders (or their respective designated Approved Funds (as defined in the DIP Credit

Agreement)).

       3.      The DIP Facility and the Debtors’ ongoing use of Cash Collateral are critical to

provide the liquidity to preserve their businesses, maintain relationships with vendors, suppliers,

and franchisees, continue honoring payroll obligations for their nearly 12,000 employees, and

satisfy their ongoing working capital and operational needs. Access to the DIP Facility and Cash

Collateral will also facilitate the Debtors’ dual-track marketing and chapter 11 plan processes,

which, together, will ensure that the Debtors identify a value-maximizing transaction on the most

efficient timeline possible under the circumstances.

       4.      Importantly, the DIP Facility represents the best postpetition financing option

available to the Debtors. With the assistance of their investment banker, Ducera Partners LLC

(“Ducera”), the Debtors actively canvassed the market for alternative financing sources. Although

the Debtors received two proposals, including one from a third-party financing source, neither was

as economically attractive as the DIP Facility—and the third-party proposal, in particular, would

have required the Debtors to commence these Chapter 11 Cases with a litigation over priming liens




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and disputed Cash Collateral usage. As a result, the Debtors focused their efforts on engaging

with the Ad Hoc Lender Group on the DIP Facility, in which all lenders under the Prepetition First

Lien Facility are permitted to participate by signing the Restructuring Support Agreement and

completing the DIP syndication materials and complying with the related Syndication Procedures

(as defined below).

       5.      The combination of the DIP Facility and the Debtors’ authorized use of Cash

Collateral represents the only viable postpetition financing path for the Debtors. The relief

requested by this motion is necessary to preserve the Debtors’ operations and maximize the value

of the Debtors’ estates for the benefit of all creditors. For the reasons set forth in this Motion, the

First Day Declaration, and the Grubb Declaration, entry into the DIP Facility and continued use of

Cash Collateral, on the terms set forth in the Interim Order, are necessary to avoid immediate and

irreparable harm and are in the best interests of the Debtors, their estates, and all stakeholders.

                                 JURISDICTION AND VENUE

       6.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)

and, pursuant to Local Bankruptcy Rule 9013-1(f), the Debtors consent to the entry of a final order

by the Court in connection with this Motion to the extent that it is later determined that the Court,

absent the consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       7.      Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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                8.      The statutory and legal predicates for the relief requested herein are sections 105,

         361, 362, 363, 364, 503, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004

         and 9014, and Local Bankruptcy Rules 4001-2 and 9013-1.

                                                 BACKGROUND

                9.      On November 3, 2024 (the “Petition Date”), each of the Debtors filed voluntary

         petitions under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the Court. The

         Debtors are authorized to operate their business and manage their properties as debtors and debtors

         in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                10.     No official committee has been appointed in these Chapter 11 Cases, and no request

         has been made for the appointment of a trustee or an examiner.

                11.     Additional information regarding the Debtors’ business, capital structure, and the

         circumstances leading to the filing of these Chapter 11 Cases is set forth in the First Day

         Declaration.

                                               Interim Relief is Necessary

                12.     The Debtors will not be able to meet ordinary course obligations without access to

         the DIP Facility and Cash Collateral during the interim period following the Petition Date. Such

         access is needed to pay, among other things, wages and benefits, taxes and fees, rent, invoices for

         goods and services, and other obligations that will come due during the interim period. Without

         access to the DIP Facility and Cash Collateral, the Debtors would face immediate, material

         disruption to their operations and their most critical business relationships, including with their

         employees and vendors, to the detriment of all of their stakeholders. Authority to enter into the

         DIP Facility and use Cash Collateral during the interim period is necessary to ensure that the

         Debtors’ businesses do not face immediate and irreparable harm at the outset of these cases.


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                                    RELIEF REQUESTED

       13.     By this Motion, the Debtors respectfully request entry of the DIP Orders, granting,

among other things, the following relief, as applicable:

               (a)     Authorizing the Debtors to obtain postpetition financing on a superpriority
                       priming senior secured basis in the aggregate principal amount of up to
                       $750,000,000, plus applicable fees and premiums (the “DIP Facility”), on
                       the terms and conditions set forth in the Interim Order and that certain
                       Senior Secured Super-Priority Priming Term Loan Debtor-In-Possession
                       Credit Agreement, substantially in the form attached to the Interim Order as
                       Exhibit 1 (as may be amended, amended and restated, supplemented, or
                       otherwise modified from time to time in accordance with the terms hereof
                       and thereof, the “DIP Credit Agreement”, and, together with all other
                       agreements, guarantees, pledge, collateral and security documents, control
                       agreements, instruments, certificates, notes, and other documents executed,
                       filed and/or delivered in connection therewith, including the Loan
                       Documents (as defined in the DIP Credit Agreement), the Master Consent
                       (as defined in the DIP Credit Agreement), the Fronting Fee Letter (as
                       defined in the DIP Credit Agreement), and the Syndication Procedures (as
                       defined below) (each as amended, amended and restated, supplemented, or
                       otherwise modified from time to time in accordance with the terms hereof
                       and thereof, together with the DIP Credit Agreement, collectively, the
                       “DIP Loan Documents”)), by and among the Lead Borrower, Franchise
                       Group Newco PSP, LLC, Valor Acquisition, LLC, and Franchise Group
                       Newco Intermediate AF, LLC, as borrowers, (collectively, the
                       “Borrowers”), each of the direct and indirect subsidiaries of the Borrowers,
                       and each of Freedom VCM Holdings, LLC, Freedom Receivables II, LLC,
                       Freedom VCM Interco Holdings, Inc., and Freedom VCM Receivables,
                       Inc., as secured guarantors solely with respect to the outstanding DIP
                       Obligations in respect of the New Money DIP Loans (each as defined
                       below) (collectively, the “Secured Guarantors”, and together with the
                       Borrowers, the “Secured DIP Loan Parties”), and each of Freedom VCM
                       Interco, Inc., and Freedom VCM, Inc., as unsecured guarantors
                       (collectively, together with Secured Guarantors, the “Guarantors”, and
                       together with the Borrower, the “DIP Loan Parties”), Wilmington Trust,
                       National Association, as administrative agent and as collateral agent (in
                       such capacities, the “DIP Agent”), and the lenders from time to time party
                       thereto (collectively, the “DIP Lenders”, and together with the DIP Agent,
                       the “DIP Secured Parties”), comprised of the following:

                       (i)    a “new money” first-out delayed draw term loan facility in an
                              aggregate principal amount of up to $250,000,000, plus applicable
                              fees and premiums (the “New Money DIP Facility”; the
                              commitments thereunder, the “New Money DIP Commitments”,
                              and    the     term     loans     extended    thereunder,     the


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             “New Money DIP Loans”), pursuant to which (A) $125 million
             shall be borrowed in a single borrowing on the Effective Date (as
             defined in the DIP Credit Agreement) (the “Interim New Money
             DIP Loans”), (B) an aggregate principal amount not to exceed $50
             million shall be borrowed in a single borrowing on or after the entry
             of the Final Order, and (C) an aggregate principal amount not to
             exceed $75 million may be borrowed in a single borrowing on or
             after the entry of the Confirmation Order (as defined in the
             DIP Credit Agreement), and (D) other amounts not to exceed the
             New Money DIP Commitments, after accounting for the draws
             under the foregoing subclauses (A)–(C), may be drawn to the extent
             set forth in the Approved Budget and approved by the Required DIP
             Lenders in their sole discretion (collectively, together with the
             Interim New Money DIP Loans, the “DIP Borrowings”, and, each,
             a “DIP Borrowing”), which New Money DIP Loans that are
             borrowed on the Effective Date shall initially be provided and
             funded through the Fronting Lender (as defined in the DIP Credit
             Agreement) in accordance with the terms of the DIP Loan
             Documents, on such date set forth in the foregoing clause (A) and,
             thereafter, such New Money DIP Loans and New Money DIP Loan
             Commitments shall be assigned by the Fronting Lender in
             accordance with the Syndication Procedures, in the case of each of
             the foregoing, subject to the terms and conditions set forth in the
             Interim Order and in the DIP Loan Documents (including, without
             limitation, the Approved Budget (as defined below) and any
             conditions precedent to each of the DIP Borrowings set forth
             therein)); and

      (ii)   conversion of up to $500,000,000 of the Prepetition First Lien
             Secured Obligations (as defined below) (together with accrued and
             unpaid interest thereon) into a second-out tranche of DIP Loans
             (such conversion, the “Roll Up”, and such converted amounts, the
             “Roll Up DIP Loans”), pursuant to which, effective immediately
             upon the completion of the Syndication (as defined in the
             Syndication Procedures (and after giving effect to all assignments in
             connection with the Syndication)) of the DIP Facility pursuant to the
             Syndication Procedures substantially in the form attached to the
             Interim Order as Exhibit 2 (the “Syndication Procedures”), on the
             Syndication Date (as defined in the Syndication Procedures), up to
             $500,000,000 of the Prepetition First Lien Secured Obligations
             (together with accrued and unpaid interest thereon) held by the
             DIP Lenders (or any of their respective designated Approved Funds
             (as defined in the DIP Credit Agreement)) as of the
             Syndication Date will be, on the Syndication Date, automatically
             deemed “rolled up” and converted into the DIP Facility, on a
             cashless two dollars of Roll Up DIP Loans for every dollar of
             principal amount of New Money DIP Loans (i.e., $250,000,000),


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             based upon such Person’s (or any of its designated Approved Funds)
             pro rata share of principal amount of New Money DIP Loans, and
             shall automatically be deemed to be substituted and exchanged for,
             and shall be deemed to be, Roll Up DIP Loans for all purposes
             hereunder as if originally funded on the Effective Date;

(b)   authorization and approval for the Borrowers to incur, and the Guarantors
      to jointly and severally, irrevocably and unconditionally, guarantee, on a
      superpriority basis, the payment in full in cash of all DIP Obligations (as
      defined below) in accordance with the DIP Orders and the DIP Loan
      Documents;

(c)   authorization and approval for the Debtors to: (i) execute, deliver, and
      perform under the DIP Credit Agreement and each of the other DIP Loan
      Documents, including the Master Consent, the Fronting Fee Letter, the
      Syndication Procedures and any and all other documents related to the
      fronting or seasoning of the DIP Term Loans, and to perform all such other
      and further acts as may be required in connection therewith; (ii) incur all
      loans, advances, extensions of credit and financial accommodations, and
      pay all principal, interest, premiums or similar amounts, including, without
      limitation, the DIP Backstop Premium (as defined in the DIP Credit
      Agreement), the Commitment Premium (as defined in the DIP Credit
      Agreement), and the Exit Premium (as defined in the DIP Credit
      Agreement), fees, including the Fronting Fee (as defined in the DIP Credit
      Agreement), costs, expenses, charges, indemnification and reimbursement
      obligations (whether contingent or absolute), and all other obligations or
      amounts, including without limitation, all “Secured Obligations” as defined
      in the DIP Credit Agreement, whether or not such obligations arose before
      or after the Petition Date (as defined below), whenever the same shall
      become due, whether at stated maturity, by mandatory prepayment,
      declaration, acceleration or otherwise, in each case, in accordance with the
      applicable DIP Loan Documents and the DIP Orders (collectively, the
      “DIP Obligations”); and (iii) perform such other and further acts as may be
      necessary, required or desirable to implement and effectuate the terms of
      the DIP Orders, the DIP Loan Documents and the transactions contemplated
      hereunder and thereunder;

(d)   authorization and approval for the Debtors to grant to the DIP Agent, for
      the benefit of itself and the other DIP Secured Parties, the DIP Liens (as
      defined below) in all DIP Collateral (as defined below), as set forth in the
      DIP Orders, subject to the Carve Out, and subject to the relative priorities
      set forth in the DIP Orders;

(e)   authorization and approval for the Debtors to grant to the DIP Agent, for
      the benefit of itself and the other DIP Secured Parties, allowed superpriority
      administrative expense claims against each of the Debtors, on a joint and



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      several basis, in respect of all DIP Obligations, subject in each case to the
      Carve Out, as set forth in the DIP Orders;

(f)   authorization and approval for the Debtors to use the proceeds of the
      DIP Facility, the DIP Collateral and the Prepetition Collateral, including
      Cash Collateral, in accordance with the terms and conditions set forth in the
      Interim Order and the DIP Loan Documents, including the Approved
      Budget, subject to any variances expressly permitted under the
      DIP Credit Agreement (the “Permitted Variances”);

(g)   authorization and approval of the form of adequate protection, as and to the
      extent set forth in the Interim Order, to the Prepetition Secured Parties to
      protect against any Diminution in Value of their respective Prepetition
      Liens in the Prepetition Collateral (including Cash Collateral);

(h)   modification or vacatur of the automatic stay imposed by section 362 of the
      Bankruptcy Code or otherwise, to the extent necessary, required or
      desirable to implement and effectuate the terms and provisions of the
      Interim Order and the DIP Loan Documents, as set forth in the DIP Orders,
      waiving any applicable stay (including under Bankruptcy Rule 6004) with
      respect to the effectiveness and enforceability of the Interim Order, and
      providing for the immediate effectiveness of the Interim Order;

(i)   approval of certain stipulations, waivers, and releases by the Debtors with
      respect to, inter alia, (i) the DIP Secured Parties, the DIP Loan Documents,
      the DIP Liens, and the DIP Obligations, (ii) subject to the terms of the DIP
      Orders, the Prepetition Secured Parties, the Prepetition Loan Documents,
      the Prepetition Liens and the Prepetition Secured Obligations;

(j)   approval of the Debtors’ waiver of the right to surcharge the DIP Collateral
      as to the DIP Secured Parties, and the Prepetition Collateral as to the
      Prepetition Secured Parties, pursuant to section 506(c) of the Bankruptcy
      Code or otherwise, in each case, upon the terms set forth in the DIP Orders;

(k)   approval of (i) the Debtors’ waiver of the equitable doctrine of “marshaling”
      and other similar doctrines with respect to the DIP Collateral as to the DIP
      Secured Parties, and (ii) the Debtors’ waiver of the equitable doctrine of
      “marshaling” and the Debtors’ waiver of any “equities of the case”
      exception under section 552(b) of the Bankruptcy Code, with respect to the
      Prepetition Collateral as to the Prepetition First Lien Secured Parties and
      the Prepetition ABL Secured Parties, in each case, upon the terms set forth
      in the DIP Orders;

(l)   scheduling a final hearing (the “Final Hearing”) on the Motion to consider
      entry of the Final Order and approving the form of notice with respect to
      such Final Hearing, which order shall be in form and substance and on terms




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                      and conditions acceptable in all respects to the Required DIP Lenders and
                      the DIP Agent; and

                (m)   granting related relief.

   SUMMARY OF DIP CREDIT AGREEMENT AND USE OF CASH COLLATERAL

       14.      In accordance with Bankruptcy Rules 4001(b)(1) and 4001(c)(1), and Local

Bankruptcy Rule 4001-2(a)(i) and (ii), a summary of certain key terms of the proposed DIP Facility

and the proposed DIP Orders is set forth below (the “Rule 4001 Summary”). The Rule 4001

Summary is qualified in its entirety by reference to the applicable provisions of the proposed DIP

Orders and the DIP Credit Agreement, and the proposed DIP Orders and the DIP Credit Agreement

will control in the event of any inconsistency between this Motion, the Rule 4001 Summary and

the proposed DIP Orders and the DIP Credit Agreement, as applicable. Capitalized terms used and

not otherwise defined herein shall have the meanings assigned to them in the DIP Credit

Agreement.

                                     Summary of Material Terms
 Borrower(s)             Franchise Group, Inc., a Delaware corporation (the “Lead Borrower”), Franchise
                         Group Newco PSP, LLC, a Delaware limited liability company (“FG Newco PSP”),
 Bankruptcy Rule         Valor Acquisition, LLC, a Delaware limited liability company (“Valor”), Franchise
 4001(c)(1)(B)           Group Newco Intermediate AF, LLC, a Delaware limited liability company (“FG
                         Newco Intermediate AF”, and together with the Lead Borrower, FG Newco PSP and
                         Valor, individually, a “Borrower” and, collectively, the “Borrowers”), each in their
                         respective capacities as debtors and debtors-in-possession.

                         See Preamble of the DIP Credit Agreement.

 Guarantors              Each direct or indirect subsidiary of any of the Borrowers, as secured obligors, and
                         each of Freedom VCM Holdings, LLC, Freedom Receivables II, LLC, Freedom
 Bankruptcy Rule         VCM Interco Holdings, Inc., and Freedom VCM Receivables, Inc., as secured
 4001(c)(1)(B)           obligors solely with respect to the outstanding DIP Obligations of the Tranche A DIP
                         Loans (each as defined below) (collectively, together with the Borrowers, the
                         “Secured Loan Parties”), and each of Freedom VCM, Inc., and Freedom VCM
                         Interco, Inc., as unsecured obligors unless, with respect to Freedom VCM, Inc., and
                         Freedom VCM Interco, Inc., the requisite holders of Holdco Claims consent to such
                         parties being secured obligors (collectively, together with the Secured Loan Parties,
                         the “Loan Parties”), each in their respective capacities as debtors and debtors-in-
                         possession.

                         See Section 1.01 of the DIP Credit Agreement.




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                                         Summary of Material Terms
Lenders                     Jefferies Capital Services, LLC, as Fronting Lender, the Persons listed on
                            Schedule 2.01 of the DIP Credit Agreement and any other person that becomes a
Bankruptcy Rule             lender to the DIP Credit Agreement pursuant to an assignment and assumption
4001(c)(1)(B)               agreement.

                            See Preamble and Schedule 2.01 of the DIP Credit Agreement.

DIP Agent                   Wilmington Trust, National Association, as administrative agent and as collateral
                            agent
Bankruptcy Rule
4001(c)(1)(B)               See Preamble of the DIP Credit Agreement.

DIP Facility and            (a) $250,000,000 of “new money” first-out delayed draw term loans, plus applicable
Borrowing Limits            fees and premiums, and (b) a $500,000,000 second-out roll-up facility pursuant to
                            which a portion of Prepetition First Lien Secured Obligations (as defined below) will
Bankruptcy Rule             be deemed “rolled up” as term loans and shall automatically be deemed to be
4001(c)(1)(B)               substituted and exchanged for, and shall be deemed to be, second-out roll-up term
                            loans.

                            See Preamble of DIP Credit Agreement.

Conditions of Borrowing     The closing under the DIP Facility shall be subject to customary conditions to
                            closing for facilities of this type.
Bankruptcy Rule
4001(c)(1)(B)               See § 4.01 of the DIP Credit Agreement.

Interest Rate               Adjusted Term SOFR (subject to a floor of 1.0%) + 10.00% or the Alternative Base
                            Rate + 9.00% with respect to the New Money Term Loans
Bankruptcy Rule
4001(c)(1)(B)               Adjusted Term SOFR (subject to a floor of 1.0%) + 4.75% or the Alternative Base
                            Rate + 3.75% with respect to the Roll Up DIP Loans

                            See § 1.01 of the DIP Credit Agreement, definition of “Applicable Rate.” and § 2.13
                            of the DIP Credit Agreement.

Maturity Date; Duration     The DIP Facility shall mature on the earliest to occur of: (i) one hundred and eighty
for Use of DIP Collateral   (180) days after the Closing Date (as may be extended for up to three (3) consecutive
                            30-day periods with the consent of the Required Supermajority Lenders); (ii) 11:59
Bankruptcy Rule             p.m. New York City Time on the date that is five (5) days after the Petition Date (or
4001(b)(1)(B)               if such fifth day is not a Business Day, the first succeeding Business Day thereafter)
                            if the Interim DIP Order, in form and substance reasonably acceptable in all respects
                            to the Required DIP Lenders, has not been entered by the Bankruptcy Court prior to
                            such date and time; (iii) 11:59 p.m. New York City Time on the date that is forty-
                            five (45) days after the Petition Date (or if such forty-fifth day is not a Business Day,
                            the first succeeding Business Day thereafter) if the Final DIP Order, in form and
                            substance reasonably acceptable in all respects to the Required DIP Lenders, has not
                            been entered by the Bankruptcy Court prior to such date and time; (iv) the effective
                            date of a chapter 11 plan of any Loan Party; (v) dismissal of any of the Chapter 11
                            Cases or conversion of any of the Chapter 11 Cases into a case under Chapter 7 of
                            the Bankruptcy Code; (vi) consummation of a Sale Transaction (other than a Sale
                            Transaction pursuant to a Sufficient Bid or is otherwise consented to by the Required
                            Supermajority Lenders in their sole discretion), (vii) termination of the Restructuring
                            Support Agreement and (viii) the acceleration of the DIP Loans and the termination



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                                        Summary of Material Terms
                            of the commitments under the DIP Facility in accordance with the terms of the DIP
                            Loan Documents.

                            See § 1.01 of the DIP Credit Agreement, definition of “Maturity Date.”

Parties with an Interest in Prepetition Secured Parties.
Cash Collateral

Bankruptcy Rule
4001(b)(1)(B)(i)

Purposes for Use of DIP     Solely in accordance with and subject to the DIP Credit Agreement the proceeds of
Proceeds and Cash           the DIP Facility may be used only for the following purposes: (i) to make adequate
Collateral                  protection payments as required in the DIP Loan Documents and the DIP Orders,
                            (ii) to pay the administrative costs of the Chapter 11 Cases (including professional
Bankruptcy Rule             fees and expenses), (iii) to fund the Carve Out and to make payments under the Carve
4001(b)(1)(B)(ii)           Out in accordance with the terms of the DIP Orders) and (iv) for general corporate
                            purposes, in each case, in accordance with and subject to the DIP Loan Documents
                            and the DIP Orders (including the Approved Budget, subject to Permitted Variances).

                            See Interim Order ¶ H(d) and Section 3.16 of the DIP Credit Agreement.

Budget                      Use of Cash Collateral and proceeds of the DIP Facility are subject to consolidated
                            13- week cash flow forecast statements of the Debtors set forth on Exhibit 3 attached
Bankruptcy Rule             to the Interim Order (the “Initial Budget”, that shall be updated by the Debtors and
4001(b)(1)(B)(ii)           approved by Required DIP Lenders from time to time in accordance with the terms
                            of the Interim Order and the DIP Loan Documents, the “Approved Budget”).

                            See Interim Order ¶ H(j) and Section 5.16 of the DIP Credit Agreement.

Fees                        2.5% Commitment Premium on the New Money Commitments (due and payable in
                            kind on the Effective Date and included in the principal amounts of New Money
Bankruptcy Rule             Term Loans on such date).
4001(c)(1)(B)
                            2.5% Exit Premium on all Loans under the DIP Credit Agreement (due and payable
                            in kind in the form of New Money Term Loans upon repayment in full or
                            immediately prior to the Maturity Date).

                            0.2% Fronting Fee on the New Money Term Loans funded by the Fronting Lender
                            on the Effective Date, to be paid to the Fronting Lender in accordance with the
                            terms of the Fronting Fee Letter.

                            DIP Backstop Premium equal to 10% of the New Money Commitments due and
                            payable in kind on the Effective Date and included in the principal amounts of the
                            New Money Term Loans on such date.

                            See § 2.12 of the DIP Credit Agreement.

Adequate Protection         Prepetition ABL Secured Parties:

Bankruptcy Rule             The Prepetition ABL Secured Parties, as applicable, shall be granted the following
4001(b)(1)(B)(ii)           adequate protection, subject in all cases to the Carve Out:




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                     Summary of Material Terms
         Retained Priority on ABL Priority Collateral: the DIP Liens will be junior to the
         Prepetition ABL Liens in ABL Priority Collateral.

         Adequate Protection Claims: The Prepetition ABL Agent, for the benefit of itself and
         the Prepetition ABL Lenders, shall be granted, to the extent and in the amount of any
         Diminution in Value of the Prepetition ABL Liens in the Prepetition ABL Collateral
         (including Cash Collateral), superpriority administrative expense claims subject to
         the relative priorities set forth in Exhibit 4 attached to the Interim Order, and senior
         to any and all other administrative expense claims and all other claims against the
         Debtors and their estates, now existing or hereafter arising, of any kind or nature
         whatsoever.

         Adequate Protection Liens: The Prepetition ABL Agent, for the benefit of itself and
         the Prepetition ABL Lenders, shall be granted, to the extent and in the amount of any
         Diminution in Value of the Prepetition ABL Liens in the Prepetition ABL Collateral,
         valid, binding, enforceable and perfected post-petition liens and security interests in
         all DIP Collateral subject to the relative priorities set forth in Exhibit 4 attached to
         the Interim Order.

         Postpetition Interest: The Prepetition ABL Agent, on behalf of itself and the
         Prepetition ABL Lenders, shall receive all interest due (at the non-default rate) under
         the Prepetition ABL Credit Agreement that accrued but was unpaid as of the Petition
         Date, payable in cash, and thereafter, all interest due (at the non-default rate) under
         the Prepetition ABL Credit Agreement, as and when due thereunder, payable in cash.

         Fees and Expenses: The Debtors shall pay the out-of-pocket costs and expenses of
         the Prepetition ABL Agent, whether arising prior to or after the Petition Date,
         including, without limitation, the reasonable and documented fees and expenses of
         (A) Latham & Watkins LLP, as counsel to the Prepetition ABL Agent, (B) M-III
         Partners, LP, as financial advisor to the Prepetition ABL Agent, (C) one local counsel
         to the Prepetition ABL Agent, and (D) Choate Hall & Stewart LLP as counsel for
         certain ABL Lenders.

         Information Rights: The Prepetition ABL Agent (and the ABL Advisors) shall
         receive all reports, documents and other information required to be delivered to the
         DIP Secured Parties under the DIP Loan Documents and the Interim Order
         substantially contemporaneously with the delivery of such information to the DIP
         Secured Parties.

         Adequate Protection Account: If the Borrower delivers a weekly Borrowing Base
         Certificate to the Prepetition ABL Agent that provides a Borrowing Base that is less
         than the sum of (a) the Prepetition ABL Obligations plus (b) $32,000,000 (an
         “Availability Event,” and the amount of such shortfall, the “Borrowing Base
         Shortfall”), the Borrower shall, by the end of the second Business Day thereafter,
         deposit cash in an amount equal to the Borrowing Base Shortfall into a controlled
         segregated reserve account maintained by the Prepetition ABL Agent (the “Adequate
         Protection Account”), with all funds held in the Adequate Protection Account
         deemed ABL Priority Collateral and deemed not DIP Collateral, provided that the
         Borrowing Base shall be adjusted on a dollar-for-dollar basis by the amount of cash
         then held in the Adequate Protection Account and shall be reflected in Borrowing
         Base Certificates, provided further that, for the avoidance of doubt, the DIP Liens
         shall extend to the Debtors’ reversionary interest in the Adequate Protection Account.
         The Borrower may withdraw cash from the Adequate Protection Account at any time



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                      Summary of Material Terms
         so long as such withdrawal, delivery of the most recent Borrowing Base Certificate
         would not have resulted in an Availability Event.

         Prepetition First Lien Secured Parties:

         Adequate Protection Claims: The Prepetition First Lien Agent, for the benefit of
         itself and the Prepetition First Lien Lenders, shall be granted, to the extent and in the
         amount of any Diminution in Value of the Prepetition First Lien Liens in the
         Prepetition First Lien Collateral (including Cash Collateral), superpriority
         administrative expense claims subject to the relative priorities set forth in Exhibit 4
         attached to the Interim Order.

         Adequate Protection Liens: The Prepetition First Lien Agent, for the benefit of itself
         and the Prepetition First Lien Lenders, shall be granted, to the extent and in the
         amount of any Diminution in Value of the Prepetition First Lien Liens in the
         Prepetition First Lien Collateral, valid, binding, enforceable and perfected post-
         petition liens and security interests in all DIP subject to the relative priorities set forth
         in Exhibit 4 attached to the Interim Order.

         Postpetition Interest: The Prepetition First Lien Agent, on behalf of the Prepetition
         First Lien Lenders, shall receive (x) promptly upon the entry of the Interim Order, all
         interest due (at the non-default rate) under the Prepetition First Lien Credit
         Agreement that accrued but was unpaid as of the Petition Date, if any, payable in
         cash, and (y) thereafter, all interest due (at the non-default rate) under the Prepetition
         First Lien Credit Agreement, as and when due thereunder, payable in cash.

         Fees and Expenses: The Debtors shall pay (A) the out-of-pocket costs and expenses
         of the Prepetition First Lien Agent, including, without limitation, the reasonable and
         documented fees and expenses of (x) Seward & Kissel LLP, as counsel to the
         Prepetition First Lien Agent, and (y) a single firm as local counsel to the Prepetition
         First Lien Agent (collectively, the “First Lien Agent Fees and Expenses”), and (B)
         the out-of-pocket fees and expenses of the members of the Ad Hoc Lender Group,
         including, without limitation, the reasonable and documented fees and expenses of
         the Lender Advisors (collectively, the “Ad Hoc Lender Group Fees and Expenses”,
         and together with the First Lien Agent Fees and Expenses, the “First Lien Fees and
         Expenses”).

         Information Rights: The Debtors shall provide the Prepetition First Lien Agent and
         the Ad Hoc Lender Group (and their respective advisors) with all reports, documents
         and other information required to be delivered to the DIP Secured Parties under the
         DIP Loan Documents and the Interim Order substantially contemporaneously with
         the delivery of such information to the DIP Secured Parties.

         Prepetition Second Lien Secured Parties:

         Adequate Protection Claims: The Prepetition Second Lien Agent, for the benefit of
         itself and the Prepetition Second Lien Lenders, shall be granted, to the extent and in
         the amount of any Diminution in Value of the Prepetition Second Lien Liens in the
         Prepetition Second Lien Collateral (including Cash Collateral), superpriority
         administrative expense claims contemplated by section 507(b) of the Bankruptcy
         Code against each of the Debtors in each of the Chapter 11 Cases and any Successor




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                                   Summary of Material Terms
                      Cases (the “Second Lien Adequate Protection Claims”), subject to the relative
                      priorities set forth in Exhibit 4 attached to the Interim Order.

                      Adequate Protection Liens: The Prepetition Second Lien Agent, for the benefit of
                      itself and the Prepetition Second Lien Lenders, shall be granted, to the extent and in
                      the amount of any Diminution in Value of the Prepetition Second Lien Liens in the
                      Prepetition Second Lien Collateral, valid, binding, enforceable and automatically
                      perfected post-petition liens and security interests in all DIP Collateral (the “Second
                      Lien Adequate Protection Liens”), which Second Lien Adequate Protection Liens
                      shall be subject to the relative priorities set forth in Exhibit 4 attached to the Interim
                      Order.

                      Prepetition Second Lien Sidecar Secured Parties:

                      Adequate Protection Claims: The Prepetition Second Lien Sidecar Agent, for the
                      benefit of itself and the Prepetition Second Lien Sidecar Lenders, shall be granted, to
                      the extent and in the amount of any Diminution in Value of the Prepetition Second
                      Lien Sidecar Liens in the Prepetition Second Lien Sidecar Collateral (including Cash
                      Collateral), superpriority administrative expense claims contemplated by section
                      507(b) of the Bankruptcy Code against each of the Debtors in each of the Chapter 11
                      Cases and any Successor Cases subject to the relative priorities set forth in Exhibit 4
                      attached to the Interim Order.

                      Adequate Protection Liens: The Prepetition Second Lien Sidecar Agent, for the
                      benefit of itself and the Prepetition Second Lien Sidecar Lenders, shall be granted,
                      to the extent and in the amount of any Diminution in Value of the Prepetition Second
                      Lien Sidecar Liens in the Prepetition Second Lien Sidecar Collateral, valid, binding,
                      enforceable and automatically perfected post-petition liens and security interests in
                      all DIP Collateral (the “Second Lien Sidecar Adequate Protection Liens”, and
                      together with the ABL Adequate Protection Liens, the First Lien Adequate Protection
                      Liens and the Second Lien Adequate Protection Liens, the “Adequate Protection
                      Liens”), subject to the relative priorities set forth in Exhibit 4 attached to the Interim
                      Order.

                      See Interim Order ¶ 10.

Chapter 11            The Debtors shall achieve the following transaction milestones (the “Milestones”),
Milestones            each of which shall be extended automatically to the extent the corresponding
                      milestones set forth in the RSA are extended in accordance with the terms thereof
Bankruptcy Rule       and otherwise at any time with the written approval of the Required DIP Lenders:
4001(c)(1)(B)
                         a)   no later than November 4, 2024, the Loan Parties shall have delivered
                              substantially complete drafts of the First Day Pleadings, the DIP Loan
                              Documents (including this Motion and the Interim Order), the Bidding
                              Procedures Motion, the proposed Bidding Procedures Order, the Plan, the
                              Disclosure Statement, and the Solicitation Materials to the Ad Hoc Lender
                              Group Advisors;

                         b) no later than November 4, 2024, the Loan Parties shall have delivered a
                            confidential information memorandum in connection with the Sale Process to
                            the Ad Hoc Lender Group Advisors;




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                     Summary of Material Terms
           c)   no later than November 4, 2024, the Loan Parties shall have engaged the
                Liquidator pursuant to that certain Letter Agreement Governing Inventory
                Disposition;

           d) no later than November 4, 2024, the Petition Date shall have occurred;

           e)   no later than one (1) day after the Petition Date, the Debtors shall have filed
                with the Court the First Day Pleadings, this Motion (including the Interim
                Order), and the Bidding Procedures Motion (including the proposed Bidding
                Procedures Order);

           f)   no later than three (3) days after the Petition Date, the Debtors shall have filed
                with the Court the Plan, the Disclosure Statement, and the Solicitation
                Materials;

           g) no later than five (5) days after the Petition Date, the Court shall have entered
              the Interim Order;

           h) no later than five (5) days after the Petition Date, the Court shall have entered
              an interim order approving procedures for the Store-Closing and Liquidation
              Sales at American Freight;

           i)   no later than twenty-eight (28) days after the Petition Date, the Court shall
                have entered the Bidding Procedures Order, which shall require, among other
                things, the submission of any (i) non-binding indications of interest on or
                before forty (40) days after the Petition Date and (ii) Qualified Bids (as
                defined in the Bidding Procedures) by no later than eighty (80) days after the
                Petition Date (the “Bid Deadline”); provided that the Sale Process shall not
                be terminated prior to the expiration of the Bid Deadline;

           j)   no later than forty-five (45) days after the Petition Date, the Court shall have
                entered the Final Order;

           k) no later than forty-five (45) days after the Petition Date, the Court shall have
              approved the Disclosure Statement and the Solicitation Materials;

           l)   to the extent more than one Sufficient Bid is received by the Bid Deadline, by
                no later than eighty-five (85) days after the Petition Date, the Debtors shall
                commence an auction for the Debtors’ assets in accordance with the terms of
                the Bidding Procedures Order; provided that if there is only one Sufficient
                Bid received by the Bid Deadline, then the Sale Toggle Event shall occur;

           m) to the extent more than one Sufficient Bid is received by the Bid Deadline, no
              later than ninety (90) days after the Petition Date, the Court shall have entered
              the Sale Order; provided that if there is not more than one Sufficient Bid
              received by the Bid Deadline, then the Court shall have entered the Sale Order
              no later than eighty-seven (87) days after the Petition Date;

           n) no later than ninety (90) days after the Petition Date, the Court shall have
              entered the Confirmation Order; and

           o) no later than the earlier of (i) ten (10) days after entry of the Confirmation
              Order and/or the Sale Order, if applicable (ii) one hundred twenty (120) days
              after the Petition Date, the Plan Effective Date shall have occurred and all the


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                                    Summary of Material Terms
                               Restructuring Transactions (irrespective of whether the Restructuring
                               Transactions occur pursuant to the Plan Transaction or the Sale Transaction)
                               shall have been implemented and consummated.

                          See DIP Credit Agreement § 6.17 and Schedule 6.17.

Liens and Priorities   First Priority Liens on Unencumbered Property. Pursuant to section 364(c)(2) of the
                       Bankruptcy Code, the DIP Liens shall be valid, binding, continuing, enforceable,
Bankruptcy Rule        non-avoidable, fully and automatically perfected first priority liens and security
4001(c)(l)(B)(i)       interests in all DIP Collateral that is not subject to Permitted Prior Liens, including,
                       for the avoidance of doubt, subject to entry of the Final Order, Avoidance Action
                       Proceeds (collectively, the “Unencumbered Property”).

                       Priming DIP Liens and Junior DIP Liens. Pursuant to sections 364(c)(3) and
                       364(d)(1) of the Bankruptcy Code, the DIP Liens shall be valid, binding, continuing,
                       enforceable, non-avoidable, fully and automatically perfected liens and security
                       interests in all DIP Collateral, which DIP Liens (A) shall be subject and subordinate
                       to (1) Permitted Prior Liens, and (2) solely with respect to ABL Priority Collateral
                       (as defined in the Prepetition ABL Intercreditor Agreement) and DIP Collateral of a
                       type that would otherwise constitute ABL Priority Collateral, the ABL Adequate
                       Protection Liens (as defined below) and the Prepetition ABL Liens, (B) shall be
                       subject to the priorities set forth in Exhibit 4 attached to the Interim Order, and
                       (C) shall be senior to any and all other liens and security interests in the
                       DIP Collateral, including, without limitation, all liens and security interests in the
                       Term Loan Priority Collateral or any DIP Collateral that would otherwise constitute
                       Term Loan Priority Collateral (including, without limitation, any ABL Adequate
                       Protection Liens, Prepetition ABL Liens, First Lien Adequate Protection Liens,
                       Prepetition First Lien Liens, Second Lien Adequate Protection Liens, Second Lien
                       Sidecar Adequate Protection Liens, Prepetition Second Liens or Prepetition Second
                       Lien Sidecar Liens in Term Loan Priority Collateral), provided, however, for the
                       avoidance of doubt, the foregoing priming shall not apply to Freedom VCM, Inc.,
                       and Freedom VCM Interco, Inc., as unsecured obligors under the DIP Facility.

                       DIP Liens Senior to Other Liens. Except to the extent expressly permitted under the
                       DIP Orders, the DIP Liens and the DIP Superpriority Claims shall not be made
                       subject or subordinate to or pari passu with (A) any lien, security interest or claim
                       heretofore or hereinafter granted in any of the Chapter 11 Cases or any successor
                       cases, including any lien, security interest or claim granted in favor of any federal,
                       state, municipal, or other governmental unit (including any regulatory body),
                       commission, board or court for any liability of the Debtors, (B) any lien or security
                       interest that is avoided and preserved for the benefit of the Secured DIP Loan Parties
                       and their estates under section 551 of the Bankruptcy Code or otherwise, (C) any
                       intercompany or affiliate claim, lien or security interest of the Secured DIP Loan
                       Parties or their affiliates, or (D) any other lien, security interest or claim arising under
                       section 363 or 364 of the Bankruptcy Code granted on or after the date hereof;
                       provided, however, for the avoidance of doubt, the foregoing provisions shall not
                       apply to Freedom VCM, Inc., and Freedom VCM Interco, Inc., as unsecured obligors
                       under the DIP Facility.

                       See Interim Order ¶ 6(c).

Carve Out              An amount equal to the sum of (i) all fees required to be paid to the Clerk of the Court
                       and to the Office of the United States Trustee under section 1930(a) of title 28 of the



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                                        Summary of Material Terms
Bankruptcy Rule             United States Code plus interest at the statutory rate pursuant to 31 U.S.C. § 3717
4001(c)(1)(B)               (without regard to the notice set forth in clause (iii) below), (ii) all reasonable fees
                            and expenses up to $25,000 incurred by a trustee under section 726(b) of the
                            Bankruptcy Code (without regard to the notice set forth in clause (iii) below), (iii) to
                            the extent allowed by this Court at any time, whether by interim order, procedural
                            order, or otherwise (which order has not been vacated or stayed), all accrued and
                            unpaid fees and expenses (in each case, including any restructuring, sale, success, or
                            other transaction fee of any investment bankers or financial advisors to the DIP Loan
                            Parties when and if earned pursuant to the terms and conditions of an engagement
                            letter approved by this Court in these Chapter 11 Cases) (collectively, the “Allowed
                            Professional Fees”) incurred by persons or firms retained by the Debtors pursuant to
                            section 327, 328, or 363 of the Bankruptcy Code (collectively, the “Debtor
                            Professionals”) and the Official Committee (if appointed) pursuant to section 328 or
                            1103 of the Bankruptcy Code (the “Committee Professionals”, and together with the
                            Debtor Professionals, the “Professional Persons”) at any time before or on the first
                            day following the date of delivery by the DIP Agent, at the direction of the Required
                            DIP Lenders, of a Carve Out Trigger Notice (as defined below), whether allowed by
                            the Court prior to or after delivery of a Carve Out Trigger Notice (and in the case of
                            the Committee Professionals, not to exceed the aggregate amounts set forth for the
                            Committee Professionals in the Approved Budget), and (iv) Allowed Professional
                            Fees of Professional Persons in an aggregate amount not to exceed $4,000,000
                            incurred after the first day following the date of delivery by the DIP Agent, at the
                            direction of applicable the Required DIP Lenders, of the Carve Out Trigger Notice,
                            to the extent allowed at any time, whether by interim order, procedural order, or
                            otherwise (the amounts set forth in this clause (iv) being the “Post-Carve Out Trigger
                            Notice Cap”).

                            See Interim Order ¶ 23(a).

Events of Default           The DIP Credit Agreement and Interim Order contain “Events of Default” that are
                            usual and customary including, without limitation, failure to pay any principal or
Bankruptcy Rule             interest when due, the Loan Parties’ failure to satisfy any of the Milestones, subject
4001(c)(l)(B)               to any grace period applicable thereto (unless waived by the DIP Agent (at the
                            direction of the Required DIP Lenders) and the Required DIP Lenders in accordance
                            with the terms of the DIP Credit Agreement).

                            See DIP Credit Agreement Section 7.01.

Waiver/Modification of      Pursuant to the Interim Order, the automatic stay provisions of section 362 of the
the Automatic Stay          Bankruptcy Code are modified to the extent necessary to implement and effectuate
                            the terms of the Interim Order and the DIP Loan Documents.
Bankruptcy Rule
4001(c)(1)(B)(iv)           See Interim Order ¶ 15.

Waiver/Modification of      All security interests in and liens on collateral securing the obligations under the DIP
Applicability of            Facility shall be valid and perfected upon entry of the Interim Order.
Nonbankruptcy Law
Relating to Perfection or   See Interim Order ¶ 6(a).
Enforceability of Liens

Bankruptcy Rule
4001(c)(1)(B)(vii)




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                                       Summary of Material Terms
Indemnification            The DIP Credit Agreement shall also provide for customary indemnification by each
                           of the Loan Parties, on a joint and several basis, of each of the DIP Secured Parties
Bankruptcy Rule            (together with their related parties and representatives, in each case subject to the
4001(c)(1)(B)(ix)          conditions and limitations set forth in the DIP Credit Agreement).

                           See Section 9.03(b) of the DIP Credit Agreement

Cross-Collateralization    See Liens and Priorities above.

Local Bankruptcy Rule
4001– 2(a)(i)(A)

Debtors’                   Pursuant to the Interim Order, the Debtors for themselves, their estates and all
Stipulations               representatives of such estates, make the stipulations set forth in Paragraphs E and F
                           of the Interim Order.
Local Bankruptcy Rule
4001– 2(a)(i)(B)           See Interim Order ¶¶ E, F.

506(c) Waiver              Subject to entry of the Final Order, the Debtors have agreed to waive the right to
                           surcharge the DIP Collateral pursuant to section 506(c) with respect to the DIP
Local Bankruptcy Rule      Secured Parties, Prepetition First Lien Secured Parties and the Prepetition ABL
4001– 2(a)(i)(C)           Secured Parties.

                           See Interim Order ¶¶ H(g), 26.

Liens on Chapter 5         Subject to entry of the Final Order, the DIP Secured Parties and Prepetition Secured
Causes of Action           Parties shall be granted valid, perfected, enforceable and non-avoidable liens on, and
                           security interests in Avoidance Action Proceeds, subject to the relative priorities set
Local Bankruptcy Rule      forth in Exhibit 4 attached to the Interim Order.
4001– 2(a)(i)(D)
                           See Interim Order ¶ 6(b).

Provisions Deeming         Up to $500,000,000 of the Prepetition First Lien Secured Obligations (together with
Prepetition Debt to be     accrued and unpaid interest thereon) shall be converted to Roll Up DIP Loans.
Postpetition Debt
                           See Interim Order ¶ 2(c).
Local Bankruptcy Rule
4001– 2(a)(i)(E)

Disparate Treatment        Allowed Professional Fees of Professional Persons shall share in in an aggregate
of Professionals Under     amount not to exceed $4,000,000 incurred after the first day following the date of
Carve Out                  delivery by the DIP Agent, at the direction of applicable the Required DIP Lenders,
                           of the Carve Out Trigger Notice, to the extent allowed at any time.
Local Bankruptcy Rule
4001– 2(a)(i)(F)           See Interim Order ¶ 23(a).

Non-Consensual Priming As of the filing of this Motion, the Prepetition Second Lien Secured Parties and the
Liens                  Prepetition Second Lien Sidecar Secured Parties have not consented to their
                       applicable Prepetition Liens being primed.
Local Bankruptcy Rule
4001– 2(a)(i)(G)




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                                      Summary of Material Terms
Section 552(b)(1)         Subject to entry of the Final Order, the Debtors have agreed that the “equities of the
Waiver                    case” exception in section 552(b) of the Bankruptcy Code shall not apply to the
                          Prepetition First Lien Secured Parties of Prepetition ABL Secured Parties.
Local Bankruptcy Rule
4001– 2(a)(i)(H)          See Interim Order ¶ 27.

Prepayment                The DIP Credit Agreement does not require the payment of prepayment penalties
Penalties                 (except with respect to the Exit Premium described in Section 2.12(c) of the DIP
                          Credit Agreement).
Local Bankruptcy Rule
4001– 2(a)(i)(I)          See DIP Credit Agreement Sections 2.11(a), 2.12(e).

Payment of Lender         The Interim Order requires the reasonable and documented fees and expenses of the
Expenses                  law firms, financial advisors and other professionals of the DIP Secured Parties,
                          Prepetition First Lien Secured Parties and Prepetition ABL Secured Parties as
Local Bankruptcy Rule     described in the Interim Order.
4001– 2(a)(i)(K)
                          See Interim Order ¶¶ 2(e), 10.

Limitations on            The Interim Order prohibits the use of the financing to investigate the liens of the
Investigations of Liens   Prepetition Secured Parties, except for up to $50,000 of the DIP Collateral set aside
                          for an Official Committee to investigate liens prior to the Challenge Deadline.
Local Bankruptcy Rule
4001– 2(a)(i)(L)          See Interim Order ¶ 25.

Authorization of DIP      The Interim Order immediately approves the terms and conditions of the DIP
Facility and DIP Loan     Facility.
Documents
                          See Interim Order ¶ 2(a).
Local Bankruptcy Rule
4001– 2(a)(i)(R)

Notice of an Event of     The Interim Order provides for five (5) days’ written notice of an Event of Default.
Default
                          See Interim Order ¶ 21(b).
Local Bankruptcy Rule
4001– 2(a)(i)(S)

Limitations on            N/A.
Arguments in the Event
of a Default

Local Bankruptcy Rule
4001– 2(a)(i)(T)

Marshalling Waiver        The Interim Order provides that, subject to the entry of the Final Order, neither the
                          DIP Secured Parties, the Prepetition First Lien Secured Parties nor the Prepetition
Local Bankruptcy Rule     ABL Secured Parties shall be subject to the equitable doctrine of “marshaling” or
4001– 2(a)(i)(X)          any similar doctrine (other than with respect to Freedom VCM Holdings, LLC).

                          See Interim Order ¶ 27.




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                                     Summary of Material Terms
                         The Interim Order provides that, with respect to Debtor Freedom VCM Holdings,
                         LLC, the DIP Obligations shall be repaid, first, from DIP Collateral comprised of
                         Unencumbered Property of all Secured DIP Loan Parties (other than Debtor Freedom
                         VCM Holdings, LLC), second, from all other DIP Collateral of all Secured DIP Loan
                         Parties (other than Debtor Freedom VCM Holdings, LLC), and third, from assets at
                         Debtor Freedom VCM Holdings, LLC. Payment of any fees or expenses (including
                         any director, officer, and manager fees, to the extent applicable) allocable to Debtor
                         Freedom VCM Holdings, LLC with respect to the restructuring (including the
                         Restructuring Transactions (as defined in the Restructuring Supporting Agreement))
                         or administration of the Chapter 11 Cases shall be conditioned upon an allocation
                         among Debtor Freedom VCM Holdings, LLC and the other Debtors to be agreed
                         upon in good faith between the Debtors and the Required Consenting First Lien
                         Lenders (as defined in the Restructuring Supporting Agreement) (the “Freedom
                         Allocated Fees and Expenses”). Debtor Freedom VCM Holdings, LLC shall be
                         required to use any cash (including Cash Collateral) it has on hand to pay its ratable
                         share of such Freedom Allocated Fees and Expenses, if any; provided, that, for the
                         avoidance of doubt, Debtor Freedom VCM Holdings, LLC, shall not otherwise use
                         any of its cash (including Cash Collateral) until an agreement is reached on the
                         Freedom Allocated Fees and Expenses; provided, further, that if the allocation results
                         in Freedom VCM Holdings, LLC holding a claim against another Debtor, such claim
                         shall be entitled to administrative expense priority, which administrative expense
                         priority shall be junior in priority to the DIP Obligations.

                         See Interim Order ¶ 33.

 DIP Liens on            DIP Liens shall be valid, binding, continuing, enforceable, non- avoidable, fully and
 Unencumbered Assets     automatically perfected pari passu first priority liens and security interests in all
                         Unencumbered Property.
 Local Bankruptcy Rule
 4001- 1(a)(1)(G)        See Interim Order ¶ 6(c)(i).



       15.     The DIP Facility is critical to the Debtors’ continuing operations and essential to

facilitating the restructuring transactions contemplated by the Restructuring Support Agreement.

In light of the foregoing, the terms of the DIP Facility are appropriate under the facts and

circumstances of these Chapter 11 Cases and should be approved.

                    DEBTORS’ PREPETITION CAPITAL STRUCTURE

       16.     As of the Petition Date, the Debtors have funded debt consisting of the following:

  Borrower Debtor Entity          Loan Facility Description             Approximate Principal Amount
                                                                         Outstanding as of the Petition
                                                                                      Date
 Franchise Group, Inc.         Prepetition ABL Facility                $248.7 million




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                                     First Lien Term Loan Facility        $1.097 billion

                                     Second Lien Term Loan Facility $125 million
                                     Pari Passu Second Lien Sidecar $0
                                     Term Loan Facility
    Freedom VCM, Inc.                Secured HoldCo Term Loan $514.7 million
                                     Facility

The Debtors have no unsecured funded debt. Each outstanding debt issuance is described below.

          17.     Prepetition ABL Facility. Certain of the Debtors are parties to that certain Third

Amended and Restated Loan and Security Agreement, dated as of March 10, 2021 (as amended,

amended and restated, supplemented, or otherwise modified from time to time prior to the

Petition Date, the “Prepetition ABL Credit Agreement,” and together with all other agreements,

guarantees, pledge, collateral and security documents, control agreements, instruments,

certificates, notes, and other documents executed, recorded and/or delivered in connection

therewith, including, without limitation, the Loan Documents3 and the Prepetition Intercreditor

Agreements (as defined below), collectively, the “Prepetition ABL Loan Documents”), by and

among Franchise Group, Inc., Franchise Group Newco PSP, LLC, Valor Acquisition, LLC, and

Franchise Group Newco Intermediate AF, LLC, as the Borrowers, the guarantors party thereto

(the “Prepetition ABL Guarantors,” and together with the Borrower, the “Prepetition ABL Loan

Parties”), JPMorgan Chase Bank, N.A., as administrative agent (in such capacity, the

“Prepetition ABL Agent”), and the lenders party thereto from time to time (collectively, the

“Prepetition ABL Lenders,” and together with the Prepetition ABL Agent, the “Prepetition

ABL Secured Parties”). Pursuant to the Prepetition ABL Credit Agreement, the Prepetition

ABL Lenders provided a revolving credit facility (the “Prepetition ABL Facility”) to the



3
      “Loan Documents” means the Prepetition ABL Agreement, the revolving letters of credit, the Prepetition
      Intercreditor Agreements, the security documents, the Prepetition ABL Agreement Guaranty and any supplements
      thereto, the Prepetition ABL Pledge Agreement and any supplements thereto, and any promissory note issued.



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Prepetition ABL Loan Parties. Pursuant to the Prepetition ABL Loan Documents, each of the

Prepetition ABL Guarantors, among other things, unconditionally and irrevocably guaranteed,

on a joint and several basis, the payment in full in cash of all principal amounts outstanding

under the Prepetition ABL Facility, plus accrued but unpaid interest (including default interest)

thereon, plus all fees, costs, expenses (including attorneys’, financial advisors’ and other

professionals’ fees and expenses), charges, disbursements, indemnification and reimbursement

obligations (contingent or otherwise), including all “Obligations,” and all other amounts that

may be due or owing under the Prepetition ABL Loan Documents (collectively, the “Prepetition

ABL Secured Obligations”).

       18.     Pursuant to the Prepetition ABL Loan Documents, each of the Prepetition ABL

Loan Parties granted to the Prepetition ABL Agent, for the benefit of itself and the Prepetition

ABL Lenders, valid and properly perfected continuing liens and security interests in (the

“Prepetition ABL Liens”) substantially all of the assets of the Prepetition ABL Loan Parties,

including, without limitation, all “Collateral” (collectively, the “Prepetition ABL Collateral”).

       19.     Prepetition First Lien Term Loan. Certain of the Debtors are parties to that certain

First Lien Credit Agreement, dated as of March 10, 2021 (as amended, amended and restated,

supplemented, or otherwise modified from time to time prior to the Petition Date, “Prepetition

First Lien Credit Agreement,” and together with all other agreements, guarantees, pledge,

collateral and security documents, control agreements, instruments, certificates, notes, and other

documents executed, recorded and/or delivered in connection therewith, including, without

limitation, the Loan Documents (as defined in the Prepetition First Lien Credit Agreement) and

the Prepetition Intercreditor Agreements (as defined below), collectively, the “Prepetition First

Lien Loan Documents”), among Franchise Group, Inc., Franchise Group Newco PSP, LLC, Valor




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Acquisition, LLC, and Franchise Group Newco Intermediate AF, LLC, as the Borrowers, the

guarantors party thereto (the “Prepetition First Lien Guarantors”, and together with the Borrowers,

the “Prepetition First Lien Loan Parties”), and Wilmington Trust, National Association, as

collateral agent and administrative agent (in such capacities, the “Prepetition First Lien Agent”),

and the lenders party thereto from time to time (collectively, the “Prepetition First Lien Lenders,”

and together with the Prepetition First Lien Agent, the “Prepetition First Lien Secured Parties”).

Pursuant to the Prepetition First Lien Credit Agreement, the Prepetition First Lien Lenders

provided a term credit facility (the “Prepetition First Lien Facility”) to the Prepetition First Lien

Loan Parties. Pursuant to the Prepetition First Lien Loan Documents, each of the Prepetition First

Lien Guarantors, among other things, unconditionally and irrevocably guaranteed, on a joint and

several basis, the payment in full in cash of all principal amounts outstanding under the Prepetition

First Lien Facility, plus accrued but unpaid interest (including default interest) thereon, plus all

fees, costs, expenses (including attorneys’, financial advisors’ and other professionals’ fees and

expenses), charges, disbursements, indemnification and reimbursement obligations (contingent or

otherwise), including all “Loan Document Obligations,” “Secured Obligations,” and all other

amounts that may be due or owing under the Prepetition First Lien Loan Documents (collectively,

the “Prepetition First Lien Secured Obligations”).

       20.     Pursuant to the Prepetition First Lien Loan Documents, each of the Prepetition First

Lien Loan Parties granted to the Prepetition First Lien Agent, for the benefit of itself and the

Prepetition First Lien Lenders, valid and properly perfected continuing liens and security interests

in (the “Prepetition First Lien Liens”) substantially all of the assets of the Prepetition First Lien

Loan Parties, including, without limitation, all “Collateral” (collectively, the “Prepetition First

Lien Collateral”).




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       21.     Prepetition Second Lien Term Loan. Certain of the Debtors are parties to that

certain Second Lien Credit Agreement, dated as of March 10, 2021 (as amended, amended and

restated, supplemented, or otherwise modified from time to time prior to the Petition Date,

“Prepetition Second Lien Credit Agreement,” and together with all other agreements, guarantees,

pledge, collateral and security documents, control agreements, instruments, certificates, notes, and

other documents executed, recorded and/or delivered in connection therewith, including, without

limitation, the Loan Documents (as defined in the Prepetition Second Lien Credit Agreement) and

the Prepetition Intercreditor Agreement (as defined below), collectively, the “Prepetition Second

Lien Loan Documents”), among Franchise Group, Inc., Franchise Group Newco PSP, LLC, Valor

Acquisition, LLC, and Franchise Group Newco Intermediate AF, LLC, as the Borrowers, the

guarantors party thereto (the “Prepetition Second Lien Loan Guarantors,” and together with the

Borrowers, the “Prepetition Second Lien Loan Parties”), and Alter Domus (US) LLC, as

administrative agent (in such capacity, the “Prepetition Second Lien Agent”), and the lenders party

thereto from time to time (collectively, the “Prepetition Second Lien Lenders,” and together with

the Prepetition Second Lien Agent, the “Prepetition Second Lien Secured Parties”). Pursuant to

the Prepetition Second Lien Credit Agreement, the Prepetition Second Lien Lenders provided a

term credit facility (the “Prepetition Second Lien Facility”) to the Prepetition Second Lien Loan

Parties. Pursuant to the Prepetition Second Lien Loan Documents, each of the Prepetition Second

Lien Guarantors, among other things, unconditionally and irrevocably guaranteed, on a joint and

several basis, the payment in full in cash of all principal amounts outstanding under the Prepetition

Second Lien Facility, plus accrued but unpaid interest (including default interest) thereon, plus all

fees, costs, expenses (including attorneys’, financial advisors’ and other professionals’ fees and

expenses), charges, disbursements, indemnification and reimbursement obligations (contingent or




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otherwise), including all “Loan Document Obligations,” and all other amounts that may be due or

owing under the Prepetition Second Lien Loan Documents (collectively, the “Prepetition Second

Lien Secured Obligations”).

       22.     Pursuant to the Prepetition Second Lien Loan Documents, each of the Prepetition

Second Lien Loan Parties granted to the Prepetition Second Lien Agent, for the benefit of itself

and the Prepetition Second Lien Lenders, valid and properly perfected continuing liens and

security interests in (the “Prepetition Second Lien Liens”) substantially all of the assets of the

Prepetition Second Lien Loan Parties, including, without limitation, all “Collateral” (collectively,

the “Prepetition Second Lien Collateral”).

       23.     Prepetition Second Lien Sidecar Term Loan. Certain of the Debtors are parties to

that certain Sidecar Pari Passu Second Lien Credit Agreement, dated as of August 21, 2023 (as

amended, amended and restated, supplemented, or otherwise modified from time to time prior to

the Petition Date, “Prepetition Second Lien Sidecar Credit Agreement,” and together with all other

agreements, guarantees, pledge, collateral and security documents, control agreements,

instruments, certificates, notes, and other documents executed, recorded and/or delivered in

connection therewith, including, without limitation, the Loan Documents (as defined in the

Prepetition Second Lien Sidecar Credit Agreement) and the Prepetition Intercreditor Agreement

(as defined below), collectively, the “Prepetition Second Lien Sidecar Loan Documents”), among

Franchise Group, Inc., Franchise Group Newco PSP, LLC, Valor Acquisition, LLC, and Franchise

Group Newco Intermediate AF, LLC, as the Borrowers, the guarantors party thereto (the

“Prepetition Second Lien Sidecar Loan Guarantors,” and together with the Borrowers, the

“Prepetition Second Lien Sidecar Loan Parties”), and Alter Domus (US) LLC, as administrative

agent (in such capacity, the “Prepetition Second Lien Sidecar Agent”), and the lenders party thereto




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from time to time (collectively, the “Prepetition Second Lien Sidecar Lenders,” and together with

the Prepetition Second Lien Sidecar Agent, the “Prepetition Second Lien Sidecar Secured

Parties”). Under the Prepetition Second Lien Sidecar Credit Agreement, the Prepetition Second

Lien Sidecar Lenders provided a term credit facility (the “Prepetition Second Lien Sidecar

Facility”) to the Prepetition Second Lien Sidecar Loan Parties. Pursuant to the Prepetition Second

Lien Sidecar Loan Documents, each of the Prepetition Second Lien Sidecar Guarantors, among

other things, unconditionally and irrevocably guaranteed, on a joint and several basis, the payment

in full in cash of all of the principal amounts outstanding under the Prepetition Second Lien Sidecar

Facility, plus accrued but unpaid interest (including default interest) thereon, plus all fees, costs,

expenses (including attorneys’, financial advisors’ and other professionals’ fees and expenses),

charges, disbursements, indemnification and reimbursement obligations (contingent or otherwise),

including all “Loan Document Obligations,” and all other amounts that may be due or owing under

the Prepetition Second Lien Sidecar Loan Documents (collectively, the “Prepetition Second Lien

Sidecar Secured Obligations”).

       24.     Pursuant to the Prepetition Second Lien Sidecar Loan Documents, each of the

Prepetition Second Lien Sidecar Loan Parties granted to the Prepetition Second Lien Sidecar

Agent, for the benefit of itself and the Prepetition Second Lien Sidecar Lenders, valid and properly

perfected continuing liens and security interests in (the “Prepetition Second Lien Sidecar Liens”)

substantially all of the assets of the Prepetition Second Lien Loan Parties, including, without

limitation, all “Collateral” (collectively, the “Prepetition Second Lien Sidecar Collateral”).

       25.     Prepetition HoldCo Term Loan. Certain of the Debtors are parties to that certain

Credit Agreement, dated as of August 21, 2023 (as amended, amended and restated, supplemented,

or otherwise modified from time to time prior to the Petition Date, “Prepetition HoldCo Credit




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Agreement,” and together with all other agreements, guarantees, pledge, collateral and security

documents, control agreements, instruments, certificates, notes, and other documents executed,

recorded and/or delivered in connection therewith, including, without limitation, the Loan

Documents (as defined in the Prepetition HoldCo Credit Agreement) and the Prepetition

Intercreditor Agreements (as defined below), collectively, the “Prepetition HoldCo Loan

Documents”), among Freedom VCM, Inc., as the Borrower, Freedom VCM Interco, Inc., as

Holdings (“Holdings”), the guarantors party thereto (the “Prepetition HoldCo Loan Guarantors,”

and together with the Borrower and Holdings, the “Prepetition HoldCo Loan Parties”), and Alter

Domus (US) LLC, as administrative agent (in such capacity, the “Prepetition HoldCo Agent”),

and the lenders party thereto from time to time (collectively, the “Prepetition HoldCo Lenders,”

and together with the Prepetition HoldCo Agent, the “Prepetition HoldCo Secured Parties”).

Under the Prepetition HoldCo Credit Agreement, the Prepetition HoldCo Lenders provided a term

credit facility (the “Prepetition HoldCo Facility”) to Freedom VCM, Inc. and Holdings. Pursuant

to the Prepetition HoldCo Loan Documents, Holdings, among other things, unconditionally and

irrevocably guaranteed, on a joint and several basis, the payment in full in cash of all principal

amounts outstanding plus accrued but unpaid interest (including default interest) thereon, plus all

fees, costs, expenses (including attorneys’, financial advisors’ and other professionals’ fees and

expenses), charges, disbursements, indemnification and reimbursement obligations (contingent or

otherwise), including all “Loan Document Obligations,” “Secured Obligations,” and all other

amounts that may be due or owing under the Prepetition HoldCo Loan Documents (collectively,

the “Prepetition HoldCo Secured Obligations”). Pursuant to that certain Supplement No. 1 to the

Guarantee Agreement, dated as of August 19, 2024, certain of the Debtors unconditionally and

irrevocably guaranteed the Secured Holdco Guarantee Obligations (as defined in the Prepetition




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Second Lien Credit Agreement) arising under the Prepetition HoldCo Facility and pursuant to that

certain Fifth Amendment to Second Lien Credit Agreement, dated as of August 19, 2024, certain

of the Debtors agreed to treat the Secured Holdco Guarantee Obligations as “Secured Obligations”

(as defined in the Prepetition Second Lien Credit Agreement).

        26.      Pursuant to the Prepetition HoldCo Loan Documents, Freedom VCM, Inc. and

Holdings granted to the Prepetition HoldCo Agent, for the benefit of itself and the Prepetition

HoldCo Lenders, valid and properly perfected continuing liens and security interests in (the

“Prepetition HoldCo Liens”) substantially all of the assets of the Prepetition HoldCo Loan Parties,

including, without limitation, all “Collateral”4 (collectively, the “Prepetition HoldCo Collateral”).

        27.      Intercreditor Agreements. The Prepetition ABL Secured Parties, the Prepetition

First Lien Secured Parties, the Prepetition Second Lien Secured Parties, the Prepetition Second

Lien Sidecar Secured Parties and the Prepetition HoldCo Secured Parties in their respective

capacities as such (collectively, the “Prepetition Secured Parties”) with respect to collateral and

proceeds thereof are governed by three intercreditor agreements:

                 (a)      The Prepetition ABL Agent, the Prepetition First Lien Agent, the
                          Prepetition Second Lien Agent, and the Prepetition Second Lien Sidecar
                          Agent are party to that certain Amended and Restated Intercreditor
                          Agreement dated as of November 22, 2021 (as amended, amended and
                          restated, supplemented or otherwise modified from time to time prior to the
                          Petition Date, the “Prepetition ABL/Term Intercreditor Agreement”), which
                          sets forth the relative payment and lien priorities and other rights and
                          remedies of the Prepetition ABL Secured Parties, on the one hand, and the
                          Prepetition First Lien Secured Parties and the Prepetition Second Lien
                          Secured Parties, on the other hand, with respect to “Common Collateral.”5

                 (b)      The Prepetition First Lien Agent, the Prepetition Second Lien Agent, and
                          the Prepetition Second Lien Sidecar Agent are party to that certain
4
    “Collateral” is defined in the Prepetition HoldCo Credit Agreement to mean any and all assets, whether real or
    personal, tangible or intangible, on which Liens are purported to be granted pursuant to the security documents
    as security or the Secured Obligations.
5
    “Common Collateral” is defined in the Prepetition ABL/Term Intercreditor Agreement to mean collateral that is
    Prepetition ABL Collateral, Prepetition First Lien Collateral and Prepetition Second Lien Collateral.



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                          Amended and Restated Intercreditor Agreement dated as of November 22,
                          2021 (as amended, amended and restated, supplemented or otherwise
                          modified from time to time prior to the Petition Date, the “Prepetition First
                          Lien/Second Lien Intercreditor Agreement”), which sets forth the relative
                          payment and lien priorities and other rights and remedies of the Prepetition
                          First Lien Secured Parties and the Prepetition Second Lien Secured Parties
                          with respect to “Collateral.”6

                 (c)      The Prepetition Second Lien Agent and the Prepetition Second Lien Sidecar
                          Agent are party to that certain Intercreditor Agreement dated as of August
                          21, 2023 (as amended, amended and restated, supplemented or otherwise
                          modified from time to time prior to the Petition Date, the “Prepetition
                          Second Lien Sidecar Intercreditor Agreement,” and together with the
                          Prepetition ABL/Term Intercreditor Agreement and the Prepetition First
                          Lien/Second Lien Intercreditor Agreement, the “Prepetition Intercreditor
                          Agreements”), which sets forth the relative payment and lien priorities and
                          other rights and remedies of the Prepetition Second Lien Secured Parties
                          and the Prepetition Second Lien Sidecar Secured Parties with respect to
                          “Collateral.”7

        28.      The Intercreditor Agreements govern, among other things, the priority of

distribution of collateral and proceeds thereof among the Prepetition Secured Parties.

        29.      Under the Interim Order, the Debtors are proposing that the Prepetition Second

Lien Secured Parties and Prepetition Second Lien Sidecar Secured Parties receive adequate

protection liens on Unencumbered Property, replacement liens on Prepetition Collateral, and

superpriority adequate protection claims, each subordinate to the liens and claims of the DIP

Secured Parties, Prepetition ABL Secured Parties, and the Prepetition First Lien Secured Parties.

        30.      Such protections are more than sufficient to compensate the Prepetition Second

Lien Secured Parties and Prepetition Second Lien Sidecar Secured Parties for the priming of their

applicable Prepetition Liens by the DIP Liens. Notably, the DIP Liens securing the Roll Up DIP

Loans already prime the Prepetition Second Lien Liens and the Second Lien Sidecar Liens and,


6
    “Collateral” is defined in the Prepetition First Lien/Second Lien Intercreditor Agreement to mean collateral that
    is both Prepetition First Lien Collateral and Prepetition Second Lien Collateral.
7
    “Collateral” is defined in the Prepetition Second Lien Sidecar Intercreditor Agreement to mean collateral that is
    both Prepetition Second Lien Collateral and Prepetition Second Lien Sidecar Collateral.



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therefore, the Roll Up DIP Loans do not entitle the Prepetition Second Lien Secured Parties to

adequate protection. As to the New Money DIP Loans, such loan proceeds will be used to by the

Debtors to fund the Approved Budget, which will ensure the continued operations of the Debtors

and will allow for an orderly sale process meant to maximize the value obtained by all

stakeholders, including by unlocking any existing value that may exist for the benefit of the

Prepetition Second Lien Secured Parties and the Prepetition Second Lien Sidecar Secured Parties.

       31.     The only additional adequate protection they may even seek is payment of

postpetition interest, which the Debtors believe is inappropriate at this stage in the case as it is

likely that the Prepetition Second Lien Secured Parties and Prepetition Second Lien Sidecar

Secured Parties are undersecured and therefore any postpetition interest would be disallowed

pursuant to the terms of section 502(b)(2) of the Bankruptcy Code.

          DEBTORS’ NEED FOR CASH COLLATERAL AND DIP FINANCING

       32.     As detailed in the First Day Declaration, to continue operating in the ordinary

course, and to effectuate an efficient restructuring, the Debtors need immediate access to liquidity.

See First Day Declaration at ¶¶ 83–84. Not only is continued use of Cash Collateral important for

the Debtors’ business, but so, too, is immediate access to the funds available from the DIP Facility.

Id. at ¶¶ 84–85. The Debtors’ businesses are cash intensive, with significant daily costs required

to satisfy obligations to vendors and employees. Id. Given the business’s substantial cash needs,

the Debtors’ management team operates the Debtors with a minimum liquidity threshold of

$25 million. Id. at ¶ 88. That figure, established months prior to the commencement of these

cases, already reflects a reduction from the Debtors’ historical minimum liquidity threshold of

between $50 and $100 million, as part of an effort to extend the Debtors’ prepetition runway to

negotiate a transaction with their economic stakeholders. Id. As the Initial Budget shows, the

Debtors now expect to fall below their $25 million minimum liquidity threshold in the first week


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of these Chapter 11 Cases absent the DIP Facility, even if they obtain access to Cash Collateral.

Id. Accordingly, the proceeds of the DIP Facility and the use of Cash Collateral are essential to

the Debtors’ reorganization efforts, and are in the best interest of the Debtors, their estates, their

creditors, and all parties in interest.

        33.     As part of the Debtors’ financial review and analysis, the Debtors, with the

assistance of their financial advisor, AlixPartners, developed the Initial Budget, which is attached

as Exhibit 3 to the Interim Order. The Initial Budget incorporates a number of factors and

reasonable assumptions, including the Company’s substantial working capital requirements, the

effect of filing for chapter 11 on the Debtors’ operations, material cash disbursements, vendor

relationships and required payments, cash flows from the Debtors’ ongoing operations, and the

cost of necessary goods and materials. Furthermore, the Initial Budget includes all of the

expenditures that the Debtors seek authority to pay under various “first day” pleadings, if approved

by the Court.

        34.     The Debtors require immediate access to the funding provided by the DIP Facility

on an interim basis. See First Day Declaration at ¶¶ 83–84. The events leading up to the

commencement of these Chapter 11 Cases have underscored the Debtors’ need to access the

proceeds of the DIP Facility and Cash Collateral on an interim basis. Id. at ¶¶ 84–85. Absent

immediate access to the funds available from the DIP Facility and the Debtors’ continued use of

Cash Collateral, as well as the cooperation of key business partners at this critical early stage, the

Debtors could face a value-destructive interruption to their businesses and, simultaneously,

eliminate their best chance for consummating a comprehensive and orderly restructuring, to the

detriment of all stakeholders. Id. at ¶ 85. Moreover, unless the Debtors can demonstrate that they

have the means available to operate in the ordinary course and pay for goods and services that are




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vital to ongoing business operations, vendors and suppliers may refuse to do business with the

Debtors. Immediate access to the DIP Facility will enable the Debtors to stabilize their businesses,

maintain ordinary course operations, meet their financial commitments throughout the course of

the Chapter 11 Cases, and avoid irreparable harm pending the Final Hearing. Id. at ¶ 89.

                  PREPETITION EFFORTS TO SECURE DIP FINANCING

             1. Prior to the Petition Date, as further detailed in the Grubb Declaration, Ducera

launched a solicitation process to obtain postpetition financing and commenced negotiations with

potential lenders. Ducera contacted 19 traditional banks and alternative lenders as prospective

financing sources for both priming and non-priming ABL and term loan postpetition financing, in

addition to the Debtors’ existing Prepetition ABL Secured Parties, Prepetition First Lien Secured

Parties, and Prepetition Second Lien Secured Parties. See Grubb Declaration at ¶ 15. To date, the

Debtors received only one DIP financing proposal from a third-party lender, which was determined

to be insufficient for the Debtors’ needs to operate these Chapter 11 Cases and reorganize

successfully given the Debtors’ prepetition capital structure. See Grubb Declaration at ¶ 17. The

Debtors also received two proposals from certain of their Prepetition ABL Lenders, but such

proposals were also not viable to fulfill the Debtors’ liquidity needs. Id.

       35.      Due to the overall lack of interest from third-party lenders and the insufficient bids

from the Prepetition ABL Lenders, the Debtors determined that the most feasible source of

postpetition financing would be from the Ad Hoc Lender Group, comprised of certain of the

Prepetition First Lien Secured Parties. Over the course of multiple weeks, the Debtors’ advisors

actively negotiated the terms and provisions of the DIP Facility. See id. at ¶ 19. These good faith,

arm’s-length negotiations involved exchanging multiple drafts of term sheets, the Interim Order,

the DIP Credit Agreement, and other DIP Loan Documents, as well as numerous telephone

conferences between the Debtors, the DIP Lenders, and their respective advisors. See id. These


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negotiations culminated in the DIP Facility, which provides both a needed infusion of liquidity

and a consensual path forward in these Chapter 11 Cases. See id.

       36.     Given that, among other things, (a) no party was willing to provide DIP financing

on a junior or unsecured basis and (b) the Prepetition First Lien Lenders and Prepetition ABL

Lenders were unwilling to consent to a priming DIP facility, any DIP financing other than the DIP

Facility provided by the Ad Hoc Lender Group would result in a protracted and costly litigation,

including a potential priming fight or valuation dispute at the outset of these Chapter 11 Cases.

Regardless of the prospect of success, the expense and disruption associated with any such

litigation would seriously strain the Debtors’ liquidity and jeopardize the Debtors’ successful

administration of these Chapter 11 Cases at the exact time. See Grubb Declaration at ¶ 21.

       37.     Based on extensive negotiations between the parties and the marketing efforts

undertaken by the Debtors and Ducera, the DIP Facility represents the Debtors’ best available

financing option. See id. at ¶ 30. The terms of the DIP Facility are reasonable under the

circumstances and are generally consistent with market terms for debtor-in-possession financing,

particularly in light of the circumstances of these Chapter 11 Cases and the robust marketing

process undertaken, and represent the most favorable terms available to the Debtors. Id. at ¶ 19.

                                     BASIS FOR RELIEF

       I.      The Debtors Should Be Authorized to Obtain Postpetition Financing.

       A.      Entering into the DIP Loan Documents and Payment of Fees Thereunder is an
               Exercise of the Debtors’ Sound Business Judgment.

       38.     The Court should authorize the Debtors, in exercising their sound business

judgment, to enter into the DIP Loan Documents, obtain postpetition DIP financing under the DIP

Facility, and continue using Cash Collateral. Courts grant considerable deference to a debtor’s

business judgment in obtaining postpetition secured credit so long as the agreement to obtain such



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credit does not run afoul of the provisions and underlying policy considerations of the Bankruptcy

Code. See, e.g., In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will

almost always defer to the business judgment of a debtor in the selection of the lender.”); In re

Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition loan

and receivables facility because such facility “reflect[ed] sound and prudent business judgment”);

In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently

reflect that the court’s discretion under section 364 is to be utilized on grounds that permit

reasonable business judgment to be exercised so long as the financing agreement does not contain

terms that leverage the bankruptcy process and powers or its purpose is not so much to benefit the

estate as it is to benefit a party-in-interest.”).

        39.     To determine whether a debtor has met the business judgment standard, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

        40.     Courts generally will not second-guess a debtor’s business decisions when those

decisions involve a minimum level of care in arriving at the decision on an informed basis, in good

faith, and in the honest belief that the action was taken in the best interest of the debtor. See In re

Los Angeles Dodgers LLC, 457 B.R. at 313. To determine whether the business judgment test is

met, “the court ‘is required to examine whether a reasonable business person would make a similar

decision under similar circumstances.’” In re Dura Auto. Sys., Inc., No. 06-11202 (KJC), 2007




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WL 7728109, at *97 (Bankr. D. Del. Aug. 15, 2007) (citation omitted). Further, in considering

whether the terms of postpetition financings are fair and reasonable, courts consider the terms in

light of the relative circumstances of both the debtor and the potential lender. In re Farmland

Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see also Unsecured Creditors’ Comm.

Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re Ellingsen MacLean Oil Co.), 65 B.R. 358,

365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into “hard bargains” to acquire

funds for its reorganization).

       41.     The Debtors’ entry into the DIP Facility represents a sound exercise of their

business judgment. See First Day Declaration, at ¶ 88–89. The Debtors require access to the DIP

Facility because (i) they require immediate access to funds, as, among other reasons, they will

otherwise fall below their minimum liquidity threshold immediately in the days following the

Petition Date, and (ii) it is critical for the Debtors to reassure their suppliers, customers, vendors,

employees, and other stakeholders that the Debtors have adequate liquidity to fund these Chapter

11 Cases and complete their restructuring efforts with the support of their largest creditor

constituency, the Ad Hoc Lender Group. See First Day Declaration at ¶¶ 85–86. The terms of the

DIP Facility were negotiated in good faith and at arm’s length, resulting in proposed financing

terms that are more favorable overall to the Debtors than the terms contained in the proposals

received from the other prospective financing sources. See Grubb Declaration at ¶¶ 17, 19, 20.

Accordingly, the Court should authorize the Debtors’ entry into the DIP Facility as a reasonable

exercise of the Debtors’ business judgment.

       B.      The Roll Up of a Portion of the Prepetition First Lien Secured Obligations Is
               Appropriate.

       42.     The proposed Roll Up of a portion of the Prepetition First Lien Secured Obligations

into the DIP Facility is also an exercise of the Debtors’ sound business judgment. See Grubb



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Declaration at ¶¶ 23–26. Upon entry of the Interim Order, the Debtors seek to have up to $500

million of the Prepetition First Lien Secured Obligations (together with accrued and unpaid interest

thereon) held by the DIP Lenders (or any of their respective designated Approved Funds) rolled

up and converted into a new tranche of the DIP Facility, on a cashless two dollars of Roll Up DIP

Loans for every dollar of principal amount of New Money DIP Loans, for all purposes of the DIP

Loan Documents as if originally funded on the Effective Date (as defined in the DIP Credit

Agreement). Grubb Declaration at ¶ 23. Section 363(b) of the Bankruptcy Code permits a debtor

to use, sell, or lease property, other than in the ordinary course of business, with court approval.

Courts in this jurisdiction have approved similar DIP features, including on the first day of the

case. See, e.g., In re American Tire Distributors, Inc., No. 24-12391 (CTG) (Bankr. D. Del. Oct.

25, 2024) (authorizing a DIP facility with a roll-up on a three-to-one basis upon entry of the interim

order), In re Airspan Networks Holdings Inc., No. 24-10621 (TMH) (Bankr. D. Del. Apr. 4, 2024)

(authorizing a $53.8 million DIP facility, including a $37.3 million roll-up); In re Sientra, Inc., No.

24-10245 (JTD) (Bankr. D. Del. Mar. 3, 2024) (authorizing a $90 million DIP facility, including

a $67.5 million roll-up); In re NanoString Technologies, Inc., No. 24-10160 (CTG) (Bankr. D.

Del. Feb. 6, 2024) (authorizing $142.5 million DIP facility, including a $95 million roll-up); In re

Restoration Forest Products Group, LLC, No. 24-10120 (KBO) (Bankr. D. Del. Feb. 1, 2024)

(authorizing approx. $93.3 million DIP facility, including approx. $64.3 million roll-up); In re

Virgin Orbit Holdings, Inc., No. 23-10405 (KBO) (Bankr. D. Del. Apr. 5, 2023) (approving $42.5

million in roll-up of the debtors’ prepetition debt, which represents approximately 57% of the of

DIP); In re Shiloh Industries Inc., No. 20-12024 (LSS) (Bankr. D. Del. Sep. 1, 2020) (authorizing

roll-up of $100 million of the debtors’ prepetition debt into the DIP facility totaling $122 million);

In re GNC Holdings, Inc., No. 20-11662 (KBO) (Bankr. D. Del. June 26, 2020) (court approved




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full roll-up of the prepetition $275 million ABL facility upon entry of the interim order); In re

Remington Outdoor Co., Inc., No. 18-10684 (BLS) (Bankr. D. Del. Mar. 28, 2018) (authorizing

approximately a $338 million DIP facility and a roll-up of approximately $150 million pursuant

to interim order); In re The Bon-Ton Stores, Inc., No. 18-10248 (MFW) (Bankr. D. Del. Feb. 6,

2018) (court approved the full roll-up of approximately $493 million of outstanding prepetition

debt in interim order).

       43.     The Roll Up is an indispensable part of the DIP Facility. See Grubb Declaration at

¶ 24. Throughout the course of the extensive negotiations over the terms of the DIP Facility, the

DIP Lenders consistently indicated that they would only agree to provide credit to the Debtors on

the basis that they receive postpetition priority with respect to their Prepetition First Lien Secured

Obligations at a 2:1 ratio. The DIP Lenders were unwilling to accept any other economic or

temporal formulation of the Roll Up, and the parties’ negotiations resulted in the roll up mechanic

described herein. See id.

       44.     The DIP Facility would not be available absent the specific roll up mechanic

embodied in the DIP Credit Agreement. See id. at 25. Without the Roll Up, the DIP Lenders have

indicated that they are unwilling to provide access to the proposed new money financing pursuant

to the DIP Facility, which is critical to the Debtors’ ongoing ordinary course operations.

       45.     Moreover, the Roll Up does not prejudice any of the other Prepetition Secured

Parties. The Prepetition Second Lien Secured Obligations and, if any, the Prepetition Second Lien

Sidecar Secured Obligations are already subordinated to the Prepetition First Lien Secured

Obligations, so the Roll Up does not impact the Prepetition Second Lien Secured Parties or the

Prepetition Second Lien Sidecar Secured Parties’ priority status.




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       46.     Given the circumstances, the Debtors’ agreement to the Roll Up under the DIP

Facility represents an exercise of the Debtors’ sound business judgment and should be approved.

Grubb Declaration at ¶ 26.

       C.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims
               to the DIP Lenders.

       47.     The Debtors propose to obtain financing under the DIP Facility, in part, by

providing superpriority claims and liens pursuant to section 364(c) and (d) of the Bankruptcy Code,

significantly as set forth in paragraph 2 hereof.

       48.     In the event that a debtor demonstrates that it is unable to obtain unsecured credit

allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code, section

364(c) provides that a court:

               may authorize the obtaining of credit or the incurring of debt (1)
               with priority over any or all administrative expenses of the kind
               specified in section 503(b) or 507(b) of the Bankruptcy Code; (2)
               secured by a lien on property of the estate that is not otherwise
               subject to a lien; or (3) secured by a junior lien on property of the
               estate that is subject to a lien.

11 U.S.C. § 364(c); see also In re Crouse Group, Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987)

(secured credit under section 364(c) of the Bankruptcy Code is authorized, after notice and hearing,

upon showing that unsecured credit cannot be obtained).

       49.     Courts have articulated a three-part test to determine whether a debtor is entitled to

financing pursuant to section 364(c) of the Bankruptcy Code. Specifically, courts look to whether:

               a.      the debtor is unable to obtain unsecured credit under section 364(b) of the
                       Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

               b.      the credit transaction is necessary to preserve the assets of the estate; and

               c.      the terms of the transaction are fair, reasonable, and adequate, given the
                       circumstances of the debtor-borrower and proposed lenders.




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See In re Ames Dep’t Stores, 115 B.R. at 37–40; see also In re St. Mary Hosp., 86 B.R. 393, 401–

02 (Bankr. E.D. Pa. 1988); Crouse Group, 71 B.R. at 549.

       50.     To satisfy the requirements of section 364(c) of the Bankruptcy Code, courts will

consider whether (a) the debtor made reasonable efforts, but failed, to obtain unsecured credit

under sections 364(a) and 364(b) of the Bankruptcy Code, (b) the credit transaction benefits the

debtor as necessary to preserve estate assets, and (c) the terms of the credit transaction are fair,

reasonable, and adequate, given the circumstances of the debtor and proposed lender. See In re

Republic Airways Holdings Inc., 2016 WL 2616717, at *11; In re Los Angeles Dodgers LLC, 457

B.R. at 312–13; In re Ames Dep’t Stores, Inc., 115 B.R. at 40. However, section 364 “imposes no

duty to seek credit from every possible lender before concluding that such credit is unavailable.”

Bray v. Shenandoah Fed. Savs. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th

Cir. 1986).

       51.     Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien where the

debtor is “unable to obtain such credit otherwise” and “there is adequate protection of the interest

of the holder of the lien on the property of the estate on which such senior or equal lien is proposed

to be granted.” 11 U.S.C. § 364(d)(1).

       52.     As such, the Debtors may incur “priming” liens under the DIP Facility if they are

unable to obtain unsecured or junior secured credit and either (a) the Prepetition Secured Parties

have consented or (b) the Prepetition Secured Parties’ interests in collateral are adequately

protected. Here, no party that the Debtors’ advisors contacted as part of the above-described

process was interested in providing, or willing to provide, postpetition financing to the Debtors on

a junior basis. See Grubb Declaration, at ¶ 12. Accordingly, the DIP Facility’ structures are




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appropriate in light of the Debtors’ financing needs and the lack of viable non-priming debtor-in-

possession financing alternatives. See Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117,

122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the superpriority lien, those [undersecured]

creditors relieved the debtor of having to demonstrate that they were adequately protected.”); see

also In re El Paso Refinery, L P, 171 F.3d 249, 252 (5th Cir. 1999) (stating that priming lien given

to a postpetition lender by “agreement was given a priority over the preexisting first lien of a group

of Term Lenders”); In re Outboard Marine Corp., 2002 WL 571661, at *1 (Bankr. N.D. Ill. 2002)

(“[T]he DIP Lenders committed to provide certain financing to the Debtors . . . pursuant to which

the Prepetition Lenders consented to the imposition of priming liens upon the Prepetition Collateral

and in favor of the DIP Lenders[.]”), aff’d, Bank of Am., N.A. v. Moglia, 330 F.3d 942 (7th Cir.

2003).

         53.    The Prepetition First Lien Secured Parties have consented to the priming liens

securing the DIP Facility. See Grubb Declaration, at ¶ 32. The Debtors and the Prepetition ABL

Secured Parties have been in discussions to obtain the Prepetition ABL Secured Parties’ consent,

and such discussions are ongoing.

         54.    Moreover, pursuant to the DIP Orders, the Prepetition Secured Parties will receive

adequate protection in the form of (i) replacement liens on any security interests in all DIP

Collateral, (ii) superpriority administrative expense claims as contemplated by section 507(b) of

the Bankruptcy Code against each of the Debtors (iii) with respect to the Prepetition First Lien

Secured Parties and the Prepetition ABL Secured Parties, accrued but unpaid interest at the non-

default rate as of the Petition Date and thereafter all interest due under the applicable Prepetition

Loan Documents, (iv) the payment of all reasonable and documented fees and out-of-pocket

expenses of the Prepetition ABL Agent, the Ad Hoc Lender Group and the Prepetition First Lien




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Agent, (v) financial reporting, and (vi) and, with respect to the Prepetition ABL Secured Parties,

an adequate protection account in which the Debtors will fund an amount representing the

diminution in the value of their prepetition collateral, in each case, in accordance with the terms

and conditions set forth in the Interim Order and DIP Loan Documents. See Interim Order at ¶ 10.

Additionally, the DIP Liens securing the DIP Facility will be junior to those securing the

Prepetition ABL Facility, with respect to ABL Priority Collateral, and the proceeds of the DIP

Facility will be utilized to fund the Debtors’ continuing operations and these chapter 11 cases,

including the sales process, all of which will maximize recoveries to the Debtors’ stakeholders,

including, in particular, the Prepetition Second Lien Secured Parties and the Prepetition Second

Lien Sidecar Secured Parties.

       55.     As stated above, section 364(d)(1) permits the debtor to obtain postpetition

financing with priming liens in the event prepetition lienholders subject to the priming are

adequately protected. Accordingly, the relief requested pursuant to section 364(d)(1) of the

Bankruptcy Code is both warranted and appropriate under the circumstances.

       D.      No Comparable Alternative to the DIP Facility Is Reasonably Available.

       56.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) of the Bankruptcy Code.

In re Snowshoe Co., Inc., 789 F.2d at 1088 (4th Cir. 1986); see also In re Plabell Rubber Prods.,

Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only a few

lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988); see also In re Snowshoe Co., 789 F.2d at

1088 (demonstrating that credit was unavailable absent the senior lien by establishment of

unsuccessful contact with other financial institutions in the geographic area); In re Stanley Hotel,


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Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused

to grant unsecured loans was sufficient to support conclusion that section 364 requirement was

met); In re Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts

to seek other sources of financing under section 364(a) and (b)).

       57.     Here, the Debtors have made a good faith effort to seek out optimal postpetition

financing arrangements to meet their short-term liquidity needs as well as their longer-term

restructuring objectives. See Grubb Declaration, at ¶ 14–16. The DIP Facility constitutes the best

available solution to the Debtors’ financing needs because it provides an actionable path forward

in (and out of) these Chapter 11 Cases that maximizes value and provides much-needed

improvements to their balance sheet upon emergence. Id. at ¶ 33. Accordingly, the DIP Facility

represents the best option available to address the Debtors’ immediate liquidity needs, and the

Debtors respectfully submit that the terms and conditions of the DIP Facility are reasonable and

appropriate under the circumstances.

       II.     The Use of Cash Collateral Is Warranted and Should Be Approved.

       58.     For the reasons set forth herein, the Debtors require use of Cash Collateral as well

as the DIP Facility for the continued operation of the Debtors’ businesses and smooth entry into

these Chapter 11 Cases. Section 363(c) of the Bankruptcy Code governs a debtor’s use of a secured

creditor’s cash collateral. Section 363(c) provides, in pertinent part, that:

               The trustee may not use, sell, or lease cash collateral . . . unless—

               (A)    each entity that has an interest in such cash collateral
               consents; or

               (B)      the court, after notice and a hearing, authorizes such use,
               sale, or lease in accordance with the provisions of this section [363].

11 U.S.C. § 363(c)(2). Furthermore, section 363(e) provides that “on request of an entity that has

an interest in property . . . proposed to be used, sold or leased, by the trustee, the court, with or


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without a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide

adequate protection of such interest.” 11 U.S.C. § 363(e).

       59.     The Debtors have satisfied the requirements of sections 363(c)(2) and (e) and

should be authorized to use Cash Collateral. As noted above, the Debtors intend to provide the

appropriate parties with adequate protection for the use of Cash Collateral. Further, the Prepetition

Secured Parties will inherently benefit from the Debtors’ continued use of the Cash Collateral,

which will prevent avoidable diminution in value of the Cash Collateral and enhance the likelihood

of preserving the Debtors’ overall value. See, e.g., 495 Cent. Park Ave. Corp., 136 B.R. 626, 631

(Bankr. S.D.N.Y. 1992) (noting that, in determining whether protection is “adequate,” courts

consider “whether the value of the debtor’s property will increase as a result of the” use of

collateral or provision of financing); In re Sky Valley, Inc., 100 B.R. at 114 (“an increase in the

value of the collateral . . . resulting from superpriority financing could result in adequate

protection.” (citation omitted)), aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R.

117 (N.D. Ga. 1989). Accordingly, the Court should grant the Debtors the authority to use Cash

Collateral under section 363(c) of the Bankruptcy Code.

       III.    The Debtors Should Be Authorized to Pay the Premiums and Fees Required
               by the DIP Loan Documents.

       60.     Under the DIP Loan Documents, the Debtors have agreed, subject to Court

approval, to pay certain premiums, fees, expenses, and other payments to the DIP Agent and the

DIP Lenders. The Debtors have also agreed to pay the fees and expenses of counsel and other

professionals retained by the DIP Agent and the DIP Lenders as provided for in the DIP Loan

Documents. The fees payable under the DIP Loan Documents include a 2.5% Commitment

Premium on the New Money Commitments, due and payable in kind on the date of entry of the

Interim Order and added to the principal amount of the New Money DIP Loans, 2.5% Exit



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Premium on the DIP Obligations, due and payable in the form of New Money DIP Loans upon

repayment in full or immediately prior to maturity, a 0.2% Fronting Fee on the New Money

Commitments to be paid in accordance with the terms of the Fronting Fee Letter, and a 10% DIP

Backstop Premium on the New Money Commitments, due and payable in kind on the date of entry

of the Interim Order and to be added to the principal amount of the New Money DIP Loans. The

DIP Loans shall bear interest at a rate per annum equal to the adjusted SOFR rate (subject to a

floor of 1.00% plus (a) with respect to the New Money DIP Loans, 10.00%, and (b) with respect

to the Roll Up DIP Loans, 4.75%. Grubb Declaration at ¶ 27.

       61.     The Debtors believe that the interest, premiums, and fees to be paid under the DIP

Facility are consistent with the market and are reasonable and appropriate, particularly in light of

the circumstances of these Chapter 11 Cases and the robust marketing process undertaken, and

represent the most favorable terms available to the Debtors. See Grubb Declaration at ¶ 28. The

Debtors considered the fees when determining in their sound business judgment that the DIP

Facility constituted the best, and the only, actionable terms on which the Debtors could obtain the

postpetition financing necessary to continue their operations, prosecute their cases, and benefit the

Debtors’ estates. Id. at ¶ 29. Among other things, the premiums and fees payable under the DIP

Loan Documents are particularly reasonable given the DIP Lenders’ consent to the conversion of

the DIP Loans into a combination of take-back debt and reorganized equity as set forth in the

Restructuring Term Sheet (as defined in the Restructuring Support Agreement), subject to the

terms and conditions of the DIP Loan Documents and the Plan (as defined in the Restructuring

Support Agreement). Accordingly, the Court should authorize the Debtors to pay the interest,

premiums, payments, fees, costs and expenses provided under the DIP Loan Documents in

connection with the DIP Facility.




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       IV.     The DIP Agent and the DIP Lenders Should Be Afforded Good-Faith
               Protections under Section 364(e).

       62.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

       63.     The DIP Facility (a) is the product of arm’s-length, good-faith negotiation

processes; (b) is the best available postpetition financing option for the Debtors in light of the facts

and circumstances of the Debtors and these Chapter 11 Cases; and (c) contains reasonable and

appropriate financial terms and conditions under the circumstances. See Grubb Declaration at

¶ 30. The terms and conditions of the DIP Facility are reasonable and appropriate under the

circumstances, id., and the proceeds of the DIP Facility and Cash Collateral will be used only for

purposes that are permissible under the Bankruptcy Code. Further, the Debtors ran a competitive

process before selecting the DIP Lenders’ proposal. See id. at ¶ 14–16. Accordingly, the Court

should find that the obligations arising under the DIP Facility and other financial accommodations

made to the Debtors have been extended by the DIP Agent and the DIP Lenders and the Prepetition

Secured Parties in “good faith” within the meaning of section 364(e) of the Bankruptcy Code and

therefore the DIP Agent and the DIP Lenders and the Prepetition Secured Parties are entitled to all

of the protections afforded thereby.




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       V.      The Automatic Stay Should Be Modified on a Limited Basis.

       64.     The relief requested herein contemplates a modification of the automatic stay (if

applicable) to (a) permit the Debtors to grant the security interests, liens, and superpriority claims

described above and to perform such acts as may be requested to assure the perfection and priority

of such security interests and liens, and (b) permit the DIP Agent, DIP Lenders, and the Prepetition

Secured Parties to exercise rights and remedies under certain circumstances. Stay modifications of

this kind are ordinary and standard features of debtor-in-possession financing arrangements, and,

in the Debtors’ business judgment, are reasonable and fair under the circumstances of these

Chapter 11 Cases. See, e.g., In re Yellow Corp., No. 23-11069 (CTG) (Bankr. D. Del. Sept. 15,

2023) (modifying automatic stay as necessary to effectuate the terms of the order); In re Lannett

Co., Inc., No. 23-10559 (JKS) (Bankr. D. Del. June 7, 2023) (same); In re Carestream Health, Inc.,

No. 22-10778 (JKS) (Bankr. D. Del. Sep. 27, 2022) (same); In re OSG Group Holdings, Inc., No.

22-10718 (JTD) (Bankr. D. Del. Aug. 9, 2022) (same); In re Armstrong Flooring, Inc., No. 22-

10426 (MFW) (Bankr. D. Del. Jun. 7, 2022) (same); In re MD Helicopters, Inc., No. 22-10263

(KBO) (Bankr. D. Del. Apr. 26, 2022) (same); In re BHCosmetics Holdings, LLC, No. 22-10050

(CSS) (Bankr. D. Del. Mar. 9, 2022) (same); In re Alto Maipo Del. LLC, No. 21-11507 (KBO)

(Bankr. D. Del. Dec. 17, 2021) (same). The Debtors therefore submit that the modification of the

automatic stay as set forth in the DIP Orders should be approved.

       VI.     Failure to Obtain Interim Access to the DIP Facility and Cash Collateral
               Would Cause Immediate and Irreparable Harm.

       65.     Bankruptcy Rule 4001(b) provides that a final hearing on a motion to use cash

collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than

fourteen (14) days after the service of such motion. Upon request, however, the court is empowered

to conduct an interim expedited hearing on the motion at which it may authorize a debtor to use



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cash collateral to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate.

See Bankruptcy Rule 4001(b)(2). Section 363(c)(3) of the Bankruptcy Code authorizes the court

to conduct a preliminary hearing and to authorize the use of cash collateral “if there is a reasonable

likelihood that the [debtor] will prevail at the final hearing under [section 363(e) of the Bankruptcy

Code].” 11 U.S.C. § 363(c)(3).

       66.     The Debtors cannot continue to operate their businesses without the use of Cash

Collateral. See First Day Declaration at ¶ 83. Additionally, immediate access to the funds

available from the DIP Facility is critical to the Debtors’ businesses operations at the outset of

these Chapter 11 Cases. Id. As such, the Debtors require immediate access to postpetition

financing and the use of Cash Collateral to operate their businesses, preserve value, and avoid

irreparable harm pending the Final Hearing.

       67.     The Debtors, with the assistance of their advisors, developed the Initial Budget.

First Day Declaration at ¶ 87. The Initial Budget contains line items for each category of cash

flows anticipated to be received or disbursed during the time period for which the Budget is

prepared. Id. The Initial Budget includes all reasonable, necessary, and foreseeable expenses to be

incurred in connection with the operation of their businesses for the period set forth in the Initial

Budget and establishes that the Debtors will have adequate liquidity during this interim period if

allowed to utilize the Cash Collateral and access the DIP Facility. Id. at ¶ 88.

       68.     The Debtors are seeking limited relief to, among other things, satisfy payroll and

contractual obligations, pay suppliers, meet overhead, and make any other payments that are

essential for the continued management, operation, and preservation of the Debtors’ businesses.

See First Day Declaration at ¶ 85. The ability to satisfy these expenses when due is essential to the




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Debtors’ continued operation of their businesses during the pendency of these Chapter 11 Cases.

Id. at ¶¶ 85–86.

       69.     Failure to obtain access to the DIP Facility and Cash Collateral will result in

immediate and irreparable harm to the Debtors and their stakeholders and will diminish the value

of the Debtors’ estates to the detriment of their creditors. Id. at ¶ 86. Without the approval of the

DIP Facility and use of Cash Collateral, the Debtors will be unable to continue to operate in the

ordinary course and preserve and maximize the value of their assets for the benefit of all parties in

interest. Id. at ¶¶ 84–86.

       70.     Accordingly, pursuant to section 363(c)(3) of the Bankruptcy Code and Bankruptcy

Rule 4001(b), the Debtors respectfully request that the Court conduct an expedited hearing on this

Motion and enter the proposed Interim Order authorizing the Debtors to enter into the DIP Facility

and use Cash Collateral.

                              REQUEST FOR FINAL HEARING

       71.     Pursuant to Rules 4001(b)(2) and 4001(c)(2) of the Bankruptcy Rules, the Debtors

request that the Court set a date for the Final Hearing that is as soon as practicable and fix the time

and date prior to the Final Hearing for parties to file objections to this Motion.

                    WAIVER OF BANKRUPTCY RULES 4001 AND 6004

       72.     The Debtors request a waiver of the notice requirements under Bankruptcy Rule

6004(a) and any stay of the order granting the relief requested herein pursuant to Bankruptcy Rules

4001(a)(3) and 6004(h). As explained above and in the First Day Declaration, the relief requested

herein is necessary to avoid immediate and irreparable harm to the Debtors. Accordingly, ample

cause exists to justify the waiver of the notice requirements under Bankruptcy Rule 6004(a) and

the 14-day stay imposed by Bankruptcy Rules 4001(a)(3) and 6004(h), to the extent such stay

applies.


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                                  RESERVATION OF RIGHTS

       73.     Nothing contained herein is intended or shall be construed as (a) an admission as

to the validity of any claim against the Debtors; (b) a waiver of the Debtors’ or any appropriate

party in interest’s rights to dispute the amount of, basis for, or validity of any claim against the

Debtors; (c) a waiver of any claims or causes of action which may exist against any creditor or

interest holder; or (d) an approval, assumption, adoption, or rejection of any agreement, contract,

lease, program, or policy between the Debtors and any third party under section 365 of the

Bankruptcy Code. Likewise, if the Court grants the relief sought herein, any payment made

pursuant to the Court’s order is not intended to be and should not be construed as an admission to

the validity of any claim or a waiver of the Debtors’ rights to dispute such claim subsequently.

                                              NOTICE

       74.     Notice of this Motion has been or will be provided to: (i) the Office of the United

States Trustee for the District of Delaware; (ii) the United States Attorney’s Office for the District

of Delaware; (iii) those creditors holding the fifty (50) largest unsecured claims against the

Debtors’ estates; (iv) counsel to the Prepetition ABL Secured Parties; (v) counsel to the Ad Hoc

Lender Group; (vi) counsel to the Prepetition Second Lien Secured Parties; (vii) counsel to the

Prepetition Second Lien Sidecar Secured Parties; (viii) counsel to Prepetition HoldCo Secured

Parties; (ix) counsel to the DIP Agent; (x) counsel to the DIP Lenders; (xi) counsel to the Fronting

Lender; and (xii) the Internal Revenue Service. The Debtors will serve copies of this Motion and

an order entered in respect of this Motion as required by Local Rule 9013-1(m). In light of the

nature of the relief requested herein, the Debtors submit that no other or further notice is necessary.

                                      NO PRIOR REQUEST

       75.     No previous request for the relief sought herein has been made by the Debtors to

this or any other court.


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       WHEREFORE, the Debtors respectfully request entry of the proposed DIP Orders granting

the relief requested herein and such other and further relief as the Court may deem just and

equitable.

Dated: November 4, 2024
       Wilmington, Delaware

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                                      and Debtors in Possession


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                       EXHIBIT A

                    Interim DIP Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al.,1                         Case No. 24-12480 (JTD)

                                Debtors.                    (Joint Administration Requested)


             INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO
    (A) OBTAIN SENIOR SECURED PRIMING SUPERPRIORITY POSTPETITION
       FINANCING AND (B) USE CASH COLLATERAL, (II) GRANTING LIENS
      AND PROVIDING CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE
         EXPENSE STATUS, (III) GRANTING ADEQUATE PROTECTION TO
          THE PREPETITION SECURED PARTIES, (IV) MODIFYING THE
           AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”)2 of Franchise Group, Inc. (the “Lead Borrower”) and its

affiliated debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned



1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
    numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
    Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
    Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
    (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
    Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
    Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
    American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
    Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
    Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
    LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
    and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
    (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
    Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
    Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
    LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
    Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
    “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
    WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
    Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
    (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
    Delaware, Ohio 43015.
2
    Each capitalized term that is not defined herein shall have the meaning ascribed to such term in the DIP Credit
    Agreement (as defined below).
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chapter 11 cases (the “Chapter 11 Cases”), pursuant to sections 105, 361, 362, 363, 364, 503, 506,

507 and 552 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of Bankruptcy

Procedure (the “Local Bankruptcy Rules”) promulgated by the United States Bankruptcy Court

for the District of Delaware (the “Court”), seeking entry of an interim order (this “Interim Order”)

and a Final Order (as defined below), among other things:

       (a)     authorizing the Debtors to obtain postpetition financing on a superpriority priming
               senior secured basis in the aggregate principal amount of up to $750,000,000, plus
               applicable fees and premiums (the “DIP Facility”), on the terms and conditions set
               forth in this Interim Order and that certain Senior Secured Super-Priority Priming
               Term Loan Debtor-In-Possession Credit Agreement, substantially in the form
               attached to this Interim Order as Exhibit 1 (as may be amended, amended and
               restated, supplemented, or otherwise modified from time to time in accordance with
               the terms hereof and thereof, the “DIP Credit Agreement”, and, together with all
               other agreements, guarantees, pledge, collateral and security documents, control
               agreements, instruments, certificates, notes, and other documents executed, filed
               and/or delivered in connection therewith, including the Loan Documents (as
               defined in the DIP Credit Agreement), the Master Consent (as defined in the
               DIP Credit Agreement), the Fronting Fee Letter (as defined in the DIP Credit
               Agreement), and the Syndication Procedures (as defined below) (each as amended,
               amended and restated, supplemented, or otherwise modified from time to time in
               accordance with the terms hereof and thereof, together with the DIP Credit
               Agreement, collectively, the “DIP Loan Documents”)), by and among the
               Lead Borrower, Franchise Group Newco PSP, LLC, Valor Acquisition, LLC, and
               Franchise Group Newco Intermediate AF, LLC, as borrowers, (collectively, the
               “Borrowers”), each of the direct and indirect subsidiaries of the Borrowers, and
               each of Freedom VCM Holdings, LLC, Freedom Receivables II, LLC, Freedom
               VCM Interco Holdings, Inc., and Freedom VCM Receivables, Inc., as secured
               guarantors solely with respect to the outstanding DIP Obligations in respect of the
               New Money DIP Loans (each as defined below) (collectively, the “Secured
               Guarantors”, and together with the Borrowers, the “Secured DIP Loan Parties”),
               and each of Freedom VCM Interco, Inc., and Freedom VCM, Inc., as unsecured
               guarantors (collectively, together with Secured Guarantors, the “Guarantors”, and
               together with the Borrower, the “DIP Loan Parties”), Wilmington Trust,
               National Association, as administrative agent and as collateral agent (in such
               capacities, the “DIP Agent”), and the lenders from time to time party thereto
               (collectively, the “DIP Lenders”, and together with the DIP Agent, the
               “DIP Secured Parties”), comprised of the following:



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 (i)    a “new money” first-out delayed draw term loan facility in an aggregate
        principal amount of up to $250,000,000, plus applicable fees and premiums
        (the “New Money DIP Facility”; the commitments thereunder, the “New
        Money DIP Commitments”, and the term loans extended thereunder, the
        “New Money DIP Loans”), pursuant to which (A) $125 million shall be
        borrowed in a single borrowing on the Effective Date (as defined in the
        DIP Credit Agreement) (the “Interim New Money DIP Loans”), (B) an
        aggregate principal amount not to exceed $50 million shall be borrowed in
        a single borrowing on or after the entry of the Final Order, and (C) an
        aggregate principal amount not to exceed $75 million may be borrowed in
        a single borrowing on or after the entry of the Confirmation Order (as
        defined in the DIP Credit Agreement), and (D) other amounts not to exceed
        the New Money DIP Commitments, after accounting for the draws under
        the foregoing subclauses (A)–(C), may be drawn to the extent set forth in
        the Approved Budget and approved by the Required DIP Lenders in their
        sole discretion (collectively, together with the Interim New Money DIP
        Loans, the “DIP Borrowings”, and, each, a “DIP Borrowing”), which New
        Money DIP Loans that are borrowed on the Effective Date shall initially be
        provided and funded through the Fronting Lender (as defined in the DIP
        Credit Agreement) in accordance with the terms of the DIP Loan
        Documents, on such date set forth in the foregoing clause (A) and,
        thereafter, such New Money DIP Loans and New Money DIP
        Commitments shall be assigned by the Fronting Lender in accordance with
        the Syndication Procedures, in the case of each of the foregoing, subject to
        the terms and conditions set forth in this Interim Order and in the
        DIP Loan Documents (including, without limitation, the Approved Budget
        (as defined below) and any conditions precedent to each of the
        DIP Borrowings set forth therein)); and

 (ii)   the conversion of up to $500,000,000 of the Prepetition First Lien Secured
        Obligations (as defined below) (together with accrued and unpaid interest
        thereon) into a second-out tranche of DIP Loans (such conversion, the
        “Roll Up”, and such converted amounts, the “Roll Up DIP Loans”),
        pursuant to which, effective immediately upon the completion of the
        Syndication (as defined in the Syndication Procedures (and after giving
        effect to all assignments in connection with the Syndication)) of the
        DIP Facility pursuant to the Syndication Procedures substantially in the
        form attached to this Interim Order as Exhibit 2 (the “Syndication
        Procedures”), on the Syndication Date (as defined in the Syndication
        Procedures), up to $500,000,000 of the Prepetition First Lien Secured
        Obligations (together with accrued and unpaid interest thereon) held by the
        DIP Lenders (or any of their respective designated Approved Funds (as
        defined in the DIP Credit Agreement)) as of the Syndication Date will be,
        on the Syndication Date, automatically deemed “rolled up” and converted
        into the DIP Facility, on a cashless two dollars of Roll Up DIP Loans for
        every dollar of principal amount of New Money DIP Loans (i.e.,
        $250,000,000), based upon such Person’s (or any of its designated


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              Approved Funds) pro rata share of principal amount of New Money DIP
              Loans, and shall automatically be deemed to be substituted and exchanged
              for, and shall be deemed to be, Roll Up DIP Loans for all purposes
              hereunder as if originally funded on the Effective Date;

(b)    authorizing the Borrowers to incur, and the Guarantors to jointly and severally,
       irrevocably and unconditionally, guarantee, on a super-priority basis, the payment
       in full in cash of all DIP Obligations (as defined below) in accordance with this
       Interim Order and the DIP Loan Documents;

(c)    authorizing the Debtors to: (i) execute, deliver, and perform under the
       DIP Credit Agreement and each of the other DIP Loan Documents, including the
       Master Consent, the Fronting Fee Letter, the Syndication Procedures and any and
       all other documents related to the fronting or seasoning of the DIP Term Loans, and
       to perform all such other and further acts as may be required in connection
       therewith; (ii) incur all loans, advances, extensions of credit and financial
       accommodations, and pay all principal, interest, premiums or similar amounts,
       including, without limitation, the Backstop Premium (as defined in the DIP Credit
       Agreement), the Commitment Premium (as defined in the DIP Credit Agreement),
       and the Exit Premium (as defined in the DIP Credit Agreement), fees, including the
       Fronting Fee (as defined in the DIP Credit Agreement), costs, expenses, charges,
       indemnification and reimbursement obligations (whether contingent or absolute),
       and all other obligations or amounts, including without limitation, all
       “Secured Obligations” as defined in the DIP Credit Agreement, whether or not
       such obligations arose before or after the Petition Date (as defined below),
       whenever the same shall become due, whether at stated maturity, by mandatory
       prepayment, declaration, acceleration or otherwise, in each case, in accordance with
       the applicable DIP Loan Documents and this Interim Order (collectively, the
       “DIP Obligations”); and (iii) perform such other and further acts as may be
       necessary, required or desirable to implement and effectuate the terms of this
       Interim Order, the DIP Loan Documents and the transactions contemplated
       hereunder and thereunder;

(d)    authorizing the Secured DIP Loan Parties to grant to the DIP Agent, for the benefit
       of itself and the other DIP Secured Parties, the DIP Liens (as defined below) in all
       DIP Collateral (as defined below), as set forth in this Interim Order, subject to the
       Carve Out, and subject to the relative priorities set forth in this Interim Order;

(e)    authorizing the Debtors to grant to the DIP Agent, for the benefit of itself and the
       other DIP Secured Parties, allowed super-priority administrative expense claims
       against each of the Debtors, on a joint and several basis, in respect of all
       DIP Obligations, subject in each case to the Carve Out, as set forth in this Interim
       Order;

(f)    authorizing the Debtors to use the proceeds of the DIP Facility, the DIP Collateral
       and the Prepetition Collateral (as defined below), including Cash Collateral (as
       defined below), in accordance with the terms and conditions set forth in this


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                Interim Order and the DIP Loan Documents, including the Approved Budget,
                subject to any variances expressly permitted under the DIP Credit Agreement (the
                “Permitted Variances”);

        (g)     granting adequate protection, as and to the extent set forth herein, to the Prepetition
                Secured Parties (as defined below) to protect against any Diminution in Value (as
                defined below) of their respective Prepetition Liens (as defined below) in the
                Prepetition Collateral (including Cash Collateral);

        (h)     modifying or vacating the automatic stay imposed by section 362 of the
                Bankruptcy Code or otherwise, to the extent necessary, required or desirable to
                implement and effectuate the terms and provisions of this Interim Order and the
                DIP Loan Documents, as set forth herein, waiving any applicable stay (including
                under Bankruptcy Rule 6004) with respect to the effectiveness and enforceability
                of this Interim Order, and providing for the immediate effectiveness of this
                Interim Order;

        (i)     approving certain stipulations, waivers, and releases by the Debtors with respect to,
                inter alia, (i) the DIP Secured Parties, the DIP Loan Documents, the DIP Liens,
                and the DIP Obligations, (ii) subject to paragraph 24 hereof, the Prepetition
                Secured Parties, the Prepetition Loan Documents, the Prepetition Liens and the
                Prepetition Secured Obligations (each as defined below);

        (j)     subject to entry of the Final Order granting such relief, approving the Debtors’
                waiver of the right to surcharge the DIP Collateral as to the DIP Secured Parties,
                and the Prepetition Collateral as to the Prepetition Secured Parties, pursuant to
                section 506(c) of the Bankruptcy Code or otherwise, in each case, upon the terms
                set forth herein;

        (k)     subject to entry of the Final Order granting such relief, approving (i) the Debtors’
                waiver of the equitable doctrine of “marshaling” and other similar doctrines with
                respect to the DIP Collateral as to the DIP Secured Parties and, (ii) the Debtors’
                waiver of the equitable doctrine of “marshaling” and the Debtors’ waiver of any
                “equities of the case” exception under section 552(b) of the Bankruptcy Code, with
                respect to the Prepetition Collateral as to the Prepetition Secured Parties, in each
                case, upon the terms set forth in this Interim Order; and

        (l)     scheduling a final hearing (the “Final Hearing”) on the Motion to consider entry
                of a final order (the “Final Order”) authorizing the relief requested in the Motion
                on a final basis and approving the form of notice with respect to such Final Hearing,
                which order shall be in form and substance and on terms and conditions acceptable
                in all respects to the Required DIP Lenders and the DIP Agent.3



3
    As used herein, the term “Required DIP Lenders” means the “Required Lenders” under (and as defined in) the
    DIP Credit Agreement.



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       The Court, having considered the Motion, the DIP Loan Documents, the exhibits attached

thereto, the Declaration of David Orlofsky in Support of Debtors’ Chapter 11 Petitions and First

Day Pleadings [D.I. 15] (the “First Day Declaration”), and the Declaration of Christopher

Grubb in Support of Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the

Debtors to (a) Obtain Senior Secured Priming Superpriority Postpetition Financing and (b) Use

Cash Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative

Expense Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV)

Modifying the Automatic Stay, and (V) Granting Related Relief (the “Grubb Declaration”, and

together with the First Day Declaration, the “DIP Declarations”), the evidence submitted and

arguments proffered or adduced at the interim hearing held before this Court on November [●],

2024 (the “Interim Hearing”), and upon the record of the Chapter 11 Cases; and due and proper

notice of the Interim Hearing having been given in accordance with Bankruptcy Rules 2002,

4001(b)-(d) and 9014 and all applicable Local Bankruptcy Rules; and it appearing that no other

or further notice need be provided; and all objections, if any, to the relief requested in the Motion

having been withdrawn, resolved, or overruled by the Court; the Court having determined that

the legal and factual bases set forth in the Motion and at the Interim Hearing established just

cause for the relief granted herein; and it appearing to the Court that granting the interim relief

requested in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and

their estates, and otherwise is fair and reasonable and in the best interests of the Debtors, their

estates, and their creditors, represents a sound exercise of the Debtors’ business judgment, and is

necessary for the continued operation of the Debtors’ businesses; and after due deliberation and

consideration, and for good and sufficient cause appearing therefor:




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        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:4

        A.       Petition Date. On November 3, 2024 (the “Petition Date”), each of the Debtors

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this Court

commencing these Chapter 11 Cases.

        B.       Debtors in Possession. The Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in any of the Chapter 11 Cases.

        C.       Committee Formation. As of the date hereof, the Office of the United States Trustee

(the “U.S. Trustee”) has not appointed an official statutory committee of unsecured creditors in

the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (the “Official Committee”).

        D.       Jurisdiction and Venue. This Court has jurisdiction over the Chapter 11 Cases, the

Motion, and the parties and property affected hereby pursuant to 28 U.S.C. § 1334. This Court’s

consideration of the Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The

Court may enter a final order consistent with Article III of the United States Constitution. Venue

for these Chapter 11 Cases and the proceedings on the Motion is proper in this district pursuant to

28 U.S.C. §§ 1408 and 1409. The predicates for the relief set forth herein are sections 105, 361,

362, 363, 364, 503, 506, 507 and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001,

6003, 6004, 9013 and 9014, and Local Bankruptcy Rules 2002-1, 4001-2 and 9013-1.




4
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
    extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
    extent any of the following conclusions of law constitute findings of fact, they are adopted as such.



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        E.        Debtors’ Stipulations, Releases and Acknowledgements Regarding DIP Secured

Parties. In requesting the DIP Facility, and in exchange for and as a material inducement to the

DIP Lenders to provide the DIP Facility, the Debtors, for themselves, their estates and all

representatives of such estates, admit, stipulate, acknowledge and agree as follows:

               (a)     No Control. None of the DIP Secured Parties control the Debtors or their
        properties or operations, has authority to determine the manner in which any of the
        Debtors’ operations are conducted, or is a control person or insider (as defined in the
        Bankruptcy Code) of the Debtors or any of their affiliates by virtue of any of the actions
        taken with respect to, in connection with, related to, or arising from this Interim Order, the
        DIP Facility, the DIP Liens, the DIP Superpriority Claims, the DIP Collateral, the
        DIP Obligations, the DIP Loan Documents or the transactions contemplated thereunder or
        hereunder.

                (b)     No Claims, Defenses, or Causes of Action. As of the date hereof, there exist
        no claims, defenses or any other Cause of Action5 of any nature or description whatsoever
        that may be asserted by the Debtors, their respective estates, predecessors, successors and
        assigns, against any of the DIP Secured Parties or any of their respective current, former
        and future affiliates, subsidiaries, funds or managed accounts, officers, directors, managers,
        members, equity holders, partners, principals, employees, representatives, agents,
        attorneys, advisors, consultants and other professionals, and the predecessors in interest,
        successors and assigns of each of the foregoing (collectively, the “Representatives”), in
        their capacities as such, in each case, arising from, in connection with, or related to this
        Interim Order, the DIP Facility, the DIP Liens, the DIP Superpriority Claims, the
        DIP Collateral, the DIP Obligations, the DIP Loan Documents or the transactions
        contemplated thereunder or hereunder.

                 (c)    Releases. Effective as of the date of entry of this Interim Order, the Debtors,
        on behalf of themselves and their respective estates, to the maximum extent permitted by
        applicable law, hereby absolutely, unconditionally and irrevocably release and forever
        discharge and acquit the DIP Secured Parties and each of their respective Representatives
        (in their capacities as such) of and from any and all Causes of Action that the Debtors, their
        estates, predecessors, successors and assigns at any time had, now have or that their
        successors and assigns may have against any of the DIP Secured Parties and their


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    The term “Cause of Action” means any action, cause of action, claim, counter-claim, cross-claim, defense,
    account, objection, challenge, offset, setoff, demand, liability, responsibility, dispute, remedy, indebtedness,
    obligation, guaranty, right, interest, indemnity, assertion, allegation, suit, controversy, proceeding, loss, damage,
    injury, reimbursement obligation, attorneys’ fees, costs, expenses or judgments of every type, whether known or
    unknown, asserted or unasserted, suspected or unsuspected, foreseen or unforeseen, accrued or unaccrued,
    liquidated or unliquidated, fixed or contingent, pending or threatened, whether assertable directly or derivatively,
    including, without limitation, all legal and equitable theories of recovery, arising under the Bankruptcy Code or
    applicable non-bankruptcy law, whether local, state of federal U.S. or foreign common law, statute, law, rule,
    regulation, or by contract, of every nature or description whatsoever.



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       respective Representatives for or by reason of any act, omission, matter, cause or thing
       whatsoever arising at any time prior to the date of this Interim Order, in each case, arising
       under, in connection with or related to this Interim Order, the DIP Facility, the DIP Liens,
       the DIP Superpriority Claims, the DIP Collateral, the DIP Obligations, the
       DIP Loan Documents or the transactions contemplated thereunder or hereunder, including,
       without limitation, (i) any claim or Cause of Action seeking avoidance, whether under
       chapter 5 of the Bankruptcy Code, any applicable Uniform Voidable Transfer Act,
       Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, or other similar
       state statute, common law or otherwise (“Avoidance Actions”), (ii) any so-called “lender
       liability” or equitable subordination claims or defenses, (iii) any claims or Causes of Action
       arising under the Bankruptcy Code, (iv) any claims or Causes of Action seeking reduction,
       setoff, offset, recoupment, recharacterization, subordination (whether equitable,
       contractual or otherwise), reclassification, disgorgement, disallowance, impairment,
       marshalling, surcharge, recovery or any other challenge arising under the Bankruptcy Code
       or applicable non-bankruptcy law with respect to the DIP Facility, the DIP Liens, the
       DIP Superpriority Claims,       the      DIP Collateral,      the     DIP Obligations,     the
       DIP Loan Documents or the transactions contemplated thereunder or hereunder, or (v) any
       claim or Cause of Action with respect to the validity, enforceability, extent, amount,
       perfection or priority of the DIP Facility, the DIP Liens, the DIP Superpriority Claims, the
       DIP Collateral, the DIP Obligations, the DIP Loan Documents or the transactions
       contemplated thereunder or hereunder; provided, however, that nothing contained in this
       subparagraph (c) shall relieve the DIP Secured Parties from fulfilling any of their
       commitments under, and in accordance with, the DIP Loan Documents.

       F.      Debtors’ Stipulations, Releases and Acknowledgements Regarding Prepetition

Secured Parties. In requesting the DIP Facility and the use of Cash Collateral, and in exchange for

and as a material inducement to the DIP Lenders to provide the DIP Facility, and in exchange for

and in recognition of the priming of the Prepetition Liens and the consent (and/or deemed consent)

of the Prepetition Secured Parties to the use of their Cash Collateral, the Debtors, for themselves,

their estates and all representatives of such estates, admit, stipulate, acknowledge and agree as

follows (subject to paragraph 24 of this Interim Order) (collectively, the admissions, stipulations,

and acknowledgments and agreements set forth in this paragraph F, the “Stipulations”):

               (a)     Prepetition ABL Facility

                       (i)     Prepetition ABL Credit Agreement. Pursuant to that certain
       Third Amended and Restated Loan and Security Agreement, dated as of March 10, 2021
       (as amended, amended and restated, supplemented, or otherwise modified from time to
       time prior to the Petition Date in accordance with the terms thereof, the “Prepetition ABL
       Credit Agreement”, and together with all other agreements, guarantees, pledge, collateral


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and security documents, control agreements, instruments, certificates, notes, and other
documents executed, recorded and/or delivered in connection therewith, including, without
limitation, the Financing Agreements (as defined in the Prepetition ABL Credit
Agreement) and the Prepetition ABL Intercreditor Agreement (as defined below),
collectively, the “Prepetition ABL Loan Documents”), by and among the Borrowers, as
borrowers (collectively, the “Prepetition ABL Borrowers”), certain subsidiaries of the
Borrowers, as guarantors (the “Prepetition ABL Guarantors”, and together with the
Prepetition ABL Borrowers, the “Prepetition ABL Loan Parties”), JPMorgan Chase
Bank, N.A., as agent (in such capacity, the “Prepetition ABL Agent”), and the lenders
party thereto from time to time (collectively, the “Prepetition ABL Lenders”, and together
with the Prepetition ABL Agent, the “Prepetition ABL Secured Parties”), the Prepetition
ABL Lenders provided a revolving credit facility (the “Prepetition ABL Facility”) to the
Prepetition ABL Loan Parties. Pursuant to the Prepetition ABL Loan Documents, each of
the Prepetition ABL Guarantors, among other things, unconditionally and irrevocably
guaranteed, on a joint and several basis, the payment in full in cash of all of the
Prepetition ABL Secured Obligations (as defined below).

               (ii)     Prepetition ABL Secured Obligations. As of the Petition Date, the
Prepetition ABL Loan Parties were justly and lawfully indebted to the Prepetition ABL
Secured Parties, on a joint and several basis, without defense, claim, counterclaim,
challenge or offset of any kind, in the aggregate amount of not less than $261.3 million on
account of principal amounts outstanding under the Prepetition ABL Facility (including
issued letters of credit), plus accrued but unpaid interest (including default interest, if
applicable) thereon, plus all fees, costs, expenses (including attorneys’, financial advisors’
and other professionals’ fees and expenses), charges, disbursements, indemnification and
reimbursement obligations (contingent or otherwise), including all “Obligations” (as
defined in the Prepetition ABL Credit Agreement), and all other amounts that may be due
or owing under the Prepetition ABL Loan Documents (collectively, the “Prepetition ABL
Secured Obligations”).

                (iii)  Prepetition ABL Liens. Pursuant to the Prepetition ABL Loan
Documents, each of the Prepetition ABL Loan Parties granted to the
Prepetition ABL Agent, for the benefit of itself and the other Prepetition ABL
Secured Parties, valid and properly perfected continuing liens and security interests in (the
“Prepetition ABL Liens”) substantially all of the assets of the Prepetition ABL Loan
Parties, including, without limitation, all “Collateral” (as defined in the Prepetition ABL
Credit Agreement) (collectively, the “Prepetition ABL Collateral”) and the “ABL Priority
Collateral” (as defined in the Prepetition ABL Intercreditor Agreement).

       (b)     Prepetition First Lien Facility.

              (i)     Prepetition First Lien Credit Agreement. Pursuant to that certain
First Lien Credit Agreement, dated as of March 10, 2021 (as amended by that certain
First Amendment to First Lien Credit Agreement, dated as of November 22, 2021, as
further amended by that certain Second Amendment to First Lien Credit Agreement, dated
as of August 1, 2022, as further amended by that certain Third Amendment to First Lien
Credit Agreement, dated as of February 2, 2023, as further modified by that certain


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Limited Waiver to First Lien Credit Agreement, dated as of August 6, 2024, as further
amended by that certain Fourth Amendment to First Lien Credit Agreement, dated as of
August 19, 2024, as further modified by that certain Agency Assignment & Amendment
Agreement, dated as of October 1, 2024, as further amended by that certain
Fifth Amendment to First Lien Credit Agreement, dated as of October 15, 2024, and as may
be further amended, restated, amended and restated, supplemented or otherwise modified
prior to the Petition Date in accordance with the terms thereof, the “ Prepetition First Lien
Credit Agreement”, and together with all other agreements, guarantees, pledge, collateral
and security documents, control agreements, instruments, certificates, notes, and other
documents executed, recorded and/or delivered in connection therewith, including, without
limitation, the Loan Documents (as defined in the Prepetition First Lien Credit Agreement)
and the Prepetition Intercreditor Agreements (as defined below), collectively, the
“Prepetition First Lien Loan Documents”), by and among the Borrowers, as borrowers
(collectively, the “Prepetition First Lien Borrowers”), certain subsidiaries of the
Prepetition First Lien Borrowers, as guarantors (collectively, the “Prepetition First Lien
Guarantors”, and together with the Prepetition First Lien Borrowers, collectively,
the “Prepetition First Lien Loan Parties”), Wilmington Trust, National Association, as
administrative agent and collateral agent (in such capacities, the “Prepetition First Lien
Agent”), and the lenders party thereto from time to time (collectively, the “Prepetition
First Lien Lenders”, and together with the Prepetition First Lien Agent, the “Prepetition
First Lien Secured Parties”), the Prepetition First Lien Lenders provided a term loan credit
facility (the “Prepetition First Lien Facility”) to the Prepetition First Lien Loan Parties.
Pursuant to the Prepetition First Lien Loan Documents, each of the Prepetition First Lien
Guarantors, among other things, unconditionally and irrevocably guaranteed, on a joint and
several basis, the payment in full in cash of all of the Prepetition First Lien Secured
Obligations (as defined below).

                (ii)    Prepetition First Lien Secured Obligations. As of the Petition Date,
the Prepetition First Lien Loan Parties were justly and lawfully indebted to the Prepetition
First Lien Secured Parties, on a joint and several basis, without defense, claim,
counterclaim, challenge or offset of any kind, in the aggregate amount of not less than
$1,131.8 million on account of principal amounts (including capitalized interest added
thereto) outstanding under the Prepetition First Lien Facility, plus accrued but unpaid
interest (including default interest, if applicable) thereon, plus all fees, costs, expenses
(including attorneys’, financial advisors’ and other professionals’ fees and expenses),
charges, disbursements, indemnification and reimbursement obligations (contingent or
otherwise), including all “Secured Obligations” (as defined in the Prepetition First Lien
Credit Agreement) and all other amounts that may be due or owing under the Prepetition
First Lien Loan Documents (collectively, the “Prepetition First Lien Secured
Obligations”).

               (iii)  Prepetition First Lien Liens. Pursuant to the Prepetition First Lien
Loan Documents, the Prepetition First Lien Loan Parties granted to the Prepetition First
Lien Agent, for the benefit of itself and the other Prepetition First Lien Secured Parties,
properly perfected continuing liens and security interests in (collectively, the “Prepetition
First Lien Liens”) substantially all of the assets of the Prepetition First Lien Loan Parties,
including, without limitation, all “Collateral” (as defined in the Prepetition First Lien


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Credit Agreement) (the “Prepetition First Lien Collateral”) and the “Term Loan Priority
Collateral” (as defined in the Prepetition ABL Intercreditor Agreement).

       (c)     Prepetition Second Lien Facility.

                (i)     Prepetition Second Lien Credit Agreement. Pursuant to that certain
Second Lien Credit Agreement, dated as of March 10, 2021 (as amended by that certain
First Amendment to Second Lien Credit Agreement, dated as of November 22, 2021, as
further amended by that certain Second Amendment to Second Lien Credit Agreement,
dated as of August 1, 2022, as further amended by that certain Third Amendment to Second
Lien Credit Agreement, dated as of August 21, 2023, as further amended by that certain
Fourth Amendment to Second Lien Credit Agreement, dated as of December 18, 2023, as
further modified by that certain Limited Waiver to Second Lien Credit Agreement, dated as
of August 6, 2024, as further amended by that certain Fifth Amendment to Second Lien
Credit Agreement, dated as of August 19, 2024, and as may be further amended, restated,
amended and restated, supplemented or otherwise modified prior to the Petition Date in
accordance with the terms thereof, the “ Prepetition Second Lien Credit Agreement”, and
together with all other agreements, guarantees, pledge, collateral and security documents,
control agreements, instruments, certificates, notes, and other documents executed,
recorded and/or delivered in connection therewith, including, without limitation, the Loan
Documents (as defined in the Prepetition Second Lien Credit Agreement) and the
Prepetition Intercreditor Agreements (as defined below), collectively, the “Prepetition
Second Lien Loan Documents”), by and among the Borrowers, as borrowers (collectively,
the “Prepetition Second Lien Borrowers”), certain subsidiaries of the Prepetition Second
Lien Borrowers, as guarantors (collectively, the “Prepetition Second Lien Guarantors”,
and together with the Prepetition Second Lien Borrowers, collectively, the “Prepetition
Second Lien Loan Parties”), Alter Domus (US) LLC, as administrative agent and
collateral agent (in such capacities, the “Prepetition Second Lien Agent”), and the lenders
party thereto from time to time (collectively, the “Prepetition Second Lien Lenders”, and
together with the Prepetition Second Lien Agent, the “Prepetition Second Lien Secured
Parties”), the Prepetition Second Lien Lenders provided a term loan credit facility (the
“Prepetition Second Lien Facility”) to the Prepetition Second Lien Loan Parties. Pursuant
to the Prepetition Second Lien Loan Documents, each of the Prepetition Second Lien
Guarantors, among other things, unconditionally and irrevocably guaranteed, on a joint and
several basis, the payment in full in cash of all of the Prepetition Second Lien Secured
Obligations (as defined below).

               (ii)   Prepetition Second Lien Secured Obligations. As of the Petition
Date, the Prepetition Second Lien Loan Parties were justly and lawfully indebted to the
Prepetition Second Lien Secured Parties, on a joint and several basis, without defense,
claim, counterclaim, challenge or offset of any kind, in the aggregate amount of not less
than $125.0 million on account of principal amounts outstanding under the Prepetition
Second Lien Facility, plus $19.5 million outstanding on account of the Prepetition Second
Lien Loan Parties’ guaranty of the Secured Holdco Guarantee Obligations (as defined in
the Prepetition Second Lien Credit Agreement) pursuant to that certain Supplement No. 1
to the Guarantee Agreement, dated as of August 19, 2024, and that certain Fifth
Amendment to Second Lien Credit Agreement, dated as of August 19, 2024, plus all fees,


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costs, expenses (including attorneys’, financial advisors’ and other professionals’ fees and
expenses), charges, disbursements, indemnification and reimbursement obligations
(contingent or otherwise), plus accrued but unpaid interest (including default interest, if
applicable) thereon; including all “Secured Obligations” (as defined in the Prepetition
Second Lien Credit Agreement) and all other amounts that may be due or owing under the
Prepetition Second Lien Loan Documents (the “Prepetition Second Lien Secured
Obligations”).

               (iii)  Prepetition Second Lien Liens. Pursuant to the Prepetition Second
Lien Loan Documents, the Prepetition Second Lien Loan Parties granted to the Prepetition
Second Lien Agent, for the benefit of itself and the Prepetition Second Lien Secured
Parties, properly perfected continuing liens and security interests in (collectively, the
“Prepetition Second Lien Liens”) substantially all of the assets of the Prepetition Second
Lien Loan Parties, including, without limitation, all “Collateral” (as defined in the
Prepetition Second Lien Credit Agreement) (the “Prepetition Second Lien Collateral”)
and the “Term Loan Priority Collateral” (as defined in the Prepetition ABL Intercreditor
Agreement).

       (d)     Prepetition Second Lien Sidecar Facility.

                (i)     Prepetition Second Lien Sidecar Credit Agreement. Pursuant to that
certain Sidecar Pari Passu Second Lien Credit Agreement, dated as of August 21, 2023 (as
amended by the First Amendment to Sidecar Pari Passu Second Lien Credit Agreement,
dated as of December 18, 2023, as further amended by the Second Amendment to Sidecar
Pari Passu Second Lien Credit Agreement, dated as of August 19, 2024, as further amended
by the Third Amendment to Sidecar Pari Passu Second Lien Credit Agreement, dated as of
October 15, 2024, and as may be further amended, restated, amended and restated,
supplemented or otherwise modified prior to the Petition Date in accordance with the terms
thereof, the “ Prepetition Second Lien Sidecar Credit Agreement”, and together with all
other agreements, guarantees, pledge, collateral and security documents, control
agreements, instruments, certificates, notes, and other documents executed, recorded
and/or delivered in connection therewith, including, without limitation, and the Loan
Documents (as defined in the Prepetition Second Lien Sidecar Credit Agreement),
collectively, the “Prepetition Second Lien Sidecar Loan Documents”), by and among the
Borrowers, as borrowers (collectively, the “Prepetition Second Lien Sidecar Borrowers”),
certain subsidiaries of the Prepetition Second Lien Sidecar Borrowers, as guarantors
(collectively, the “Prepetition Second Lien Sidecar Guarantors”, and together with the
Prepetition Second Lien Sidecar Borrowers, collectively, the “Prepetition Second Lien
Sidecar Loan Parties”), Alter Domus (US) LLC, as administrative agent and collateral
agent (in such capacities, the “Prepetition Second Lien Sidecar Agent”), and the lenders
party thereto from time to time (collectively, the “Prepetition Second Lien Sidecar
Lenders”, and together with the Prepetition Second Lien Sidecar Agent, the “Prepetition
Second Lien Sidecar Secured Parties”), the Prepetition Second Lien Sidecar Lenders
provided a term loan credit facility (the “Prepetition Second Lien Sidecar Facility”) to the
Prepetition Second Lien Sidecar Loan Parties. Pursuant to the Prepetition Second Lien
Sidecar Loan Documents, each of the Prepetition Second Lien Sidecar Guarantors, among
other things, unconditionally and irrevocably guaranteed, on a joint and several basis, the


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payment in full in cash of all of the Prepetition Second Lien Sidecar Secured Obligations
(as defined below).

                (ii)   Prepetition Second Lien Sidecar Secured Obligations. As of the
Petition Date, the Prepetition Second Lien Sidecar Loan Parties were justly and lawfully
indebted to the Prepetition Second Lien Sidecar Secured Parties, on a joint and several
basis, without defense, claim, counterclaim, challenge or offset of any kind, in the
aggregate amount of $0 on account of all amounts outstanding under the Prepetition
Second Lien Sidecar Facility inclusive of all “Secured Obligations” (as defined in the
Prepetition Second Lien Sidecar Credit Agreement) and all other amounts that may be due
or owing under the Prepetition Second Lien Sidecar Loan Documents (collectively, the
“Prepetition Second Lien Sidecar Secured Obligations”).

                (iii)   Prepetition Second Lien Sidecar Liens. Pursuant to the Prepetition
Second Lien Sidecar Loan Documents, the Prepetition Second Lien Sidecar Loan Parties
granted to the Prepetition Second Lien Sidecar Agent, for the benefit of itself and the other
Prepetition Second Lien Sidecar Secured Parties, properly perfected continuing liens and
security interests in (collectively, the “Prepetition Second Lien Sidecar Liens”)
substantially all of the assets of the Prepetition Second Lien Sidecar Loan Parties,
including, without limitation, all “Collateral” (as defined in the Prepetition Second Lien
Sidecar Credit Agreement) (the “Prepetition Second Lien Sidecar Collateral”) and the
“Term Loan Priority Collateral” (as defined in the Prepetition ABL Intercreditor
Agreement).

       (e)     Certain Definitions.

                (i)    “Prepetition Agents” means the Prepetition ABL Agent, the
Prepetition First Lien Agent, the Prepetition Second Lien Agent and the Prepetition Second
Lien Sidecar Agent, in their respective capacities as such.

                (ii)    “Prepetition Collateral” means the Prepetition ABL Collateral, the
Prepetition First Lien Collateral, the Prepetition Second Lien Collateral, and the Prepetition
Second Lien Sidecar Collateral, respectively.

                (iii)  “Prepetition Liens” means the Prepetition ABL Liens, the
Prepetition First Lien Liens, the Prepetition Second Lien Liens, and the Prepetition Second
Lien Sidecar Liens, respectively.

             (iv)    “Prepetition Loan Documents” means the Prepetition ABL Loan
Documents, the Prepetition First Lien Loan Documents, the Prepetition Second Lien Loan
Documents, and the Prepetition Second Lien Sidecar Loan Documents, respectively.

                (v)     “Prepetition Loan Parties” means the Prepetition ABL Loan
Parties, the Prepetition First Lien Loan Parties, the Prepetition Second Lien Loan Parties,
and the Prepetition Second Lien Sidecar Loan Parties, respectively.

              (vi)    “Prepetition Secured Obligations” means the Prepetition ABL
Secured Obligations, the Prepetition First Lien Secured Obligations, the Prepetition Second


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        Lien Secured Obligations, and the Prepetition Second Lien Sidecar Secured Obligations,
        respectively.

                        (vii) “Prepetition Secured Parties” means the Prepetition ABL Secured
        Parties, the Prepetition First Lien Secured Parties, the Prepetition Second Lien Secured
        Parties, and the Prepetition Second Lien Sidecar Secured Parties, in their respective
        capacities as such.

                (f)     Validity and Enforceability of Prepetition Secured Obligations and
        Prepetition Liens. As of the Petition Date, (i) the Prepetition Liens in the Prepetition
        Collateral (A) have been properly recorded and were valid, binding, enforceable,
        non-avoidable and fully perfected liens and security interests in the Prepetition Collateral,
        (B) were granted to or for the benefit of the Prepetition Secured Parties for fair
        consideration and reasonably equivalent value, and were granted contemporaneously with,
        or covenanted to be provided as an inducement for, the making of the loans and/or the
        financial commitments and other financial accommodations or consideration secured or
        obtained thereby, and (C) are senior with priority over any and all other liens on or security
        interests in the Prepetition Collateral, subject only to (1) liens and security interests that
        were expressly permitted to be incurred under the Prepetition Loan Documents (solely to
        the extent such permitted liens and security interests were (x) in existence on the Petition
        Date, (y) valid, non-avoidable and properly perfected as of the Petition Date (or were
        properly perfected subsequent to the Petition Date to the extent permitted by section 546(b)
        of the Bankruptcy Code), and (z) senior in priority to the Prepetition Liens (such liens
        described in this paragraph F(f)(i)(C)(1), the “Permitted Prior Liens”)),6 and (2) the
        relative rights and priorities set forth in the Prepetition Intercreditor Agreements; (ii) the
        Prepetition Secured Obligations constitute legal, valid, non-avoidable and binding
        obligations of each of the Prepetition Loan Parties, enforceable in accordance with the
        terms of the Prepetition Loan Documents (other than in respect of the stay of enforcement
        arising under section 362 of the Bankruptcy Code); (iii) no portion of the Prepetition Liens
        or the Prepetition Secured Obligations, and no payments made at any time to any of the
        Prepetition Secured Parties, is subject to any contest, attack, objection, challenge, defense,
        claim, counterclaim or Cause of Action, including, without limitation, any Avoidance
        Action or any claim or Cause of Action seeking reduction, setoff, offset, recoupment,
        recharacterization, subordination (whether equitable, contractual or otherwise),
        reclassification, disgorgement, disallowance, impairment, marshalling, surcharge,
        recovery, or any other claim or Cause of Action of any nature or description, whether
        arising under the Bankruptcy Code, applicable non-bankruptcy law, any other domestic or
        foreign statute, law, rule or regulation or otherwise, in each case, that may be asserted by


6
    Nothing contained herein shall constitute a finding or ruling by this Court that any alleged Permitted Prior Lien
    is valid, senior, enforceable, prior, perfected or non-avoidable. Moreover, nothing contained herein shall prejudice
    the rights of any party in interest, including, but not limited to the Debtors, the DIP Secured Parties, the Prepetition
    Secured Parties, or any Official Committee, in each case, to the extent such party has standing to challenge the
    validity, priority, enforceability, seniority, avoidability, perfection or extent of any alleged Permitted Prior Lien
    (subject to the terms of this Interim Order). For the purposes hereof, any alleged claim arising or asserted as a
    right of reclamation or return (whether asserted under Section 546(c) of the Bankruptcy Code or otherwise) is not
    a Permitted Prior Lien.



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the Debtors, their respective estates or any other person or entity; and (iv) the Prepetition
Secured Obligations constitute allowed secured claims within the meaning of sections 502
and 506 of the Bankruptcy Code against each of the Prepetition Loan Parties and their
respective estates.

       (g)     Enforceability of the Prepetition Intercreditor Agreements.

                (i)     The Prepetition ABL Agent, the Prepetition First Lien Agent, the
Prepetition Second Lien Agent and the Prepetition Second Lien Sidecar Agent are party to
that certain Amended and Restated Intercreditor Agreement, dated as of
November 22, 2021 (as amended, amended and restated, supplemented or otherwise
modified from time to time prior to the Petition Date in accordance with the terms thereof,
the “Prepetition ABL Intercreditor Agreement”), which sets forth the relative payment
and lien priorities and other rights and remedies of the Prepetition ABL Secured Parties,
on the one hand, and the Prepetition First Lien Secured Parties, the Prepetition Second Lien
Secured Parties and the Prepetition Second Lien Sidecar Secured Parties, on the other hand,
with respect to “Common Collateral” (as defined in the Prepetition ABL Intercreditor
Agreement). Pursuant to the Prepetition ABL Intercreditor Agreement, the parties thereto
agreed, among other things: (a) that the Prepetition ABL Liens on the ABL Priority
Collateral are senior to the Prepetition First Lien Liens, Prepetition Second Lien Liens, and
Prepetition Second Lien Sidecar Liens on such collateral, and (b) that the Prepetition First
Lien Liens, Prepetition Second Lien Liens, and Prepetition Second Lien Sidecar Liens on
the Term Loan Priority Collateral are senior to the Prepetition ABL Liens on such
collateral.

                (ii)   The Prepetition First Lien Agent, the Prepetition Second Lien Agent
and the Prepetition Second Lien Sidecar Agent are party to that certain Amended and
Restated First Lien/Second Lien Intercreditor Agreement, dated as of November 22, 2021
(as amended, amended and restated, supplemented or otherwise modified from time to time
prior to the Petition Date in accordance with the terms thereof, the
“Prepetition 1L/2L Intercreditor Agreement”, and together with the Prepetition ABL
Intercreditor Agreement, collectively, the “Prepetition Intercreditor Agreements”), which
sets forth the relative payment and lien priorities and other rights and remedies of the
Prepetition First Lien Secured Parties, on the one hand, and the Prepetition Second Lien
Secured Parties and the Prepetition Second Lien Sidecar Secured Parties, on the other hand,
with respect to “Common Collateral” (as defined in the Prepetition 1L/2L Intercreditor
Agreement).

                (iii)   Pursuant to section 510(a) of the Bankruptcy Code, the Prepetition
Intercreditor Agreements, and any other applicable intercreditor or subordination
provisions contained in any of the Prepetition Loan Documents, (A) shall remain in full
force and effect, (B) continue to govern the relative obligations, priorities, rights, and
remedies of the Prepetition Secured Parties with respect to any shared or common
Prepetition Collateral, and (C) shall not be deemed to be amended, altered, or modified by
the terms of this Interim Order except to the extent expressly set forth herein.




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       (h)     No Claims, Defenses, or Causes of Action. As of the date hereof, there exist
no claims, defenses or any other Cause of Action of any nature or description whatsoever
that may be asserted by the Debtors, their respective estates, predecessors, successors and
assigns, against any of the Prepetition Secured Parties or any of their respective
Representatives, in each case, arising from, in connection with, or related to this Interim
Order, the Prepetition Liens, the Prepetition Secured Obligations, the Prepetition Loan
Documents or the Prepetition Collateral.

        (i)     Releases. Effective as of the date of entry of this Interim Order, the Debtors,
on behalf of themselves and their respective estates, to the maximum extent permitted by
applicable law, hereby absolutely, unconditionally and irrevocably release and forever
discharge and acquit the DIP Secured Parties, the Prepetition First Lien Secured Parties,
the Prepetition ABL Secured Parties, and each of their respective Representatives (in their
capacities as such) of and from any and all Causes of Action that the Debtors, their estates,
predecessors, successors and assigns at any time had, now have or that their successors and
assigns may have against any of the Prepetition Secured Parties and their respective
Representatives for or by reason of any act, omission, matter, cause or thing whatsoever
arising at any time prior to the date of this Interim Order, in each case, arising under, in
connection with or related to this Interim Order, the DIP Facility, the DIP Loan Documents,
the DIP Liens, the DIP Superpriority Claims, the Prepetition Liens, the Prepetition
Collateral, the Prepetition Secured Obligations or the Prepetition Loan Documents, the
Adequate Protection Liens (as defined below), the Adequate Protection Claims (as defined
below), the Adequate Protection Obligations (as defined below), the Prepetition Loan
Documents, or the transactions contemplated thereunder or hereunder, including, without
limitation, (i) any Avoidance Actions, (ii) any so-called “lender liability” or equitable
subordination claims or defenses, (iii) any claims or Causes of Action arising under the
Bankruptcy Code, (iv) any claims or Causes of Action seeking reduction, setoff, offset,
recoupment, recharacterization, subordination (whether equitable, contractual or
otherwise), reclassification, disgorgement, disallowance, impairment, marshalling,
surcharge, recovery or any other challenge arising under the Bankruptcy Code or applicable
non-bankruptcy law with respect to the Prepetition Liens, the Prepetition Collateral, the
Prepetition Secured Obligations or the Prepetition Loan Documents, or (v) any claim or
Cause of Action with respect to the validity, enforceability, extent, amount, perfection or
priority of the DIP Facility, the DIP Loan Documents, the DIP Liens, the DIP Superpriority
Claims, the Prepetition Liens, the Prepetition Secured Obligations, the Prepetition
Collateral or the Prepetition Loan Documents.

        (j)     Cash Collateral. Any and all of the Secured DIP Loan Parties’ cash,
whether existing on the Petition Date or thereafter, wherever located (including, without
limitation, all cash, cash equivalents and other amounts on deposit or maintained by the
Debtors in any accounts with any depositary institution), whether as original Prepetition
Collateral, arising from the sale or other disposition of Prepetition Collateral, or proceeds
of other Prepetition Collateral, or cash, rents, income, offspring, products, proceeds or
profits generated from the Prepetition Collateral, constitutes “cash collateral” of the
Prepetition Secured Parties within the meaning of section 363(a) of the Bankruptcy Code
(the “Cash Collateral”).



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        G.       Findings Regarding Corporate Authority.

                 (a)    Each of the Debtors has all requisite power and authority to execute and

deliver the DIP Loan Documents to which it is a party and to perform its obligations thereunder.

        H.       Findings Regarding DIP Facility and Use of Cash Collateral.

                 (a)    Good Cause. Good and sufficient cause has been shown for the entry of this

Interim Order.

                 (b)    Need for Postpetition Financing and Use of Cash Collateral. The Debtors

have an immediate and critical need to use Cash Collateral and to obtain postpetition financing

pursuant to the DIP Facility, in each case, on an interim basis, in order to, among other things,

permit the orderly continuation and operation of their businesses, maintain business relationships

with customers, vendors and suppliers, make payroll, pay the costs of administering the Chapter

11 Cases and satisfy other working capital and operational needs of the Debtors, in the case of

each of the foregoing, in accordance with and subject to the terms and conditions of this Interim

Order and the DIP Loan Documents, including the Approved Budget (subject to Permitted

Variances). The Debtors’ access to sufficient working capital and liquidity through the incurrence

of loans and other financial accommodations under the DIP Facility and the use of Cash Collateral

is necessary and vital to, among other things, preserve and maintain the going concern values of

the Debtors. The Debtors and their estates will be immediately and irreparably harmed if the

financing under the DIP Facility is not obtained pursuant to the terms of this Interim Order and, as

applicable, the DIP Loan Documents, or if the Debtors are unable to use Cash Collateral. Entry of

this Interim Order is necessary and appropriate to avoid such harm to the Debtors, their estates,

and other parties in interest.




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               (c)     No Credit Available on More Favorable Terms. The Debtors are unable to

obtain financing or other financial accommodations from sources other than the DIP Lenders on

terms more favorable than those provided under the DIP Facility, the DIP Loan Documents and

this Interim Order. The Debtors are unable to obtain adequate unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code. The Debtors are also

unable to obtain adequate secured credit for money borrowed under sections 364(c)(1), 364(c)(2)

and 364(c)(3) of the Bankruptcy Code without the Debtors granting (a) the DIP Liens on all

DIP Collateral, (b) the DIP Superpriority Claims, (c) the rights, benefits and protections to the DIP

Secured Parties, and (d) the Adequate Protection Liens, Adequate Protection Claims and other

Adequate Protection Obligations to the Prepetition Secured Parties, in the case of each of the

foregoing, upon the terms and conditions set forth in this Interim Order and in the DIP Loan

Documents. After considering all available alternatives, the Debtors have properly concluded, in

the exercise of their sound business judgment, that the DIP Facility represents the best source of

debtor-in-possession financing available to them at this time and is in the best interests of all of

their stakeholders.

               (d)     Use of Proceeds of DIP Facility and Cash Collateral. As a condition to

providing the DIP Facility and their consent to the use of Cash Collateral, each of the DIP Secured

Parties, the Prepetition ABL Secured Parties, and the Prepetition First Lien Secured Parties (as

applicable) requires, and the Debtors have agreed, that all proceeds of the DIP Loans and all Cash

Collateral shall be used and/or applied solely for the purposes expressly permitted in the Approved

Budget (subject to Permitted Variances), including, without limitation, (i) to pay the costs of

administration of the Chapter 11 Cases, (ii) for general corporate and working capital purposes,

(iii) to pay adequate protection payments to the extent set forth herein, and (iv) to pay professional




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fees and expenses in accordance with this Interim Order, in the case of each of the foregoing, in

accordance with and subject to the terms and conditions of this Interim Order and the DIP Loan

Documents, including the Approved Budget (subject to Permitted Variances).

               (e)     Adequate Protection. Pursuant to sections 361, 362, 363 and 364 of the

Bankruptcy Code, the Prepetition Secured Parties are entitled to adequate protection against any

post-petition diminution in value of the Prepetition Secured Parties’ respective liens and interests

in the Prepetition Collateral (including Cash Collateral) resulting from, among other things, (i) the

use, sale or lease by the Debtors of such collateral, (ii) the market value decline of such collateral,

(iii) the use of Cash Collateral by each of the Debtors, (iv) the imposition of the automatic stay,

(v) the subordination of the Prepetition Liens and Prepetition Secured Obligations to the Carve

Out, the DIP Liens and the DIP Obligations, in each case, as set forth in this Interim Order, and

(vi) any other act or omission which causes diminution in the value of their respective liens or

interests in the Prepetition Collateral (collectively, the “Diminution in Value”), as set forth in this

Interim Order and the DIP Loan Documents; provided, however, that nothing in this Interim Order

shall (x) be construed as the affirmative consent by any of the Prepetition ABL Secured Parties or

the Prepetition First Lien Secured Parties for the use of Cash Collateral or other Prepetition

Collateral other than on the terms expressly set forth in this Interim Order (including the Approved

Budget), (y) be construed as a consent by any party to the terms of any other financing or any other

lien encumbering the DIP Collateral or the Prepetition Collateral (whether senior, pari passu or

junior) other than on the terms expressly set forth in this Interim Order, or (z) prejudice, limit or

otherwise impair the rights of any of the Prepetition Secured Parties (subject to the Prepetition

Intercreditor Agreements) to seek new, different or additional adequate protection after the date

hereof or assert the interests of any of the Prepetition Secured Parties. Based on the Motion, the




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DIP Declarations and the other evidence filed in support of the Motion, and the record presented

to the Court in connection with the Interim Hearing, the terms of the adequate protection

arrangements and the use of Prepetition Collateral (including Cash Collateral) set forth herein are

fair and reasonable, reflect the Debtors’ prudent exercise of business judgment and constitute

reasonably equivalent value and fair consideration for the use of Prepetition Collateral (including

Cash Collateral).

                (f)     Consent. Certain of the Prepetition Secured Parties have consented to the

Debtors’ use of Prepetition Collateral (including Cash Collateral) solely to the extent expressly

permitted under the Approved Budget (subject to Permitted Variances), the Debtors’ entry into the

DIP Facility, the incurrence of the DIP Liens, the DIP Obligations, the DIP Superpriority Claims,

the Adequate Protection Liens, the Adequate Protection Claims and the other Adequate Protection

Obligations, in each case, in accordance with and subject to the terms and conditions set forth in

this Interim Order and the DIP Loan Documents.

                (g)     Limitation on Charging Expenses against Collateral; Section 552(b)

Waiver. As a material inducement to the DIP Lenders’ agreement to provide the DIP Facility, and

in exchange for (i) the DIP Secured Parties’ agreement to subordinate their DIP Liens to the Carve

Out and Permitted Prior Liens, (ii) the Prepetition Secured Parties’ agreement to subordinate their

Prepetition Liens and Adequate Protection Liens to the DIP Liens and the Carve Out to the extent

set forth herein, and (iii) certain of the Prepetition Secured Parties’ consent to the use of Prepetition

Collateral (including Cash Collateral), (a) subject to entry of the Final Order granting such relief,

the Debtors have waived their right to surcharge any costs or expenses incurred in connection with

the preservation, protection or enhancement of, or realization by the DIP Secured Parties, the

Prepetition First Lien Secured Parties or the Prepetition ABL Secured Parties upon, the DIP




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Collateral, the Prepetition ABL Collateral or the Prepetition First Lien Collateral (as applicable),

whether pursuant to section 506(c) of the Bankruptcy Code or otherwise, (b) subject to entry of

the Final Order granting such relief, the DIP Secured Parties, Prepetition First Lien Secured Parties

and the Prepetition ABL Secured Parties shall not be subject to the equitable doctrine of

“marshaling” or any similar doctrine with respect to the DIP Collateral, the Prepetition ABL

Collateral or the Prepetition First Lien Collateral (as applicable) (other than with respect to Debtor

Freedom VCM Holdings, LLC as specifically set forth in paragraph 33 below), and (c) subject to

entry of the Final Order granting such relief, each of the Prepetition First Lien Secured Parties and

Prepetition ABL Secured Parties shall be entitled to all of the rights and benefits of section 552(b)

of the Bankruptcy Code, and in no event shall the “equities of the case” exception in section 552(b)

of the Bankruptcy Code apply to the Prepetition First Lien Secured Parties, the Prepetition ABL

Secured Parties or the Prepetition First Lien Collateral or the Prepetition ABL Collateral, in the

case of each of the foregoing, to the extent set forth herein.

               (h)     Proper Exercise of Business Judgment. Based on the Motion, the

DIP Declarations, and the record presented to the Court at the Interim Hearing, (a) the terms of the

DIP Facility, (b) the terms of adequate protection granted to the Prepetition Secured Parties

hereunder, and (c) the terms on which the Debtors may continue to use Prepetition Collateral

(including Cash Collateral) pursuant to this Interim Order, (i) were negotiated in good faith and at

arm’s length among the Debtors, the DIP Secured Parties and the Prepetition Secured Parties,

(ii) are fair, reasonable, and the best available to the Debtors under the circumstances, (iii) reflect

the Debtors’ exercise of prudent business judgment consistent with their fiduciary duties, and

(iv) are supported by reasonably equivalent value and fair consideration. Absent access to the

DIP Facility and the ability to continue to use Cash Collateral upon the terms set forth in this




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Interim Order, the DIP Loan Documents, including the Approved Budget (subject to

Permitted Variances), the Debtors, their estates, their creditors and other parties-in-interest will be

seriously, immediately and irreparably harmed.

               (i)     Good Faith. The DIP Facility and the terms of the DIP Loan Documents,

the terms on which the Prepetition First Lien Secured Parties and the Prepetition ABL Secured

Parties have consented to the Debtors’ use of Cash Collateral, and this Interim Order have been

negotiated in good faith and at arm’s length among the Debtors, the DIP Secured Parties, the

Prepetition Secured Parties and each of their respective Representatives, and all of the Debtors’

obligations and indebtedness arising under, in respect of, or in connection with, the DIP Facility,

the DIP Loan Documents and this Interim Order, including, without limitation, all loans, advances,

extensions of credit and other financial accommodations made to and guarantees issued by the

Debtors pursuant to the DIP Loan Documents, shall each be deemed to have been extended by the

DIP Secured Parties, the Prepetition Secured Parties (as applicable) and each of their respective

affiliates, in good faith, as that term is used in section 364(e) of the Bankruptcy Code, and in

express reliance upon the protections offered by sections 364(e) of the Bankruptcy Code, and each

of the claims, liens and security interests, rights, remedies, benefits and protections granted to the

DIP Secured Parties and the Prepetition Secured Parties (and each of their successors and assigns

thereof) pursuant to this Interim Order and the DIP Loan Documents (including, without limitation,

all DIP Obligations, DIP Liens, DIP Superpriority Claims, Adequate Protection Liens, Adequate

Protection Claims, Adequate Protection Obligations, and adequate protection payments provided

under this Interim Order), shall be entitled to the full protection of section 364(e) of the Bankruptcy

Code in the event that this Interim Order or any provision hereof is vacated, reversed, or modified,

on appeal or otherwise.




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               (j)     Initial Budget. The Debtors have prepared and delivered to the DIP Secured

Parties the initial itemized cash flow forecast set forth on Exhibit 3 attached hereto (the

“Initial Budget”), reflecting, on a line item, cumulative and aggregate basis, (i) the Debtors’

projected cash receipts expected to be collected, and necessary disbursements and expenditures

(including debt service costs) expected to be incurred or made, by the Debtors, in each case, for

each calendar week during the period from the calendar week ending on the Saturday of the

calendar week in which the Petition Date occurs through and including the end of the thirteenth

(13th) calendar week thereafter, (ii) the sum of weekly unused availability under the DIP Facility,

plus unrestricted cash on hand, (iii) the weekly outstanding principal balance of amounts

outstanding under the DIP Facility, and (iv) a professional fee accrual budget with respect to the

anticipated professional fees and expenses to be incurred by each applicable professional advisor

during such period. The Initial Budget is an integral part of this Interim Order, and the DIP Secured

Parties and the Prepetition Secured Parties (as applicable) are relying, in part, upon the Debtors’

agreement to comply (subject to Permitted Variances) with the Approved Budget, in determining

to enter into the DIP Facility and to allow the Debtors’ use of proceeds of the DIP facility and

Cash Collateral in accordance with the terms of this Interim Order and the DIP Loan Documents.

               (k)     Notice. Notice of the Motion and the Interim Hearing constitutes due,

sufficient and appropriate notice and complies with section 102(1) of the Bankruptcy Code,

Bankruptcy Rules 2002, 4001(b) and (c), and 9014, and the Local Bankruptcy Rules, and no other

or further notice of the Motion with respect to the relief requested at the Interim Hearing or the

entry of this Interim Order shall be required.

               (l)     Immediate Entry. The Debtors have requested immediate entry of this

Interim Order pursuant to Bankruptcy Rules 4001(b)(2), 4001(c)(2), and 6003 and the Local




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Bankruptcy Rules. Unless the relief set forth in this Interim Order is granted, the Debtors’ estates

will be immediately and irreparably harmed. Consummation of the DIP Facility and the use of

Prepetition Collateral (including Cash Collateral) upon the terms set forth in this Interim Order

and the DIP Loan Documents are in the best interests of the Debtors’ estates and consistent with

the Debtors’ exercise of their fiduciary duties. Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(b)(2) and (c)(2) and the Local Bankruptcy Rules.

The Motion and this Interim Order comply with the requirements of Bankruptcy Local

Rule 4001-1(b).

       NOW THEREFORE, based upon the foregoing findings and conclusions, the Motion, the

DIP Declarations, the evidence adduced at the Interim Hearing and the record before the Court,

and after due consideration, and good and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      Motion Granted. The Motion is hereby granted, on an interim basis, upon the terms

and conditions set forth in this Interim Order and the DIP Loan Documents. Any objections or

other statements with respect to any of the relief set forth in this Interim Order that have not been

withdrawn, waived, or settled, and all reservations of rights inconsistent with this Interim Order,

are hereby denied and overruled. This Interim Order shall become effective and enforceable

immediately upon its entry.

       2.      Authorization of DIP Facility and DIP Loan Documents.

               (a)     Authorization of DIP Loan Documents. The DIP Facility is hereby

approved. The Debtors are hereby authorized to (i) execute, deliver and perform all of their

obligations under the DIP Loan Documents and this Interim Order; and (ii) execute, deliver and

perform under any and all other instruments, certificates, agreements and other documents




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(including, without limitation, the execution and/or recordation of collateral, pledge and security

documents, mortgages and deeds of trust (if applicable) and financing statements), and perform all

such other and further acts that, may be necessary, required or desirable for the Debtors to perform

their obligations under the DIP Facility, the DIP Loan Documents and this Interim Order and to

implement the transactions contemplated thereunder and hereunder.

                 (b)   Authorization to Borrow; Use of Cash Collateral. The Borrowers are

hereby authorized to borrow, and the Guarantors are hereby authorized to guarantee, on a joint and

several basis, up to the principal amount of $125 million (plus applicable interest, premiums

(including, without limitation, the Backstop Premium and the Commitment Premium), fees

(including professional fees and expenses), costs, expenses, charges and other amounts payable

hereunder and under the DIP Loan Documents), subject to the terms and conditions (including any

conditions precedent to such DIP Borrowing) set forth in the DIP Loan Documents and this Interim

Order. The Debtors are hereby authorized to use the proceeds of all DIP Borrowings under the

DIP Facility and all Cash Collateral solely in the manner and for the purposes expressly permitted

in the Approved Budget (subject to Permitted Variances), the DIP Loan Documents and this

Interim Order.

                 (c)   Roll Up DIP Loans. The Roll Up is hereby approved to the extent set forth

herein. Effective immediately upon entry of this Interim Order and the completion of the

Syndication on the Syndication Date pursuant to the Syndication Procedures, up to $500,000,000

of the Prepetition First Lien Secured Obligations (together with accrued and unpaid interest

thereon) held by the DIP Lenders (or any of their respective designated Approved Funds) as of the

Syndication Date will be, on the Syndication Date, automatically deemed “rolled up” and

converted into the DIP Facility, on a cashless two dollars of Roll Up DIP Loans for every dollar




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of principal amount of New Money DIP Loans (i.e., $250,000,000), based upon such Person’s (or

any of its designated Approved Funds) pro rata share of principal amount of New Money DIP

Loans, and shall automatically be deemed to be substituted and exchanged for, and shall be deemed

to be, Roll Up DIP Loans for all purposes hereunder, and shall not be subject to any contest, attack,

objection, challenge, defense, claim, counterclaim or Cause of Action of any nature or description

whatsoever, and which Roll Up DIP Loans shall be due and payable in accordance with the terms

and conditions set forth in the DIP Credit Agreement as if originally funded thereunder on the

Effective Date. From and after the Effective Date, the outstanding aggregate amount of Prepetition

First Lien Secured Obligations held by each such DIP Lender (or any of its designated Approved

Funds) shall be automatically and irrevocably deemed reduced by the amount of the Roll Up DIP

Loans held by such DIP Lender (or any of its designated Approved Funds).

               (d)     Syndication; Roll Up Process. The Debtors, the Debtors’ claims agent, the

DIP Secured Parties and the Prepetition First Lien Agent are authorized and directed to take any

and all actions as may be necessary or appropriate to effectuate (i) the Syndication of the

DIP Facility pursuant to the Syndication Procedures, and (ii) the Roll Up of a portion of the

Prepetition First Lien Secured Obligations held by the DIP Lenders (or any of their respective

designated Approved Funds) as of the Syndication Date into the DIP Facility, including, without

limitation, the assignment, transfer or designation of such Prepetition First Lien Secured

Obligations pursuant to any procedure that facilitates the cancellation of such Prepetition First

Lien Secured Obligations in connection with the Roll Up. The Debtors, the Debtors’ claims agent,

the DIP Secured Parties and the Prepetition First Lien Agent are authorized and directed to take

such further actions as are necessary or appropriate to implement the Roll Up. In furtherance of

the foregoing, the Prepetition First Lien Agent is authorized and directed in connection with the




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Roll Up to cancel a corresponding amount of the Prepetition First Lien Secured Obligations in the

Register (as defined in the Prepetition First Lien Credit Agreement) maintained by it as directed

by Lender Advisors.

               (e)     DIP Fees and Expenses; Indemnification. The Debtors are hereby

authorized and directed to pay, as and when due, any and all (i) fees, premiums or other payments

payable under the DIP Loan Documents (including, without limitation, fees payable under the

Syndication Procedures, the Fronting Fee, the Backstop Premium (which shall be paid in kind and

added the principal amount of the New Money DIP Loans), the Commitment Premium (which

shall be paid in kind and added the principal amount of the New Money DIP Loans), and the Exit

Premium), and in any separate letter agreements between any of the Debtors, on the one hand, and

the DIP Agent and/or the DIP Lenders, on the other hand, including, without limitation, put option

premiums, “seasoning” fees, commitment payments, unused facility payments, early termination,

prepayment or exit payments, unused facility payments, administrative agent’s, collateral agent’s

or trustee’s fees, or other amounts referred to therein, (ii) amounts due (or that may become due)

to the “Indemnitees” (as defined in the DIP Credit Agreement) in respect of the indemnification

obligations under the DIP Loan Documents, which are hereby approved, and (iii) costs, expenses

and disbursements of the DIP Secured Parties payable under the DIP Loan Documents and this

Interim Order, including, without limitation, the reasonable and documented fees and expenses of

(A) Seward & Kissel LLP, as counsel to the DIP Agent, (B) one local counsel to the DIP Agent,

(C) Paul Hastings LLP, as counsel to the ad hoc group of certain Prepetition First Lien Lenders

(the “Ad Hoc Lender Group”), (D) Landis Rath & Cobb LLP, as local counsel to the Ad Hoc

Lender Group, (F) Lazard Frères & Co., as financial advisor to the Ad Hoc Lender Group, and

(G) any other accountants, consultants, attorneys, advisors, appraisers, or other professionals that




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may be retained by the Ad Hoc Lender Group with the consent of the Borrower, such consent not

to be unreasonably withheld or delayed (the foregoing subclauses (C)-(G), the “Lender

Advisors”), in the case of each of the foregoing clauses (i)-(iii), whether or not such payments,

premiums, fees, costs, expenses or other amounts arose before or after the Petition Date and

whether or not the transactions contemplated herein or in the DIP Loan Documents are

consummated, without the need to file fee or retention applications with the Court, without the

need to comply with the U.S. Trustee’s fee guidelines, and all such payments, premiums, fees,

costs, expenses and other amounts are hereby approved (and, to the extent paid prior to the entry

of this Interim Order, ratified in full), shall be non-refundable and irrevocable, and shall not be

subject to any contest, attack, objection, challenge, defense, claim, counterclaim or Cause of

Action, including any Avoidance Action, or any other claim or Cause of Action seeking the

reduction, setoff, offset, recoupment, recharacterization, subordination (whether equitable,

contractual or otherwise), reclassification, disgorgement, disallowance, impairment, surcharge,

recovery, or any other claim or Cause of Action of any nature and description whatsoever, whether

arising under the Bankruptcy Code, applicable non-bankruptcy law or otherwise. In the case of the

foregoing clause (iii), any invoices submitted for payment may be in summary form only (and

shall not be required to contain individual time entries, and may be redacted or modified to the

extent necessary to delete any information subject to the attorney-client privilege, any information

constituting attorney work product, or any other confidential information, and the provision of

such invoices shall not constitute any waiver of the attorney-client privilege or of any benefits of

the attorney work product doctrine), and shall be promptly paid by the Debtors, on a monthly basis

as appropriate, upon receipt of any such invoices, subject to paragraph 11 with respect to fees and

expenses incurred after the Effective Date.




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       3.      DIP Obligations.

               (a)     Upon execution and delivery of the DIP Loan Documents, the DIP Loan

Documents shall constitute valid, binding, enforceable, and non-avoidable obligations of each of

the Debtors, and shall be fully enforceable against each of the Debtors, their estates, and any

successors thereto, including, without limitation, any estate representative or trustee appointed in

any of the Chapter 11 Cases or in any case under Chapter 7 of the Bankruptcy Code upon the

conversion of any of the Chapter 11 Cases, or in any other proceedings superseding or relating to

any of the foregoing and/or upon the dismissal of any of the Chapter 11 Cases or any such

successor cases (collectively, the “Successor Cases”), in each case, in accordance with the terms

of the DIP Loan Documents and this Interim Order.

               (b)     Upon execution and delivery of the DIP Loan Documents, the DIP Loan

Parties shall be jointly and severally liable for all DIP Obligations, including, without limitation,

all loans, advances, extensions of credit, financial accommodations, principal, interest, premiums

or similar amounts, fees, costs, expenses, charges, indemnification and reimbursement obligations

(whether contingent or absolute), and all other obligations or amounts (including without

limitation, all “Secured Obligations” as defined in the DIP Credit Agreement), whether or not such

obligations arose before or after the Petition Date, whenever the same shall become due, whether

at stated maturity, by required prepayment, declaration, acceleration, demand or otherwise, in each

case, which may now or from time to time be owing by any of the Debtors to the DIP Agent, for

the benefit of itself and the other DIP Secured Parties, or any of the DIP Lenders under the

DIP Loan Documents or this Interim Order. The DIP Obligations shall be due and payable,

without notice or demand, and the use of Cash Collateral shall automatically cease, on the

DIP Termination Date (as defined below) (subject to paragraph 21(b) hereof), and without limiting




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the foregoing, the use of Cash Collateral shall also automatically cease upon the occurrence of the

Cash Collateral Termination Date (subject to paragraph 21(f) hereof).

               (c)    All obligations incurred, payments made, and transfers or grants of security

and liens set forth in this Interim Order and the DIP Loan Documents by the Debtors are granted

to or for the benefit of the Debtors for fair consideration and reasonably equivalent value and are

granted contemporaneously with the making of the loans and commitments and other financial

accommodations secured thereby. No obligation, payment, transfer, or grant of liens and security

interests under this Interim Order or the DIP Loan Documents to the DIP Secured Parties or the

Prepetition Secured Parties (including, without limitation, the DIP Obligations, the DIP Liens, the

DIP Superpriority Claims, the Adequate Protection Liens, the Adequate Protection Claims, the

Adequate Protection Obligations, or any adequate protection payments provided hereunder) shall

be limited, stayed, restrained, voidable, avoidable, or recoverable under the Bankruptcy Code or

under any applicable law, or subject to any contest, attack, objection, challenge, defense, claim,

counterclaim or Cause of Action, including any Avoidance Action or any other claim or Cause of

Action seeking reduction, setoff, offset, recoupment, recharacterization, subordination (whether

equitable, contractual or otherwise), reclassification, disgorgement, disallowance, impairment,

marshalling, surcharge, recovery, or any other claim or Cause of Action of any nature and

description whatsoever, whether arising under the Bankruptcy Code, applicable non-bankruptcy

law or otherwise (in each case in accordance with and subject to the fee review procedures set

forth in paragraph 11 hereof).

       4.      No Obligation to Extend Credit. The DIP Lenders shall have no obligation to make

any loan or advance under the applicable DIP Loan Documents unless all of the conditions

precedent to the making of such loan or advance by the applicable DIP Lenders under the




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applicable DIP Loan Documents and this Interim Order have been satisfied in full (or waived) in

accordance with the terms of the DIP Loan Documents and this Interim Order, as applicable.

Notwithstanding anything contained in this Interim Order or the DIP Loan Documents to the

contrary, in no event shall (i) the aggregate principal amount of the DIP Loans available or

outstanding under the DIP Credit Agreement at any time (after giving effect to all DIP Borrowings

previously made or requested) exceed the total Term Commitments (as defined in the

DIP Credit Agreement), or (ii) the aggregate principal amount of the DIP Loans from any

DIP Lender     exceed    such    DIP    Lender’s     Term    Commitment       (as   defined    in   the

DIP Credit Agreement).

       5.      No Duty to Monitor Compliance. None of the DIP Secured Parties or the Prepetition

Secured Parties shall have any obligation or responsibility to monitor the Debtors’ use of DIP

Collateral, Prepetition Collateral or Cash Collateral, and each of the DIP Secured Parties and

Prepetition Secured Parties may rely upon the Debtors’ representations that the use of

DIP Collateral, Prepetition Collateral and Cash Collateral complies with and is in accordance with

the requirements of this Interim Order and the DIP Loan Documents.

       6.      DIP Liens.

               (a)      DIP Liens. Effective upon entry of this Interim Order, and without the

necessity of the execution, recordation or filing of any pledge, collateral or security documents,

mortgages, deeds of trust, financing statements, notations of certificates of title for titled goods, or

any other document or instrument, or the taking of any other action (including, without limitation,

entering into any lockbox or deposit account control agreements or other action to take possession

or control of any DIP Collateral), as security for the prompt and complete payment and

performance of all DIP Obligations when due (whether at stated maturity, by acceleration or




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otherwise), the DIP Agent, for the benefit of itself and the other DIP Secured Parties, is hereby

granted valid, binding, enforceable, non-avoidable, and automatically and properly perfected liens

and security interests (collectively, the “DIP Liens”) in all DIP Collateral, subject and subordinate

to the Carve Out and Permitted Prior Liens (as defined below), and subject to the relative priorities

set forth in paragraph 6(c) and Exhibit 4 of this Interim Order.

               (b)     The term “DIP Collateral” means all assets and properties of each of the

Secured DIP Loan Parties and their estates, of any kind or nature whatsoever, whether tangible or

intangible, real, personal or mixed, whether now owned or consigned by or to, or leased from or

to, or hereafter acquired by, or arising in favor of, any of the Secured DIP Loan Parties (including

under any trade names, styles or derivations thereof), whether prior to or after the Petition Date,

and wherever located, including, without limitation, (i) all of the Secured DIP Loan Parties’ rights,

title and interests in all “Collateral” (as defined in the DIP Credit Agreement), Prepetition

Collateral (including Cash Collateral), ABL Priority Collateral and Term Loan Priority Collateral

(each as defined in the Prepetition ABL Intercreditor Agreement), (ii) all money, cash and cash

equivalents, all funds in any deposit accounts, securities accounts, commodities accounts or other

accounts (together with any and all money, cash and cash equivalents, instruments and other

property deposited therein or credited thereto from time to time), all accounts receivable and other

receivables (including those generated by intercompany transactions), all rights to payment,

contracts and contract rights, all instruments, documents and chattel paper, all securities (whether

or not marketable), all goods, furniture, machinery, plants, equipment, vehicles, inventory and

fixtures, all real property interests, all interests in leaseholds, all franchise rights, all patents,

tradenames, trademarks, copyrights, licenses and all other intellectual property, all general

intangibles, tax or other refunds, or insurance proceeds, all equity interests, capital stock, limited




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liability company interests, partnership interests and financial assets, all investment property, all

supporting obligations, all letters of credit and letter of credit rights, all commercial tort claims

(including, for the avoidance of doubt, any Cause of Action related thereto), all books and records

(including, without limitation, customers lists, credit files, computer programs, printouts and other

computer materials and records), and all rents, products, offspring, profits, and proceeds of each

of the foregoing and all accessions to, substitutions and replacements for, each of the foregoing,

including any and all proceeds of any insurance (including any business interruption and property

insurance), indemnity, warranty or guaranty payable to any Secured DIP Loan Party from time to

time with respect to any of the foregoing, and (iii) subject to entry of the Final Order, all proceeds

of and property that is recovered from or becomes unencumbered as a result of, whether by

judgment, settlement or otherwise, Avoidance Actions (“Avoidance Action Proceeds”).

               (c)     Priority of DIP Liens. The DIP Liens shall have the following ranking and

priorities (subject in all cases to the Carve Out):

                       (i)     First Priority Liens on Unencumbered Property. Pursuant to
       section 364(c)(2) of the Bankruptcy Code, the DIP Liens shall be valid, binding,
       continuing, enforceable, non-avoidable, fully and automatically perfected first priority
       liens and security interests in all DIP Collateral that is not subject to Permitted Prior Liens,
       including, for the avoidance of doubt, subject to entry of the Final Order, Avoidance Action
       Proceeds (collectively, the “Unencumbered Property”).

                        (ii)   Priming DIP Liens and Junior DIP Liens. Pursuant to
       sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, the DIP Liens shall be valid,
       binding, continuing, enforceable, non-avoidable, fully and automatically perfected liens
       and security interests in all DIP Collateral (other than as described in subparagraph (c)(i)
       of this paragraph 6), which DIP Liens (A) shall be subject and subordinate to (1) Permitted
       Prior Liens, and (2) solely with respect to ABL Priority Collateral (as defined in the
       Prepetition ABL Intercreditor Agreement) and DIP Collateral of a type that would
       otherwise constitute ABL Priority Collateral, the ABL Adequate Protection Liens (as
       defined below) and the Prepetition ABL Liens, (B) shall be subject to the priorities set forth
       in Exhibit 4 attached hereto, and (C) shall be senior to any and all other liens and security
       interests in the DIP Collateral, including, without limitation, all liens and security interests
       in the Term Loan Priority Collateral (as defined in the Prepetition ABL Intercreditor
       Agreement) or any DIP Collateral that would otherwise constitute Term Loan Priority
       Collateral (including, without limitation, any ABL Adequate Protection Liens, Prepetition


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       ABL Liens, First Lien Adequate Protection Liens (as defined below), Prepetition First Lien
       Liens, Second Lien Adequate Protection Liens (as defined below), Second Lien Sidecar
       Adequate Protection Liens (as defined below), Prepetition Second Liens or Prepetition
       Second Lien Sidecar Liens in Term Loan Priority Collateral).

                       (iii)    DIP Liens Senior to Other Liens. Except to the extent expressly
       permitted hereunder, the DIP Liens and the DIP Superpriority Claims (as defined below)
       shall not be made subject or subordinate to or pari passu with (A) any lien, security interest
       or claim heretofore or hereinafter granted in any of the Chapter 11 Cases or any Successor
       Cases, including any lien, security interest or claim granted in favor of any federal, state,
       municipal, or other governmental unit (including any regulatory body), commission, board
       or court for any liability of the Debtors, (B) any lien or security interest that is avoided and
       preserved for the benefit of the Secured DIP Loan Parties and their estates under
       section 551 of the Bankruptcy Code or otherwise, (C) any intercompany or affiliate claim,
       lien or security interest of the Secured DIP Loan Parties or their affiliates, or (D) any other
       lien, security interest or claim arising under section 363 or 364 of the Bankruptcy Code
       granted on or after the date hereof.

               (d)     To the fullest extent permitted by the Bankruptcy Code, any provision of

any lease, license, contract or other agreement that requires the consent or approval of one or more

landlords, licensors or other parties, or requires the payment of any fees or obligations to any

governmental entity, non-governmental entity or any other person or entity, in order for any Debtor

to pledge, grant, mortgage, sell, assign, or otherwise transfer any fee or leasehold interest, or

proceeds thereof or other collateral related thereto, shall have no force or effect with respect to the

transactions granting the DIP Liens or the Adequate Protection Liens in any such fee, leasehold,

interest, or other collateral, or in the proceeds of any assignment and/or sale thereof by any Debtor

in favor of the DIP Secured Parties or the Prepetition Secured Parties in accordance with the

DIP Loan Documents and this Interim Order.

               (e)     Subject to entry of this Interim Order and solely with respect to Freedom

VCM Holdings, LLC subject to paragraph 33 below, the DIP Obligations, at the option of the

Required DIP Lenders, to be exercised in their sole and absolute discretion, may be repaid (i) first,

from the DIP Collateral comprising Unencumbered Property, and (b) second, from all other

DIP Collateral, subject to the relative priorities set forth on Exhibit 4 hereto.


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           7.         DIP Superpriority Claims. Pursuant to sections 364(c)(1) and 364(e) of the

Bankruptcy Code, the DIP Obligations shall constitute allowed superpriority administrative

expense claims against each of the Debtors in each of their respective Chapter 11 Cases and any

Successor Cases on account of the DIP Obligations, with priority over any and all other

administrative expense claims and all other claims against the Debtors, now existing or hereafter

arising,        of    any   kind   or   nature   whatsoever,    including,   without   limitation,   the

Adequate Protection Claims and all administrative expense claims of the kind specified in or

ordered pursuant to sections 105, 326, 328, 330, 331, 503(b), 506(c) (subject to entry of the Final

DIP Order), 507(a), 507(b), 546, 726, 1113 or 1114 of the Bankruptcy Code, or any other provision

of the Bankruptcy Code, whether or not such expenses or claims may become secured by a

judgment lien or other non-consensual lien, levy or attachment (the “DIP Superpriority Claims”).

The DIP Superpriority Claims shall (x) for purposes of section 1129(a)(9)(A) of the

Bankruptcy Code, be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code and (y) be subject to the priorities set forth in Exhibit 4 attached hereto. The

DIP Superpriority Claims shall be payable by each of the Debtors, on a joint and several basis, and

shall have recourse to all DIP Collateral, subject only to the Carve Out. The DIP Superpriority

Claims shall be entitled to the full protection of section 364(e) of the Bankruptcy Code, including

in the event that this Interim Order or any provision hereof is vacated, reversed or modified, on

appeal or otherwise.

           8.         Use of DIP Collateral, Prepetition Collateral and Cash Collateral.

                      (a)    The Debtors are hereby authorized to use the proceeds of DIP Loans and all

Cash Collateral solely to the extent permitted under the Approved Budget (subject to Permitted

Variances) and subject to the terms and conditions set forth in the DIP Loan Documents and this




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Interim Order. Except on the terms and conditions of this Interim Order and the DIP Documents,

the Debtors shall be enjoined and prohibited from at any time using the Cash Collateral absent

further order of the Court.

                 (b)     Without the prior written consent of the Required DIP Lenders, the Debtors

shall not sell, transfer, lease, encumber, or otherwise dispose of any portion of the DIP Collateral

(or enter into any binding agreement to do so), except as permitted by the DIP Loan Documents.

All collection and proceeds, whether from ordinary course collections, asset sales, debt or equity

issuances, insurance recoveries, condemnation, or otherwise, will be deposited and applied as

required by this Interim Order and the DIP Loan Documents (subject to paragraph 37 hereof and

the priorities set forth on Exhibit 4 hereto). Except as may be provided in the DIP Loan

Documents, and subject to the priorities set forth on Exhibit 4 hereto, the Debtors are authorized

and directed, upon the closing of a sale of any of the DIP Collateral, to immediately pay all

proceeds of any such sale to the DIP Agent, for the benefit of itself and the other DIP Secured

Parties, to satisfy the DIP Obligations in accordance with this Interim Order and the DIP Loan

Documents until the DIP Obligations are Paid in Full,7 and any order approving the sale of such

DIP Collateral shall provide that the sale is conditioned upon such payment of DIP Obligations

(except to the extent otherwise agreed in writing by the Required DIP Lenders).

        9.       Budget and Variance Reporting.

                 (a)     The Initial Budget sets forth, on a line item, cumulative and aggregate basis,

(i) the Debtors’ projected cash receipts expected to be collected, and necessary disbursements and




7
    The term “Paid in Full” or “Payment in Full” means the indefeasible payment in full in cash of all
    DIP Obligations or Prepetition Secured Obligations, as the case may be, other than contingent indemnification
    and expense reimbursement obligations for which no claim or demand has been asserted, and all commitments
    thereunder have been terminated or expired.



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expenditures (including debt service costs) expected to be incurred or made, by the Debtors, in

each case, for each calendar week during the period from the calendar week ending on the Friday

of the calendar week in which the Petition Date occurs through and including the end of the

thirteenth (13th) calendar week thereafter, (ii) the sum of weekly unused availability under the

DIP Facility, plus unrestricted cash on hand, (iii) the weekly outstanding principal balance of

amounts outstanding under the DIP Facility, and (iv) a professional fee accrual budget with respect

to the anticipated professional fees and expenses to be incurred by each applicable professional

advisor during such period.

               (b)    Updated Budgets. No later than 5:00 p.m. (New York City time) on every

fourth Thursday following the Petition Date (each such Thursday, the “Updated Budget

Deadline”), the DIP Loan Parties shall deliver to the DIP Agent, the Lender Advisors and the DIP

Lenders a supplement to the Initial Budget (each, an “Updated Budget”), covering the then-

upcoming 13-week period that commences with Saturday of the calendar week immediately

preceding such Updated Budget Deadline, in each case consistent with the form and detail set forth

in the Initial Budget and including a forecasted unrestricted cash balance as well as a line-item

report setting forth the estimated fees and expenses to be incurred by each professional advisor on

a weekly basis; provided, however, that (x) (i) the Updated Budget will be deemed, in each case,

conditionally approved unless the Required DIP Lenders provide written notice of their objection

to such Updated Budget (which notice may be provided by one of the Lender Advisors on their

behalf via email) within four(4) Business Days of the delivery of such Updated Budget, and during

such period, the Initial Budget or most recent Approved Budget, as applicable, shall remain in

effect (the “Interim Approval Period”), (ii) following the Interim Approval Period, if no objection

is received from the Required DIP Lenders pursuant to clause (i), the Updated Budget shall be




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deemed the Approved Budget, shall be in full force and effect and shall constitute the “Approved

Budget” (which Approved Budget shall be the Initial Budget until superseded by an approved

Updated Budget), provided, that the Required DIP Lenders may, at any time after such Interim

Approval Period and until the date that is seven (7) Business Days after delivery of the Updated

Budget (each such date, an “Objection Deadline”), object to such Updated Budget, and upon

receipt of such objection, the Initial Budget or the most recent Approved Budget shall be deemed

the Approved Budget and (y) if the Required DIP Lenders do not provide written notice of their

objection to such Updated Budget (which notice of objection may be provided by one the Lender

Advisors on their behalf via email) by the applicable Objection Deadline, the Updated

Budget shall be in full force and effect and shall constitute the Approved Budget for all purposes

hereunder; (iii) the Required DIP Lenders shall not have any obligation to approve any Updated

Budget, and (iv) no modification to the Initial Budget or any Updated Budget, any reforecasting

of any information relating to any period covered thereby or the inclusion of new line items in any

Updated Budget, as the case may be, shall in any event be effective without the affirmative written

consent of the Required DIP Lenders (which may be provided by one of the Lender Advisors on

their behalf via email).

               (c)     No later than 5:00 p.m. (New York City time) every Thursday, commencing

with the first Thursday immediately following the first full week after the calendar week in which

the Petition Date occurs (each such Thursday, the “Variance Report Deadline”), the DIP Loan

Parties shall deliver to the DIP Agent and the Lender Advisors a variance report, each in form,

detail and substance satisfactory to the Required DIP Lenders in their sole discretion (each, a

“Variance Report”), setting forth the difference between, on a line-by-line and aggregate basis,

(i) actual operating receipts and budgeted operating receipts as set forth in the Approved Budget,




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as the case may be (the “Receipts Variance”), and (ii) actual operating disbursements and budgeted

operating disbursements as set forth in the Approved Budget, as the case may be (the

“Disbursements Variance”), in each case, for the applicable period, together with a reasonably

detailed explanation of such Receipts Variance and Disbursements Variance for such applicable

period.

          10.    Adequate Protection. The Prepetition Secured Parties are entitled, pursuant to

sections 361, 362, 363(e) and 507 of the Bankruptcy Code, to adequate protection of their

respective Prepetition Liens in Prepetition Collateral (including Cash Collateral), as follows (the

liens, security interests, payments and other obligations set forth in this paragraph 10, are

collectively referred to herein as the “Adequate Protection Obligations”):

                 (a)     Adequate Protection for Prepetition ABL Secured Parties. The Prepetition

ABL Secured Parties are hereby granted the following adequate protection of their Prepetition

ABL Liens in the Prepetition ABL Collateral (including Cash Collateral):

                           (i)     ABL Adequate Protection Claims. The Prepetition ABL Agent, for
          the benefit of itself and the Prepetition ABL Lenders, is hereby granted, to the extent and
          in the amount of any Diminution in Value of the Prepetition ABL Liens in the Prepetition
          ABL Collateral (including Cash Collateral), superpriority administrative expense claims
          contemplated by section 507(b) of the Bankruptcy Code against each of the Debtors in each
          of the Chapter 11 Cases and any Successor Cases (the “ABL Adequate Protection
          Claims”), which shall be payable by each of the Debtors, on a joint and several basis, and
          shall have recourse to all DIP Collateral. The ABL Adequate Protection Claims shall be
          (a) subject and subordinate to the Carve Out and the DIP Superpriority Claims and pari
          passu with the First Lien Adequate Protection Claims (as defined below), (b) subject to the
          relative priorities set forth in Exhibit 4 attached hereto, and (c) senior to any and all other
          administrative expense claims and all other claims against the Debtors and their estates,
          now existing or hereafter arising, of any kind or nature whatsoever.

                          (ii)   ABL Adequate Protection Liens. The Prepetition ABL Agent, for the
          benefit of itself and the Prepetition ABL Lenders, is hereby granted, effective and
          automatically perfected as of the Petition Date, and without the necessity of the execution,
          recordation or filing of any pledge, collateral or security documents, mortgages, deeds of
          trust, financing statements, notations of certificates of title for titled goods, or any other
          document or instrument, or the taking of any other action (including, without limitation,
          entering into any lockbox or deposit account control agreement or other action to take


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       possession or control of any DIP Collateral), to the extent and in the amount of any
       Diminution in Value of the Prepetition ABL Liens in the Prepetition ABL Collateral, valid,
       binding, enforceable and perfected post-petition liens and security interests in all
       DIP Collateral (the “ABL Adequate Protection Liens”). The ABL Adequate Protection
       Liens (a) shall be subject to the Carve Out and Permitted Prior Liens, (b) shall be subject
       to the relative priorities set forth in Exhibit 4 attached hereto, and (c) shall be senior to any
       and all other liens and security interests in the DIP Collateral.

               (b)     Additional Adequate Protection for Prepetition ABL Secured Parties. As

additional adequate protection of the Prepetition ABL Liens in the Prepetition ABL Collateral

(including Cash Collateral), the Debtors are hereby authorized to provide, and the Prepetition ABL

Secured Parties are hereby granted, additional adequate protection in the form of the following:

                      (i)     Interest Due Under Prepetition ABL Credit Agreement. The
       Prepetition ABL Agent, on behalf of itself and the Prepetition ABL Lenders, shall receive
       (x) promptly upon the entry of this Interim Order, all interest due (at the non-default rate)
       under the Prepetition ABL Credit Agreement that accrued but was unpaid as of the Petition
       Date, payable in cash, and (y) thereafter, all interest due (at the non-default rate) under the
       Prepetition ABL Credit Agreement, as and when due thereunder, payable in cash.

                        (ii)  Fees and Expenses. The Debtors are authorized and directed to pay,
       without the necessity of filing formal fee applications or compliance with the
       U.S. Trustee’s fee guidelines, the out-of-pocket costs and expenses of the Prepetition ABL
       Agent, whether arising prior to or after the Petition Date, including, without limitation, the
       reasonable and documented fees and expenses of (A) Latham & Watkins LLP, as counsel
       to the Prepetition ABL Agent, (B) M-III Partners, LP, as financial advisor to the Prepetition
       ABL Agent, (C) one local counsel to the Prepetition ABL Agent, and (D) Choate Hall &
       Stewart LLP as counsel to certain Prepetition ABL Lenders (collectively, the “ABL
       Advisors”), in each case, as follows: (1) promptly following the entry of this Interim Order,
       the Debtors shall pay in full in cash all costs and expenses of the Prepetition ABL Agent,
       including the reasonable and documented fees and expenses of the ABL Advisors
       (collectively, the “ABL Fees and Expenses”) arising on or prior to the Petition Date,
       (2) upon the Effective Date, the Debtors shall pay in full in cash all ABL Fees and Expenses
       arising through the Effective Date, and (3) thereafter, subject in the case of professional
       fees to the procedures set forth in paragraph 11 of this Interim Order, the Debtors shall pay
       in full in cash all ABL Fees and Expenses that arise following the Effective Date.

                       (iii)   Reporting. The Debtors shall provide the Prepetition ABL Agent
       (and the ABL Advisors) with all reports, documents and other information required to be
       delivered to the DIP Secured Parties under the DIP Loan Documents and this Interim Order
       contemporaneously with the delivery of such information to the DIP Secured Parties. The
       Debtors shall provide the Prepetition ABL Agent with all other reporting required under
       the Prepetition ABL Credit Agreement when due in accordance with its terms except as
       otherwise set forth in this Interim Order.


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               (iv)   Cash Management Covenant. The Debtors shall maintain their cash
management arrangements in a manner consistent with those described in the applicable
“first day” order, which shall be in form and substance reasonably acceptable to the
Prepetition ABL Agent.

               (v)     [Reserved.]

                 (vi)     ABL Cash Collateral Borrowing Base.            The definition of
“Borrowing Base” used in the determination of any Availability Event or Borrowing Base
Shortfall (each as defined below) shall be the “Borrowing Base” as defined in, and
determined in accordance with, the Prepetition ABL Credit Agreement and set forth in the
most recent Borrowing Base Certificate (as defined in the Prepetition ABL Credit
Agreement) delivered prior to the Petition Date but modified as provided below herein (the
“Cash Collateral Borrowing Base”), which, for the avoidance of doubt, shall give effect
to the applicable Net Recovery Percentages (as defined in the Prepetition ABL Credit
Agreement) set forth in the (i) Addendum, dated September 25, 2024, to the Gordon
Brothers appraisal report for Pet Supply Plus, LLC, dated May 13, 2024; (ii) Addendum,
dated July 9, 2024, to the Gordon Brothers appraisal report for Franchise Group, Inc.
(American Freight Group, Inc.), dated May 15, 2024; and (iii) Addendum, dated July 9,
2024, to the Gordon Brothers appraisal report for Franchise Group, Inc. (Vitamin Shoppe),
dated April 30, 2024, and in each case, as adjusted pursuant to a Permitted Re-Appraisal
(defined below); provided, further, that notwithstanding anything to the contrary in the
Prepetition ABL Credit Agreement, (x) the Cash Collateral Borrowing Base shall not
otherwise reflect any new reserves or any modifications of eligibility criteria (except those
eligibility criteria that automatically change pursuant to the application of any formula or
numerical calculation as in effect on the Petition Date), (y) the Cash Collateral Borrowing
Base will be calculated using any updated Borrowing Base Certificates (as defined in the
ABL Credit Agreement) as and when required to be delivered pursuant to paragraph
10(a)(vii) below, and (z) the Cash Collateral Borrowing Base shall be increased (on a
dollar-for-dollar basis) by the amount of cash then held in the Adequate Protection Account
(as defined herein). For the avoidance of doubt, the Cash Collateral Borrowing Base shall
not include any amounts deposited in the Professional Fees Account pursuant to paragraph
23(b) hereof.

                 (vii) Borrowing Base Reporting. The Debtors shall deliver to the
Prepetition ABL Agent, with copies to the DIP Agent, a Borrowing Base Certificate, with
all the information required to be provided in connection therewith, in each case in the
format customarily delivered with each Borrowing Base Certificate delivered prior to the
Petition Date, setting forth the Cash Collateral Borrowing Base (i) calculated as of the last
day of the immediately preceding calendar week (with weeks, for purpose of the Borrowing
Base Certificate, beginning on Sunday and ending on Saturday) on Thursday of each week
commencing on November 14, 2024 for the week ending November 9, 2024, and each
Thursday thereafter; and (ii) calculated as of the last Business Day of the immediately
preceding fiscal month, promptly, but in no event later than December 20, 2024 with
respect to the fiscal month ended November 30, 2024, and twenty calendar days (or, if such
day is not a Business Day, the next Business Day) following the end of each subsequent
fiscal month, which monthly Borrowing Base Certificates shall reconcile all weekly


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       inventory roll forwards. The Borrowing Base Certificates will include weekly back up
       information consistent with the Prepetition ABL Credit Agreement, including, but not
       limited to, an inventory summary report by category as determined by Borrowers in
       accordance with their current and prior inventory management policies and a letter of credit
       inventory summary, and identifying where such inventory is located.

                       (viii) Appraisals. Notwithstanding anything to the contrary in the
       Prepetition ABL Credit Agreement, the Prepetition ABL Agent will not be entitled to
       request access for and/or request any new inspections, appraisals and field examinations
       (including, without limitation, with respect to ABL Priority Collateral). Notwithstanding
       the foregoing, the Prepetition ABL Agent shall be permitted to request access for and/or
       request any new inspections, appraisals, and field examinations from time to time, at the
       Prepetition ABL Agent’s own expense, for valuation purposes only, which (i) do not
       impact the calculation of the Cash Collateral Borrowing Base and (ii) do not unreasonably
       interfere with the ordinary course activities and operations of the Debtors as in effect at
       such time, provided that, on or after the “Outside Date” under and as defined in the
       DIP Credit Agreement, if the Prepetition ABL Loan Parties have not emerged from chapter
       11, the Prepetition ABL Agent may conduct one appraisal, inspection, and field
       examination consistent with past practice, and may adjust the valuations used to calculate
       the Borrowing Base in accordance with the terms of the Prepetition ABL Credit Agreement
       based on such appraisal, inspection, or field examination (a “Permitted Re-Appraisal”).

                       (ix)    Adequate Protection Account. If the Borrower delivers a weekly
       Borrowing Base Certificate to the Prepetition ABL Agent that provides a Borrowing Base
       that is less than the sum of (a) the Prepetition ABL Obligations plus (b) $32,000,000 (an
       “Availability Event,” and the amount of such shortfall, the “Borrowing Base Shortfall”),
       the Borrower shall, by the end of the second Business Day thereafter, deposit cash in an
       amount equal to the Borrowing Base Shortfall into a controlled segregated reserve account
       maintained by the Prepetition ABL Agent (the “Adequate Protection Account”), with all
       funds held in the Adequate Protection Account deemed ABL Priority Collateral and
       deemed not DIP Collateral, provided that the Borrowing Base shall be adjusted on a dollar-
       for-dollar basis by the amount of cash then held in the Adequate Protection Account and
       shall be reflected in Borrowing Base Certificates, provided further that, for the avoidance
       of doubt, the DIP Liens shall extend to the Debtors’ reversionary interest in the Adequate
       Protection Account. The Borrower may withdraw cash from the Adequate Protection
       Account at any time so long as such withdrawal, delivery of the most recent Borrowing
       Base Certificate would not have resulted in an Availability Event.

               (c)     Adequate Protection for Prepetition First Lien Secured Parties. The

Prepetition First Lien Secured Parties are hereby granted the following adequate protection of their

Prepetition First Lien Liens in the Prepetition First Lien Collateral (including Cash Collateral):

                       (i)    First Lien Adequate Protection Claims. The Prepetition First Lien
       Agent, for the benefit of itself and the Prepetition First Lien Lenders, is hereby granted, to
       the extent and in the amount of any Diminution in Value of the Prepetition First Lien Liens


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       in the Prepetition First Lien Collateral (including Cash Collateral), superpriority
       administrative expense claims contemplated by section 507(b) of the Bankruptcy Code
       against each of the Debtors in each of their respective Chapter 11 Cases and any Successor
       Cases (the “First Lien Adequate Protection Claims”), which shall be payable by each of
       the Debtors, on a joint and several basis, and shall have recourse to all DIP Collateral. The
       First Lien Adequate Protection Claims shall be (a) subject and subordinate to the Carve Out
       and the DIP Superpriority Claims, (b) subject to the relative priorities set forth in Exhibit 4
       attached hereto, and (c) senior to any and all other administrative expense claims and all
       other claims against the Debtors and their estates, now existing or hereafter arising, of any
       kind or nature.

                        (ii)   First Lien Adequate Protection Liens. The Prepetition First Lien
       Agent, for the benefit of itself and the Prepetition First Lien Lenders, is hereby granted,
       effective and automatically perfected as of the Petition Date, and without the necessity of
       the execution, recordation or filing of any pledge, collateral or security documents,
       mortgages, deeds of trust, financing statements, notations of certificates of title for titled
       goods, or any other document or instrument, or the taking of any other action (including,
       without limitation, entering into any lockbox or deposit account control agreement or other
       action to take possession or control of any DIP Collateral), to the extent and in the amount
       of any Diminution in Value of the Prepetition First Lien Liens in the Prepetition First Lien
       Collateral, valid, binding, enforceable and perfected post-petition liens and security
       interests in all DIP Collateral (the “First Lien Adequate Protection Liens”). The First Lien
       Adequate Protection Liens shall be (a) subject to the Carve Out, the DIP Liens, and
       Permitted Prior Liens, and with respect to ABL Priority Collateral, the ABL Adequate
       Protection Liens and the Prepetition ABL Liens, (b) subject to the relative priorities set
       forth in Exhibit 4 attached hereto, and (c) senior to any and all other liens and security
       interests in the DIP Collateral.

               (d)       Additional Adequate Protection for Prepetition First Lien Secured Parties.

As additional adequate protection of the Prepetition First Lien Liens in the Prepetition First Lien

Collateral (including Cash Collateral), the Debtors are hereby authorized to provide, and the

Prepetition First Lien Secured Parties are hereby granted, additional adequate protection in the

form of the following:

                       (i)     Interest Due Under Prepetition First Lien Credit Agreement. The
       Prepetition First Lien Agent, on behalf of the Prepetition First Lien Lenders, shall receive
       (x) promptly upon the entry of this Interim Order, all interest due (at the non-default rate)
       under the Prepetition First Lien Credit Agreement that accrued but was unpaid as of the
       Petition Date, if any, payable in cash, and (y) thereafter, all interest due (at the non-default
       rate) under the Prepetition First Lien Credit Agreement, as and when due thereunder,
       payable in cash.




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                       (ii)    Fees and Expenses. The Debtors are authorized and directed to pay,
       without the necessity of filing formal fee applications or compliance with the
       U.S. Trustee’s fee guidelines, whether arising prior to or after the Petition Date, (A) the
       out-of-pocket fees, costs and expenses of the Prepetition First Lien Agent, including,
       without limitation, the reasonable and documented fees and expenses of (x) Seward &
       Kissel LLP, as counsel to the Prepetition First Lien Agent, and (y) a single firm as local
       counsel to the Prepetition First Lien Agent (collectively, the “First Lien Agent Fees and
       Expenses”), and (B) the out-of-pocket fees and expenses of the members of the Ad Hoc
       Lender Group, including, without limitation, the reasonable and documented fees and
       expenses of the Lender Advisors (collectively, the “Ad Hoc Lender Group Fees and
       Expenses”, and together with the First Lien Agent Fees and Expenses, the “First Lien Fees
       and Expenses”), in each case, as follows: (1) promptly following the entry of this Interim
       Order, the Debtors shall pay in full in cash all First Lien Fees and Expenses arising on or
       prior to the Petition Date, (2) upon the Effective Date, the Debtors shall pay in full in cash
       all First Lien Fees and Expenses arising through the Effective Date, and (3) thereafter,
       subject in the case of professional fees to the procedures set forth in paragraph 11 of this
       Interim Order, the Debtors shall pay in full in cash all First Lien Fees and Expenses that
       arise following the Effective Date.

                       (iii)   Reporting. The Debtors shall provide the Prepetition First Lien
       Agent and the Lender Advisors with all reports, documents and other information required
       to be delivered to the DIP Secured Parties and the Prepetition ABL Secured Parties under
       the DIP Loan Documents and the Prepetition ABL Loan Documents, respectively, and this
       Interim Order contemporaneously with the delivery of such information to the DIP Secured
       Parties to the Prepetition ABL Secured Parties, as applicable.

                       (iv)   Cash Management Covenant. The Debtors shall maintain their cash
       management arrangements in a manner consistent with those described in the applicable
       “first day” order, which shall be in form and substance reasonably acceptable to the Ad Hoc
       Lender Group.

                (e)   Adequate Protection for Prepetition Second Lien Secured Parties. The

Prepetition Second Lien Secured Parties are hereby granted the following adequate protection of

their Prepetition Second Lien Liens in the Prepetition Second Lien Collateral (including Cash

Collateral):

                      (i)     Second Lien Adequate Protection Claims. The Prepetition Second
       Lien Agent, for the benefit of itself and the Prepetition Second Lien Lenders, is hereby
       granted, to the extent and in the amount of any Diminution in Value of the Prepetition
       Second Lien Liens in the Prepetition Second Lien Collateral (including Cash Collateral),
       superpriority administrative expense claims contemplated by section 507(b) of the
       Bankruptcy Code against each of the Debtors in each of the Chapter 11 Cases and any
       Successor Cases (the “Second Lien Adequate Protection Claims”), which shall be payable
       by each of the Debtors, on a joint and several basis, and shall have recourse to all


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       DIP Collateral. The Second Lien Adequate Protection Claims shall be (a) subject and
       subordinate to the Carve Out and the DIP Superpriority Claims, (b) subject to the relative
       priorities set forth in Exhibit 4 attached hereto, and (c) senior to any and all other
       administrative expense claims and all other claims against the Debtors and their estates,
       now existing or hereafter arising, of any kind or nature whatsoever.

                        (ii)    Second Lien Adequate Protection Liens. The Prepetition Second
       Lien Agent, for the benefit of itself and the Prepetition Second Lien Lenders, is hereby
       granted, effective and perfected as of the Petition Date, without the necessity of the
       execution, recordation or filing of any pledge, collateral or security documents, mortgages,
       deeds of trust, financing statements, notations of certificates of title for titled goods, or any
       other document or instrument, or the taking of any other action (including, without
       limitation, entering into any lockbox or deposit account control agreement or other act to
       take possession or control of any DIP Collateral), to the extent and in the amount of any
       Diminution in Value of the Prepetition Second Lien Liens in the Prepetition Second Lien
       Collateral, valid, binding, enforceable and automatically perfected post-petition liens and
       security interests in all DIP Collateral (the “Second Lien Adequate Protection Liens”),
       which Second Lien Adequate Protection Liens shall be (a) subject to the Carve Out, the
       DIP Liens and the Permitted Prior Liens and with respect to ABL Priority Collateral, the
       ABL Adequate Protection Liens and the Prepetition ABL Liens, (b) subject to the relative
       priorities set forth in Exhibit 4 attached hereto, and (c) shall be senior to any and all other
       liens and security interests in the DIP Collateral.

               (f)     Adequate Protection for Prepetition Second Lien Sidecar Secured Parties.

The Prepetition Second Lien Sidecar Secured Parties are hereby granted the following adequate

protection of their Prepetition Second Lien Sidecar Liens in the Prepetition Second Lien Sidecar

Collateral (including Cash Collateral):

                       (i)     Second Lien Sidecar Adequate Protection Claims. The Prepetition
       Second Lien Sidecar Agent, for the benefit of itself and the Prepetition Second Lien Sidecar
       Lenders, is hereby granted, to the extent and in the amount of any Diminution in Value of
       the Prepetition Second Lien Sidecar Liens in the Prepetition Second Lien Sidecar Collateral
       (including Cash Collateral), superpriority administrative expense claims contemplated by
       section 507(b) of the Bankruptcy Code against each of the Debtors in each of the
       Chapter 11 Cases and any Successor Cases (the “Second Lien Sidecar Adequate
       Protection Claims”, and together with the ABL Adequate Protection Claims, the First Lien
       Adequate Protection Claims and the Second Lien Adequate Protection Claims, the
       “Adequate Protection Claims”), which shall be payable by each of the DIP Loan Parties,
       on a joint and several basis, and shall have recourse to all DIP Collateral. The Second Lien
       Sidecar Adequate Protection Claims shall be (a) subject and subordinate to the Carve Out
       and the DIP Superpriority Claims, (b) subject to the relative priorities set forth in Exhibit 4
       attached hereto, and (c) senior to any and all other administrative expense claims and all
       other claims against the Debtors and their estates, now existing or hereafter arising, of any
       kind or nature whatsoever.


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                       (ii)    Second Lien Sidecar Adequate Protection Liens. The Prepetition
       Second Lien Sidecar Agent, for the benefit of itself and the Prepetition Second Lien Sidecar
       Lenders, is hereby granted, effective and perfected as of the Petition Date, without the
       necessity of the execution, recordation or filing of any pledge, collateral or security
       documents, mortgages, deeds of trust, financing statements, notations of certificates of title
       for titled goods, or any other document or instrument, or the taking of any other action
       (including, without limitation, entering into any lockbox or deposit account control
       agreement or other act to take possession or control of any DIP Collateral), to the extent
       and in the amount of any Diminution in Value of the Prepetition Second Lien Sidecar Liens
       in the Prepetition Second Lien Sidecar Collateral, valid, binding, enforceable and
       automatically perfected post-petition liens and security interests in all DIP Collateral
       (the “Second Lien Sidecar Adequate Protection Liens”, and together with the
       ABL Adequate Protection Liens, the First Lien Adequate Protection Liens and the Second
       Lien Adequate Protection Liens, the “Adequate Protection Liens”), which Second Lien
       Sidecar Adequate Protection Liens shall be (a) subject to the Carve Out, the DIP Liens and
       the Permitted Prior Liens and with respect to ABL Priority Collateral, the ABL Adequate
       Protection Liens and the Prepetition ABL Liens, (b) subject to the relative priorities set
       forth in Exhibit 4 attached hereto, and (c) shall be senior to any and all other liens and
       security interests in the DIP Collateral.

       11.     Adequate Protection Fees and Expenses. The invoices with respect to the

professional fees and expenses payable under paragraphs 2, 10(b)(ii)(3) and 10(d)(ii)(3) of this

Interim Order shall not be required to comply with the U.S. Trustee guidelines, nor shall the

applicable professionals be required to file fee applications with the Court with respect to any fees

or expenses payable hereunder, and all invoices therefor may be in summary form only (and shall

not be required to contain individual time entries, and may be redacted or modified to the extent

necessary to delete any information subject to the attorney-client privilege, any information

constituting attorney work product, or any other confidential information, and the provision of

such invoices shall not constitute any waiver of the attorney-client privilege or of any benefits of

the attorney work product doctrine), and shall, by email, be provided to counsel to the Debtors,

counsel to any Official Committee and the U.S. Trustee (the “Fee Notice Parties”); provided,

however, if no formal objection to payment of the requested fees and expenses is made in writing

by any of the Fee Notice Parties within ten (10) calendar days after delivery of such invoices (the

“Fee Objection Period”), then, upon the expiration of the Fee Objection Period, without further


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order of, or application to, the Court or notice to any other party, such fees and expenses shall be

promptly paid by the Debtors and, in any event, no later than three (3) Business Days after

expiration of the Fee Objection Period; provided, further, however, if a formal objection is made

by any of the Fee Notice Parties within the Fee Objection Period to payment of the requested fees

and expenses, the undisputed portion shall promptly be paid by the Debtors, and in any event, no

later than three (3) Business Days after expiration of the Fee Objection Period, and the disputed

portion shall only be paid upon resolution of such objection by the applicable parties or by order

of the Court. Any hearing on an objection to the payment of any fees, costs or expenses set forth

in a professional fee invoice shall be limited to reasonableness of the fees, costs and expenses that

are the subject of such objection. Subject to this paragraph 11, none of the adequate protection

payments required to be made pursuant to this Interim Order shall be subject to claim,

counterclaim, challenge, setoff, subordination, recharacterization, defense, avoidance or

disgorgement in the Chapter 11 Cases or any Successor Cases.

       12.     Adequate Protection Reservation of Rights of Prepetition Secured Parties.

Notwithstanding any other provision hereof, the grant of adequate protection to the Prepetition

Secured Parties pursuant to this Interim Order shall not be deemed an admission that the interests

of such Prepetition Secured Parties are indeed adequately protected, and is without prejudice to

the right of the Prepetition Secured Parties (subject to the Prepetition Intercreditor Agreements) to

seek additional relief with respect to the use of Prepetition Collateral (including Cash Collateral),

or to seek modification of the grant of adequate protection provided hereby so as to provide

different or additional adequate protection, and without prejudice to the right of the Debtors or any

other party in interest to contest any such modification. Nothing herein shall be deemed to waive,

modify or otherwise impair the respective rights of the Prepetition Secured Parties under the




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Prepetition Loan Documents, the Prepetition Intercreditor Agreements, or under applicable law,

and the Prepetition Secured Parties expressly reserve all of their respective rights and remedies

whether now existing or hereafter arising under the Prepetition Loan Documents and applicable

law. Without limiting the foregoing, nothing contained in this Interim Order shall impair or modify

the application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

provided hereunder is insufficient to compensate the Prepetition Secured Parties for any

Diminution in Value during the Chapter 11 Cases.

       13.     Reservation of Rights. Notwithstanding anything herein to the contrary, the entry

of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

implicitly: (a) the rights of the DIP Secured Parties or the Prepetition Secured Parties (subject to

the Prepetition Intercreditor Agreements and this Interim Order) to seek any other or supplemental

relief in respect of the Debtors; (b) subject to the Prepetition Intercreditor Agreements, the rights

of the DIP Secured Parties or the Prepetition Secured Parties under the DIP Loan Documents or

the Prepetition Loan Documents (including the Prepetition Intercreditor Agreements), the

Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, the right to

(i) request modification of the automatic stay of section 362 of the Bankruptcy Code; (ii) request

dismissal of any of the Chapter 11 Cases, conversion of any or all of the Chapter 11 Cases to a

case under chapter 7, or appointment of a chapter 11 trustee or examiner with expanded powers;

or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy Code, a chapter 11

plan or plans; or (c) any other rights, claims, or privileges (whether legal, equitable or otherwise)

of the DIP Secured Parties or the Prepetition Secured Parties (in each case, subject to the

Prepetition Intercreditor Agreements). Notwithstanding anything contained herein to the contrary,

the entry of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly




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or implicitly, the Debtors’ or any party in interest’s right to oppose (on an emergency basis if need

be) any of the relief requested in accordance with the immediately preceding sentence, except as

expressly set forth in this Interim Order and subject to the Prepetition Intercreditor Agreements.

       14.     Amendments. Without the need for further notice or approval of this Court, the

Debtors are authorized to execute, deliver and perform under, one or more amendments, waivers,

consents, or other modifications (including, for the avoidance of doubt, the payment of any

amendment fee, consent fee, waiver fee or similar fee paid or payable in connection therewith) to

and under the DIP Loan Documents, in each case, in accordance with the provisions of the

DIP Credit Agreement governing amendments thereto (and otherwise in form and substance

acceptable to the Required DIP Lenders); provided, however, that any amendment that (a) shortens

the maturity of the extensions of credit thereunder; (b) increases the aggregate commitments

thereunder; or (c) increases the rate of interest or any fee (other than any amendment fee, consent

fee, waiver fee or similar fee paid or payable in connection with such amendment) payable

thereunder (each, a “Material DIP Amendment”) shall be provided (which may be by electronic

mail) to counsel for any Official Committee, counsel to the Prepetition ABL Agent and the U.S.

Trustee and filed with the Court no later than three (3) Business Days prior to the anticipated date

of effectiveness of any such Material DIP Amendment, and if no formal objection to the Material

DIP Amendment is made by the U.S. Trustee, Prepetition ABL Agent or any Official Committee

within such three (3) Business Day period, then, without further notice or order of the Court, such

Material DIP Amendment shall automatically be deemed approved and effective; provided,

however, if a formal objection is made by the U.S. Trustee, Prepetition ABL Agent or any Official

Committee within such three (3) Business Day period, then such Material DIP Amendment shall

be subject to approval of the Court.




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       15.     Modification of Automatic Stay. The automatic stay imposed by section 362(a) of

the Bankruptcy Code is hereby vacated and modified, without further notice to or order of this

Court, to permit (in each case, subject to the Prepetition Intercreditor Agreements): (a) the DIP

Loan Parties to grant the DIP Liens and the DIP Superpriority Claims, and to perform such acts as

the DIP Secured Parties may request to assure the perfection and priority of the DIP Liens; (b) the

DIP Loan Parties to incur all liabilities and obligations, including all of the DIP Obligations, to the

DIP Secured Parties as contemplated under this Interim Order and the DIP Loan Documents;

(c) the DIP Loan Parties to grant the Adequate Protection Liens and the Adequate Protection

Claims, and to perform such acts as the Prepetition Agents may request to assure the perfection

and priority of the Adequate Protection Liens; (d) the DIP Loan Parties to incur all liabilities and

obligations, including all Adequate Protection Obligations, to the Prepetition Secured Parties as

contemplated under this Interim Order and the Prepetition Loan Documents; (e) the DIP Loan

Parties to pay all amounts required hereunder and under the DIP Loan Documents; (f) the DIP

Secured Parties and the Prepetition Secured Parties to retain and apply payments made in

accordance with the terms of this Interim Order, the Prepetition Intercreditor Agreements, the

Prepetition ABL Loan Documents, and the DIP Loan Documents; (g) subject to paragraph 21(b)

and/or 21(f) of this Interim Order (as applicable), the DIP Secured Parties and the Prepetition

Secured Parties to exercise, upon the occurrence and during the continuance of any DIP

Termination Event (as defined below), all rights and remedies provided for in this Interim Order,

the DIP Loan Documents or applicable law; (h) to perform under this Interim Order and the DIP

Loan Documents, and to take any and all other actions that may be required, necessary, or desirable

for the performance by the Debtors under this Interim Order and the DIP Loan Documents and the

implementation of the transactions contemplated hereunder and thereunder; and (i) the




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implementation of all of the terms, rights, benefits, privileges, remedies, and provisions of this

Interim Order and the DIP Loan Documents.

       16.     Perfection of DIP Liens and Adequate Protection Liens.

               (a)     This Interim Order shall be sufficient and conclusive evidence of the

attachment, validity, perfection, and priority of all liens and security interests granted hereunder

and under the DIP Loan Documents, including, without limitation, the DIP Liens and the Adequate

Protection Liens, without the necessity of the execution, recordation or filing of any pledge,

collateral or security agreements, mortgages, deeds of trust, lockbox or control agreements,

financing statements, notations of certificates of title for titled goods, or any other document or

instrument, or the taking of any other action (including, without limitation, entering into any

deposit account control agreement or other act to take possession or control of any DIP Collateral),

to attach, validate, perfect or prioritize such liens and security interests, or to entitle the

DIP Secured Parties and the Prepetition Secured Parties to the priorities granted herein (each, a

“Perfection Act”) (other than, to the extent applicable, any such filings required under applicable

non-U.S. law to attach, validate, perfect or prioritize such liens).

               (b)     Without in any way limiting the automatically effective perfection of the

liens granted hereunder and the DIP Loan Documents (including, without limitation, the DIP Liens

and the Adequate Protection Liens), the DIP Agent, at the direction of the Required DIP Lenders,

and the Prepetition Agents (acting at the direction of the requisite Prepetition Secured Parties under

the applicable Prepetition Loan Documents, as applicable), respectively, are hereby authorized,

but not required, in the case of the DIP Agent, at the direction of the applicable Required DIP

Lenders, and in the case of the Prepetition Agents, (acting at the direction of the requisite

Prepetition Secured Parties under the applicable Prepetition Loan Documents, as applicable) as




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they may determine for any reason, to execute, file and record (and to execute in the name of the

DIP Loan Parties, as their true and lawful attorneys, with full power of submission, to the

maximum extent permitted under applicable law) or otherwise effectuate any Perfection Act or to

take any other action in order to attach, validate, perfect, preserve and enforce the liens and security

interests granted to them hereunder or under the DIP Loan Documents to otherwise evidence such

liens and security interests in all DIP Collateral; provided, however, that, whether or not the DIP

Agent, at the direction of the Required DIP Lenders, or the Prepetition Agents determine (acting

at the direction of the requisite Prepetition Secured Parties under the applicable Prepetition Loan

Documents, as applicable), to execute, file, record or otherwise effectuate any Perfection Act with

respect to any liens or security interests granted hereunder, such liens and security interests shall

nonetheless be deemed valid, perfected, allowed, enforceable, non-avoidable and not subject to

objection, challenge, dispute, avoidance, recharacterization or subordination as of the entry of this

Interim Order. Upon the request of the DIP Agent, at the direction of the Required DIP Lenders,

without any further consent of any party, the DIP Agent and the Debtors are authorized and

directed to take, execute, deliver and file such instruments (in each case, without representation or

warranty of any kind) to enable the DIP Agent, for the benefit of itself and the DIP Lenders, to

further validate, perfect, preserve and enforce the DIP Liens. All such documents will be deemed

to have been recorded and filed as of the entry of this Interim Order.

                (c)     A certified copy of this Interim Order may, as to the DIP Agent, at the

direction of the Required DIP Lenders, or as to the Prepetition Agents (acting at the direction of

the requisite Prepetition Secured Parties under the applicable Prepetition Loan Documents, as

applicable), be (but need not be) filed with or recorded in filing or recording offices in addition to

or in lieu of any security documents, and all filing offices are hereby authorized and directed to




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accept such certified copy of this Interim Order for filing and/or recording, as applicable. The

automatic stay of section 362(a) of the Bankruptcy Code shall be modified to the extent necessary

to permit the DIP Agent, at the direction of the Required DIP Lenders, or the Prepetition Agents

to take all actions, as applicable, referenced in this paragraph.

       17.     Protection of DIP Lenders’ Rights.

               (a)     Until the DIP Obligations are Paid in Full, the Prepetition Secured Parties,

and subject to the terms of the Prepetition ABL Intercreditor Agreement and the terms hereof with

respect to the Prepetition ABL Secured Parties, shall: (i) have no right to and shall take no action

to foreclose upon, or recover in connection with, the liens or security interests granted to the

Prepetition Secured Parties pursuant to the Prepetition Loan Documents or this Interim Order or

otherwise seek to exercise or enforce any rights or remedies against any DIP Collateral, Prepetition

Collateral or Prepetition Loan Party (as applicable), including, without limitation, any exercise of

setoff or recoupment; (ii) be deemed to have consented to any transfer, disposition or sale of, or

release of liens or claims on, such DIP Collateral or and the proceeds thereof, to the extent such

transfer, disposition, sale, or release is authorized hereunder, under the applicable DIP Loan

Documents; or (iii) not file any further financing statements, patent filings, trademark filings,

copyright filings, mortgages, notices of lien, or similar instruments, or otherwise take any action

to perfect their security interests in the DIP Collateral unless, solely as to this clause (iii), any of

the applicable DIP Secured Parties have filed financing statements or other documents in respect

of the liens granted pursuant to this Interim Order or as may be required by applicable state law to

continue the perfection of valid and unavoidable liens or securities interests as of the Petition Date;

or (iv) deliver or cause to be delivered, at the Debtors’ cost and expense (for which the Prepetition

Agents shall be reimbursed upon submission to the Debtors of invoices or billing statements), any




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termination statements, releases and/or assignments in favor of the DIP Agent and the DIP Secured

Parties or other documents necessary to effectuate and/or evidence the release, termination and/or

assignment of liens on any portion of DIP Collateral subject to any sale or disposition authorized

hereunder or under the DIP Loan Documents. No Prepetition Secured Party may, directly or

indirectly, (A) contest, or support any other Person in contesting, in any proceeding, the extent,

validity, attachment, priority, or enforceability of any DIP Lien held by or on behalf of any of the

DIP Secured Parties in the DIP Collateral (or the extent, validity, allowability, or enforceability of

any DIP Obligations secured thereby or purported to be secured thereby) or the provisions of the

DIP Loan Documents or this Interim Order, (B) take any action that would restrain, hinder, limit,

delay or otherwise interfere with the exercise of any rights or remedies by any of the DIP Secured

Parties, or (C) contest, object to or support any other Person in contesting or objecting to the

manner in which any DIP Secured Party seeks to enforce or collect the DIP Obligations, the

DIP Superpriority Claims or the DIP Liens or any amendment, waiver or modification of any

DIP Loan Document (including Exhibit 4 attached hereto).

               (b)     Except with respect to Prepetition ABL Secured Parties and the Prepetition

ABL Intercreditor Agreement solely as provided herein, to the extent any Prepetition Secured

Party has been noted as a secured party on any security document or otherwise has possession of

or control with respect to any Prepetition Collateral, then such Prepetition Secured Party shall be

deemed to maintain such possession or notation or exercise such control as a gratuitous bailee

and/or gratuitous agent for perfection for the benefit of the DIP Agent, for the benefit of itself and

the other DIP Secured Parties, and the DIP Lenders, and such Prepetition Secured Party shall

comply with the instructions of the DIP Agent, at the direction of the Required DIP Lenders, with




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respect to the exercise of such possession or control, subject to the priorities set forth on Exhibit

4.

               (c)     Notwithstanding anything to the contrary herein, (i) so long as there are any

Prepetition ABL Secured Obligations (including the ABL Adequate Protection Claims)

outstanding and prior to the Payment in Full of the Prepetition ABL Secured Obligations

(including the ABL Adequate Protection Claims), in each case solely with respect to the ABL

Priority Collateral, the enforcement rights of the DIP Secured Parties or Prepetition Secured Parties

(other than the Prepetition ABL Secured Parties) with respect to ABL Priority Collateral shall be

subject to the terms of the Prepetition ABL Intercreditor Agreement as if the DIP Agent was party

thereto as a First Lien Term Loan Representative (as defined in the Prepetition ABL Intercreditor

Agreement), and (ii) so long as there are any DIP Obligations or Prepetition First Lien Secured

Obligations (including the First Lien Adequate Protection Claims) outstanding and prior to the

Payment in Full of the DIP Obligations and Prepetition First Lien Secured Obligations (including

the First Lien Adequate Protection Claims), in each case solely with respect to the Term Loan

Priority Collateral, the enforcement rights of the Prepetition Secured Parties (other than the

Prepetition First Lien Secured Parties) with respect to Term Loan Priority Collateral shall be

subject to the terms of the Prepetition Intercreditor Agreements, as applicable, as if the DIP Agent

was party thereto as a First Lien Term Loan Representative.

               (d)     Except with respect to Prepetition ABL Secured Parties and Prepetition

ABL Intercreditor Agreement solely as provided herein, in the event that any person or entity that

holds a lien on or security interest in DIP Collateral that is junior or otherwise subordinate to the

DIP Liens receives any DIP Collateral or proceeds of DIP Collateral, or receives any payment on

account of such lien or security interest in the DIP Collateral, (whether in connection with the




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exercise of any right or remedy (including setoff), payment or distribution from the Debtors,

mistake, or otherwise), prior to the Payment in Full of all DIP Obligations, such person or entity

shall be deemed to have received, and shall hold, any such payment or proceeds of DIP Collateral

in trust for the benefit of the DIP Secured Parties, and shall immediately turn over all such proceeds

to the DIP Agent, for the benefit of itself and the other DIP Secured Parties, in the same form as

received, with any necessary endorsements, for application in accordance with the DIP Loan

Documents and this Interim Order. The DIP Agent, at the direction of the Required DIP Lenders,

is hereby authorized to make any such endorsement as agent for each of the Prepetition Agents or

any Prepetition Secured Party. This authorization is coupled with an interest and is irrevocable.

               (e)     Except as expressly provided herein or in the DIP Loan Documents, no

claim or lien having a priority senior to or pari passu with those granted to any of the DIP Secured

Parties or Prepetition Secured Parties by this Interim Order shall be granted or permitted while any

of the DIP Obligations, Adequate Protection Obligations or the Prepetition Secured Obligations,

respectively, remain outstanding. Except as expressly provided in this Interim Order or the

DIP Loan Documents, each of the DIP Liens, the DIP Superpriority Claims, the Adequate

Protection Liens and the Adequate Protection Claims: (A) shall not be made junior or subordinated

to or pari passu with (i) any lien, security interest or claim heretofore or hereinafter granted in any

of the Chapter 11 Cases or any Successor Cases, whether under section 364(d) of the Bankruptcy

Code or otherwise, (ii) any lien that is avoided and preserved for the benefit of the Debtors and

their estates under section 551 of the Bankruptcy Code or otherwise, (iii) any lien arising after the

Petition Date including, without limitation, any lien or security interests granted in favor of any

federal, state, municipal or other domestic or foreign governmental unit (including any regulatory

body), commission, board or court for any liability of the Debtors, or (iv) any intercompany or




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affiliate lien or claim; and (B) shall not be subject to sections 506(c) (subject to entry of the

Final Order granting such relief), 510, 549, 550 or 551 of the Bankruptcy Code.

       18.     Maintenance of DIP Collateral. Until such time as all DIP Obligations are Paid in

Full (or as otherwise agreed in writing by the Required DIP Lenders) and all Prepetition ABL

Obligations are Paid in Full (or as otherwise agreed in writing by the Prepetition ABL Agent), the

Debtors shall continue to maintain all property, operational, and other insurance as required and

as specified in the DIP Loan Documents, the Prepetition First Lien Loan Documents and

Prepetition ABL Loan Documents. Upon the entry of this Interim Order, the DIP Agent, for the

benefit of itself and the other DIP Secured Parties, shall automatically be deemed to be named as

additional insured and lender loss payee under each insurance policy maintained by the Debtors

that in any way relates to the DIP Collateral (including all property damage and business

interruption insurance policies of the Debtors, whether expired, currently in place, or to be put in

place in the future), and shall act in that capacity and distribute any proceeds recovered or received

in respect of any such insurance policies, at the direction of the Required DIP Lenders, first, to the

Payment in Full of all DIP Obligations, and second, to the payment of the Prepetition Secured

Obligations (subject to the terms and conditions of the Prepetition Intercreditor Agreements),

subject, in the case of each of the immediately preceding two clauses, to paragraph 37 hereof.

Notwithstanding the foregoing, the Debtors and/or the Prepetition Agents shall take any actions

reasonably requested by the DIP Agent, at the direction of the Required DIP Lenders, to have the

DIP Agent, on behalf of itself and the other DIP Secured Parties, added as an additional insured

and lenders loss payee on each such insurance policy.

       19.     Cash Management. Until such time as all DIP Obligations and Prepetition Secured

Obligations are Paid in Full, the Debtors shall maintain the cash management system in effect as




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of the Petition Date, as modified by this Interim Order and any order of the Court authorizing the

continued use of the cash management system that is acceptable to the Required DIP Lenders and

the DIP Agent. The Debtors shall not open any new deposit or securities account that is not subject

to the liens and security interests of each of the DIP Secured Parties, the Prepetition ABL Secured

Parties, and the Prepetition First Lien Secured Parties (in which case they shall be subject to the

lien priorities and other provisions set forth in this Interim Order).

       20.     Reporting; Access to Records. The Debtors shall provide the DIP Lenders and

Lender Advisors with all reporting, management calls, access to books and records and other

information required to be provided to any of the DIP Secured Parties under the DIP Loan

Documents. Without limiting the requirements contained herein or in the DIP Loan Documents,

the Debtors shall (a) provide the DIP Agent (and its advisors), the Required DIP Lenders, the Ad

Hoc Lender Group and any Official Committee (and each of their respective advisors) with (i) all

reports, documents, and information required to be delivered under the DIP Loan Documents

(contemporaneously when the same is required to be delivered thereunder), and (ii) reasonable

access, upon reasonable notice and during regular business hours, to the Debtors’ books and

records, assets and properties, for purposes of monitoring the Debtors’ businesses and operations

and the value of the DIP Collateral, and (b) reasonably cooperate and consult with, and provide

information reasonably requested by the DIP Agent, at the direction of the Required DIP Lenders,

the Required DIP Lenders, the Ad Hoc Lender Group or any Official Committee (and their

respective advisors) concerning the Debtors’ businesses, financial condition, properties, business

operations and assets.




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       21.     DIP Termination Events; Exercise of Remedies.

               (a)     DIP Termination Events. The occurrence of any of the following shall

constitute a “DIP Termination Event” under this Interim Order (each a “DIP Termination Event”,

and the date upon which such DIP Termination Event occurs, the “DIP Termination Date”),

unless waived in writing by the Required DIP Lenders: (i) the occurrence of an “Event of Default”

under and as defined in the DIP Credit Agreement; (ii) the occurrence of the “Maturity Date”

under and as defined in the DIP Credit Agreement; (iii) any of the Debtors seeks authorization

from the Court for (or the Court enters an order authorizing or approving) any amendment,

modification, or extension of this Interim Order or the DIP Loan Documents without the prior

written consent of the Required DIP Lenders (and no such consent shall be implied by any other

action or inaction of any of the DIP Secured Parties); (iv) the failure of the Debtors to make any

payment required under this Interim Order or the DIP Loan Documents to any of the DIP Secured

Parties or the Prepetition First Lien Secured Parties as and when due and payable hereunder or

thereunder; (v) the failure by any of the Debtors to timely perform or comply in any material

respect, with any of the other terms, provisions, conditions or other obligations under this Interim

Order; or (vi) the occurrence of any Cash Collateral Termination Event.

               (b)     Remedies Upon DIP Termination Event. Upon the occurrence and during

the continuation of a DIP Termination Event, without further notice to, hearing, or order from the

Court, the automatic stay provisions of Section 362 of the Bankruptcy Code shall be vacated and

modified to the extent necessary to permit the DIP Agent, acting at the direction of the

Required DIP Lenders, to, subject to the terms of the Prepetition Intercreditor Agreements (if

applicable): (i) deliver to the Lead Borrower a notice declaring the occurrence of a DIP

Termination Event; (ii) declare the termination, reduction or restriction of the commitments under




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the DIP Facility (to the extent any such commitment remains); (iii) declare the DIP Obligations

then outstanding to be due and payable; (iv) declare the termination of the DIP Facility and the

DIP Loan Documents as to any further liability or obligation thereunder, but without affecting the

DIP Liens or the DIP Obligations; (v) declare the reduction or restriction on the DIP Facility or

the DIP Loan Documents; (vi) declare the termination, restriction or revocation of the ability of

the Debtors to use Cash Collateral; (vii) charge interest at the default rate under the DIP Facility;

(viii) freeze all monies or balances in any deposit accounts of the Debtors; (ix) immediately

exercise any and all rights of set-off; (x) exercise any right or remedy against the DIP Collateral,

including, without limitation, the disposition of DIP Collateral for application towards the

DIP Obligations; or (xi) take any other action or exercise any other right or remedy permitted

under the DIP Loan Documents, this Interim Order or applicable law; provided that, in the case of

the enforcement of rights against the DIP Collateral pursuant to clauses (vi), (vii), (viii),

(ix), (x) and (xi) of this paragraph 21(b), the DIP Agent, acting at the direction of the

Required DIP Lenders, shall provide counsel to the Debtors, the Prepetition ABL Agent and ABL

Advisors, counsel to any Official Committee and the U.S. Trustee five (5) days’ prior written

notice (the “Remedies Notice”)8 (which may be provided by email or other electronic means), and

during such five (5) day notice period (the “Remedies Notice Period”), the Debtors and/or any

Official Committee shall be permitted to request an emergency hearing before the Court (which

request must be made prior to the conclusion of the Remedies Notice Period, and shall seek

consideration of such request on an expedited basis) to determine whether a DIP Termination

Event has occurred; provided, however, that, during the Remedies Notice Period, the Debtors are




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    For the avoidance of doubt, the Remedies Notice, or any other notice contemplated under this paragraph 21 may
    be included in the Carve Out Trigger Notice.



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permitted to use Cash Collateral solely to fund expenses critically necessary to preserve the value

of the Debtors’ businesses, as determined by the Required DIP Lenders, and the

Carve Out Reserves.

                 (c)       Unless the Court finds that a DIP Termination Event has not occurred,

following the expiration of the Remedies Notice Period, without further notice to, hearing or order

from the Court, the automatic stay of section 362 of the Bankruptcy Code shall automatically be

vacated and modified for the purposes of permitting the DIP Secured Parties to exercise any and

all rights and remedies available to them under this Interim Order, the DIP Loan Documents, and

applicable law (including, without limitation, the enforcement of rights against DIP Collateral

pursuant to clauses (vi), (vii), (viii), (ix), (x) and (xi) of paragraph 21(b), subject to the Prepetition

Intercreditor Agreements, as applicable).

                 (d)       Following the expiration of the Remedies Notice Period, and following the

Payment in Full of all DIP Obligations (unless the Required DIP Lenders otherwise agree in

writing), unless otherwise ordered by the Court during the Remedies Notice Period, the automatic

stay of section 362 of the Bankruptcy Code shall be vacated and modified to the extent necessary

to permit the Prepetition Agents (acting at the direction of the requisite Prepetition Secured Parties

under      the         applicable    Prepetition    Loan       Documents)        (subject      to     the

Prepetition Intercreditor Agreements), to exercise all rights and remedies available under the

Prepetition Loan Documents or applicable law with respect to Prepetition Collateral consistent

with this Interim Order.

                 (e)       The Debtors shall cooperate with the DIP Secured Parties and/or the

Prepetition Secured Parties in their efforts to enforce their liens and security interests in the

DIP Collateral or the Prepetition Collateral, as applicable, and (other than the right to contest




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whether a DIP Termination Event has occurred and is continuing) the Debtors shall not take or

direct any entity to take any action designed or intended to hinder or restrict in any respect such

party from enforcing its rights or remedies in the DIP Collateral or the Prepetition Collateral, as

applicable.

                (f)    Upon the occurrence of any of the below events (a “Cash Collateral

Termination Event”), the Prepetition ABL Secured Parties, on not less than five (5) days’ notice

to the Debtors, the Official Committee (if any), and the DIP Lenders (such five (5) day period, the

“ABL Remedies Notice Period”), during which ABL Remedies Notice Period the Debtors, the

DIP Lenders, and/or any Official Committee shall be permitted to request an emergency hearing

before the Court (which request must be made prior to the conclusion of the ABL Remedies Notice

Period, and shall seek consideration of such request on an expedited basis) to determine whether

a Cash Collateral Termination Event has occurred, may terminate their consent to the Debtors’ use

of Cash Collateral constituting ABL Priority Collateral (unless otherwise ordered by the Court);

provided, however, that during the ABL Remedies Notice Period, the Debtors are permitted to use

Cash Collateral solely to fund expenses critically necessary to preserve the value of the Debtors’

businesses, as determined by the requisite Prepetition ABL Secured Parties, and the

Carve Out Reserves (the date on which the Prepetition ABL Secured Parties’ consent to the

Debtors’ use of Cash Collateral is terminated in accordance with this paragraph 21(f), the “Cash

Collateral Termination Date”):

                       (i)    the occurrence and continuance of an Event of Default (as defined
                in the DIP Credit Agreement) that has not been waived by the Required DIP
                Lenders pursuant to the DIP Loan Documents or cured for a period of five (5)
                Business Days;

                        (ii)   the termination of all commitments under the DIP Facility, other
                than in accordance with the DIP Documents;




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                      (iii)  the failure of the DIP Lenders to fund a material portion of any
               properly requested draw under the DIP Facility in violation of the terms of the DIP
               Loan Documents, which failure has not been remedied within five (5) days after
               such request;

                       (iv)   the exercise of remedies by the DIP Agent including, but not limited
               to, the termination of the consensual use of Cash Collateral or the delivery of a
               Carve Out Trigger Notice;

                      (v)    the failure to make any payment of interest owed pursuant to
               paragraph 10(b)(i) within five (5) Business Days after such payment becomes due;

                       (vi)   the failure to fund the Adequate Protection Account (as defined
               herein) in accordance with the terms of this Interim Order within five (5) Business
               Days of an Availability Event (as defined herein);

                      (vii) the filing of any motion or pleading by the Debtors to stay, vacate,
               reverse, amend or modify this Interim Order or the Final Order in a manner
               materially adverse to the Prepetition ABL Secured Parties without their consent;

                     (viii) the entry of an order appointing a trustee, receiver or examiner with
               expanded powers with respect to any of the Debtors;

                      (ix)    the Debtors shall attempt to invalidate or reduce the Prepetition ABL
               Obligations;

                      (x)     the dismissal of any of the Chapter 11 Cases;

                      (xi)    the effective date of any chapter 11 plan;

                      (xii)   the conversion of any of the Chapter 11 Cases to a case under
               chapter 7;

                       (xiii) the failure to deliver any Borrowing Base Certificate (as defined
               herein) within five (5) Business Days after the date which such Borrowing Base
               Certificate is required to be delivered under this Interim Order; and

                      (xiv) the stay, reversal, vacatur, rescission or other modification of this
               Interim Order or the Final Order in a manner materially adverse to the Prepetition
               ABL Secured Parties without the consent of the Prepetition ABL Secured Parties.

       22.     No Waiver by Failure to Seek Relief. The rights and remedies of the DIP Secured

Parties and the Prepetition Secured Parties specified herein, are cumulative and not exclusive of

any rights or remedies that the DIP Secured Parties or the Prepetition Secured Parties may have

under the DIP Loan Documents, the Prepetition Loan Documents, applicable law or otherwise.


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The failure or delay on the part of any of the DIP Secured Parties or the Prepetition Secured Parties

to seek relief or otherwise exercise their rights and remedies under this Interim Order, the DIP

Loan Documents, the Prepetition Loan Documents or applicable law, as the case may be, shall not

constitute a waiver of any of their respective rights hereunder, thereunder or otherwise. No delay

on the part of any party in the exercise of any right or remedy under this Interim Order, the DIP

Loan Documents or the Prepetition Loan Documents shall preclude any other or further exercise

of any such right or remedy or the exercise of any other right or remedy. Except as otherwise set

forth in the Prepetition Intercreditor Agreements, none of the rights or remedies of any party under

this Interim Order, the DIP Loan Documents and the Prepetition Loan Documents shall be deemed

to have been amended, modified, suspended, or waived unless such amendment, modification,

suspension, or waiver is express, in writing and signed by the requisite parties under the DIP Loan

Documents and the requisite parties under the Prepetition Loan Documents, as applicable. No

consents required hereunder by any of the DIP Secured Parties or the Prepetition Secured Parties

shall be implied by any inaction or acquiescence by any of the DIP Secured Parties or the

Prepetition Secured Parties (as applicable).

       23.     Carve Out.

               (a)     Carve Out. As used in this Interim Order, the term “Carve Out” means an

amount equal to the sum of (i) all fees required to be paid to the Clerk of the Court and to the

Office of the United States Trustee under section 1930(a) of title 28 of the United States Code plus

interest at the statutory rate pursuant to 31 U.S.C. § 3717 (without regard to the notice set forth in

clause (iii) below), (ii) all reasonable fees and expenses up to $25,000 incurred by a trustee under

section 726(b) of the Bankruptcy Code (without regard to the notice set forth in clause (iii) below),

(iii) to the extent allowed by this Court at any time, whether by interim order, procedural order, or




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otherwise (which order has not been vacated or stayed), all accrued and unpaid fees and expenses

(in each case, including any restructuring, sale, success, or other transaction fee of any investment

bankers or financial advisors to the DIP Loan Parties when and if earned pursuant to the terms and

conditions of an engagement letter approved by this Court in these Chapter 11 Cases) (collectively,

the “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors pursuant

to section 327, 328, or 363 of the Bankruptcy Code (collectively, the “Debtor Professionals”) and

the Official Committee (if appointed) pursuant to section 328 or 1103 of the Bankruptcy Code (the

“Committee Professionals”, and together with the Debtor Professionals, the “Professional

Persons”) at any time before or on the first day following the date of delivery by the DIP Agent,

at the direction of the Required DIP Lenders, of a Carve Out Trigger Notice (as defined below),

whether allowed by the Court prior to or after delivery of a Carve Out Trigger Notice (and in the

case of the Committee Professionals, not to exceed the aggregate amounts set forth for the

Committee Professionals in the Approved Budget), and (iv) Allowed Professional Fees of

Professional Persons in an aggregate amount not to exceed $4,000,000 incurred after the first day

following the date of delivery by the DIP Agent, at the direction of applicable the Required DIP

Lenders, of the Carve Out Trigger Notice, to the extent allowed at any time, whether by interim

order, procedural order, or otherwise (the amounts set forth in this clause (iv) being the “Post-

Carve Out Trigger Notice Cap”); provided, however, that nothing herein shall be construed to

impair the ability of any party in interest to object to the fees, expenses, reimbursement, or

compensation described in clauses (i) through (iv) of this paragraph 23(a) on any grounds. The

“Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

means) by (x) the DIP Agent (at the direction of the Required DIP Lenders) and/or (y) the

Prepetition ABL Agent, in each case, to counsel to the Debtors, the U.S. Trustee and counsel to




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the Official Committee (if any), which notice may be delivered following the occurrence and

during the continuation of a DIP Termination Event (in the case of a Carve-Out Trigger Notice

delivered by the DIP Agent) and/or a Cash Collateral Termination Event (in the case of a Carve-

Out Trigger Notice delivered by the Prepetition ABL Agent), stating that the Post-Carve Out

Trigger Notice Cap has been invoked.

               (b)     Carve Out Reserves. The Debtors shall, on a weekly basis, transfer cash

proceeds of the DIP Facility or cash on hand into a segregated account (the “Professional Fees

Account”) in an amount equal to the reasonable good faith estimates of Professional Persons of

the amount of unpaid fees and expenses incurred during the preceding week by such Professional

Persons. The Professional Fees Account, if applicable, shall be held in trust and used solely to

satisfy Allowed Professional Fees. On the day on which a Carve Out Trigger Notice is delivered

in accordance with this paragraph 23(b) of this Interim Order, (the “Termination Declaration

Date”), the Carve Out Trigger Notice shall constitute a demand to the Debtors to utilize all cash

(including Cash Collateral) on hand as of such date, including funds in the Professional Fees

Account, if applicable, (net of any amounts held on retainer by any Professional Persons) and any

available cash thereafter held by any Debtor to fund a reserve in an amount equal to the then unpaid

amounts of the Allowed Professional Fees accrued on and prior to the Termination Declaration

Date (the “Pre-Carve Out Trigger Notice Reserve”). Upon the occurrence of a Termination

Declaration Date, Professional Persons shall have two (2) Business Days thereafter to deliver fee

statements to the Debtors and the DIP Agent that cover such Professional Persons’ reasonable

good faith estimate of the Allowed Professional Fees incurred by such Professional Persons

through and including the Termination Declaration Date. On the Termination Declaration Date,

the Carve Out Trigger Notice shall also constitute a demand to the Debtors as of such date to utilize




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all cash (including Cash Collateral) on hand as of such date (net of any amounts held on retainer

by any Professional Persons) and any available cash thereafter held by any Debtor, after funding

the Pre-Carve Out Trigger Notice Reserve, to fund a reserve in an amount equal to the Post-Carve

Out Trigger Notice Cap (the “Post-Carve Out Trigger Notice Reserve” and, together with the

Pre-Carve Out Trigger Notice Reserve, the “Carve Out Reserves”). The Carve Out Reserves shall

be deposited in segregated non-interest bearing trust accounts at the DIP Agent, to be held in trust,

and used solely to satisfy Allowed Professional Fees benefitting from the Carve Out in accordance

with the terms hereof until such Allowed Professional Fees are paid in full. All funds in the Pre-

Carve Out Trigger Notice Reserve shall be used first to pay the obligations set forth in

clauses (i) through (iii) of paragraph 23(a) (the “Pre-Carve Out Amounts”), but not, for the

avoidance of doubt, the Post-Carve Out Trigger Notice Cap, until paid in full, and then, to the

extent the Pre-Carve Out Trigger Notice Reserve has not been reduced to zero, to pay the DIP

Agent, for the benefit of itself and the other DIP Secured Parties, for application to the

DIP Obligations in accordance with the DIP Credit Agreement, unless and until the

DIP Obligations are Paid in Full, in which case, any remaining excess shall be paid to the

Prepetition Secured Parties (subject to the terms of the Prepetition Intercreditor Agreements) in

accordance with their rights and priorities set forth in the Prepetition Intercreditor Agreements, as

of the Petition Date (unless the DIP Agent, at the direction of the Required DIP Lenders, and the

requisite Prepetition Secured Parties, respectively, have otherwise agreed in writing in respect of

the applicable obligations owed to each of them). All funds in the Post-Carve Out Trigger Notice

Reserve shall be used first to pay the obligations set forth in clause (iv) of paragraph 23(a)

(the “Post-Carve Out Amounts”), and then, to the extent the Post-Carve Out Trigger Notice

Reserve has not been reduced to zero, to pay the DIP Agent, for itself and for the benefit of the




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other DIP Secured Parties, for application to the DIP Obligations in accordance with the DIP Credit

Agreement, unless and until the DIP Obligations are Paid in Full (unless the Required DIP Lenders

have otherwise agreed in writing), in which case, any remaining excess shall be paid to the

Prepetition Agents for the benefit of the Prepetition Secured Parties (subject to the terms of the

Prepetition Intercreditor Agreements) in accordance with their rights and priorities set forth in the

Prepetition Intercreditor Agreements (unless the Required DIP Lenders and the requisite

Prepetition Secured Parties, respectively, have otherwise agreed in writing in respect of the

applicable obligations owed to each of them). Notwithstanding anything to the contrary in the DIP

Loan Documents, the Prepetition Loan Documents or this Interim Order, if either of the Carve Out

Reserves is not funded in full in the amounts set forth in this paragraph 23, then, any excess funds

in one of the Carve Out Reserves following the payment of the Pre-Carve Out Amounts and

Post-Carve Out Amounts, respectively, shall be used to fund the other Carve Out Reserve, up to

the applicable amount set forth in this paragraph 23, prior to making any payments to the DIP

Agent, for itself and for the benefit of the other DIP Secured Parties, the Prepetition Agents or any

of the Debtors’ creditors, as applicable. Notwithstanding anything to the contrary in the DIP Loan

Documents, the Prepetition Loan Documents or this Interim Order, following delivery of a Carve

Out Trigger Notice, the DIP Agent, at the direction of the Required DIP Lenders, and the

Prepetition Agents shall not sweep or foreclose on cash (including cash received as a result of the

sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been fully

funded, but the DIP Liens and the Adequate Protection Liens shall automatically attach to any

residual interest in the Carve Out Reserves (which liens shall be deemed automatically perfected

senior liens), with any excess paid to the DIP Agent, for itself and for the benefit of the other DIP

Secured Parties, unless and until the DIP Obligations are Paid in Full, in which case, any remaining




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excess shall be paid to the Prepetition Agents for the benefit of the Prepetition Secured Parties

(subject to the terms of the Prepetition Intercreditor Agreements) in accordance with their rights

and priorities set forth in the Prepetition Intercreditor Agreements (unless the Required DIP

Lenders and the requisite Prepetition Secured Parties, respectively, have otherwise agreed in

respect of the applicable obligations owed to each of them). Notwithstanding anything to the

contrary in this Interim Order, (x) disbursements by the Debtors from the Carve Out Reserves shall

not constitute loans or indebtedness under the DIP Loan Documents or the Prepetition Loan

Documents or otherwise increase or reduce the DIP Obligations or the Prepetition Secured

Obligations, (y) the failure of the Carve Out Reserves to satisfy in full the Allowed Professional

Fees shall not affect the priority of the Carve Out, and (z) nothing contained herein shall constitute

a cap or limitation on the ability of the Professional Persons to assert a claim on account of Allowed

Professional Fees that are due and payable by the Debtors.

               (c)     Payment of Allowed Professional Fees Prior to Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination Declaration

Date in respect of any Allowed Professional Fees shall reduce the Carve Out on a dollar-for-dollar

basis.

               (d)     Payment of Carve Out on or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

for-dollar basis; provided, however, prior to repayment from the Carve Out Reserves, any retainers

held by Professional Persons shall be applied to repay the obligations set forth in

clauses (iii) and (iv) of paragraph 23(a) prior to repayment of such obligations from the Carve Out




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Reserves, and, concurrent with such repayment of such obligations using such retainers, the Carve

Out shall permanently be reduced on a dollar for dollar basis.

               (e)     No Direct Obligation to Pay Allowed Professional Fees. None of the

DIP Secured Parties or the Prepetition Secured Parties shall be responsible for the direct payment

or reimbursement of any fees or disbursements of any Professional Person incurred in connection

with the Chapter 11 Cases or any Successor Cases under any chapter of the Bankruptcy Code.

Nothing in this Interim Order or otherwise shall be construed to obligate the DIP Secured Parties

or the Prepetition Secured Parties, in any way, to pay compensation to, or to reimburse expenses

of, any Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

               (f)     Priority of Carve Out. For the avoidance of doubt, notwithstanding anything

to the contrary in this Interim Order, the Carve Out shall be senior to all liens, security interests,

and superpriority claims granted hereunder, under the DIP Loan Documents or the Prepetition

Loan Documents.

       24.     Effect of the Debtors’ Stipulations on Third Parties.

               (a)     The Debtors’ Stipulations contained in paragraph F of this Interim Order

shall be binding upon the Debtors and any successor thereto (including, without limitation, any

chapter 7 or chapter 11 trustee or examiner appointed or elected for any of the Debtors in the

Chapter 11 Cases or any Successor Cases) in all circumstances and for all purposes immediately

upon entry of this Interim Order. The Debtors’ Stipulations shall be binding upon any

Official Committee, all other creditors, and all parties-in-interest and each of their respective

successors and assigns, in all circumstances and for all purposes, unless (i) the Official Committee

or such party-in-interest (subject in all respects to any agreement or applicable law which may




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limit or affect such entity’s right or ability to do so) obtains requisite standing pursuant to an order

of the Court entered prior to the Challenge Deadline (as defined below) and has timely filed an

adversary proceeding or contested matter (subject to the limitations contained herein) (each, a

“Challenge Proceeding”) by no later than the Challenge Deadline, (A) objecting to or challenging

the amount, validity, perfection, enforceability, priority or extent of the Prepetition Loan

Documents, the Prepetition Secured Obligations, the Prepetition Liens or the Prepetition

Collateral, or otherwise objecting to or challenging any of the admissions, stipulations, findings or

releases included in the Debtors’ Stipulations, (B) asserting or prosecuting any so-called “lender

liability” claims, Avoidance Actions or any contest, attack, objection, challenge, defense, claim,

counterclaim or Cause of Action seeking reduction, setoff, offset, recoupment, avoidance,

recharacterization, subordination (whether equitable, contractual or otherwise), reclassification,

disgorgement, disallowance, impairment, marshalling, surcharge or recovery with respect to the

Prepetition Liens, the Prepetition Secured Obligations or the Prepetition Loan Documents, and

(C) asserting or prosecuting any other claim or Cause of Action of any nature or description

whatsoever, whether arising under the Bankruptcy Code, applicable law or otherwise, against any

of the Prepetition Secured Parties or their Representatives (clauses (A)-(C), collectively, the

“Challenges”, and each, a “Challenge”), and (ii) there is entered a final non-appealable order by

a court of competent jurisdiction in favor of the plaintiff sustaining any such timely Challenge in

any duly-filed Challenge Proceeding; provided, however, that as to the Debtors, any and all such

Challenges are hereby irrevocably waived and relinquished as of the Petition Date; provided,

further, however, that any pleadings filed in connection with any Challenge Proceeding, including

any motion filed with the Court seeking requisite standing and authority to pursue a Challenge,

shall include a draft complaint attached thereto and shall set otherwise forth with specificity the




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basis for each such Challenge, and any Challenge not so specified in a Challenge Proceeding timely

and properly filed prior to the Challenge Deadline shall be deemed forever, waived, released and

barred.

               (b)     If no such Challenge Proceeding is timely and properly filed by the

Challenge Deadline, or if the Court does not rule in favor of the plaintiff in any such Challenge

Proceeding, then, without further notice or order of the Court, (i) each of the admissions,

stipulations, findings and releases contained in the Debtors’ Stipulations shall be binding on all

parties-in-interest, including, without limitation, any Official Committee, any non-statutory

committees appointed or formed in the Chapter 11 Cases, or any other party-in-interest (including,

without limitation, any chapter 7 trustee or chapter 11 trustee or examiner appointed or elected for

any of the Debtors in the Chapter 11 Cases or any Successor Cases), (ii) the Prepetition Secured

Obligations shall constitute allowed claims against each of the Debtors in the Chapter 11 Cases

and any Successor Cases, and the Prepetition Liens shall be deemed to be legal, valid, non-

avoidable, binding, continuing, perfected and enforceable, as of the Petition Date, against each of

the Debtors in the Chapter 11 Cases and any Successor Cases, (iii) the Prepetition Secured

Obligations, the Prepetition Liens and the Prepetition Loan Documents shall not be subject to any

other or further Challenge, contest, attack, objection, challenge, defense, claim, counterclaim,

reduction, setoff, offset, recoupment, avoidance, recharacterization, subordination (whether

equitable, contractual or otherwise), reclassification, disgorgement, disallowance, impairment,

marshalling, surcharge or recovery, whether under the Bankruptcy Code, applicable non-

bankruptcy law or otherwise, by any Official Committee, any non-statutory committees appointed

or formed in the Chapter 11 Cases, or any other party-in-interest (including, without limitation,

any chapter 7 trustee or chapter 11 trustee or examiner appointed or elected for any of the Debtors




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in the Chapter 11 Cases or any Successor Cases), and (iv) all Challenges against any of the

Prepetition Secured Parties or any of their Representatives (in their capacities as such) shall be

deemed forever waived, released and barred.

                (c)      If any such Challenge Proceeding is timely filed by the Challenge Deadline,

the Debtors’ Stipulations shall nonetheless remain binding and preclusive on any Official

Committee, any non-statutory committees appointed or formed in the Chapter 11 Cases, or any

other party-in-interest (including, without limitation, any chapter 7 trustee or chapter 11 trustee or

examiner appointed or elected for any of the Debtors in the Chapter 11 Cases or any Successor

Cases), except to the extent that any of the admissions, stipulations, findings or releases contained

in the Stipulations were expressly challenged in such Challenge Proceeding (and solely as to the

plaintiff party that timely filed such Challenge Proceeding and not, for the avoidance of doubt, any

other party-interest).

                (d)      The “Challenge Deadline” means the date that is (i) seventy-five (75)

calendar days after the entry of this Interim Order, (ii) as to each of the Prepetition Loan

Documents, such later date as has been agreed to, in writing, by the requisite Prepetition Secured

Parties, as applicable, under the applicable Prepetition Loan Documents solely respect to the

Challenges pertaining to such Prepetition Loan Document, and (iii) any such later date as has been

ordered by the Court, for cause shown, upon a motion filed and served within the time period set

forth in clause (i) of this paragraph 24(d).

                (e)      For the avoidance of doubt, the Debtors’ stipulations, waivers, agreements

and releases contained in paragraph E of this Interim Order shall not be subject to Challenge, and

shall be binding upon the Debtors and their estates, and any successor thereto (including, without

limitation, any chapter 7 trustee or chapter 11 trustee or examiner appointed or selected in any of




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the Chapter 11 Cases or any Successor Cases), any Official Committee, all other creditors and all

parties-in-interest and each of their respective successors and assigns, in all circumstances and for

all purposes, immediately upon entry of this Interim Order.

               (f)     Nothing in this Interim Order vests or confers on any person or entity,

including any Official Committee, standing or authority to pursue any Challenge belonging to the

Debtors or their estates, and all rights to object to any request for such standing are expressly

reserved.

       25.     Limitations on Use of DIP Collateral, Cash Collateral, Carve Out or Other Funds:

Notwithstanding anything contained in this Interim Order or any other order of the Court to the

contrary, no DIP Collateral, Prepetition Collateral, DIP Loans, Cash Collateral, proceeds of any of

the foregoing, any portion of the Carve Out or any other funds may be used (nor shall any

professional fees, costs, or expenses be paid or applied in connection therewith) by any of the

Debtors, any statutory or non-statutory committees appointed or formed in the Chapter 11 Cases,

or any other party-interest (including without limitation any chapter 7 trustee or chapter 11 trustee

or examiner appointed or elected for any of the Debtors in the Chapter 11 Cases or any Successor

Cases), directly or indirectly:

               (a)     to investigate (including by way of examinations or discovery proceedings,
       whether formal or informal), prepare, assert, initiate, assert, commence, support or
       prosecute (or finance the initiation or prosecution of) any claim, counterclaim, cross-claim,
       Cause of Action, suit, arbitration, proceeding, application, motion, contested matter,
       objection, defense, adversary proceeding, litigation or other proceeding of any nature or
       description (whether for monetary, injunctive, affirmative relief or otherwise) against any
       of the DIP Secured Parties or the Prepetition Secured Parties or their respective
       Representatives, including, without limitation, (i) any objection or challenge to the amount,
       validity, enforceability, extent, perfection or priority the DIP Loan Documents, the DIP
       Obligations (including, for the avoidance of doubt, the Backstop Premium, the
       Commitment Premium, the Exit Premium and the Fronting Fee), the DIP Liens, the
       DIP Collateral, the Adequate Protection Liens, the Adequate Protection Claims and the
       other Adequate Protection Obligations, the Prepetition Loan Documents, the Prepetition
       Secured Obligations, the Prepetition Liens or the Prepetition Collateral, (ii) any Avoidance


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Actions, (iii) any so-called “lender liability” claims, (iv) any claim or Cause of Action
seeking the invalidation, reduction, setoff, offset, recoupment, avoidance,
recharacterization, subordination (whether equitable, contractual or otherwise),
reclassification, disgorgement, disallowance, impairment, marshalling, surcharging or
recovery with respect to the DIP Liens, the DIP Obligations (including, for the avoidance
of doubt, the Backstop Premium, the Commitment Premium, the Exit Premium and the
Fronting Fee), the DIP Loan Documents, the DIP Collateral, the Adequate Protection
Liens, the Adequate Protection Claims and the other Adequate Protection Obligations, the
Prepetition Liens, the Prepetition Secured Obligations, the Prepetition Loan Documents or
the Prepetition Collateral, (vi) any other claim or Cause of Action of any nature and
description whatsoever, whether arising under the Bankruptcy Code, applicable non-
bankruptcy law, any other domestic or foreign statute, law, rule or regulation or otherwise,
against any of the DIP Secured Parties or the Prepetition Secured Parties or their respective
Representatives;
        (b)    objecting to, appealing or otherwise challenging this Interim Order, the
DIP Facility, the DIP Obligations (including, for the avoidance of doubt, the Backstop
Premium, the Commitment Premium, the Exit Premium and the Fronting Fee), the DIP
Liens, the DIP Loan Documents or the transactions contemplated hereunder or thereunder;
        (c)     objecting to or seeking to impair, modify or interfere with any of the rights,
remedies, priorities, privileges, protections or benefits granted to the DIP Secured Parties
or the Prepetition Secured Parties under this Interim Order or the DIP Loan Documents
(other than to contest whether a DIP Termination Event has occurred and is continuing);
        (d)     objecting to or seeking to prevent, hinder, interfere with or otherwise delay
any of the DIP Secured Parties’, Prepetition First Lien Secured Parties’ or the Prepetition
ABL Secured Parties’ assertion, enforcement, exercise of remedies or realization upon any
DIP Collateral or Prepetition Collateral (as applicable) in accordance with this Interim
Order, the DIP Loan Documents or the Prepetition Loan Documents (as applicable) (other
than to contest whether a DIP Termination Event has occurred and is continuing);
        (e)    seeking or requesting authorization to obtain postpetition financing
(whether equity or debt) or other financial accommodations pursuant to sections 364(c)
or (d) of the Bankruptcy Code, or otherwise, unless such financing is sufficient to cause
the Payment in Full of all DIP Obligations and Prepetition Secured Obligations
contemporaneously with the closing of such financing (or as otherwise agreed in writing
by the Required DIP Lenders and the requisite Prepetition Secured Parties, as applicable);
        (f)     seeking or requesting authorization to obtain superpriority claims or liens
or security interests (other than liens or security interests expressly permitted under the DIP
Loan Documents) in any portion of the DIP Collateral that are senior to or pari passu with
the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens, the Adequate
Protection Claims, the Prepetition Liens or the Prepetition Secured Obligations unless all
DIP Obligations and Prepetition Secured Obligations have been Paid in Full (or as
otherwise agreed in writing by the Required DIP Lenders or the requisite Prepetition
Secured Parties, as applicable); or




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              (g)     seeking or requesting to use Cash Collateral or sell or otherwise dispose of
       DIP Collateral (without the prior written consent of the Required DIP Lenders) other than
       as provided herein and in the DIP Loan Documents;

              (h)    seeking to pay any amount on account of any claims arising prior to the
       commencement of these Chapter 11 Cases, unless such payments are agreed to in writing
       by the Required DIP Lenders (or are otherwise included in the Approved Budget);

provided, however, that no more than $50,000 of the DIP Collateral, Prepetition Collateral, DIP

Loans, Cash Collateral, proceeds of any of the foregoing, any portion of the Carve Out or any other

funds may be used for allowed fees and expenses incurred by any Official Committee prior to the

Challenge Deadline to investigate (but not to litigate, contest, initiate, assert, join, commence,

support or prosecute any claim, Cause of Action or Challenge, including by way of discovery, with

respect to), the validity, enforceability, extent, perfection or priority of the Prepetition Liens, the

Prepetition Secured Obligations and the Prepetition Loan Documents.

       26.     Limitation on Charging Expenses. Except to the extent of the Carve Out, no costs

or expenses of administration of the Chapter 11 Cases or any Successor Cases at any time,

including, without limitation, any costs and expenses incurred in connection with the preservation,

protection, or enhancement of realization by the DIP Secured Parties, the Prepetition First Lien

Secured Parties, or the Prepetition ABL Secured Parties, respectively, upon the DIP Collateral, the

Prepetition First Lien Collateral, or the Prepetition ABL Collateral, respectively, shall be charged

against or recovered from the DIP Collateral as to DIP Secured Parties, the Prepetition First Lien

Collateral as to the Prepetition First Lien Secured Parties, or the Prepetition ABL Collateral as to

the Prepetition ABL Secured Parties, whether pursuant to section 506(c) of the Bankruptcy Code,

any other legal or equitable doctrine (including unjust enrichment) or otherwise, without the prior

written consent of the Required DIP Lenders with respect to the DIP Collateral, the requisite

Prepetition First Lien Secured Parties under the Prepetition First Lien Loan Documents with

respect to the Prepetition First Lien Collateral, or the requisite Prepetition ABL Secured Parties


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under the Prepetition ABL Loan Documents with respect to the Prepetition ABL Collateral, each

in their sole discretion, and no such consent shall be implied, directly or indirectly, from anything

contained in this Interim Order (including, without limitation, consent to the Carve Out or the

approval of any budget hereunder) or from any other action, inaction, or acquiescence by any of

the DIP Secured Parties, any of the Prepetition First Lien Secured Parties, or any of the Prepetition

ABL Secured Parties; provided, however, that the foregoing shall be subject to the terms of the

Final Order granting such relief.

       27.     No Marshalling; Section 552(b) Waiver. In no event shall the DIP Secured Parties,

the Prepetition First Lien Secured Parties, or the Prepetition ABL Secured Parties be subject to the

equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral, the

DIP Obligations, the Prepetition First Lien Collateral, the Prepetition First Lien Secured

Obligations, the Prepetition ABL Collateral, or the Prepetition ABL Secured Obligations (as

applicable) (other than with respect to Debtor Freedom VCM Holdings, LLC as specifically set

forth in paragraph 33 below), and all proceeds of the DIP Collateral, the Prepetition First Lien

Collateral, and the Prepetition ABL Collateral shall be received and applied in accordance with

this Interim Order, the DIP Loan Documents, the Prepetition Intercreditor Agreements, the

Prepetition First Lien Loan Documents, and the Prepetition ABL Loan Documents, as applicable;

provided, however, that the foregoing shall be subject to the terms of the Final Order granting such

relief. Each of the Prepetition First Lien Secured Parties and the Prepetition ABL Secured Parties

shall be entitled to all of the rights and benefits of section 552(b) of the Bankruptcy Code, and,

subject to entry of the Final Order, in no event shall the “equities of the case” exception in

section 552(b) of the Bankruptcy Code apply to the Prepetition First Lien Secured Parties, the




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Prepetition First Lien Collateral, the Prepetition ABL Secured Parties, or the Prepetition ABL

Collateral.

       28.      Right to Credit Bid. (a) The DIP Agent or its designee (which may be an acquisition

vehicle formed by the Required DIP Lenders) (in each case, acting at the direction of the Required

DIP Lenders), shall have the unqualified right to credit bid up to the full amount of the applicable

DIP Obligations, including, for the avoidance of doubt, the Roll Up DIP Loans, in any sale of all

or any portion of DIP Collateral (including, for the avoidance of doubt, any asset for which the

DIP Collateral is limited to the proceeds thereof as a result of applicable law prohibiting

encumbrances from being attached to such asset) subject to and in accordance with the DIP Loan

Documents, and (b) subject to section 363(k) of the Bankruptcy Code, each of the Prepetition

Agents or its/their designee(s) (which may be an acquisition vehicle) (in each case, acting at the

direction of the requisite Prepetition Secured Parties under the applicable Prepetition Loan

Documents) shall have the unqualified right to credit bid up to the full amount of the applicable

Prepetition Secured Obligations in any sale all or any portion of the Prepetition Collateral

(including, for the avoidance of doubt, any asset for which the Prepetition Collateral is limited to

the proceeds thereof as a result of applicable law prohibiting encumbrances from being attached

to such asset) in accordance with the applicable Prepetition Loan Documents (subject to the

Prepetition Intercreditor Agreements), in the case of each of foregoing clauses (a) and (b), without

the need for further order of the Court authorizing same, whether in a sale under or pursuant to

section 363 of the Bankruptcy Code, a chapter 11 plan subject to confirmation under

section 1129(b)(2)(A) of the Bankruptcy Code, a sale or disposition by a chapter 7 trustee for any

of the Debtors under section 725 of the Bankruptcy Code, or otherwise. The DIP Agent (acting at

the direction of the Required DIP Lenders) and the Prepetition Agents (acting at the direction of




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the requisite Prepetition Secured Parties under the applicable Prepetition Loan Documents), shall

each have the absolute right to assign, transfer, sell, or otherwise dispose of their respective rights

to credit bid (subject to the Prepetition Intercreditor Agreements and this Interim Order) to any

acquisition vehicle formed in connection with such bid or other designee.

       29.     Binding Effect; Successors and Assigns. Immediately upon entry of this

Interim Order, subject to paragraph 24 of this Interim Order, the provisions of the

DIP Loan Documents and this Interim Order, including all findings and conclusions of law herein,

shall be binding upon all parties in interest in the Chapter 11 Cases and any Successor Cases,

including without limitation, the DIP Secured Parties, the Prepetition Secured Parties, any

Official Committee or any other committee appointed or formed in the Chapter 11 Cases and any

Successor Cases, and their respective successors and assigns (including any chapter 11 trustee or

chapter 7 trustee or examiner appointed or elected in the Chapter 11 Cases or any Successor Cases,

or any other fiduciary appointed as a legal representative of any of the Debtors or with respect to

the property of the estate of any of the Debtors), and shall inure to the benefit of each of the

Debtors, the DIP Secured Parties and the Prepetition Secured Parties and their respective

successors and assigns; provided, however, that, for the avoidance of doubt, the

DIP Secured Parties and the Prepetition Secured Parties shall have no obligation to make any loan,

permit the use of DIP Collateral or Prepetition Collateral (including Cash Collateral) or extend any

financing to any chapter 11 trustee or chapter 7 trustee or similar responsible person appointed for

the estate of any Debtor in the Chapter 11 Cases or any Successor Cases.

       30.     No Modification of Interim Order. Until and unless the DIP Obligations and the

Prepetition Secured Obligations have been Paid in Full, the Debtors irrevocably waive the right to

seek, and shall not seek or consent to, directly or indirectly: (a) without the prior written consent




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of the Required DIP Lenders, (i) any modification, stay, vacatur or amendment to this Interim

Order, (ii) the allowance of any claim against any Debtor in the Chapter 11 Cases or any

Successor Cases equal or superior to the DIP Superpriority Claims (other than the Carve Out),

(iii) the grant of any lien or security interest on any DIP Collateral with priority equal to or superior

to the DIP Liens, except as expressly permitted hereunder or under the DIP Loan Documents,

(iv) the entry of any order authorizing the use of DIP Collateral (including Cash Collateral) that is

inconsistent with this Interim Order, or (b) without the prior written consent of the Prepetition

Agents, acting at the direction of the requisite Prepetition Secured Parties, (i) any modification,

stay, vacatur or amendment to this Interim Order that adversely affects the rights, remedies,

benefits or protections of the applicable Prepetition Secured Parties, (ii) the allowance of any claim

against any Debtor in the Chapter 11 Cases or any Successor Cases equal or superior to the

Adequate Protection Claims (other than the Carve Out and the DIP Superpriority Claims), or

(iii) the grant of any lien or security interest on any DIP Collateral or Prepetition Collateral with

priority equal to or superior to the Adequate Protection Liens, except as expressly permitted

hereunder or under the DIP Loan Documents.

        31.     Proceeds of Subsequent Financings. Without limiting the provisions of the

immediately preceding paragraph, if at any time prior to the Payment in Full of all of the

DIP Obligations, the Adequate Protection Obligations and the Prepetition Secured Obligations,

either the Debtors, the Debtors’ estates, any chapter 11 trustee, chapter 7 trustee or examiner with

enlarged powers, or any responsible officer subsequently appointed in any of the Chapter 11 Cases

or any Successor Cases, shall obtain credit or incur debt pursuant to sections 364(b), (c), or (d) of

the Bankruptcy Code in violation of this Interim Order or the DIP Loan Documents, then, unless

otherwise agreed in writing by the Required DIP Lenders, all of the cash proceeds derived from




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such credit or debt intended to refinance the DIP Obligations shall immediately be turned over to

the DIP Agent for further distribution to the DIP Secured Parties on account of their

DIP Obligations pursuant to the applicable DIP Loan Documents.

       32.     Preservation of Rights Granted Under Interim Order.

               (a)     Good Faith Under Section 364(e) of the Bankruptcy Code. The DIP Secured

Parties and the Prepetition Secured Parties have acted in good faith in connection with this Interim

Order, the DIP Facility and the DIP Loan Documents, and their reliance on this Interim Order is

in good faith. Based on the findings set forth in this Interim Order and upon the record made at the

Interim Hearing and during these Chapter 11 Cases, the DIP Secured Parties and the Prepetition

Secured Parties are entitled to the protections provided in section 364(e) of the Bankruptcy Code.

If any or all of the provisions of this Interim Order or the DIP Loan Documents are hereafter

reversed, modified, vacated or stayed by a subsequent judgment or order of this Court or any other

court, any such reversal, stay, modification or vacatur shall not affect (i) the validity or

enforceability of advances previously made hereunder or under the DIP Loan Documents by the

DIP Secured Parties to the Debtors, (ii) the validity or enforceability of any obligation,

indebtedness or liability incurred under this Interim Order or the DIP Loan Documents by the

Debtors to the DIP Secured Parties, (ii) the validity, enforceability, or perfection of any of the

claims, liens, security interests, rights, privileges or benefits granted hereunder or under the DIP

Loan Documents, or (iii) the payment of any fees, costs, expenses or other amounts, in the case of

each of the foregoing, prior to the actual receipt of written notice by the DIP Agent, to be sent at

the direction of the Required DIP Lenders, and/or the Prepetition Agents (as applicable) of the

effective date of such reversal, stay, modification, or vacatur. Notwithstanding any such reversal,

stay, modification or vacatur, any such claim, lien, or security interest, right, privilege, remedy or




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benefit shall be governed in all respects by the original provisions of this Interim Order, the

Prepetition Intercreditor Agreements and the DIP Loan Documents.

               (b)     Survival. Notwithstanding anything contained herein or in the DIP Loan

Documents to the contrary, the terms and provisions of this Interim Order and the DIP Loan

Documents (including, without limitation, all of the claims, liens and security interests, rights,

priorities, privileges, remedies, benefits, and protections granted to the DIP Secured Parties and

the Prepetition Secured Parties under this Interim Order and the DIP Loan Documents), and any

actions taken pursuant hereto or thereto, shall survive, shall continue in full force and effect, shall

remain binding on all parties-in-interest, and shall be governed by the original provisions of this

Interim Order and maintain their priorities as set forth in this Interim Order, and shall not be

modified, impaired, or discharged by, entry of any order that may be entered (i) confirming any

chapter 11 plan in any of the Chapter 11 Cases, (ii) converting any or all of the Chapter 11 Cases

to a case (or cases) under chapter 7 of the Bankruptcy Code, (iii) dismissing any or all of the

Chapter 11 Cases, (iv) pursuant to which the Court abstains from hearing any of the Chapter 11

Cases, or (v) approving the sale or disposition of any DIP Collateral (except as expressly permitted

in the DIP Loan Documents), in each case, until all of the DIP Obligations, the Adequate Protection

Obligations and the Prepetition Secured Obligations have been Paid in Full (unless the Required

DIP Lenders and/or the requisite Prepetition Secured Parties have otherwise agreed in writing in

respect of the applicable obligations owed to each of them).

               (c)     Dismissal/Conversion. If any order dismissing any of the Chapter 11 Cases

under section 1112 of the Bankruptcy Code or converting any of the Chapter 11 Cases to a case

under chapter 7 of the Bankruptcy Code otherwise is at any time entered, such order shall provide

(in accordance with sections 105 and 349 of the Bankruptcy Code), that (i) all of the claims, liens




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and security interests, rights, priorities, privileges, remedies, benefits and protections granted to

the DIP Secured Parties and the Prepetition Secured Parties hereunder and under the DIP Loan

Documents shall continue in full force and effect and shall maintain their priorities as provided in

this Interim Order and the Prepetition Intercreditor Agreements until all DIP Obligations,

Adequate Protection Obligations and Prepetition Secured Obligations have been Paid in Full (and

that all such claims, liens and security interests, rights, priorities, privileges, remedies, benefits and

protections, notwithstanding such dismissal or conversion, remain binding on all parties in

interest), and (ii) this Court shall retain jurisdiction, notwithstanding such dismissal or conversion,

for the purposes of enforcing this Interim Order, the DIP Loan Documents, the Prepetition

Intercreditor Agreements and all of the claims, liens and security interests, rights, priorities,

privileges, remedies, benefits and protections granted to the DIP Secured Parties and the

Prepetition Secured Parties hereunder or thereunder.

        33.     Debtor Freedom VCM Holdings, LLC. Notwithstanding anything to the contrary

herein, with respect to Debtor Freedom VCM Holdings, LLC, the DIP Obligations shall be repaid,

first, from DIP Collateral comprised of Unencumbered Property of all Secured DIP Loan Parties

(other than Debtor Freedom VCM Holdings, LLC), second, from all other DIP Collateral of all

Secured DIP Loan Parties (other than Debtor Freedom VCM Holdings, LLC), and third, from

assets at Debtor Freedom VCM Holdings, LLC. Payment of any fees or expenses (including any

director, officer, and manager fees, to the extent applicable) allocable to Debtor Freedom VCM

Holdings, LLC with respect to the restructuring (including the Restructuring Transactions (as

defined in the Restructuring Supporting Agreement)) or administration of the Chapter 11 Cases

shall be conditioned upon an allocation among Debtor Freedom VCM Holdings, LLC and the other

Debtors to be agreed upon in good faith between the Debtors and the Required Consenting First




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Lien Lenders (as defined in the Restructuring Supporting Agreement) (the “Freedom Allocated

Fees and Expenses”). Debtor Freedom VCM Holdings, LLC shall be required to use any cash

(including Cash Collateral) it has on hand to pay its ratable share of such Freedom Allocated Fees

and Expenses, if any; provided, that, for the avoidance of doubt, Debtor Freedom VCM Holdings,

LLC, shall not otherwise use any of its cash (including Cash Collateral) until an agreement is

reached on the Freedom Allocated Fees and Expenses; provided, further, that if the allocation

results in Freedom VCM Holdings, LLC holding a claim against another Debtor, such claim shall

be entitled to administrative expense priority, which administrative expense priority shall be junior

in priority to the DIP Obligations.

       34.     Loss or Damage to Collateral. So long as the DIP Agent and the DIP Lenders

comply with their obligations under the DIP Loan Documents, (a) the DIP Secured Parties shall

not, in any way or manner, be liable or responsible for (i) the safekeeping of the DIP Collateral,

(ii) any loss or damage thereto occurring or arising in any manner or fashion from any cause,

(iii) any diminution in the value thereof, or (iv) any act or default of any carrier, servicer, bailee,

custodian, forwarding agency, or other person, and (b) all risk of loss, damage, or destruction of

the DIP Collateral shall be borne solely by the Debtors.

       35.     Proofs of Claim. The DIP Secured Parties and the Prepetition Secured Parties shall

not be required to file proofs of claim or request for payment of administrative expenses in any of

the Chapter 11 Cases or any of the Successor Cases in order to assert claims for payment in respect

of the DIP Obligations, the Adequate Protection Obligations or the Prepetition Secured

Obligations. The Debtors’ Stipulations, acknowledgments and provisions of this Interim Order are

deemed sufficient to and do constitute timely filed proofs of claim or request for payment of

administrative expenses in respect of such claims arising under the DIP Obligations, the Adequate




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Protection Obligations and the Prepetition Secured Obligations against each of the applicable

Debtors. Any order entered by the Court establishing a bar date in any of the Chapter 11 Cases or

any Successor Chapter 11 Cases shall not apply to the DIP Secured Parties, the Prepetition

Secured Parties, the DIP Obligations or the Prepetition Secured Obligations; provided, however,

that, notwithstanding any order entered by the Court establishing a bar date in any of the Chapter

11 Cases or any Successor Cases to the contrary, the DIP Agent (on behalf of itself or any of the

other DIP Secured Parties), or any of the Prepetition Agents (on behalf of themselves and the

applicable Prepetition Secured Parties (as applicable)), in their discretion, may (but are not

required to) file (and amend and/or supplement) a proof of claim and/or aggregate proofs of claim

in each of the Chapter 11 Cases or any Successor Cases, and any such proof of claim may (but is

not required to be) filed as one consolidated master proof of claim in the Debtors’ lead

Chapter 11 Case against all of the Debtors, which shall be deemed to have been filed against each

and every Debtor. Such consolidated or master proofs of claim shall not be required to attach any

instruments, agreements or other documents evidencing the obligations owing by each of the

Debtors to the applicable party, which instruments, agreements or other documents will be

provided upon reasonable written request to the DIP Agent or the applicable Prepetition Agents,

as the case may be. Any proof of claim filed by or on behalf of any of the DIP Secured Parties or

the Prepetition Secured Parties shall be deemed to be in addition to (and not in lieu of) any other

proof of claim that may be filed by any such persons. The provisions set forth in this paragraph

are intended solely for the purpose of administrative convenience and shall not affect the

substantive rights of any party-in-interest or their respective successors-in-interest.

       36.     Limitation of Liability. Nothing in this Interim Order, the DIP Loan Documents or

any documents related thereto shall in any way be construed or interpreted to impose or allow the




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imposition upon any of the DIP Secured Parties or the Prepetition Secured Parties of any liability

for any claim arising from, in connection with or related to the prepetition or postpetition activities

of the Debtors and their respective affiliates in the operation of their businesses, their restructuring

efforts or in connection with the administration of these Chapter 11 Cases. In determining to make

any loan or extension of credit, or permit the use of Cash Collateral, or in exercising any rights or

remedies hereunder, under the DIP Loan Documents or the Prepetition Loan Documents, neither

the DIP Secured Parties nor the Prepetition Secured Parties shall (a) be deemed to be in control of

the operations of the Debtors, (b) owe any fiduciary duty to the Debtors or their creditors,

shareholders or estates, or (c) be deemed to be acting as a “Responsible Person” or “Owner” or

“Operator” with respect to the operation or management of the Debtors (as such terms or any

similar terms are used in the United States Comprehensive Environmental Response,

Compensation and Liability Act, 42, U.S. §§ 9601 et seq., as amended, or any similar federal or

state statute).

        37.       Intercreditor Agreements. Pursuant to section 510 of the Bankruptcy Code, the

Prepetition Intercreditor Agreements, and any other applicable intercreditor or subordination

provisions contained in any of the Prepetition Loan Documents (i) shall remain in full force and

effect, (ii) shall continue to govern the relative priorities, rights, and remedies of the Prepetition

Secured Parties (including, for the avoidance of doubt, with respect to the Adequate Protection

Liens) and DIP Secured Parties (as if the DIP Agent was party thereto as a First Lien Term Loan

Representative, in the case of the Prepetition ABL Intercreditor Agreement), and (iii) shall not be

deemed amended, altered or modified by the terms of this Interim Order, except to the extent

expressly set forth herein.




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       38.       Payments Free and Clear. Subject to the Carve Out, any and all payments or

proceeds remitted to the DIP Secured Parties or the Prepetition Secured Parties pursuant to the DIP

Loan Documents, the Prepetition Intercreditor Agreements, this Interim Order, the Final Order (if

and when entered) or any subsequent order of this Court shall be irrevocable (subject, solely in the

case of certain professional fees, the fee review procedures set forth in paragraph 11 of this Interim

Order), received free and clear of any claim, charge, assessment or other liability, including

without limitation, any claim or charge arising out of or based on, directly or indirectly,

section 506(c) of the Bankruptcy Code (whether asserted or assessed by, through or on behalf of

the Debtors) (subject to paragraph 26 hereof), section 552(b) of the Bankruptcy Code (subject to

paragraph 27 hereof) or otherwise.

       39.       Joint and Several Liability. Nothing in this Interim Order shall be construed to

constitute or authorize a substantive consolidation of any of the Debtors’ estates, it being

understood, however, that the Debtors shall be jointly and severally liable for all obligations

(including all DIP Obligations and all Adequate Protection Obligations) under this Interim Order

and the DIP Loan Documents.

       40.       Third Party Beneficiary. Except as expressly set forth herein, no rights are created

hereunder for the benefit of any third party, any creditor or any direct, indirect or incidental

beneficiary.

       41.       Interim Order Controls. In the event of any conflict or inconsistency between or

among the terms or provisions of this Interim Order and any of the DIP Loan Documents, unless

such term or provision in this Interim Order is phrased in terms of “defined in” or “as set forth in”

the DIP Credit Agreement or DIP Loan Documents, the terms and provisions of this Interim Order

shall govern and control. Notwithstanding anything contained in any other order entered by this




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Court to the contrary, any payment made pursuant to, or authorization contained in, any other order

entered by this Court shall be consistent with and subject to the requirements set forth in this

Interim Order and the DIP Loan Documents, including, without limitation, the Approved Budget

(subject to Permitted Variances).

       42.       Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law in accordance with Bankruptcy Rule 7052 and shall take effect and be fully enforceable

effective as of the Petition Date immediately upon entry hereof. Notwithstanding Bankruptcy

Rules 4001(a)(3), 6004(h), 6006(d), 7062, or 9014, any Local Bankruptcy Rule, or Rule 62(a) of

the Federal Rules of Civil Procedure, this Interim Order shall be immediately effective and

enforceable upon its entry and there shall be no stay of execution or effectiveness of this

Interim Order.

       43.       Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003, and 6004, in

each case to the extent applicable, are satisfied by the contents of the Motion.

       44.       Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Interim Order. When

used in this Interim Order, the word “including” shall not imply limitation.

       45.       Necessary Action. The Debtors are authorized to take any and all such actions as

are necessary, required or appropriate to implement and effectuate the terms of this Interim Order,

the DIP Loan Documents and the transactions contemplated hereunder and thereunder.

       46.       Retention of Jurisdiction. The Court retains jurisdiction to hear, determine and, if

applicable, enforce the terms of any and all matters arising from or related to the DIP Facility, the

DIP Loan Documents, the Prepetition Intercreditor Agreements and this Interim Order, and the

Court’s jurisdiction shall survive confirmation and consummation of any chapter 11 plan for any




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of the Debtors notwithstanding the terms or provisions of any such chapter 11 plan or any order

confirming any such chapter 11 plan.

       47.     Final Hearing. The Final Hearing shall be held on [●], 2024 at [●] (prevailing

Eastern Time), and any objections to the final relief sought in the Motion shall be filed with the

Court no later than [●], 2024 at 4:00 p.m. (prevailing Eastern Time) and served upon the following:

(a) [_______]; (b) [_______]; (c) [_______]; and (d) [_______].

       48.     Notice of Entry of Interim Order. The Debtors shall promptly serve copies of this

Interim Order to the parties that have been given notice of the Interim Hearing, to any party that

has filed a request for notices with this Court and to the Official Committee (if appointed).




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                        Exhibit 1

               Draft DIP Credit Agreement
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                                                                                Execution Version




 SENIOR SECURED SUPER-PRIORITY PRIMING TERM LOAN DEBTOR-IN-POSSESSION
                          CREDIT AGREEMENT

                                           dated as of

                                      November [•], 2024

                                             among

                                 FRANCHISE GROUP, INC.,
as a Borrower, as Lead Borrower and as a Debtor and Debtor-in-Possession under Chapter 11 of the
                                       Bankruptcy Code,

                          FRANCHISE GROUP NEWCO PSP, LLC,
as a Borrower and as a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code,

                                VALOR ACQUISITION, LLC,
as a Borrower and as a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code,

                  FRANCHISE GROUP NEWCO INTERMEDIATE AF, LLC,
as a Borrower and as a Debtor and Debtor-in-Possession under Chapter 11 of the Bankruptcy Code,

                         the Guarantors from time to time party hereto,

                           the Lenders from time to time party hereto,

                                              and

                    WILMINGTON TRUST, NATIONAL ASSOCIATION,
                       as Administrative Agent and as Collateral Agent,
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                 SENIOR SECURED SUPER-PRIORITY PRIMING TERM LOAN DEBTOR-IN-
POSSESSION CREDIT AGREEMENT, dated as of November [•], 2024 (this “Agreement”), among
FRANCHISE GROUP, INC., a Delaware corporation (“Lead Borrower”), as a debtor and debtor-in-
possession in the Chapter 11 Cases (as defined below), FRANCHISE GROUP NEWCO PSP, LLC, a
Delaware limited liability company (“FG Newco PSP”), as a debtor and debtor-in-possession in the Chapter
11 Cases (as defined below), VALOR ACQUISITION, LLC, a Delaware limited liability company
(“Valor”), as a debtor and debtor-in-possession in the Chapter 11 Cases (as defined below), FRANCHISE
GROUP NEWCO INTERMEDIATE AF, LLC, a Delaware limited liability company (“FG Newco
Intermediate AF”, and together with Lead Borrower, FG Newco PSP and Valor, individually and
collectively, the “Borrower”), as a debtor and debtor-in-possession in the Chapter 11 Cases (as defined
below), the Guarantors from time to time party hereto, the Lenders from time to time party hereto and
Wilmington Trust, National Association, as Administrative Agent and as Collateral Agent.

                  WHEREAS, on November 3, 2024 (the “Petition Date”), the Borrower and certain
affiliates and direct and indirect Subsidiaries of the Borrower (each, a “Chapter 11 Debtor” and collectively,
the “Chapter 11 Debtors”) filed voluntary petitions with the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”) initiating their respective jointly administered case under Chapter
11 of Title 11 of the United States Code (the “Bankruptcy Code”) (Case No. 24-12480-JTD (Bankr. D.
Del.)) (collectively, the “Chapter 11 Cases”), and each Chapter 11 Debtor has continued and is continuing
in the possession of its assets and management of its business pursuant to Sections 1107 and 1108 of the
Bankruptcy Code;

                   WHEREAS, the Borrower has asked the Lenders to provide the Borrower with a senior
secured super-priority priming term loan debtor-in-possession credit facility (the “DIP Facility”) consisting
of (a) $250,000,000 of “new money” first-out delayed draw term loans that will be made available to the
Borrower pursuant to the terms, and subject to the conditions set forth, in this Agreement and the Orders;
and (b) a second-out roll up facility pursuant to which a portion of the Prepetition Senior Priority
Obligations arising under the Prepetition Senior Priority Credit Agreement will be deemed “rolled up” as
term loans and shall automatically be deemed to be substituted and exchanged, and paid-off and discharged,
for second-out Roll-Up Term Loans (as defined herein) pursuant to the terms, and subject to the conditions
set forth, in this Agreement and the Orders;

                WHEREAS, the Lenders are willing to make term loans to the Borrower, subject to the
terms and conditions set forth in this Agreement and the Orders; and

                 WHEREAS, the Secured Obligations of the Borrower are guaranteed by the Guarantors
and subject to the Carve-Out, secured by Liens on the Collateral, in each case, as set forth in, and subject
to, the Loan Documents and the Orders.

                NOW, THEREFORE, in consideration of the mutual covenants and agreements contained
herein, and for other good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, the parties hereto hereby covenant and agree as follows:

                                                ARTICLE I

                                              DEFINITIONS

                SECTION 1.01          Defined Terms.

                As used in this Agreement, the following terms have the meanings specified below:




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               “ABR” when used in reference to any Loan or Borrowing, refers to whether such Loan, or
the Loans comprising such Borrowing, are bearing interest at a rate determined by reference to the Alternate
Base Rate.

               “Ad Hoc Lender Group” means that certain group of Lenders constituting the Required
Lenders and represented by the Lender Professionals, as may be reconstituted from time to time.

                “Adequate Protection Claims” shall have the meaning assigned to such term in the Orders.

                “Adequate Protection Liens” shall have the meaning assigned to such term in the Orders.

                 “Adjusted Term SOFR” means, subject to Section 2.14(b), with respect to any SOFR
Borrowing, for any Interest Period, a rate per annum equal to the sum of (i) Term SOFR as in effect at such
time for such Interest Period and (ii) the Term SOFR Adjustment for such Interest Period; provided that if
Adjusted Term SOFR as so determined shall ever be less than the Floor, then Adjusted Term SOFR shall
be deemed to be the Floor.

                “Administrative Agent” means Wilmington Trust, National Association, in its capacity as
administrative agent hereunder and under the other Loan Documents, and its successors in such capacity as
provided in Article VIII.

               “Administrative Agent Fee Letter” means that certain fee letter dated as of the date hereof,
by and among the Borrower and the Agents.

               “Administrative Questionnaire” means an administrative questionnaire in a form supplied
by the Administrative Agent.

                 “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any UK
Financial Institution.

                “Affiliate” means, with respect to a specified Person, another Person that directly or
indirectly Controls or is Controlled by or is under common Control with the Person specified.

                 “Agent” means the Administrative Agent and the Collateral Agent, and any successors and
assigns in such capacity, and “Agents” means two or more of them.

                “Agent Parties” has the meaning given to such term in Section 9.01(c).

                “Agreement” has the meaning given to such term in the preliminary statements hereto.

                “Agreement Currency” has the meaning given to such term in Section 9.18.

                  “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of (a) the
Prime Rate in effect on such day, (b) the NYFRB Rate in effect on such day plus ½ of 1.00%, (c) Adjusted
Term SOFR for a one month Interest Period as published two U.S. Government Securities Business Days
prior to such day (or if such day is not a U.S. Government Securities Business Day, the immediately
preceding U.S. Government Securities Business Day) plus 1%, and (d) 2.00%; provided that for the purpose
of this definition, Adjusted Term SOFR for any day shall be based on the Term SOFR Reference Rate at
approximately 6:00 a.m. (New York City time) on such day (or any amended publication time for the Term
SOFR Reference Rate, as specified by the Term SOFR Administrator in the Term SOFR Reference Rate
methodology). Any change in the Alternate Base Rate due to a change in the Prime Rate, the NYFRB Rate



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or Adjusted Term SOFR shall be effective from and including the effective date of such change in the Prime
Rate, the NYFRB Rate or Adjusted Term SOFR, respectively. If the Alternate Base Rate is being used as
an alternate rate of interest pursuant to Section 2.14 hereof, then the Alternate Base Rate shall be the greater
of clause (a) and (b) above and shall be determined without reference to clause (c) above.

                 “Ancillary Document” has the meaning assigned to such term in Section 9.06.

                 “Anti-Corruption Laws” means the U.S. Foreign Corrupt Practices Act of 1977, as
amended, the U.K. Bribery Act 2010, and all other applicable laws, rules, and regulations concerning or
relating to bribery or corruption.

                 “Applicable Account” means, with respect to any payment to be made to the
Administrative Agent hereunder, the account specified by the Administrative Agent from time to time for
the purpose of receiving payments of such type.

                 “Applicable Period” means (w) with respect to the first Variance Report against the Initial
Budget, the first full one-week period ending on Friday of the week immediately preceding the first
Variance Report Deadline, (x) with respect to the second Variance Report against the Initial Budget, the
first full 2-week period ending on Friday of the week immediately preceding the second Variance Report
Deadline, (y) with respect to the third Variance Report against the Initial Budget, the first full 3-week period
ending on Friday of the week immediately preceding the third Variance Report Deadline for such Variance
Report, and (z) with respect to the fourth Variance Report, and each Variance Report thereafter, the 4-week
period ending on the Friday of the week immediately preceding the applicable Variance Report Deadline.

              “Applicable Rate” means, (a) with respect to any New Money Term Loans maintained as
ABR Loans, 9.00% per annum, and with respect to any New Money Term Loans maintained as SOFR
Loans, 10.00% per annum, and (b) with respect to any Roll-Up Term Loans maintained as ABR Loans,
3.75% per annum, and with respect to any Roll-Up Term Loans maintained as SOFR Loans, 4.75% per
annum.

               “Approved Bank” has the meaning assigned to such term in the definition of the term
“Permitted Investments.”

                 “Approved Budget” has the meaning assigned to such term in Section 5.16(a).

                 “Approved Fund” means any Person (other than a natural person) that is (or will be)
engaged in making, purchasing, holding or investing in commercial loans and similar extensions of credit
in the ordinary course of its activities and that is administered, advised or managed by (a) a Lender, (b) an
Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers, advises or manages a
Lender.

                  “Assignment and Assumption” means an assignment and assumption entered into by a
Lender and an Eligible Assignee (with the consent of any Person whose consent is required by Section 9.04),
substantially in the form of Exhibit A or any other form reasonably approved by the Administrative Agent.

                 “Audited Financial Statements” means (a) the audited consolidated balance sheet of the
Lead Borrower and its Subsidiaries, and the related audited statements of income, cash flows and
stockholders’ equity, for the fiscal year of the Lead Borrower ended on or about December 31, 2023 and
(b) the audited consolidated balance sheet of PSP and its Subsidiaries, and the related audited statements of
income, cash flows and stockholders’ equity, for the fiscal year of PSP, ended on or about December 31,
2023.



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                 “Available Tenor” means, as of any date of determination and with respect to the then-
current Benchmark, as applicable, any tenor for such Benchmark or payment period for interest calculated
with reference to such Benchmark, as applicable, that is or may be used for determining the length of an
Interest Period pursuant to this Agreement as of such date and not including, for the avoidance of doubt,
any tenor for such Benchmark that is then-removed from the definition of “Interest Period” pursuant to
Section 2.14(e).

                “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable Resolution Authority in respect of any liability of an Affected Financial Institution.

                  “Bail-In Legislation” means (a) with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union,
the implementing law, regulation rule or requirement for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom, Part
I of the United Kingdom Banking Act 2009 (as amended from time to time) and any other law, regulation
or rule applicable in the United Kingdom relating to the resolution of unsound or failing banks, investment
firms or other financial institutions or their affiliates (other than through liquidation, administration or other
insolvency proceedings).

                 “Bankruptcy Code” has the meaning specified in the recitals to this Agreement.

                 “Bankruptcy Court” has the meaning specified in the recitals to this Agreement.

                  “Bankruptcy Event” means, with respect to any Person, such Person becomes the subject
of a voluntary or involuntary bankruptcy or insolvency proceeding, or has had a receiver, conservator,
trustee, administrator, custodian, assignee for the benefit of creditors or similar Person charged with the
reorganization or liquidation of its business appointed for it, or, in the good faith determination of the
Administrative Agent, has taken any action in furtherance of, or indicating its consent to, approval of, or
acquiescence in, any such proceeding or appointment or has had any order for relief in such proceeding
entered in respect thereof; provided that a Bankruptcy Event shall not result solely by virtue of any
ownership interest, or the acquisition of any ownership interest, in such Person by a Governmental
Authority or instrumentality thereof, unless such ownership interest results in or provides such Person with
immunity from the jurisdiction of courts within the United States or from the enforcement of judgments or
writs of attachment on its assets or permits such Person (or such Governmental Authority or instrumentality)
to reject, repudiate, disavow or disaffirm any contracts or agreements made by such Person.

                  “Basel III” means: (i) the agreements on capital requirements, a leverage ratio and liquidity
standards contained in “Basel III: A global regulatory framework for more resilient banks and banking
systems”, “Basel III: International framework for liquidity risk measurement, standards and monitoring”
and “Guidance for national authorities operating the countercyclical capital buffer” published by the Basel
Committee on Banking Supervision on 16 December 2010, each as amended, supplemented or restated; (ii)
the rules for global systemically important banks contained in “Global systemically important banks:
assessment methodology and the additional loss absorbency requirement – Rules text” published by the
Basel Committee on Banking Supervision in November 2011, as amended, supplemented or restated; and
(iii) any further guidance or standards published by the Basel Committee on Banking Supervision relating
to Basel III.

             “Benchmark” means, initially, the Term SOFR Reference Rate; provided that if a
Benchmark Transition Event and its related Benchmark Replacement Date have occurred with respect to
the Term SOFR Reference Rate or the then-current Benchmark, then “Benchmark” means the applicable




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Benchmark Replacement to the extent that such Benchmark Replacement has replaced such prior
benchmark rate pursuant to Section 2.14(b).

                  “Benchmark Replacement” means, with respect to any Benchmark Transition Event, the
first alternative set forth in the order below that is administratively feasible for the Administrative Agent
and selected by the Required Lenders:

                (a)      the sum of: (1) Daily Simple SOFR and (2) the related Benchmark Replacement
Adjustment;

                (b)      the sum of: (1) the alternate benchmark rate that has been selected by the Required
Lenders and the Lead Borrower as the replacement for the then-current Benchmark giving due
consideration to (i) any selection or recommendation of a replacement benchmark rate or the mechanism
for determining such a rate by the Relevant Governmental Body or (ii) any evolving or then-prevailing
market convention for determining a benchmark rate as a replacement for the then-current Benchmark for
dollar-denominated syndicated credit facilities at such time and (2) the related Benchmark Replacement
Adjustment;

If the Benchmark Replacement as determined pursuant to clause (a) or (b) above would be less than the
Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes of this Agreement and
the other Loan Documents.

                 “Benchmark Replacement Adjustment” means, with respect to any replacement of the
then-current Benchmark with an Unadjusted Benchmark Replacement, the spread adjustment, or method
for calculating or determining such spread adjustment (which may be a positive or negative value or zero)
that has been selected by the Required Lenders and the Lead Borrower giving due consideration to (a) any
selection or recommendation of a spread adjustment, or method for calculating or determining such spread
adjustment, for the replacement of such Benchmark with the applicable Unadjusted Benchmark
Replacement by the Relevant Governmental Body and/or (b) any evolving or then-prevailing market
convention for determining a spread adjustment, or method for calculating or determining such spread
adjustment, for the replacement of such Benchmark with the applicable Unadjusted Benchmark
Replacement for dollar-denominated syndicated credit facilities at such time; provided that such
Benchmark Replacement Adjustment is administratively feasible for the Administrative Agent.

                  “Benchmark Replacement Conforming Changes” means, with respect to either the use or
administration of Term SOFR or the use, administration, adoption or implementation of any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the definition of
“Alternate Base Rate,” the definition of “Business Day,” the definition of “U.S. Government Securities
Business Day,” the definition of “Interest Period” or any similar or analogous definition (or the addition of
a concept of “interest period”), timing and frequency of determining rates and making payments of interest,
timing of borrowing requests or prepayment, conversion or continuation notices, length of lookback periods,
the applicability of breakage provisions, the applicability of Section 2.14 and other technical, administrative
or operational matters) that the Required Lenders decides may be appropriate to reflect the adoption and
implementation of any such rate and to permit the administration thereof by the Administrative Agent in a
manner substantially consistent with market practice (or, if the Administrative Agent decides that adoption
of any portion of such market practice is not administratively feasible or if the Required Lenders determines
that no market practice for the administration of any such rate exists, in such other manner of administration
as the Required Lenders decides is reasonably necessary in connection with the administration of this
Agreement and the other Loan Documents); provided that such Benchmark Replacement Conforming
Changes implement changes that are administratively feasible for the Administrative Agent.




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                 “Benchmark Replacement Date” means the earliest to occur of the following events with
respect to the then-current Benchmark:

                   (a)     in the case of clause (a) or (b) of the definition of “Benchmark Transition Event,”
the later of (i) the date of the public statement or publication of information referenced therein and (ii) the
date on which the administrator of such Benchmark (or the published component used in the calculation
thereof) permanently or indefinitely ceases to provide all Available Tenors of such Benchmark (or such
component thereof); or

                 (b)     in the case of clause (c) of the definition of “Benchmark Transition Event,” the
first date on which such Benchmark (or the published component used in the calculation thereof) has been
determined and announced by the regulatory supervisor for the administrator of such Benchmark (or such
component thereof) to be non-representative; provided that such non-representativeness will be determined
by reference to the most recent statement or publication referenced in such clause (c) and even if any
Available Tenor of such Benchmark (or such component thereof) continues to be provided on such date.

For the avoidance of doubt, (i) if the event giving rise to the Benchmark Replacement Date occurs on the
same day as, but earlier than, the Reference Time in respect of any determination, the Benchmark
Replacement Date will be deemed to have occurred prior to the Reference Time for such determination and
(ii) the “Benchmark Replacement Date” will be deemed to have occurred in the case of clause (a) or (b)
with respect to any Benchmark upon the occurrence of the applicable event or events set forth therein with
respect to all then-current Available Tenors of such Benchmark (or the published component used in the
calculation thereof).

                “Benchmark Transition Event” means the occurrence of one or more of the following
events with respect to the then-current Benchmark:

                 (a)     a public statement or publication of information by or on behalf of the
administrator of such Benchmark (or the published component used in the calculation thereof) announcing
that such administrator has ceased or will cease to provide all Available Tenors of such Benchmark (or such
component thereof), permanently or indefinitely, provided that, at the time of such statement or publication,
there is no successor administrator that will continue to provide any Available Tenor of such Benchmark
(or such component thereof);

                (b)     a public statement or publication of information by the regulatory supervisor for
the administrator of such Benchmark (or the published component used in the calculation thereof), the
Board of Governors, the NYFRB, an insolvency official with jurisdiction over the administrator for such
Benchmark (or such component), a resolution authority with jurisdiction over the administrator for such
Benchmark (or such component) or a court or an entity with similar insolvency or resolution authority over
the administrator for such Benchmark (or such component), which states that the administrator of such
Benchmark (or such component) has ceased or will cease to provide all Available Tenors of such
Benchmark (or such component thereof) permanently or indefinitely, provided that, at the time of such
statement or publication, there is no successor administrator that will continue to provide any Available
Tenor of such Benchmark (or such component thereof); or

                (c)    a public statement or publication of information by the regulatory supervisor for
the administrator of such Benchmark (or the published component used in the calculation thereof)
announcing that all Available Tenors of such Benchmark (or such component thereof) are no longer
representative.




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For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred with respect
to any Benchmark if a public statement or publication of information set forth above has occurred with
respect to each then-current Available Tenor of such Benchmark (or the published component used in the
calculation thereof).

               “Benchmark Unavailability Period” means the period (if any) (x) beginning at the time that
a Benchmark Replacement Date has occurred if, at such time, no Benchmark Replacement has replaced the
then-current Benchmark for all purposes hereunder and under any Loan Document in accordance with
Section 2.14 and (y) ending at the time that a Benchmark Replacement has replaced the then-current
Benchmark for all purposes hereunder and under any Loan Document in accordance with Section 2.14.

                 “Beneficial Ownership Certification” means a certification regarding beneficial ownership
or control as required by the Beneficial Ownership Regulation.

                  “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                 “BHC Act Affiliate” of a party means an ‘affiliate’ (as such term is defined under, and
interpreted in accordance with, 12 U.S.C. 1841(k)) of such party.

                 “Board of Directors” means, with respect to any Person, (a) in the case of any corporation,
the board of directors of such Person or any committee thereof duly authorized to act on behalf of such
board, (b) in the case of any limited liability company, the board of managers, board of directors, manager
or managing member of such Person or the functional equivalent of the foregoing or any committee thereof
duly authorized to act on behalf of such board, manager or managing member, (c) in the case of any
partnership, the board of directors or board of managers of the general partner of such Person and (d) in
any other case, the functional equivalent of the foregoing.

                “Board of Governors” means the Board of Governors of the Federal Reserve System of the
United States of America.

                  “Borrower” has the meaning assigned to such term in the preliminary statements hereto.

                  “Borrower Materials” has the meaning assigned to such term in Section 5.01.

                “Borrowing” means Loans of the same Class and Type, made, converted or continued on
the same date and, in the case of SOFR Loans, as to which a single Interest Period is in effect.

                  “Borrowing Minimum” means $1,000,000.

                  “Borrowing Multiple” means $500,000.

                  “Borrowing Request” means a request by the Borrower for a Borrowing in accordance with
Section 2.03.

              “Business Day” means any day that is not a Saturday, Sunday or other day on which
commercial banks in New York City are authorized or required by Requirements of Law to remain closed.

                 “Capital Lease Obligations” of any Person means the obligations of such Person to pay
rent or other amounts under any Capitalized Leases; provided, that lease liabilities and associated expenses
recorded by the Loan Parties (or any other applicable Persons) pursuant to ASU 2016-02, Leases, shall not
be treated as Indebtedness, unless the corresponding leases would have been treated as Capitalized Leases



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under GAAP as in effect prior to the adoption of ASU 2016-02, Leases (in which case such leases shall be
treated as Capitalized Leases). For purposes of Section 6.02, a Capital Lease Obligation shall be deemed to
be secured by a Lien on the property being leased and such property shall be deemed to be owned by the
lessee.

                 “Capitalized Lease” means, as applied to any Person, any lease of any property (whether
real, personal, or mixed) by that Person (a) as lessee that, in conformity with GAAP, is or should be
accounted for as a capital lease on the balance sheet of that Person or (b) as lessee which is a transaction of
a type commonly known as a “synthetic lease” (i.e., a transaction that is treated as an operating lease for
accounting purposes but with respect to which payments of rent are intended to be treated as payments of
principal and interest on a loan for Federal income Tax purposes); provided, that lease liabilities and
associated expenses recorded by the Loan Parties (or any other applicable Persons) pursuant to ASU 2016-
02, Leases, shall not be treated as Indebtedness, unless the corresponding leases would have been treated
as Capitalized Leases under GAAP as in effect prior to the adoption of ASU 2016-02, Leases (in which
case such leases shall be treated as Capitalized Leases).

                 “Carve-Out” shall have the meaning assigned to such term in the Orders.

                “Cash Management Obligations” means (a) obligations of the Borrower or any Subsidiary
in respect of any overdraft and related liabilities arising from treasury, depository, cash pooling
arrangements and cash management services or any automated clearing house transfers of funds and (b)
other obligations in respect of netting services, employee credit or purchase card programs and similar
arrangements.

                  “Casualty Event” means any event that gives rise to the receipt by the Borrower or any
Subsidiary of any insurance proceeds or condemnation awards, in each case, in respect of any equipment,
fixed assets or real property (including any improvements thereon) to replace or repair such equipment,
fixed assets or real property.

                 “Challenge Deadline” shall have the meaning assigned to such term in the Orders.

                  “Change in Law” means: (a) the adoption of any rule, regulation, treaty or other law after
the date of this Agreement, (b) any change in any rule, regulation, treaty or other law or in the administration,
interpretation or application thereof by any Governmental Authority after the date of this Agreement or (c)
the making or issuance of any request, guideline or directive (whether or not having the force of law) of
any Governmental Authority made or issued after the date of this Agreement; provided that notwithstanding
anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer Protection Act and
all rules, regulations, guidelines or directives thereunder or issued in connection therewith and (y) all
requests, rules, guidelines or directives promulgated by the Bank of International Settlements, the Basel
Committee on Banking Supervision (or any successor or similar authority) or the United States or foreign
regulatory authorities, in each case pursuant to Basel III, shall, in each case, be deemed to be a “Change in
Law,” to the extent enacted, adopted, promulgated or issued after the date of this Agreement, but only to
the extent such rules, regulations, or published interpretations or directives are applied to the Borrower and
its Subsidiaries by the Administrative Agent or any Lender in substantially the same manner as applied to
other similarly situated borrowers under comparable syndicated credit facilities, including for purposes of
Section 2.15.

                 “Chapter 11 Cases” shall have the meaning specified in the recitals to this Agreement.

                 “Chapter 11 Debtors” shall have the meaning specified in the recitals to this Agreement.




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                “Claiming Party” has the meaning assigned to such term in Section 10.09.

                “Class” when used in reference to (a) any Loan or Borrowing, refers to whether such Loan,
or the Loans comprising such Borrowing, are New Money Term Loans or Roll-Up Term Loans and (b) any
Lender, refers to whether such Lender has a Loan or Commitment with respect to a particular Class of
Loans or Commitments.

                “Code” means the Internal Revenue Code of 1986, as amended from time to time.

               “Collateral” means any and all assets, whether real or personal, tangible or intangible, on
which Liens are purported to be granted pursuant to the Security Documents or any Order as security for
the Secured Obligations (including, for the avoidance of doubt, the “DIP Collateral” as defined under and
in accordance with the Orders).

                 “Collateral Agent” means Wilmington Trust, National Association, in its capacity as
collateral agent hereunder and under the other Loan Documents, and its successors in such capacity as
provided in Article VIII.

                “Collateral and Guarantee Requirement” means, at any time, the requirement that:

                 (a)     all outstanding Equity Interests owned by or on behalf of any Loan Party (other
than Equity Interests owned by or on behalf of Holdco Borrower or Holdco Intermediate Parent), shall have
been pledged, and, the Collateral Agent shall have pursuant to the Orders, a valid and perfected
superpriority lien on such Equity Interests; and

                (b)     all Secured Obligations shall have been unconditionally guaranteed by each
Borrower (other than with respect to such Borrower’s direct Secured Obligations as a primary obligor (as
opposed to a guarantor) under the Loan Documents) and each other Loan Party; and

               (c)      the Orders shall have created valid and perfected liens securing the Secured
Obligations consistent with the priorities set forth in the Orders.

For the avoidance of doubt, Holdco Borrower and Holdco Intermediate Parent shall only be a Guarantor
under this Agreement and are not granting Collateral or Liens to secure the Secured Obligations under this
Agreement or the Orders. Notwithstanding anything herein to the contrary in any Loan Document or in the
Orders, the Holdco Loan Parties (other than Holdco Borrower and Holdco Intermediate Parent) shall only
provide Liens and Guarantees on its assets to secure the Secured Obligations in an amount not to exceed
the outstanding principal balance (together with any interest, fees, reimbursement, indemnity and other
amounts owed in respect thereof) of the New Money Term Loans at any time outstanding. Upon the
reasonable request of the Required Lenders, the Loan Parties shall make filings or take any other actions
with respect to the perfection of liens unless expressly otherwise set forth in the Orders.

              “Commitment” means with respect to any Lender, the New Money Term Loan
Commitment of any Class, the Roll-Up Term Loan Commitment or any combination thereof (as the context
requires).

                “Commitment Premium” has the meaning assigned to such term in Section 2.12(b).

               “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended from time to time, and any successor statute.




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                  “Company Advisors” has the meaning assigned to such term in Section 5.16(c).“Control”
means the possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies, or the dismissal or appointment of the management, of a Person, whether through the ability to
exercise voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings correlative
thereto.

                “Confirmation Date Borrowing Cap” means $75,000,000.

                 “Confirmation Order” means the final order entered by the Bankruptcy Court in the
Chapter 11 Cases confirming the Plan of Reorganization pursuant to section 1129 of the Bankruptcy Code,
in form and substance acceptable to the Required Lenders, which shall be in full force and effect and shall
not be reversed, vacated, stayed, amended, supplemented or otherwise modified, in each case, without the
prior written consent of the Required Lenders (which may be provided via email by counsel to the Required
Lenders).

                “Contributing Party” has the meaning assigned to such term in Section 10.09.

                 “Covered Entity” means any of the following: (i) a “covered entity” as that term is defined
in, and interpreted in accordance with, 12 C.F.R. § 252.82(b), (ii) a “covered bank” as that term is defined
in, and interpreted in accordance with, 12 C.F.R. § 47.3(b) or (iii) a “covered FSI” as that term is defined
in, and interpreted in accordance with, 12 C.F.R. § 382.2(b).

                “Covered Party” has the meaning specified in Section 9.20.

                  “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this rate (which
will include a lookback) being established by the Administrative Agent in accordance with the conventions
for this rate selected or recommended by the Relevant Governmental Body for determining “Daily Simple
SOFR” for syndicated business loans; provided, that if the Administrative Agent decides that any such
convention is not administratively feasible for the Administrative Agent, then the Administrative Agent
(acting at the direction of the Required Lenders) may establish another convention, provided that such
convention is administratively feasible for the Administrative Agent. .

                 “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief laws of the United States or other
applicable jurisdictions from time to time in effect and affecting the rights of creditors generally.

                  “Default” means any event or condition that constitutes an Event of Default or that upon
notice, lapse of time or both would, unless cured or waived, become an Event of Default.

               “Default Right” has the meaning assigned to that term in, and shall be interpreted in
accordance with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

                 “Defaulting Lender” means any Lender that (a) has failed, within two Business Days of
the date required to be funded or paid, to (i) fund any portion of its Loans, or (ii) pay over to the
Administrative Agent or any other Lender any other amount required to be paid by it hereunder, unless, in
the case of clause (i) above, such Lender notifies the Administrative Agent in writing that such failure is
the result of such Lender’s good faith determination that a condition precedent to funding (specifically
identified and including the particular default, if any) has not been satisfied, (b) has notified the Lead
Borrower or the Administrative Agent, or any other Lender, as applicable, in writing, or has made a public
statement to the effect, that it does not intend or expect to comply with any of its funding obligations under



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this Agreement (unless such writing or public statement indicates that such position is based on such
Lender’s good faith determination that a condition precedent (specifically identified and including the
particular default, if any) to funding a Loan under this Agreement cannot be satisfied) or generally under
other agreements in which it commits to extend credit, (c) has failed, within three Business Days after
request by the Administrative Agent or any other Lender, as applicable, acting in good faith, to provide a
certification in writing from an authorized officer of such Lender that it will comply with its obligations
(and is financially able to meet such obligations as of the date of certification) to fund prospective Loans
and under this Agreement; provided that such Lender shall cease to be a Defaulting Lender pursuant to this
clause (c) upon the Administrative Agent’s or any other Lender’s, as applicable, receipt of such certification
in form and substance satisfactory to it and the Administrative Agent or such Lender or (d) has become the
subject of (i) a Bankruptcy Event or (ii) a Bail-In Action.

                 “Deposit Accounts” shall have the meaning set forth in Article 9 of the UCC.

                 “DIP Backstop Parties” has the meaning assigned to such term in the Restructuring Term
Sheet.

                 “DIP Backstop Premium” has the meaning assigned to such term in Section 2.12(e).

                 “DIP Facility” shall have the meaning assigned to such term in the recitals hereto.

                 “DIP Superpriority Claims” shall have the meaning assigned to such term in the Orders.

                 “Disbursements Variance” has the meaning assigned to such term in Section 5.16(b).

                 “Dispose” and “Disposition” each has the meaning assigned to such term in Section 6.05.

                “Disqualified Equity Interest” means, with respect to any Person, any Equity Interest in
such Person that by its terms (or by the terms of any security into which it is convertible or for which it is
exchangeable, either mandatorily or at the option of the holder thereof), or upon the happening of any event
or condition:

                 (a)     matures or is mandatorily redeemable or contains any mandatory put, redemption
or repayment provision (other than solely for Equity Interests in such Person that do not constitute
Disqualified Equity Interests and cash in lieu of fractional shares of such Equity Interests), whether pursuant
to a sinking fund obligation or otherwise;

                 (b)     is convertible or exchangeable, either mandatorily or at the option of the holder
thereof, for Indebtedness or Equity Interests (other than solely for Equity Interests in such Person that do
not constitute Disqualified Equity Interests and cash in lieu of fractional shares of such Equity Interests);

                 (c)     is redeemable (other than solely for Equity Interests in such Person that do not
constitute Disqualified Equity Interests and cash in lieu of fractional shares of such Equity Interests) or is
required to be repurchased by such Person or any of its Affiliates, in whole or in part, at the option of the
holder thereof; or

                (d)      in the case of any preferred Equity Interest, provides for scheduled payments of
dividends and/or distributions in cash;

in each case, on or prior to the date ninety-one (91) days after the Maturity Date; provided, however, that
(i) an Equity Interest in any Person that would not constitute a Disqualified Equity Interest but for terms



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thereof giving holders thereof the right to require such Person to redeem or purchase such Equity Interest
upon the occurrence of an “asset sale” or a “change of control” or similar event shall not constitute a
Disqualified Equity Interest if any such requirement becomes operative only after, or payment thereunder
is subject to the prior, repayment in full of all the Loans and all other Secured Obligations that are accrued
and payable and the termination of the Commitments, (ii) if an Equity Interest in any Person is issued
pursuant to any plan for the benefit of employees of the Borrower (or any direct or indirect parent thereof)
or any of its subsidiaries or by any such plan to such employees, such Equity Interest shall not constitute a
Disqualified Equity Interest solely because it may be required to be repurchased by the Borrower or any of
its subsidiaries in order to satisfy applicable statutory or regulatory obligations of such Person and (iii) any
Equity Interest in any Person that would not constitute a Disqualified Equity Interest but for a requirement
of payment of dividends or distributions in violation of clauses (a) or (b) above shall not constitute a
Disqualified Equity Interest if the terms of such Equity Interest (x) give the applicable issuer the option to
elect to pay such dividends or distributions on a non-cash basis and (y) do not require the cash payment of
dividends or distributions at any time that such cash payment is not permitted under Section 6.07 of this
Agreement or would result in an Event of Default hereunder.

                 “Disqualified Lenders” means (i) those Persons identified by the Lead Borrower to the
Administrative Agent in writing prior to the Effective Date as being “Disqualified Lenders”, (ii) those
Persons who are competitors of the Lead Borrower and/or any of their Subsidiaries or Persons Controlling
or Controlled by any of the foregoing, in each case, identified by the Lead Borrower to the Administrative
Agent from time to time in writing (including by email) which designation shall become effective three (3)
Business Days after the delivery of each such written designation to the Administrative Agent, but which
shall not apply retroactively to disqualify any persons that have previously acquired, or entered into a trade
to acquire, an assignment or participation interest in the Loan and (iii) in the case of each Person identified
pursuant to clauses (i) and (ii) above, any of their Affiliates (other than any such Affiliate that is primarily
engaged in, or that advises funds or other investment vehicles that are engaged in, making, purchasing,
holding or otherwise investing in commercial loans, bonds and similar extensions of credit or securities in
the ordinary course and with respect to which the primary Disqualified Lender does not possess the power
to direct or cause the direction of the investment policies of such entity referenced in clause (ii) above,
unless separately identified by the Lead Borrower pursuant to clause (i) above) that are either (x) identified
in writing by the Lead Borrower to the Administrative Agent from time to time or (y) clearly identifiable
as Affiliates on the basis of such Affiliate’s name. Such list of Disqualified Lenders shall be available for
inspection upon request by any Lender.

                 “dollars” or “$” refers to lawful money of the United States of America.

                “Earn-Outs” means, with respect to any Person, obligations of such Person arising from
Permitted Acquisitions or other Investments permitted hereunder which are payable to the sellers thereunder
in their capacity as such based on the achievement of specified financial results or other criteria or
milestones over time.

                  “EEA Financial Institution” means (a) any credit institution or investment firm established
in any EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any
entity established in an EEA Member Country which is a parent of an institution described in clause (a) of
this definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary
of an institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision
with its parent.

                “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.



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                 “EEA Resolution Authority” means any public administrative authority or any person
entrusted with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

                “Effective Date” means the date on which the conditions precedent set forth in Sections
4.01 and 4.02 have been satisfied.

                “Electronic Signature” means an electronic sound, symbol, or process attached to, or
associated with, a contract or other record and adopted by a Person with the intent to sign, authenticate or
accept such contract or record.

                 “Eligible Assignee” means (a) a Lender, (b) an Affiliate of a Lender, (c) an Approved Fund
and (d) any other Person (other than the Borrower or any of its Affiliates), other than, in each case, (i) a
natural person (or a holding company, investments vehicle, investment vehicle or trust for, or owned and
operated by or for the primary benefit of a natural person), (ii) a Defaulting Lender or (iii) a Disqualified
Lender; provided that a Disqualified Lender will constitute an Eligible Assignee solely to the extent that
such assignment is consented to in writing by the Lead Borrower. Notwithstanding the foregoing, each
Loan Party and the Lenders acknowledge and agree that the Administrative Agent shall have no liability
with respect to any assignment made to a Disqualified Lender unless (i) the Administrative Agent has acted
with gross negligence or willful misconduct (as determined by a court of competent jurisdiction in a final
and non-appealable judgment) and (ii) the Lead Borrower has not consented to such assignment or is not
deemed to have consented to such assignment to the extent required by Section 9.04(b).

                 “Environmental Laws” means all applicable treaties, rules, regulations, codes, ordinances,
judgments, orders, decrees and other applicable Requirements of Law, and all applicable injunctions or
binding agreements issued, promulgated or entered into by or with any Governmental Authority, in each
instance relating to the protection of the environment, to preservation or reclamation of natural resources,
to Release or threatened Release of any Hazardous Material or to the extent relating to exposure to
Hazardous Materials, to health or safety matters.

                 “Environmental Liability” means any liability, obligation, loss, claim, action, order or cost,
contingent or otherwise (including any liability for damages, costs of medical monitoring, costs of
environmental remediation or restoration, administrative oversight costs, consultants’ fees, fines, penalties
and indemnities) directly or indirectly resulting from or based upon (a) any actual or alleged violation of
any Environmental Law or permit, license or approval issued thereunder, (b) the generation, use, handling,
transportation, storage, or treatment of any Hazardous Materials, (c) exposure to any Hazardous Materials,
(d) the Release or threatened Release of any Hazardous Materials or (e) any contract, agreement or other
consensual arrangement pursuant to which liability is assumed or imposed with respect to any of the
foregoing.

                  “Equity Interests” means shares of capital stock, partnership interests, membership
interests in a limited liability company, beneficial interests in a trust or other equity ownership interests in
a Person.

                  “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from
time to time.

                “ERISA Affiliate” means any trade or business (whether or not incorporated) that, together
with any Loan Party, is treated as a single employer under Section 414(b) or 414(c) of the Code or, solely
for purposes of Title IV and Section 302 of ERISA and Section 412 of the Code, is treated as a single
employer under Section 4001(b) of ERISA or Section 414 of the Code.


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                  “ERISA Event” means (a) any “reportable event,” as defined in Section 4043(c) of ERISA
or the regulations issued thereunder with respect to a Plan (other than an event for which the 30-day notice
period is waived); (b) any failure by any Plan to satisfy the minimum funding standard (within the meaning
of Section 412 of the Code or Section 302 of ERISA) applicable to such Plan, in each case whether or not
waived; (c) the filing pursuant to Section 412(c) of the Code or Section 302(c) of ERISA, of an application
for a waiver of the minimum funding standard with respect to any Plan; (d) a determination that any Plan
is, or is expected to be, in “at-risk” status (as defined in Section 303(i)(4) of ERISA or Section 430(i)(4) of
the Code); (e) the incurrence by a Loan Party or any ERISA Affiliate of any liability under Title IV of
ERISA (other than premiums due and not delinquent under Section 4007 of ERISA) with respect to the
termination of any Plan or by application of Section 4069 of ERISA with respect to any terminated plan;
(f) the receipt by a Loan Party or any ERISA Affiliate from the PBGC or a plan administrator of any notice
relating to an intention to terminate any Plan or Plans or to appoint a trustee to administer any Plan, or to
an intention to terminate or to appoint a trustee to administer any plan or plans in respect of which such
Loan Party or ERISA Affiliate would be deemed to be an employer under Section 4069 of ERISA; (g) the
incurrence by a Loan Party or any ERISA Affiliate of any liability with respect to the withdrawal or partial
withdrawal from any Multiemployer Plan; (h) the receipt by a Loan Party or any ERISA Affiliate of any
notice, or the receipt by any Multiemployer Plan from a Loan Party or any ERISA Affiliate of any notice,
concerning the imposition of Withdrawal Liability, or the failure of a Loan Party or any ERISA Affiliate to
pay when due, after the expiration of any applicable grace period, any installment payment with respect to
any Withdrawal Liability; or (i) the withdrawal of a Loan Party or any ERISA Affiliate from a Plan subject
to Section 4063 of ERISA during a plan year in which such entity was a “substantial employer” as defined
in Section 4001(a)(2) of ERISA or a cessation of operations that is treated as such a withdrawal under
Section 4062(e) of ERISA.

               “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

                 “Event of Default” has the meaning assigned to such term in Section 7.01.

                “Exchange Act” means the United States Securities Exchange Act of 1934, as amended
from time to time.

                 “Excluded Party” has the meaning assigned to such term in Section 9.03(b).

                 “Excluded Taxes” means, with respect to any Recipient, (a) Taxes imposed on (or
measured by) net income (however denominated) and franchise Taxes by a jurisdiction (i) as a result of
such recipient being organized or having its principal office or, in the case of any Lender, its applicable
lending office located in such jurisdiction (or any political subdivision thereof), or (ii) that are Other
Connection Taxes, (b) any branch profits tax imposed under Section 884(a) of the Code, or any similar Tax,
imposed by any jurisdiction described in clause (a) above, (c) any withholding Tax imposed pursuant to
FATCA, (d) any Tax that is attributable to a Lender’s failure to comply with Section 2.17(e) and (e) in the
case of a Lender, U.S. federal withholding Taxes imposed on amounts payable to or for the account of such
Lender with respect to an applicable interest in a Loan or Commitment pursuant to a law in effect on the
date on which (i) such Lender acquires such interest in the Loan or Commitment (other than pursuant to an
assignment request by the Lead Borrower under Section 2.19(b)) or (ii) such Lender changes its lending
office, except in each case to the extent that, pursuant to Section 2.17(a), amounts with respect to such
Taxes were payable either to such Lender’s assignor immediately before such Lender became a party hereto
or to such Lender immediately before it changed its lending office.

                “Existing ABL Intercreditor Agreement” means that certain Amended and Restated
Intercreditor Agreement, dated as of November 22, 2021, by and among the Prepetition Senior Priority


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Agent, the Prepetition Junior Priority Agent and the Prepetition ABL Agent (and any other Persons party
thereto), and acknowledged by certain of the Loan Parties, as may be amended, amended and restated,
modified, supplemented, extended or renewed from time to time not in violation of the terms hereof or
thereof.

                “Existing First Lien/Second Lien Intercreditor Agreement” means that certain Amended
and Restated First Lien/Second Lien Intercreditor Agreement, dated as of November 22, 2021, by and
among, among others, the Prepetition Senior Priority Agent, the Prepetition Junior Priority Agent and the
Prepetition ABL Agent, and acknowledged by certain of the Loan Parties, as may be amended, amended
and restated, modified, supplemented, extended or renewed from time to time not in violation of the terms
hereof or thereof.

                 “Existing Intercreditor Agreements” means the Existing ABL Intercreditor Agreement and
the Existing First Lien/Second Lien Intercreditor Agreement, as the context may require.

                 “Exit Premium” has the meaning assigned to such term in Section 2.12(c).

                  “Extraordinary Net Cash Receipts” means any cash (determined on a net basis) received
by or paid to or for the account of the Borrower or any Subsidiary not in the ordinary course of business
consisting of (a) proceeds of directors and officers insurance (other than proceeds not payable to the Loan
Parties or the estates pursuant to the terms of any such insurance policy), (b) judgments, proceeds of
settlements or other consideration of any kind in connection with any cause of action (other than with
respect to reimbursement of third party claims) relating to the Collateral and (c) foreign, United States, state
or local tax refunds; in each case, net of reasonable and documented costs and expenses associated therewith,
including reasonable and documented legal fees and expenses; provided, however, that Extraordinary Net
Cash Receipts shall not include cash receipts to the extent that such funds are received by the Borrower or
any Subsidiary in respect of any third party claim against such Person and applied to pay (or reimburse
such Person for its prior payment of) such claim plus related costs and expenses.

                “FATCA” means Sections 1471 through 1474 of the Code as of the date of this Agreement
(or any amended or successor version that is substantively comparable thereto and not materially more
onerous to comply with), any current or future regulations or official interpretations thereof, any agreements
entered into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory legislation, rules or
practices adopted pursuant to any intergovernmental agreement, treaty or convention among Governmental
Authorities and implementing such Sections of the Code.

                  “Federal Funds Effective Rate” means, for any day, the rate calculated by the NYFRB
based on such day’s federal funds transactions by depositary institutions, as determined in such manner as
shall be set forth on the Federal Reserve Bank of New York’s Website from time to time, and published on
the next succeeding Business Day by the NYFRB as the effective federal funds rate; provided that if the
Federal Funds Effective Rate as so determined would be less than zero, such rate shall be deemed to be
zero for the purposes of this Agreement.

              “Federal Reserve Bank of New York’s Website” means the website of the NYFRB at
http://www.newyorkfed.org, or any successor source.

                “Final Borrowing Cap” means the remaining New Money Term Loan Commitments after
giving effect to the incurrence of New Money Term Loans pursuant to Sections 2.01(a)(i) through
2.01(a)(iii).

                 “Final DIP Order” means the final order entered by the Bankruptcy Court in the Chapter



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11 Cases approving (i) the Loan Parties’ entry into the Loan Documents, (ii) the making of the Loans, (iii)
the granting of the DIP Superpriority Claims and Liens against the Loan Parties and their assets in
accordance with the Loan Documents with respect to the Collateral, (iv) the payment of the applicable
premiums and fees under the Loan Documents (including the Commitment Premium, the Exit Premium,
and the DIP Backstop Premium), (v) the items set forth in “Debtors’ Stipulations, Releases and
Acknowledgements Regarding DIP Secured Parties” and “Debtors’ Stipulations, Releases and
Acknowledgements Regarding Prepetition Secured Parties” in the Final DIP Order, (vi) the use of cash
collateral, and (vii) the granting of adequate protection to the Prepetition Secured Parties, in each case, on
a final basis, in form and substance acceptable to the Agents and the Required Lenders, which shall be in
full force and effect and shall not be reversed, vacated, stayed, amended, supplemented or otherwise
modified, in each case, without the prior written consent of the Required Lenders and, solely to the extent
any such reversal, vacation, stay, amendment, supplement or other modification affects the rights or
obligation of any Agent, such Agent.

                 “Financial Advisor” means AlixPartners, LLP, as financial officer to the Loan Parties.

                  “Financial Officer” means the chief financial officer, principal accounting officer, treasurer
or corporate controller of the Lead Borrower, another officer of the Lead Borrower with similar
responsibilities, or the chief executive officer or chief operating officer of the Lead Borrower.

                “Financing Transactions” means (a) the execution, delivery and performance by each Loan
Party of the Loan Documents to which it is to be a party and (b) the borrowing of Loans hereunder and the
use of the proceeds thereof.

               “FIRREA” means the Financial Institutions Reform, Recovery and Enforcement Act of
1989, as amended.

                “First Day Orders” means all material orders entered by the Bankruptcy Court pursuant to
motions filed on or about the Petition Date by the Chapter 11 Debtors. The First Day Orders must be
reasonably acceptable to the Required Lenders; provided, that the Orders and the interim and final order (I)
Authorizing Debtors (as defined therein) to (A) Continue their Existing Cash Management System, (B)
Maintain Existing Business Forms, (C) Continue Intercompany Arrangements, (D) Continue Using P-Cards,
and (E) Pay Bank Fees; (II) Granting an Extension of Time to Comply With 11 U.S.C. § 345(B); and (III)
Granting Related Relief must be acceptable to the Required Lenders.

                 “Floor” means a rate of interest equal to 1.00% per annum.

                 “Foreign Lender” has the meaning assigned to such term in Section 2.17(e)(ii).

                 “Foreign Subsidiary” means each Subsidiary that is organized under or incorporated in the
laws of a jurisdiction other than the United States, any state thereof or the District of Columbia.

                “Franchise Agreement” means a franchising agreement between any Loan Party or any
Subsidiary thereof, as franchisor, and any other Person, as franchisee, pertaining to the establishment and
operation of a business with operations comparable to the operations of the Lead Borrower and its
Subsidiaries.

                 “Franchise Disclosure Documents” means any uniform franchise offering circulars and
franchise disclosure documents used by (and, to the extent required, filed by) any Loan Party or Subsidiary
of a Loan Party to comply with any applicable law, rule, regulation or order of any Governmental Authority.




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                  “Franchise Laws” means all applicable laws, rules, regulations, orders, binding guidance
or other requirements of the United States Federal Trade Commission or any other Governmental Authority
relating to the relationship between franchisor and franchisees or to the offer, sale, termination, non-renewal
or transfer of a franchise.

                 “Fronting Fee” has the meaning assigned to such term in Section 9.12(d).

                 “Fronting Fee Letter” means that certain Jefferies Fronting Fee Letter, dated as of the
Effective Date, by and among, inter alia, the Lead Borrower and the Fronting Lender (as such Fronting Fee
Letter may be amended, restated, amended and restated, supplemented or otherwise modified from time to
time).

                 “Fronting Lender” means Jefferies Capital Services, LLC and/or its Affiliates.

                  “GAAP” means generally accepted accounting principles in the United States of America,
as in effect from time to time; provided, however, that if the Borrower notifies the Administrative Agent
that the Borrower requests an amendment to any provision hereof to eliminate the effect of any change
occurring after the Effective Date in GAAP or in the application thereof on the operation of such provision
(or if the Administrative Agent notifies the Borrower that the Required Lenders request an amendment to
any provision hereof for such purpose), regardless of whether any such notice is given before or after such
change in GAAP or in the application thereof, then such provision shall be interpreted on the basis of GAAP
as in effect and applied immediately before such change shall have become effective until such notice shall
have been withdrawn or such provision amended in accordance herewith. Notwithstanding any other
provision contained herein, (a) all terms of an accounting or financial nature used herein shall be construed,
and all computations of amounts and ratios referred to herein shall be made, without giving effect to any
election under FASB Accounting Standards Codification 825-Financial Instruments, or any successor
thereto (including pursuant to the FASB Accounting Standards Codification), to value any Indebtedness of
any subsidiary at “fair value,” as defined therein and (b) the amount of any Indebtedness under GAAP with
respect to Capital Lease Obligations or Capitalized Leases shall be determined in accordance with the
definitions of such terms.

               “Governmental Approvals” means all authorizations, consents, approvals, permits, licenses
and exemptions of, registrations and filings with, and reports to, Governmental Authorities.

                  “Governmental Authority” means any (i) federal, state, local, municipal, or other
government, (ii) governmental or quasi-Governmental Authority of any nature (including any governmental
agency, branch, department, official, or entity and any court or other tribunal) or (iii) body exercising, or
entitled to exercise any administrative, executive, judicial, legislative, police, regulatory, or taxing authority
or power of any nature, including any arbitral tribunal.

                  “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness
of any other Person (the “primary obligor”) in any manner, whether directly or indirectly, and including
any obligation of the guarantor, direct or indirect, (a) to purchase or pay (or advance or supply funds for
the purchase or payment of) such Indebtedness or to purchase (or to advance or supply funds for the
purchase of) any security for the payment thereof, (b) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness of the payment thereof, (c) to maintain working
capital, equity capital or any other financial statement condition or liquidity of the primary obligor so as to
enable the primary obligor to pay such Indebtedness or (d) as an account party in respect of any letter of
credit or letter of guaranty issued to support such Indebtedness; provided that the term Guarantee shall not
include endorsements for collection or deposit in the ordinary course of business or customary and


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reasonable indemnity obligations in effect on the Effective Date or entered into in connection with any
acquisition or disposition of assets permitted under this Agreement (other than such obligations with respect
to Indebtedness). The amount of any Guarantee shall be deemed to be an amount equal to the stated or
determinable amount of the related primary obligation, or portion thereof, in respect of which such
Guarantee is made or, if not stated or determinable, the maximum reasonably anticipated liability in respect
thereof as determined in good faith by a Financial Officer. The term “Guarantee” as a verb has a
corresponding meaning.

                 “Guarantor” means the Lead Borrower, each Subsidiary of the Lead Borrower (other than
the other Borrowers), Topco and each Subsidiary of Topco (other than the Lead Borrower) (in each case,
on a secured or unsecured basis, as applicable, pursuant to the terms and conditions hereof and in the Orders).

                 “Guaranty” means, collectively, the guaranty of the Secured Obligations by the Guarantors
pursuant to this Agreement.

                 “Hazardous Materials” means all explosive, radioactive, hazardous or toxic substances,
wastes or other pollutants, including petroleum or petroleum by-products or distillates, asbestos or asbestos-
containing materials, polychlorinated biphenyls, radon gas, infectious or medical wastes and all other
substances, wastes, chemicals, pollutants, contaminants of any nature and in any form regulated pursuant
to any Environmental Law.

                “Holdco Borrower” means Freedom VCM, Inc., a Delaware corporation.

                 “Holdco Credit Agreement” means that certain Credit Agreement dated as of August 21,
2023 and as the same may be amended, amended and restated, modified, supplemented, extended or
renewed from time to time, among Holdco Intermediate Parent, as holdings, Holdco Borrower, as borrower,
certain lenders party thereto and Alter Domus (US) LLC, as administrative agent and collateral agent.

               “Holdco Deferred Interest Amount” means an amount equal to $19,505,047.98 which is
comprised of the amount of the interest payment due under the Holdco Credit Agreement on or around
August 21, 2024.

                “Holdco Intermediate Parent” means Freedom VCM Interco, Inc., a Delaware corporation.

               “Holdco Loan Document” means the “Loan Documents” (or any similar term) under the
Holdco Credit Agreement.

                “Holdco Loan Parties” means Topco, Freedom VCM Interco Holdings, Inc., a Delaware
corporation; Holdco Intermediate Parent; Holdco Borrower and the Receivables Entities.

                 “Indebtedness” of any Person means, without duplication, (a) all obligations of such Person
for borrowed money, (b) all obligations of such Person evidenced by bonds, debentures, notes or similar
instruments to the extent the same would appear as a liability on a balance sheet of such Person prepared
in accordance with GAAP, (c) all obligations of such Person under conditional sale or other title retention
agreements relating to property acquired by such Person, (d) all obligations of such Person in respect of the
deferred purchase price of property or services (excluding (w) trade accounts payable in the ordinary course
of business, (x) any Earn-Out obligation, purchase price adjustment or similar obligation until such
obligation becomes a liability on the balance sheet of such Person in accordance with GAAP and if not paid
within thirty (30) days after being due and payable, (y) liabilities associated with customer prepayments
and deposits and (z) expenses accrued in the ordinary course of business), (e) all Indebtedness of others
secured by (or for which the holder of such Indebtedness has an existing right, contingent or otherwise, to



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be secured by) any Lien on property owned or acquired by such Person, whether or not the Indebtedness
secured thereby has been assumed, (f) all Guarantees by such Person of Indebtedness of others, (g) all
Capital Lease Obligations of such Person, (h) all obligations, contingent or otherwise, of such Person as an
account party in respect of letters of credit and letters of guaranty, (i) all obligations, contingent or otherwise,
of such Person in respect of bankers’ acceptances and (j) Disqualified Equity Interests and other preferred
equity issuances (and similar instruments); provided that the term “Indebtedness” shall not include
(i) deferred or prepaid revenue, (ii) purchase price holdbacks in respect of a portion of the purchase price
of an asset to satisfy warranty, indemnity or other unperformed obligations of the seller, (iii) contingent
indemnity and similar obligations incurred in the ordinary course of business (iv) any obligations
attributable to the exercise of appraisal rights and the settlement of any claims or actions (whether actual,
contingent or potential) with respect thereto, (v) Indebtedness of any Person that is a direct or indirect parent
of the Borrower appearing on the balance sheet of the Borrower, or solely by reason of push down
accounting under GAAP, (vi) any non-compete or consulting obligations incurred in connection with a
Permitted Acquisition, (vii) any reimbursement obligations under pre-paid contracts entered into with
clients in the ordinary course of business, (viii) for the avoidance of doubt, any Qualified Equity Interests
issued by the Borrower. The Indebtedness of any Person shall include the Indebtedness of any other entity
(including any partnership in which such Person is a general partner) to the extent such Person is liable
therefor as a result of such Person’s ownership interest in or other relationship with such entity, except to
the extent the terms of such Indebtedness provide that such Person is not liable therefor. The amount of
Indebtedness of any Person for purposes of clause (e) above shall (unless such Indebtedness has been
assumed by such Person) be deemed to be equal to the lesser of (A) the aggregate unpaid amount of such
Indebtedness and (B) the fair market value of the property encumbered thereby as determined by such
Person in good faith. For all purposes hereof, the Indebtedness of the Borrower and its Subsidiaries shall
exclude intercompany liabilities arising from their cash management, tax, and accounting operations and
intercompany loans, advances or Indebtedness having a term not exceeding 364 days (inclusive of any
rollover or extensions of terms).

                “Indemnified Taxes” means Taxes imposed on or with respect to any payment made by or
on account of any obligation of the Borrower under any Loan Document, other than Excluded Taxes and
Other Taxes.

                 “Indemnitee” has the meaning assigned to such term in Section 9.03(b).

                 “Information” has the meaning assigned to such term in Section 9.12(a).

                 “Initial Borrowing Cap” means $125,000,000.

                 “Initial Budget” means a 13-week cash flow projection in the form of Annex A, reflecting
(i) the Loan Parties’ anticipated cash receipts and disbursements for each calendar week during the period
from the week in which the Petition Date occurs through and including the end of the thirteenth calendar
week thereafter, and (ii) a professional fee accrual budget with respect to the anticipated fees and expenses
to be incurred by the Company Advisors, the professionals of the Official Committee (if any), and other
professionals during the thirteen week period.

                 “Intellectual Property” means all intellectual property rights of every kind and nature,
including rights in inventions, patents, copyrights, licenses, trademarks, rights in trade secrets, and rights
in software, all rights to sue or otherwise recover for any past, present and future infringement, dilution,
misappropriation, or other violation or impairment thereof, and proceeds of the foregoing, including,
without limitation, license fees, royalties, income, payments, claims, damages and proceeds of suit now or
hereafter due and/or payable with respect thereto, and all other rights of any kind accruing thereunder or
pertaining thereto throughout the world.


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               “Interest Election Request” means a request by the Borrower to convert or continue a
Borrowing in accordance with Section 2.07.

              “Interest Payment Date” means the last Business Day of each March, June, September and
December, upon any prepayment due to acceleration and on the Maturity Date.

                 “Interest Period” means, with respect to any SOFR Borrowing, the period commencing on
the date such Borrowing is disbursed or converted to or continued as a SOFR Borrowing and ending on the
date that is one month thereafter as selected by the Borrower in its Borrowing Request; provided that (a) if
any Interest Period would end on a day other than a Business Day, such Interest Period shall be extended
to the next succeeding Business Day unless such next succeeding Business Day would fall in the next
calendar month, in which case such Interest Period shall end on the next preceding Business Day, (b) any
Interest Period that commences on the last Business Day of a calendar month (or on a day for which there
is no numerically corresponding day in the last calendar month of such Interest Period) shall end on the last
Business Day of the last calendar month at the end of such Interest Period and (c) no Interest Period shall
extend beyond the Maturity Date. For purposes hereof, the date of a Borrowing initially shall be the date
on which such Borrowing is made and thereafter shall be the effective date of the most recent conversion
or continuation of such Borrowing.

                 “Interim Borrowing Cap” means $50,000,000.

                  “Interim DIP Order” means an interim order entered by the Bankruptcy Court in the
Chapter 11 Cases approving (i) the Loan Parties’ entry into the Loan Documents, (ii) the making of the
Loans, (iii) the granting of the DIP Superpriority Claims and Liens against the Loan Parties and their assets
in accordance with the Loan Documents with respect to the Collateral, (iv) the payment of the applicable
premiums and fees under the Loan Documents (including the Commitment Premium, the Exit Premium,
and the DIP Backstop Premium, (v) the items set forth in “Debtors’ Stipulations, Releases and
Acknowledgements Regarding DIP Secured Parties” and “Debtors’ Stipulations, Releases and
Acknowledgements Regarding Prepetition Secured Parties” in the Interim Order”, (vi) the use of cash
collateral, and (vii) the granting of adequate protection to the Prepetition Secured Parties on an interim basis,
which order shall be in form and substance acceptable to the Agents and the Required Lenders and shall be
in full force and effect, and shall not, subject to entry of the Final DIP Order, be reversed, stayed, amended,
supplemented or otherwise modified without the prior written consent of the Required Lenders and, solely
to the extent any such reversal, vacation, stay, amendment, supplement or other modification affects the
rights or obligations of any Agent, such Agent.

                  “Investment” means, as to any Person, any direct or indirect acquisition or investment by
such Person, whether by means of (a) the purchase or other acquisition of Equity Interests or Indebtedness
or other securities of another Person, (b) a loan, advance or capital contribution to, Guarantee or assumption
of Indebtedness of, or purchase or other acquisition of any other Indebtedness or equity participation or
interest in, another Person, including any partnership or joint venture interest in such other Person
(excluding, in the case of the Borrower and the Subsidiaries (i) intercompany advances arising from their
cash management, tax, and accounting operations and (ii) intercompany loans, advances, or Indebtedness
having a term not exceeding 364 days (inclusive of any roll-over or extensions of terms)) or (c) the purchase
or other acquisition (in one transaction or a series of transactions) of all or substantially all of the property
and assets or business of another Person or assets constituting a business unit, line of business or division
of such Person. The amount, as of any date of determination, of (a) any Investment in the form of a loan or
an advance shall be the principal amount thereof outstanding on such date, minus any cash payments
actually received by such investor representing interest in respect of such Investment (to the extent any such
payment to be deducted does not exceed the remaining principal amount of such Investment), but without
any adjustment for write-downs or write-offs (including as a result of forgiveness of any portion thereof)


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with respect to such loan or advance after the date thereof, (b) any Investment in the form of a Guarantee
shall be equal to the stated or determinable amount of the related primary obligation, or portion thereof, in
respect of which such Guarantee is made or, if not stated or determinable, the maximum reasonably
anticipated liability in respect thereof, as determined in good faith by a Financial Officer, (c) any Investment
in the form of a transfer of Equity Interests or other non-cash property by the investor to the investee,
including any such transfer in the form of a capital contribution, shall be the fair market value (as
determined in good faith by a Financial Officer) of such Equity Interests or other property as of the time of
the transfer, minus any payments actually received by such investor representing a return of capital of, or
dividends or other distributions in respect of, such Investment (to the extent such payments do not exceed,
in the aggregate, the original amount of such Investment), but without any other adjustment for increases
or decreases in value of, or write-ups, write-downs or write-offs with respect to, such Investment after the
date of such Investment, and (d) any Investment (other than any Investment referred to in clause (a), (b) or
(c) above) by the specified Person in the form of a purchase or other acquisition for value of any Equity
Interests, evidences of Indebtedness or other securities of any other Person shall be the original cost of such
Investment (including any Indebtedness assumed in connection therewith), plus (i) the cost of all additions
thereto and minus (ii) the amount of any portion of such Investment that has been repaid to the investor in
cash as a repayment of principal or a return of capital, and of any cash payments actually received by such
investor representing interest, dividends or other distributions in respect of such Investment (to the extent
the amounts referred to in clause (ii) do not, in the aggregate, exceed the original cost of such Investment
plus the costs of additions thereto), but without any other adjustment for increases or decreases in value of,
or write-ups, write-downs or write-offs with respect to, such Investment after the date of such Investment.
For purposes of Section 6.04, if an Investment involves the acquisition of more than one Person, the amount
of such Investment shall be allocated among the acquired Persons in accordance with GAAP; provided that
pending the final determination of the amounts to be so allocated in accordance with GAAP, such allocation
shall be as reasonably determined by a Financial Officer.

                 “Investors” means the one or more co-investors and other investors who are holders of
Equity Interests in the Borrower (or any direct or indirect parent thereof) on the Effective Date after giving
effect to the Transactions, together with their Affiliates.

                 “ISDA Definitions” means the 2006 ISDA Definitions published by the International
Swaps and Derivatives Association, Inc. or any successor thereto, as amended or supplemented from time
to time, or any successor definitional booklet for interest rate derivatives published from time to time by
the International Swaps and Derivatives Association, Inc. or such successor thereto.

                 “Judgment Currency” has the meaning assigned to such term in Section 9.18.

                 “Lead Borrower” has the meaning assigned to such term in the preliminary statements
hereto.

                “Lender Professionals” means, collectively, Paul Hastings LLP, as counsel, and Lazard
Frères & Co. LLC, as financial advisor, to certain Lenders constituting the Required Lenders (and/or such
other professionals as determined by the Required Lenders from time to time).

                “Lenders” means the Fronting Lender, the Persons listed on Schedule 2.01 and any other
Person that shall have become a party hereto pursuant to an Assignment and Assumption, in each case,
other than any such Person that ceases to be a party hereto pursuant to an Assignment and Assumption.

                “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
hypothecation, encumbrance, charge or security interest in, on or of such asset and (b) the interest of a
vendor or a lessor under any conditional sale agreement, ground lease, capital lease or title retention


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agreement (or any financing lease having substantially the same economic effect as any of the foregoing)
relating to such asset.

                 “Liquidity” means, as of any date of determination, (a) the sum of the daily unrestricted
(except for any restrictions pursuant to the collateral and security documents (including any account control
agreements), in each case, for the benefit of the respective lenders, agents and/or other secured parties under
this Agreement, the Prepetition Junior Priority Credit Agreements and the Prepetition ABL Credit
Agreement) cash and cash equivalents of the Loan Parties (other than the Holdco Loan Parties) for such
period minus (b) any cash in the Deposit Accounts maintained by Lead Borrower at Canadian Imperial
Bank of Commerce with the account number ending in x9922 and x0508 needed to cover expenses incurred
in connection with the self-insurance policies maintained by the Lead Borrower in accordance with the
terms hereof.

                 “Liquidity Report Deadline” has the meaning assigned to such term in Section 5.16(d).

                “Loan Documents” means this Agreement, the Security Documents (including the Orders),
the Administrative Agent Fee Letter and, except for purposes of Section 9.02, any Note delivered pursuant
to Section 2.09(e).

                 “Loan Parties” means any Borrower, any Subsidiary Loan Parties and any Holdco Loan
Parties.

               “Loans” means, individually or collectively as the context requires, the New Money Term
Loans and the Roll-Up Term Loans.

                 “Majority in Interest”, when used in reference to Lenders of any Class, means, at any time,
Lenders holding outstanding Loans of such Class representing more than 50% of all Loans of such Class
outstanding at such time; provided that whenever there are one or more Defaulting Lenders, the total
outstanding Loans each Defaulting Lender shall be excluded for purposes of making a determination of the
Majority in Interest.

             “Manual Sweeping Accounts” shall have the meaning ascribed to the term “Manual
Sweeping Accounts” in the Prepetition ABL Credit Agreement as in effect on the date hereof.

                 “Master Agreement” has the meaning assigned to such term in the definition of “Swap
Agreement”.

                 “Material Adverse Effect” means a circumstance or condition that would materially and
adversely affect (i) the business, results of operations or financial condition of the Lead Borrower and its
Subsidiaries, taken as a whole, (ii) the ability of the Loan Parties, taken as a whole, to perform their payment
obligations under the applicable Loan Documents or (iii) the rights and remedies, taken as a whole, of the
Agents and the Lenders under the Loan Documents, or on the ability of the Loan Parties, taken as a whole,
to perform their payment obligations to the Lenders, in each case, under the Loan Documents, in each case,
other than the commencement of a proceeding under chapter 11 of the Bankruptcy Code and the
commencement of the Chapter 11 Cases, the events that lead to the commencement of the Chapter 11 Cases,
events that customarily and reasonably result from the commencement of the Chapter 11 Cases (in each
case, other than matters affecting the Loan Parties that are not subject to the automatic stay) and the
consummation of the transactions contemplated by the First Day Orders or the Plan of Reorganization.

                “Material Indebtedness” means Indebtedness for borrowed money (other than the Secured
Obligations), Capital Lease Obligations, unreimbursed obligations for letter of credit drawings and financial



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guarantees (other than ordinary course of business contingent reimbursement obligations) or obligations in
respect of one or more Swap Agreements, of any one or more of the Borrower and its Subsidiaries in an
aggregate principal amount exceeding $10,000,000. For purposes of determining Material Indebtedness,
the “principal amount” of the obligations in respect of any Swap Agreement at any time shall be the
maximum aggregate amount (giving effect to any netting agreements) that the Borrower or such Subsidiary
would be required to pay if such Swap Agreement were terminated at such time.

                “Material Intellectual Property” means any intellectual property owned by the Borrower or
any of its Subsidiaries, the loss of which would reasonably be expected, either individually or in the
aggregate, to have a Material Adverse Effect.

                “Material Non-Public Information” means material non-public information with respect to
the Lead Borrower or its Affiliates, or the respective securities of any of the foregoing for purposes of
United States Federal and state securities laws.

                   “Material Real Property” means real property (including fixtures) (i) located in the United
States, (ii) first acquired by any Loan Party after the Effective Date and (iii) owned (but not leased or
ground-leased) by any Loan Party with a book value, as reasonably determined by the Lead Borrower in
good faith on the date of acquisition thereof, greater than or equal to $2,000,000.

                  “Maturity Date” means the earliest to occur of: (a) one hundred and eighty (180) days after
the Effective Date (the “Outside Date”); provided, that, the Outside Date may be extended by the Required
Supermajority Lenders for up to three (3) consecutive 30-day periods, (b) 11:59 p.m. New York City Time
on the date that is five (5) days after the Petition Date (or if such fifth day is not a Business Day, the first
succeeding Business Day thereafter) if the Interim DIP Order, which shall be in form and substance
consistent with the consent rights set forth in Section 3.02 of the Restructuring Support Agreement, has not
been entered by the Bankruptcy Court prior to such date and time, (c) 11:59 p.m. New York City Time on
the date that is forty-five (45) days after the Petition Date (or if such forty-fifth day is not a Business Day,
the first succeeding Business Day thereafter), if the Final DIP Order, which shall be in form and substance
consistent with the consent rights set forth in Section 3.02 of the Restructuring Support Agreement, has not
been entered by the Bankruptcy Court prior to such date and time, (d) the effective date of a chapter 11 plan
of any Loan Party, which has been confirmed by an order entered by the Bankruptcy Court in any of the
Chapter 11 Cases, (e) dismissal of any of the Chapter 11 Cases or conversion of any of the Chapter 11
Cases into a case under chapter 7 of the Bankruptcy Code, (f) consummation of a Sale Transaction (other
than a Sale Transaction pursuant to a Sufficient Bid or that is otherwise consented to by the Required
Supermajority Lenders in their sole discretion), (g) termination of the Restructuring Support Agreement,
and (h) the acceleration of the Loans and the termination of the Commitments pursuant to Article VII.

                 “Maximum Rate” has the meaning assigned to such term in Section 9.16.

                 “Milestones” has the meaning assigned to such term in Section 6.17.

                 “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating agency
business.

                 “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA.

               “Net Proceeds” means, with respect to any event, (a) the proceeds received in respect of
such event in cash or Permitted Investments, including (i) any non-cash proceeds (including any cash
payments received by way of deferred payment of principal pursuant to a note or installment receivable or



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purchase price adjustment or Earn-Out, but excluding any interest payments), but only as and when received,
(ii) in the case of a casualty, insurance proceeds that are actually received, and (iii) in the case of a
condemnation or similar event, condemnation awards and similar payments that are actually received,
minus (b) the sum of (i) all fees and out-of-pocket expenses paid by the Borrower and its Subsidiaries in
connection with such event (including attorney’s fees, investment banking fees, survey costs, title insurance
premiums, and related search and recording charges, transfer taxes, deed or mortgage recording taxes,
underwriting discounts and commissions, other customary expenses and brokerage, consultant, accountant
and other customary fees), (ii) in the case of a sale, transfer or other disposition of an asset (including
pursuant to a sale and leaseback transaction or a casualty or a condemnation or similar proceeding), (x) the
amount of all payments that are permitted hereunder and are made by the Borrower and its Subsidiaries as
a result of such event to repay Indebtedness (other than (A) the Loans and (B) in respect of the Collateral,
Indebtedness secured by a lien on such Collateral that is pari passu or junior to the lien on such Collateral
securing the Secured Obligations) secured by such asset or otherwise subject to mandatory prepayment as
a result of such event, (y) the pro rata portion of net cash proceeds thereof (calculated without regard to
this clause (y)) attributable to minority interests and not available for distribution to or for the account of
the Borrower or its Subsidiaries as a result thereof and (z) the amount of any liabilities directly associated
with such asset and retained by the Borrower or any Subsidiary and (iii) the amount of all taxes paid (or
reasonably estimated to be payable) and the amount of any reserves established by the Borrower and its
Subsidiaries to fund contingent liabilities reasonably estimated to be payable, that are directly attributable
to such event, provided that any reduction at any time in the amount of any such reserves (other than as a
result of payments made in respect thereof) shall be deemed to constitute the receipt by the Borrower at
such time of Net Proceeds in the amount of such reduction.

                “New Money Term Loan Commitments” means, with respect to each Lender, the
commitment to make New Money Term Loans hereunder in accordance with Section 2.01(a), expressed as
an amount representing the maximum principal amount of the New Money Term Loans to be made by such
Lender hereunder, as such commitment may be reduced from time to time (a) pursuant to assignments by
or to such Lender pursuant to an Assignment and Assumption, including in connection with the Syndication
Procedures or (b) pursuant to a reduction of the Commitments by the Borrower. As of the date hereof, the
aggregate amount of New Money Term Loan Commitments is $250,000,000. The amount of each Lender’s
New Money Term Loan Commitment is set forth on Schedule 2.01 or in the Assignment and Assumption
pursuant to which such Lender shall have assumed its New Money Term Loan Commitment.

                “New Money Term Loans” has the meaning assigned to such term in Section 2.01(a).

                “Non-Consenting Lender” has the meaning assigned to such term in Section 9.02(c).

                “Note” means a promissory note of the Borrower, in substantially the form of Exhibit D,
payable to a Lender in a principal amount equal to the principal amount of the Loans of such Lender.

                “NYFRB” means the Federal Reserve Bank of New York.

                 “NYFRB Rate” means, for any day, the greater of (a) the Federal Funds Effective Rate in
effect on such day and (b) the Overnight Bank Funding Rate in effect on such day (or for any day that is
not a Business Day, for the immediately preceding Business Day); provided that if none of such rates are
published for any day that is a Business Day, the term “NYFRB Rate” means the rate (which rate shall be
administratively feasible for the Administrative Agent) for a federal funds transaction quoted at 11:00 a.m.
on such day received by a financial institution selected by the Required Lenders from a federal funds broker
of recognized standing selected by such financial institution; provided, further, that if any of the aforesaid
rates as so determined be less than zero, such rate shall be deemed to be zero for purposes of this Agreement.




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                “Official Committee” means any official committee of unsecured creditors appointed in
any of the Chapter 11 Cases.

                 “Orders” means the Interim DIP Order and/or the Final DIP Order, as the context requires.

                 “Organizational Documents” means, with respect to any Person, the charter, articles of
association or certificate of organization or incorporation and bylaws or other organizational or governing
documents of such Person.

                “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as a result
of any present or former connection between such Recipient and the jurisdiction imposing such Tax (other
than connections arising solely from such Recipient (x) having executed, delivered, become a party to,
performed its obligations or received payments under, received or perfected a security interest under or
enforced any Loan Documents or engaged in any other transaction pursuant to this Agreement or (y) having
sold or assigned an interest in any Loan Documents).

                “Other Taxes” means any and all present or future recording, stamp, documentary or
similar Taxes arising from any payment made under any Loan Document or from the execution, delivery
or enforcement of, or otherwise with respect to, any Loan Document except any such Taxes that are Other
Connection Taxes imposed with respect to an assignment (other than an assignment made pursuant to
Section 2.19(b)).

                 “Outside Date” has the meaning specified in the definition of “Maturity Date”.

                “Overnight Bank Funding Rate” means, for any day, the rate comprised of both overnight
federal funds and overnight SOFR Borrowings by U.S.-managed banking offices of depository institutions,
as such composite rate shall be determined by the NYFRB as set forth on the Federal Reserve Bank of New
York’s Website from time to time, and published on the next succeeding Business Day by the NYFRB as
an overnight bank funding rate.

                 “Participant” has the meaning assigned to such term in Section 9.04(c)(i).

                 “Participant Register” has the meaning assigned to such term in Section 9.04(c)(ii).

              “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in
ERISA and any successor entity performing similar functions.

             “Periodic Term SOFR Determination Day” has the meaning specified in the definition of
“Term SOFR Reference Rate”.

                  “Permitted Acquisition” means the purchase or other acquisition, by merger, consolidation
or otherwise, by the Borrower or any Subsidiary of any Equity Interests in, or all or substantially all the
assets of (or all or substantially all the assets constituting a business unit, division, product line or line of
business of), any Person; provided that (a) in the case of any purchase or other acquisition of Equity
Interests in a Person, (i) such Person, upon the consummation of such purchase or acquisition, will be a
Subsidiary (including as a result of a merger or consolidation between any Subsidiary and such Person), or
(ii) such Person is merged into or consolidated with a Subsidiary and such Subsidiary is the surviving entity
of such merger or consolidation, (b) the business of such Person, or such assets, as the case may be,
constitute a Similar Business (or assets with respect thereto), (c) with respect to each such purchase or other
acquisition, all actions required to be taken with respect to such newly created or acquired Subsidiary
(including each subsidiary thereof) or assets in order to satisfy the requirements set forth in the definition



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of the term “Collateral and Guarantee Requirement” to the extent applicable shall have been taken to the
extent required by Sections 5.11 or 5.12 (or shall be taken within the time periods set forth in this Agreement
or such later date as agreed to by the Required Lenders), (d) subject to Section 1.06, after giving effect to
any such purchase or other acquisition no Event of Default shall have occurred and be continuing, and (e)
all such purchases and acquisitions of the Equity Interests in any Person will result in such Person becoming
a Loan Party (within the time periods set forth in this Agreement), or all or substantially all the assets of (or
all or substantially all the assets constituting a business unit, division, product line or line of business of)
such Person will become owned by a Loan Party (or a Person that will become a Loan Party within the time
periods set forth in this Agreement).

                 “Permitted Encumbrances” means:

                (a)       Liens for Taxes, assessments or governmental charges that are not overdue for a
period of more than 30 days or that are being contested in good faith and by appropriate proceedings
diligently conducted, if adequate reserves with respect thereto are maintained on the books of the applicable
Person in accordance with GAAP;

                (b)       Liens with respect to outstanding motor vehicle fines and Liens imposed by law,
such as carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s or construction contractors’
Liens and other similar Liens arising in the ordinary course of business that secure amounts not overdue for
a period of more than 30 days or, if more than 30 days overdue, are unfiled and no other action has been
taken to enforce such Lien or that are being contested in good faith and by appropriate proceedings
diligently conducted, if adequate reserves with respect thereto are maintained on the books of the applicable
Person in accordance with GAAP, in each case so long as such Liens do not individually or in the aggregate
have a Material Adverse Effect;

                (c)      Liens incurred, pledges or deposits made in the ordinary course of business (i) in
connection with payroll taxes, workers’ compensation, unemployment insurance and other social security
legislation, public liability laws or similar legislation or (ii) securing liability for reimbursement or
indemnification obligations of (including obligations in respect of letters of credit or bank guarantees or
similar instrument for the benefit of) insurance carriers providing property, casualty or liability insurance
to the Borrower or any Subsidiary or otherwise supporting the payment of items of the type set forth in the
foregoing clause (i);

                 (d)     Liens incurred or deposits made to secure the performance of tenders, bids, trade
contracts, customer claims, governmental contracts and leases, statutory obligations, surety, stay, customs
and appeal bonds, performance bonds, bankers’ acceptance facilities and other obligations of a like nature
(including those to secure health, safety and environmental obligations) and obligations in respect of letters
of credit, bank guarantees or similar instruments that have been posted to support the same, in each case
incurred in the ordinary course of business or consistent with past practices;

                 (e)       easements, licenses, servitudes, restrictive covenants, rights-of-way, restrictions,
encroachments, protrusions, zoning restrictions and other similar encumbrances and title defects affecting
real property that, in the aggregate, do not materially interfere with the ordinary conduct of the business of
the Borrower and its Subsidiaries taken as a whole;

                 (f)     leases or subleases of real or personal property granted to other Persons (as lessee
thereof) that do not materially interfere with the ordinary conduct of the business of the Borrower and its
Subsidiaries taken as a whole;




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                (g)      rights of future tenants pursuant to written leases entered into in accordance with
the terms hereof;

                (h)     Liens securing, or otherwise arising from, judgments not constituting an Event of
Default under Section 7.01(j) and any pledge and/or deposit securing any settlement of threatened litigation;

                  (i)      Liens on (i) goods the purchase price of which is financed by a documentary letter
of credit issued for the account of the Borrower or any of its Subsidiaries or Liens on bills of lading, drafts
or other documents of title arising by operation of law or pursuant to the standard terms of agreements
relating to letters of credit, bank guarantees and other similar instruments; provided that such Lien secures
only the obligations of the Borrower or such Subsidiaries in respect of such letter of credit to the extent
such obligations are permitted by Section 6.01 and (ii) specific items of inventory or other goods and
proceeds of any Person securing such Person’s obligations in respect of bankers’ acceptances issued or
created for the account of such Person to facilitate the purchase, shipment or storage of such inventory or
other goods;

                  (j)     Liens arising from precautionary Uniform Commercial Code financing statements
or similar filings made in respect of operating leases entered into by the Borrower or any of its Subsidiaries;

                  (k)    rights of recapture of unused real property in favor of the seller of such property
set forth in customary purchase agreements and related arrangements with any Governmental Authority;

                (l)      Liens in favor of deposit banks or securities intermediaries securing customary
fees, expenses or charges in connection with the establishment, operation or maintenance of deposit
accounts or securities accounts;

                 (m)      liens in favor of obligations in respect of performance, bid, appeal and surety bonds
and performance and completion guarantees and similar obligations provided by the Borrower or any of
the Subsidiaries or obligations in respect of letters of credit, bank guarantees or similar instruments related
thereto, in each case in the ordinary course of business or consistent with past practice;

                (n)    Liens arising from grants of non-exclusive licenses or sublicenses of Intellectual
Property, or covenants not to sue with respect to Intellectual Property, made in the ordinary course of
business;

                (o)      rights of setoff, banker’s lien, netting agreements and other Liens arising by
operation of law or by the terms of documents of banks or other financial institutions in relation to the
maintenance of administration of deposit accounts, securities accounts, cash management arrangements or
in connection with the issuance of letters of credit, bank guarantees or other similar instruments;

                 (p)     Liens arising from the right of distress enjoyed by landlords or Liens otherwise
granted to landlords, in either case, to secure the payment of arrears of rent or performance of other
obligations in respect of leased properties, so long as such Liens are not exercised or except where the
exercise of such Liens would not reasonably be expected to have a Material Adverse Effect;

                (q)       Liens or security given to public utilities or to any municipality or Governmental
Authority when required by the utility, municipality or Governmental Authority in connection with the
supply of services or utilities to the Borrower or any of its Subsidiaries;

                (r)      servicing agreements, development agreements, site plan agreements, subdivision
agreements, facilities sharing agreements, cost sharing agreements and other agreements pertaining to the



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use or development of any of the assets of the Person, provided the same do not result in (i) a substantial
and prolonged interruption or disruption of the business activities of the Borrower and its Subsidiaries,
taken as a whole, or (ii) a Material Adverse Effect; and

               (s)      any valid Liens that constitute Permitted Prior Liens as defined under, and in
accordance with, the Orders; provided that such Liens shall have the priorities set forth in the Orders; and

                  (t)       Liens securing (i) the Secured Obligations under this Agreement and the other
Loan Documents and (ii) the Prepetition Senior Priority Obligations; provided that such Liens shall have
the priorities set forth in the Orders;

provided that the term “Permitted Encumbrances” shall not include any Lien securing Indebtedness for
borrowed money other than Liens referred to in clauses (d) and (k) above securing obligations under letters
of credit or bank guarantees or similar instruments related thereto and in clause (g) above, in each case to
the extent any such Lien would constitute a Lien securing Indebtedness for borrowed money.

                “Permitted Investments” means any of the following, to the extent owned by the Borrower
or any Subsidiary:

                 (a)      dollars, euros, Swiss francs, Sterling, Canadian dollars, or such other currencies
held by it from time to time in the ordinary course of business;

                  (b)    readily marketable obligations issued or directly and fully guaranteed or insured
by the government or any agency or instrumentality of (i) the United States, (ii) the United Kingdom, (iii)
Canada, (iv) Switzerland or (v) any member nation of the European Union rated A (or the equivalent
thereof) or better by S&P and A2 (or the equivalent thereof) or better by Moody’s, having average maturities
of not more than 24 months from the date of acquisition thereof; provided that the full faith and credit of
such country or such member nation of the European Union is pledged in support thereof;

                (c)      time deposits with, or certificates of deposit or bankers’ acceptances of, any
commercial bank that (i) is a Lender or (ii) has combined capital and surplus of at least $250,000,000 in the
case of U.S. banks and $100,000,000 (or the dollar equivalent as of the date of determination) in the case
of foreign banks (any such bank in the foregoing clauses (i) or (ii) being an “Approved Bank”), in each case
with average maturities of not more than 12 months from the date of acquisition thereof;

                 (d)     commercial paper and variable or fixed rate notes issued by an Approved Bank (or
by the parent company thereof) or any variable or fixed rate note issued by, or guaranteed by, a corporation
rated A-2 (or the equivalent thereof) or better by S&P or P-2 (or the equivalent thereof) or better by Moody’s,
in each case with average maturities of not more than 12 months from the date of acquisition thereof;

                 (e)     repurchase agreements entered into by any Person with an Approved Bank, a bank
or trust company (including any of the Lenders) or recognized securities dealer covering securities
described in clauses (b) and (c) above;

                   (f)    marketable short-term money market and similar highly liquid funds substantially
all of the assets of which are comprised of securities of the types described in clauses (b) through (e) above;

                  (g)    securities with average maturities of 24 months or less from the date of acquisition
issued or fully guaranteed by any state, commonwealth or territory of the United States, the United Kingdom,
Canada, Switzerland, a member of the European Union or by any political subdivision or taxing authority




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of any such state, member, commonwealth or territory having an investment grade rating from either S&P
or Moody’s (or the equivalent thereof);

                 (h)     investments with average maturities of 12 months or less from the date of
acquisition in mutual funds rated AA- (or the equivalent thereof) or better by S&P or Aa3 (or the equivalent
thereof) or better by Moody’s;

                (i)     instruments equivalent to those referred to in clauses (a) through (h) above
denominated in euros or any other foreign currency comparable in credit quality and tenor to those referred
to above and customarily used by corporations for cash management purposes in any jurisdiction outside
the United States to the extent reasonably required in connection with any business conducted by any
Subsidiary organized or incorporated in such jurisdiction;

                (j)      investments, classified in accordance with GAAP as current assets of the Borrower
or any Subsidiary, in money market investment programs that are registered under the Investment Company
Act of 1940 or that are administered by financial institutions having capital of at least $250,000,000 or its
equivalent, and, in either case, the portfolios of which are limited such that substantially all of such
investments are of the character, quality and maturity described in clauses (a) through (i) of this definition;

                 (k)     demand deposit accounts holding cash;

                  (l)    interest bearing instruments with a maximum maturity of 180 days in respect of
which the obligor is a G7 government or other G7 governmental agency or a G7 financial institution with
credit ratings from S&P of at least “A-2” or the equivalent thereof or from Moody’s of at least “P-2” or the
equivalent thereof;

               (m)       other short-term investments of a type analogous to the foregoing utilized by
Foreign Subsidiaries;

                 (n)      investment funds investing at least 90% of their assets in securities of the types
described in clauses (a) through (m) above; and

                (o)     any guarantee or indemnity for the obligations of a Subsidiary in connection with
a Subsidiary claiming exemption from audit, the preparation and filing of its accounts or other similar
exemptions (including under section 394C, 448C or 479C of the Companies Act 2006 or other similar or
equivalent provisions).

                 “Permitted Variance” means, (i) with respect to the first Variance Report, no limitations
on Disbursements Variance and Receipts Variance, (ii) with respect to the second Variance Report,
Disbursements Variance less than 25% and Receipts Variance less than 25%, (iii) with respect to the third
Variance Report, Disbursements Variance less than 20% and Receipts Variance less than 20% and (iv) with
respect to the fourth Variance Report and every Variance Report thereafter, Disbursements Variance less
than 15% and Receipts Variance less than 15%, in each case under the foregoing clauses (i) through (iv),
on an aggregate basis (and not on a line item basis) and excluding, in any event, any professional fees.

                 “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity, whether existing as of
the Effective Date or subsequently created or coming to exist.

                 “Petition Date” has the meaning assigned to such term in the recitals hereto.




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               “Plan” means any employee pension benefit plan as such term is defined in Section 3(2) of
ERISA (other than a Multiemployer Plan) subject to the provisions of Title IV of ERISA or Section 412 of
the Code or Section 302 of ERISA, and in respect of which a Loan Party or any ERISA Affiliate is an
“employer” as defined in Section 3(5) of ERISA.

                  “Plan of Reorganization” means a plan of reorganization under the Chapter 11 Cases
(including all related schedules, supplements, exhibits and orders, as applicable), which shall be consistent
with the Restructuring Support Agreement and otherwise shall be in form and substance satisfactory to the
Required Lenders.

                  “Platform” has the meaning assigned to such term in Section 5.01.

                  “Prepayment Event” means:

                (a)   any non-ordinary course sale, transfer or other disposition of any property or asset
of the Borrower or any of its Subsidiaries pursuant to Section 6.05(k) or the occurrence of any other
Casualty Event;

               (b)     the incurrence by the Borrower or any of its Subsidiaries of any Indebtedness, other
than Indebtedness permitted under Section 6.01 or permitted by the Required Lenders pursuant to Section
9.02; or

                  (c)     the issuance of any equity in the Borrower or any Subsidiary thereof; and

                  (d)     the receipt of Extraordinary Net Cash Receipts by the Borrower or any of its
Subsidiaries.

                  “Prepayment Percentage” means 100%.

                 “Prepetition ABL Agent” means JPMorgan Chase Bank, N.A., as “Agent” under, and as
such term is defined in, the Prepetition ABL Credit Agreement (and shall also include any successor agent
in such capacity).

              “Prepetition ABL Collateral” means the “Collateral” as defined in the Prepetition ABL
Credit Agreement and any other liens or security interests securing any Prepetition ABL Obligations.

                 “Prepetition ABL Credit Agreement” means that certain Third Amended and Restated
Loan and Security Agreement, dated as of March 10, 2021, among the Borrower, each of the other loan
parties party thereto from time to time, the Prepetition ABL Agent and the lenders party thereto from time
to time (collectively, the “Prepetition ABL Lenders”), as amended, restated, supplemented or otherwise
modified from time to time.

                 “Prepetition ABL Liens” means the liens and security interests granted by the Loan Parties
to secure the Prepetition ABL Obligations.

                “Prepetition ABL Loan Documents” means the “Financing Agreements” (or any similar
term) under the Prepetition ABL Credit Agreement.

                  “Prepetition ABL Loans” means the “Loans” under the Prepetition ABL Credit Agreement.

                  “Prepetition ABL Obligations” means all “Obligations” as such term is defined in the



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Prepetition ABL Credit Agreement.

                 “Prepetition ABL Secured Parties” means, collectively, the Prepetition ABL Lenders, the
Prepetition ABL Agent and the other secured parties under the Prepetition ABL Credit Agreement and the
other Prepetition ABL Loan Documents.

               “Prepetition Debt” means, collectively, Prepetition Senior Priority Obligations, the
Prepetition ABL Obligations and the Prepetition Junior Priority Obligations.

                “Prepetition Junior Priority Agent” means Alter Domus (US) LC, as administrative agent
and collateral agent under each of the Prepetition Junior Priority Credit Agreements, together with its
successors and assigns.

                “Prepetition Junior Priority Collateral” means the “Collateral” as defined in each of the
Prepetition Junior Priority Credit Agreements and any other liens or security interests securing any
Prepetition Junior Priority Obligations.

                “Prepetition Junior Priority Credit Agreements” means, collectively, (i) that certain Second
Lien Credit Agreement, dated as of March 10, 2021, among the Borrower, the Prepetition Junior Priority
Agent and the lenders party thereto from time to time (collectively, the “Prepetition Junior Priority
Lenders”), as amended, restated, supplemented or otherwise modified from time to time and (ii) that certain
Sidecar Pari Passu Second Lien Credit Agreement, dated as of August 21, 2023, among the Borrower, the
Prepetition Junior Priority Agent and the Prepetition Junior Priority Lenders.

                 “Prepetition Junior Priority Liens” means the liens and security interests granted by the
Loan Parties to secure the Prepetition Junior Priority Obligations.

                “Prepetition Junior Priority Loan Documents” means the “Loan Documents” as defined in
each of the Prepetition Junior Priority Credit Agreements.

              “Prepetition Junior Priority Loans” means the “Loans” under the Prepetition Junior Priority
Credit Agreements.

                “Prepetition Junior Priority Obligations” means all “Secured Obligations” as such term is
defined in each of the Prepetition Junior Priority Credit Agreements.

                “Prepetition Junior Priority Secured Parties” means, collectively, the Prepetition Junior
Priority Lenders, the Prepetition Junior Priority Agent and the other secured parties under each of the
Prepetition Junior Priority Credit Agreements and the other Prepetition Junior Priority Loan Documents.

                 “Prepetition Loan Documents” means, collectively, the Prepetition ABL Loan Documents,
the Prepetition Junior Priority Loan Documents and the Prepetition Senior Priority Loan Documents.

                 “Prepetition Secured Obligations” means, collectively, the Prepetition ABL Obligations,
the Prepetition Junior Priority Obligations and the Prepetition Senior Priority Obligations.

                “Prepetition Secured Parties” means, collectively, the Prepetition ABL Secured Parties, the
Prepetition Junior Priority Secured Parties and the Prepetition Senior Priority Secured Parties.

                “Prepetition Senior Priority Agent” means Wilmington Trust, National Association, as
administrative agent and collateral agent under the Prepetition Senior Priority Credit Agreement, together



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with its successors and assigns.

                 “Prepetition Senior Priority Collateral” means the “Collateral” as defined in the Prepetition
Senior Priority Credit Agreement and any other liens or security interests securing any Prepetition Senior
Priority Obligations.

                 “Prepetition Senior Priority Credit Agreement” means that certain First Lien Credit
Agreement, dated as of March 10, 2021, among the Borrower, the Prepetition Senior Priority Agent and the
lenders party thereto from time to time (collectively, the “Prepetition Senior Priority Lenders”), as the same
has been amended, amended and restated, supplemented or otherwise modified from time to time.

                 “Prepetition Senior Priority Liens” means the liens and security interests granted by the
Loan Parties to secure the Prepetition Senior Priority Obligations.

                 “Prepetition Senior Priority Loan Documents” means the “Loan Documents” as defined in
the Prepetition Senior Priority Credit Agreement.

                 “Prepetition Senior Priority Loans” means the “Loans” under the Prepetition Senior
Priority Credit Agreement.

                 “Prepetition Senior Priority Obligations” means all “Secured Obligations” as such term is
defined in the Prepetition Senior Priority Credit Agreement.

                 “Prepetition Senior Priority Secured Parties” means, collectively, the Prepetition Senior
Priority Lenders, the Prepetition Senior Priority Agent and the other secured parties under the Prepetition
Senior Priority Credit Agreement and the other Prepetition Senior Priority Loan Documents.

                 “Prime Rate” means the per annum rate publicly quoted from time to time by The Wall
Street Journal as the “Prime Rate” in the United States (or, if The Wall Street Journal ceases quoting a
prime rate of the type described, either (a) the per annum rate quoted as the base rate on such corporate
loans in a different national publication as reasonably selected by Administrative Agent or (b) the highest
per annum rate of interest published by the Federal Reserve Board in Federal Reserve statistical release
H.15 (519) entitled “Selected Interest Rates” as the Bank prime loan rate or its equivalent).

                 “Public Company Costs” means, as to any Person, costs associated with, or in anticipation
of, or preparation for, compliance with the requirements of the Sarbanes-Oxley Act of 2002 and the rules
and regulations promulgated in connection therewith and charges relating to compliance with the provisions
of the Securities Act and the Exchange Act, as applicable to companies with equity or debt securities held
by the public, the rules of national securities exchange companies with listed equity or debt securities,
directors’ or managers’ compensation, fees and expense reimbursement, charges relating to investor
relations, shareholder meetings and reports to shareholders or debtholders, directors’ and officers’ insurance
and other executive costs, legal and other professional fees and listing fees.

                “Public Lender” has the meaning assigned to such term in Section 5.01.

                 “QFC” has the meaning assigned to the term “qualified financial contract” in, and shall be
interpreted in accordance with, 12 U.S.C. 5390(c)(8)(D).

                “QFC Credit Support” has the meaning specified in Section 9.20.




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                 “Qualified Equity Interests” means Equity Interests of the Borrower other than Disqualified
Equity Interests.

                “Receipts Variance” has the meaning assigned to such term in Section 5.16(b).

                  “Receivables Entities” means, collectively, Freedom Receivables II, LLC, a Delaware
limited liability company, and Freedom VCM Receivables, Inc., a Delaware corporation.

               “Recipient” means the Administrative Agent, any Lender or any other recipient of any
payment to be made by or on account of any obligation of any Loan Party hereunder or under any other
Loan Document.

                “Reference Time” with respect to any setting of the then-current Benchmark means (1) if
such Benchmark is Term SOFR, 6:00 a.m. (New York City time) on the day that is two U.S. Government
Securities Business Days preceding the date of such setting or (3) if such Benchmark is not Term SOFR,
the time determined by the Administrative Agent in its reasonable discretion.

                “Register” has the meaning assigned to such term in Section 9.04(b)(iv).

                 “Related Parties” means, with respect to any specified Person, such Person’s Affiliates and
the partners, directors, officers, employees, trustees, agents, controlling persons, advisors and other
representatives of such Person and of each of such Person’s Affiliates and permitted successors and assigns
of each of the foregoing.

                “Release” means any release, spill, emission, leaking, dumping, injection, pouring, deposit,
disposal, emptying, escaping, pumping, discharge, dispersal, leaching or migration into or through the
environment (including ambient air, surface water, groundwater, land surface or subsurface strata) and
including the environment within any building, or any occupied structure, facility or fixture.

               “Relevant Governmental Body” means the Board of Governors or the NYFRB, or a
committee officially endorsed or convened by the Board of Governors or the NYFRB, or any successor
thereto.

                “Remedies Notice Period” has the meaning assigned to such term in Section 7.01.

                “Removal Effective Date” has the meaning assigned to such term in Section 8.06.

              “Reorganized Common Equity” has the meaning assigned to such term in the Restructuring
Support Agreement.

                 “Representative” means, with respect to any series of Indebtedness permitted by this
Agreement to be secured by the Collateral on a pari passu or junior or “silent” subordinated basis, the
trustee, administrative agent, collateral agent, security agent or similar agent under the indenture or
agreement pursuant to which such Indebtedness is issued, incurred or otherwise obtained, as the case may
be, and each of their successors in such capacities.

                 “Required Lenders” means, at any time, Lenders (other than the Fronting Lender, except
with respect to waivers, amendments, or consents that directly and materially adversely affect the Fronting
Lender; provided that to the extent the Syndication Date shall not have occurred within 15 Business Days
of the Effective Date, after the fifteenth (15th) Business Day, the Fronting Lender’s Loans shall be included
for purposes of determining the “Required Lenders” until the Syndication Date has occurred) having Loans



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and unused Commitments representing more than 50.1% of the aggregate Loans and unused Commitments
at such time; provided that to the extent set forth in Section 9.02 or Section 9.04 whenever there are one or
more Defaulting Lenders, the total outstanding Loans and the unused Commitments of each Defaulting
Lender shall be excluded for purposes of making a determination of Required Lenders.

                  “Required Supermajority Lenders” means, at any time, Lenders (other than the Fronting
Lender, except with respect to waivers, amendments, or consents that directly and materially adversely
affect the Fronting Lender; provided that to the extent the Syndication Date shall not have occurred within
15 Business Days of the Effective Date, after the fifteenth (15th) Business Day, the Fronting Lender’s Loans
shall be included for purposes of determining the “Required Lenders” until the Syndication Date has
occurred) having Loans and unused Commitments representing more than 66 2/3% of the aggregate Loans
and unused Commitments (other than Commitments of the Fronting Lender) at such time; provided that to
the extent set forth in Section 9.02 or Section 9.04 whenever there are one or more Defaulting Lenders, the
total outstanding Loans and the unused Commitments of each Defaulting Lender shall be excluded for
purposes of making a determination of Required Supermajority Lenders.

                 “Requirements of Law” means, with respect to any Person, any statutes, laws, treaties,
rules, regulations, orders, decrees, writs, injunctions or determinations of any arbitrator or court or other
Governmental Authority, in each case applicable to or binding upon such Person or any of its property or
to which such Person or any of its property is subject.

                “Resignation Effective Date” has the meaning assigned to such term in Section 8.06.

                 “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK
Financial Institution, a UK Resolution Authority.

                 “Responsible Officer” means the chief executive officer, president, vice president, chief
financial officer, treasurer or assistant treasurer, company secretary or other similar officer, manager or a
member of the Board of Directors of a Loan Party and with respect to certain limited liability companies or
partnerships that do not have officers, any manager, sole member, managing member or general partner
thereof, and as to any document delivered on the Effective Date or thereafter pursuant to the definition of
the term “Collateral and Guarantee Requirement,” any secretary, assistant secretary, company secretary or
director of a Loan Party, and as to the Lead Borrower, any Financial Officer. Any document delivered
hereunder that is signed by a Responsible Officer of a Loan Party shall be conclusively presumed to have
been authorized by all necessary corporate, partnership and/or other action on the part of such Loan Party
and such Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan Party.

                 “Restricted Payment” means any dividend or other distribution (whether in cash, securities
or other property) with respect to any Equity Interests in the Borrower or any Subsidiary, or any payment
(whether in cash, securities or other property), including any sinking fund or similar deposit, on account of
the purchase, redemption, retirement, acquisition, cancellation or termination of any Equity Interests in the
Borrower or any Subsidiary or any option, warrant or other right to acquire any such Equity Interests in the
Borrower or any Subsidiary.

                “Restructuring Support Agreement” means that certain Restructuring Support Agreement
(including all exhibits, schedules and attachments thereto), dated as of November 1, 2024 (as may be
amended, supplemented, amended and restated or otherwise modified from time to time in accordance with
the terms thereof), by and among the Chapter 11 Debtors and the Consenting First Lien Lenders (as defined
therein).

                “Restructuring Term Sheet” has the meaning assigned to such term as in the Restructuring



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Support Agreement.

              “Roll-Up” means the “roll up” of Prepetition Senior Priority Obligations into Roll-Up
Term Loans pursuant to the terms of this Agreement and the Orders.

                “Roll-Up Term Loan Commitments” means, with respect to each Lender, the commitment
to make Roll-Up Term Loans hereunder in accordance with Section 2.01(b), expressed as an amount
representing the maximum principal amount of the Roll-Up Term Loans to be made by such Lender
hereunder, as such commitment may be reduced from time to time (a) pursuant to assignments by or to such
Lender pursuant to an Assignment and Assumption or (b) pursuant to a reduction of the Commitments by
the Borrowers. As of the Effective Date, the aggregate amount of Roll-Up Term Loan Commitments is $0,
and upon the completion of Syndication on the Syndication Date and after giving effect to all related
Assignments and Assumptions, the aggregate amount of Roll-Up Term Loan Commitments shall be
deemed to be $500,000,000, without any further action of any party to this Agreement or the Loan
Documents, the Bankruptcy Court or any other Person. The amount of each Lender’s Roll-Up Term Loan
Commitment is set forth on Schedule 2.01 or in the Assignment and Assumption pursuant to which such
Lender shall have assumed its Roll-Up Term Loan Commitment.

                “Roll-Up Term Loans” shall have the meaning assigned to such term in Section 2.01.

               “S&P” means Standard & Poor’s Ratings Services, a Standard & Poor’s Financial Services
LLC business, and any successor to its rating agency business.

                “Sale Transaction” means the closing of a sale of all or substantially all assets or equity of
the Loan Parties (other than to another Loan Party).

                “Sale Transaction Qualified Extension” means an extension of the Maturity Date that
would otherwise result from the consummation of a Sale Transaction (pursuant to clause (f) of the definition
of “Maturity Date”), which extension shall be subject to (a) the consent of the Required Supermajority
Lenders and (b) the Restructuring Support Agreement being in effect as of the date of such extension;
provided, that no such extension shall extend the Maturity Date later than the Outside Date.

                  “Sanctioned Country” means, at any time, a country, region or territory which is itself the
subject or target of any Sanctions (at the time of this Agreement, the Crimea, the so-called Donetsk People’s
Republic, and the so-called Luhansk People’s Republic regions of Ukraine, Cuba, Iran, North Korea and
Syria).

                “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related list
of designated Persons maintained by the Office of Foreign Assets Control of the U.S. Department of the
Treasury or the U.S. Department of State, or by the United Nations Security Council, the European Union,
any EU member state or His Majesty’s Treasury of the United Kingdom, (b) any Person operating,
organized or resident in a Sanctioned Country, (c) any Person owned 50% or more by any such Person in
the foregoing clauses (a) and (b), or (d) any Person otherwise the subject of Sanctions.

                  “Sanctions” means all economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by (a) the U.S. government, including those administered by
the Office of Foreign Assets Control of the U.S. Department of the Treasury or the U.S. Department of
State, or (b) the United Nations Security Council, the European Union, or Her Majesty’s Treasury of the
United Kingdom.




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                “SEC” means the Securities and Exchange Commission or any Governmental Authority
succeeding to any of its principal functions.

                 “Secured Holdco Obligations Guarantee” means the supplement to the Guarantee
Agreement, dated as of August 19, 2024, by and among the Loan Parties and Alter Domus (US) LLC, as
administrative agent and collateral agent, pursuant to which all of the Loan Parties become “New
Guarantors” under the “Guarantee Agreement” (as defined in the Holdco Credit Agreement) and which
shall terminate upon payment in full of the Holdco Deferred Interest Amount to the respective parties.

                  “Secured Obligations” means (a) the due and punctual payment in cash by the Borrower of
(i) the principal of the Loans and all accrued and unpaid interest thereon at the Applicable Rate or rates
provided in this Agreement (including interest accruing during the pendency of any bankruptcy, insolvency,
receivership or other similar proceeding, regardless of whether allowed or allowable in such proceeding),
when and as due, whether at maturity, by acceleration, upon one or more dates set for prepayment or
otherwise and (ii) all other monetary obligations of the Borrower under or pursuant to this Agreement and
each of the other Loan Documents to which it is a party, including obligations to pay fees, expenses,
reimbursement obligations and indemnification obligations and obligations to provide cash collateral,
whether primary, secondary, direct, contingent, fixed or otherwise (including monetary obligations incurred
during the pendency of any bankruptcy, insolvency, receivership or other similar proceeding, regardless of
whether allowed or allowable in such proceeding), (b) the due and punctual payment in cash and
performance of all other monetary obligations of the Borrower under or pursuant to each of the Loan
Documents to which it is a party and (c) the due and punctual payment and performance of all the monetary
obligations of each other Loan Party under or pursuant to this Agreement and each of the other Loan
Documents to which it is a party (including interest and monetary obligations incurred during the pendency
of any bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether allowed or
allowable in such proceeding).

              “Secured Loan Parties” means each Borrower and each Guarantor, other than the Holdco
Borrower and Holdco Intermediate Parent.

                “Secured Parties” means (a) each Lender, (b) the Administrative Agent, (c) the Collateral
Agent, (d) the beneficiaries of each indemnification obligation undertaken by any Loan Party under any
Loan Document, and (e) the permitted successors and assigns of each of the foregoing.

               “Security Documents” means a collective reference to the Orders and each other security
agreement or pledge agreement executed and delivered pursuant to the “Collateral and Guarantee
Requirement” and/or Section 5.11, Section 5.12(a), Section 5.12(b) or Section 5.14 to secure any of the
Secured Obligations.

                 “Similar Business” means (1) any business conducted by the Borrower or any Subsidiary
on the Effective Date or (2) any business or other activities that are reasonably similar, ancillary, incidental,
complementary or related to (including non-core incidental businesses acquired in connection with any
permitted Investment), or a reasonable extension, development or expansion of, the businesses that the
Borrower and its Subsidiaries conduct or propose to conduct on the Effective Date.

             “SOFR” means a rate equal to the secured overnight financing rate as administered by the
SOFR Administrator.

                “SOFR Administrator” means the NYFRB (or a successor administrator of the secured
overnight financing rate).




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                “SOFR Borrowing” means, as to any Borrowing, the SOFR Loans comprising such
Borrowing.

                “SOFR Loan” means a Loan that bears interest at a rate based on Adjusted Term SOFR,
other than pursuant to clause (c) of the definition of “Alternate Base Rate”.

                 “subsidiary” means, with respect to any Person (the “parent”) at any date, any corporation,
limited liability company, partnership, association or other entity the accounts of which would be
consolidated with those of the parent in the parent’s consolidated financial statements if such financial
statements were prepared in accordance with GAAP, as well as any other corporation, limited liability
company, partnership, association or other entity (a) of which securities or other ownership interests
representing more than 50% of the equity or more than 50% of the ordinary voting power or, in the case of
a partnership, more than 50% of the general partnership interests are, as of such date, owned, controlled or
held (unless parent does not Control such entity), or (b) that is, as of such date, otherwise Controlled, by
the parent or one or more subsidiaries of the parent or by the parent and one or more subsidiaries of the
parent; in each case, whether existing as of the Effective Date or subsequently created or coming to exist.

                “Subsidiary” means any subsidiary of the Lead Borrower (unless otherwise specified or
the context otherwise requires).

                “Subsidiary Loan Party” means each Subsidiary of the Lead Borrower.

                “Sufficient Bid” has the meaning assigned to such term as in the Restructuring Support
Agreement.

                “Supported QFC” has the meaning specified in Section 9.20.

                 “Swap Agreement” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options, forward
commodity contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or
options or forward bond or forward bond price or forward bond index transactions, interest rate options,
forward foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency
swap transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other
similar transactions or any combination of any of the foregoing (including any options to enter into any of
the foregoing), whether or not any such transaction is governed by or subject to any master agreement, and
(b) any and all transactions of any kind, and the related confirmations, which are subject to the terms and
conditions of, or governed by, any form of master agreement published by the International Swaps and
Derivatives Association, Inc., any International Foreign Exchange Master Agreement, or any other master
agreement (any such master agreement, together with any related schedules, a “Master Agreement”),
including any such obligations or liabilities under any Master Agreement.

                “Syndication” has the meaning assigned to such term in Section 2.04.

                “Syndication Date” has the meaning assigned to such term in Section 2.04.

                “Syndication Procedures” has the meaning assigned to such term in Section 2.04.

                “Tax Restructuring” means any reorganizations and other activities related to tax planning
and tax reorganization (as determined by Lead Borrower in good faith) entered into after the Effective Date
so long as such Tax Restructuring does not materially impair the Guarantee or the security interests of the




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Agents and the Lenders under the Security Documents in the Collateral, taken as a whole, and Borrower
and its Subsidiaries otherwise comply with Sections 5.11 and 5.12.

               “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees, or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

                “Term Commitment” means, with respect to each Lender, the Commitment of such Lender
to make Loans hereunder on the Effective Date, expressed as an amount representing the maximum
principal amount of the Loans to be made by such Lender hereunder, as such commitment may be (a)
reduced from time to time pursuant to Section 2.08 and (b) reduced or increased from time to time pursuant
to assignments by or to such Lender pursuant to an Assignment and Assumption. The amount of each
Lender’s Term Commitment is set forth on Schedule 2.01 or in the Assignment and Assumption pursuant
to which such Lender shall have assumed its Term Commitment.

                “Term Lender” means a Lender with a Term Commitment or an outstanding Loan.

              “Term Loans” means, individually or collectively as the context requires, New Money
Term Loans and the Roll-Up Term Loans.

               “Term SOFR” means, for any SOFR Loan, the Term SOFR Reference Rate and for any
tenor comparable to the applicable Interest Period, the Term SOFR Reference Rate at approximately 6:00
a.m. (New York City time), two U.S. Government Securities Business Days prior to the commencement of
such tenor comparable to the applicable Interest Period, as such rate is published by the Term SOFR
Administrator.

               “Term SOFR Adjustment” means (a) with respect to a SOFR Loan with an Interest Period
of one month, 0.11448% per annum, (b) with respect to a SOFR Loan with an Interest Period of three
months, 0.26161% per annum and (c) with respect to a SOFR Loan with an Interest Period of six months,
0.42826% per annum.

                 “Term SOFR Administrator” means CME Group Benchmark Administration Limited
(CBA) (or a successor administrator of the Term SOFR Reference Rate selected by the Administrative
Agent in its reasonable discretion).

                 “Term SOFR Reference Rate” means, for any day and time (such day, the “Periodic Term
SOFR Determination Day”), with respect to any SOFR Loan and for any tenor comparable to the applicable
Interest Period, the rate per annum published by the Term SOFR Administrator and identified by the
Administrative Agent as the forward-looking term rate based on SOFR. If by 5:00 pm (New York City
time) on such Periodic Term SOFR Determination Day, the “Term SOFR Reference Rate” for the
applicable tenor has not been published by the Term SOFR Administrator and a Benchmark Replacement
Date with respect to Term SOFR has not occurred, then, so long as such day is otherwise a U.S. Government
Securities Business Day, the Term SOFR Reference Rate for such Periodic Term SOFR Determination Day
will be the Term SOFR Reference Rate as published in respect of the first preceding U.S. Government
Securities Business Day for which such Term SOFR Reference Rate was published by the Term SOFR
Administrator, so long as such first preceding U.S. Government Securities Business Day is not more than
five (5) U.S. Government Securities Business Days prior to such Periodic Term SOFR Determination Day.

                “Topco” means Freedom VCM Holdings, LLC, a Delaware limited liability company.




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                “Transaction Costs” means all fees, premiums, costs and expenses incurred or payable by
the Borrower or any other Subsidiary in connection with the Transactions.

                “Transactions” means (a) the execution and delivery of the Loan Documents, the creation
of the Liens pursuant to the Security Documents and the incurrence of the DIP Facility and the funding of
the New Money Term Loans on the Effective Date, (c) the consummation of the other transactions
contemplated by this Agreement on the Effective Date, (d) the consummation of any other transactions in
connection with the foregoing, and (e) the payment of the Transaction Costs related thereto.

                 “Type,” when used in reference to any Loan or Borrowing, refers to whether the rate of
interest on such Loan, or on the Loans comprising such Borrowing, is determined by reference to Adjusted
Term SOFR or the Alternate Base Rate.

                 “U.S. Government Securities Business Day” means any day except for (a) a Saturday, (b)
a Sunday or (c) a day on which the Securities Industry and Financial Markets Association recommends that
the fixed income departments of its members be closed for the entire day for purposes of trading in United
States government securities.

                 “U.S. Special Resolution Regimes” has the meaning specified in Section 9.20.

                 “UCC” or “Uniform Commercial Code” means the Uniform Commercial Code as in effect
from time to time in the State of New York; provided, however, that, at any time, if by reason of mandatory
provisions of law, any or all of the perfection or priority of the Collateral Agent’s security interest in any
item or portion of the Collateral is governed by the Uniform Commercial Code as in effect in a U.S.
jurisdiction other than the State of New York, the terms “UCC” and “Uniform Commercial Code” shall
mean the Uniform Commercial Code as in effect, at such time, in such other jurisdiction for purposes of
the provisions hereof relating to such perfection or priority and for purposes of definitions relating to such
provisions.

                  “UK Financial Institution” means any BRRD Undertaking (as such term is defined under
the PRA Rulebook (as amended from time to time) promulgated by the United Kingdom Prudential
Regulation Authority) or any person falling within IFPRU 11.6 of the FCA Handbook (as amended from
time to time) promulgated by the United Kingdom Financial Conduct Authority, which includes certain
credit institutions and investment firms, and certain affiliates of such credit institutions or investment firms.

                “UK Resolution Authority” means the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.

                “Unadjusted Benchmark Replacement” means the applicable Benchmark Replacement
excluding the related Benchmark Replacement Adjustment.

                “Unaudited Financial Statements” means the unaudited consolidated balance sheet of the
Lead Borrower and its Subsidiaries, and the related unaudited statements of income, cash flows and
stockholders’ equity, for the fiscal quarter of the Lead Borrower ended on or about June 30, 2024.

                “United States Tax Compliance Certificate” has the meaning assigned to such term in
Section 2.17(e)(ii)(C).

                 “Updated Budget” has the meaning assigned to such term in Section 5.16(a).

                 “Updated Budget Deadline” has the meaning assigned to such term in Section 5.16(a).



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               “USA PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001, as amended from time to
time.

                 “Variance Report” has the meaning assigned to such term in Section 5.16(b).

                 “Variance Report Deadline” has the meaning assigned to such term in Section 5.16(b).

                 “Wholly Owned Subsidiary” means any Subsidiary that is a wholly owned subsidiary.

                 “wholly owned subsidiary” means, with respect to any Person at any date, a subsidiary of
such Person of which securities or other ownership interests representing 100% of the Equity Interests
(other than (a) directors’ qualifying shares and (b) nominal shares issued to foreign nationals to the extent
required by applicable Requirements of Law) are, as of such date, owned, controlled or held by such Person
or one or more Wholly Owned Subsidiaries of such Person or by such Person and one or more Wholly
Owned Subsidiaries of such Person.

                 “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of
Title IV of ERISA.

                   “Write-Down and Conversion Powers” means, (a) with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time
under the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion
powers are described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom,
any powers of the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify
or change the form of a liability of any UK Financial Institution or any contract or instrument under which
that liability arises, to convert all or part of that liability into shares, securities or obligations of that person
or any other person, to provide that any such contract or instrument is to have effect as if a right had been
exercised under it or to suspend any obligation in respect of that liability or any of the powers under that
Bail-In Legislation that are related to or ancillary to any of those powers.

                 “Zero Balance Accounts” means Deposit Accounts in which a balance of zero is
maintained by the depository institution at all times by automatically transferring funds from a master
Deposit Account to such Zero Balance Account in an amount only large enough to cover checks presented
and other debits to such account, such that any such Zero Balance Account maintains an overnight balance
of zero dollars at all times.

                 SECTION 1.02           Classification of Loans and Borrowings.

                 For purposes of this Agreement, Loans and Borrowings may be classified and referred to
by Class (e.g., an “New Money Term Loan” or “Roll-Up Term Loan”) or by Type (e.g., a “SOFR Loan” or
“ABR Loan”) or by Class and Type (e.g., a “SOFR New Money Term Loan”). Borrowings also may be
classified and referred to by Class (e.g., an “New Money Term Loan Borrowing”) or by Type (e.g., a “SOFR
Borrowing”) or by Class and Type (e.g., a “SOFR New Money Term Loan Borrowing”).

                 SECTION 1.03           Terms Generally.

                The definitions of terms herein shall apply equally to the singular and plural forms of the
terms defined. Whenever the context may require, any pronoun shall include the corresponding masculine,
feminine and neuter forms. The words “include,” “includes” and “including” shall be deemed to be followed



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by the phrase “without limitation.” The word “will” shall be construed to have the same meaning and effect
as the word “shall.” Unless the context requires otherwise, (a) any definition of or reference to any
agreement (including this Agreement and the other Loan Documents), instrument or other document herein
shall be construed as referring to such agreement, instrument or other document, including all schedules,
exhibits and other attachments thereto and as from time to time amended, amended and restated,
supplemented or otherwise modified (subject to any restrictions on such amendments, restatements,
supplements or other modifications set forth herein), (b) any reference herein to any Person shall be
construed to include such Person’s successors and assigns (subject to any restrictions on assignment set
forth herein) and, in the case of any Governmental Authority, any other Governmental Authority that shall
have succeeded to any or all functions thereof, (c) the words “herein,” “hereof” and “hereunder,” and words
of similar import, shall be construed to refer to this Agreement in its entirety and not to any particular
provision hereof, (d) all references herein to Articles, Sections, Exhibits and Schedules shall be construed
to refer to Articles and Sections of, and Exhibits and Schedules to, this Agreement and (e) the words “asset”
and “property” shall be construed to have the same meaning and effect and to refer to any and all tangible
and intangible assets and properties, including cash, securities, accounts and contract rights.

                 SECTION 1.04           Accounting Terms; GAAP.

                 (a)     All accounting terms not specifically or completely defined herein shall be
construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted pursuant to this Agreement shall be prepared in conformity with,
GAAP, applied in a manner consistent with that used in preparing the Audited Financial Statements, except
as otherwise specifically prescribed herein.

                 SECTION 1.05           Effectuation of Transactions.

                 All references herein to the Borrower and its Subsidiaries shall be deemed to be references
to such Persons, and all the representations and warranties of the Borrower and the other Loan Parties
contained in this Agreement and the other Loan Documents shall be deemed made, in each case, after giving
effect to the Transactions that occurred on the Effective Date, unless the context otherwise requires.

                 SECTION 1.06           [Reserved].

                 SECTION 1.07           Certain Determinations.

                 (a)      [Reserved].

                 (b)      [Reserved].

                 (c)      Notwithstanding the foregoing, for purposes of any determination under Article V,
Article VI or Article VII or any determination under any other provision of this Agreement subject to any
Dollar limitation, threshold or basket, all amounts incurred, outstanding or proposed to be incurred or
outstanding in currencies other than Dollars shall be translated into Dollars based on the relevant currency
exchange rate in effect on the applicable date of determination (rounded to the nearest currency unit, with
0.5 or more of a currency unit being rounded upward); provided, however, that for purposes of determining
compliance with Article VI with respect to any amount in a currency other than Dollars, no Default or Event
of Default shall be deemed to have occurred solely as a result of changes in rates of exchange occurring
after the time such Indebtedness, Lien or Investment is incurred or Disposition, Restricted Payment or such
transaction with an Affiliate is entered into; provided, further, that, for the avoidance of doubt, the foregoing
provisions of this Section 1.07(c) shall otherwise apply to such Sections, including with respect to
determining whether any Indebtedness, Lien or Investment may be incurred or Disposition, Restricted



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Payment or prepayment, redemption, purchase, defeasance or such transaction with an Affiliate may be
entered into at any time under such Sections. Each provision of this Agreement shall be subject to such
reasonable changes of construction as the Administrative Agent (acting at the direction of the Required
Lenders) may from time to time specify with the Borrower’s consent (such consent not to be unreasonably
withheld) to appropriately reflect a change in currency of any country and any relevant market conventions
or practices relating to such change in currency.

                SECTION 1.08          Divisions.

                 For all purposes under the Loan Documents, in connection with any division or plan of
division under Delaware law (or any comparable event under a different jurisdiction’s laws): (a) if any asset,
right, obligation or liability of any Person becomes the asset, right, obligation or liability of a different
Person, then it shall be deemed to have been transferred from the original Person to the subsequent Person,
and (b) if any new Person comes into existence, such new Person shall be deemed to have been organized
and acquired on the first date of its existence by the holders of its Equity Interests at such time.

                SECTION 1.09          Interest Rates.

                  The interest rate on a Loan denominated in dollars may be derived from an interest rate
benchmark that may be discontinued or is, or may in the future become, the subject of regulatory reform.
Upon the occurrence of a Benchmark Transition Event, Section 2.14(b) provides a mechanism for
determining an alternative rate of interest. The Administrative Agent does not warrant or accept any
responsibility for, and shall not have any liability with respect to, the administration, submission,
performance or any other matter related to any interest rate used in this Agreement, or with respect to any
alternative or successor rate thereto, or replacement rate thereof, including without limitation, whether the
composition or characteristics of any such alternative, successor or replacement reference rate will be
similar to, or produce the same value or economic equivalence of, the existing interest rate being replaced
or have the same volume or liquidity as did any existing interest rate prior to its discontinuance or
unavailability. The Administrative Agent and its affiliates and/or other related entities may engage in
transactions that affect the calculation of any interest rate used in this Agreement or any alternative,
successor or alternative rate (including any Benchmark Replacement) and/or any relevant adjustments
thereto, in each case, in a manner adverse to any Borrower. The Administrative Agent may select
information sources or services in its reasonable discretion to ascertain any interest rate used in this
Agreement, any component thereof, or rates referenced in the definition thereof, in each case pursuant to
the terms of this Agreement, and shall have no liability to any Borrower, any Lender or any other person or
entity for damages of any kind, including direct or indirect, special, punitive, incidental or consequential
damages, costs, losses or expenses (whether in tort, contract or otherwise and whether at law or in equity),
for any error or calculation of any such rate (or component thereof) provided by any such information
source or service.

                                                ARTICLE II

                                              THE CREDITS

                SECTION 2.01          Commitments.

                (a)     New Money Term Loans. Subject to the terms and conditions hereof and the
Orders, the Lenders with New Money Term Loan Commitments (which, as of the Effective Date, will be
the Fronting Lender) hereby severally, but not jointly, agree to make term loans in Dollars (the “New Money
Term Loans”) to the Borrower: (i) on the Effective Date, in a single borrowing in an aggregate principal
amount not to exceed the Initial Borrowing Cap, (ii) on or after the entry of the Final DIP Order, in a single


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borrowing in an aggregate principal amount not to exceed the Interim Borrowing Cap, (iii) on or after the
entry of the Confirmation Order, in a single borrowing in an aggregate principal amount not to exceed the
Confirmation Date Borrowing Cap and (iv) after the entry of the Final DIP Order, if the entire amount of
the New Money Term Loan Commitments have not been fully drawn pursuant to the foregoing clauses (i)
through (iii) and, subject to the approval of the Required Lenders in their sole discretion and to the extent
set forth in the Approved Budget in a single borrowing in an aggregate principal amount not to exceed the
Final Borrowing Cap; it being understood and agreed that the Fronting Lender shall initially provide the
New Money Term Loans on the date set forth in the foregoing clause (i) and, thereafter, such New Money
Term Loans and related New Money Term Loan Commitments shall be assigned by the Fronting Lender
in accordance with Section 2.04 and Section 9.04. In no event shall any Lender be required to make New
Money Term Loans in excess of its New Money Term Loan Commitments. Amounts borrowed under this
Section 2.01(a) and subsequently repaid or prepaid may not be reborrowed.

                 (b)      Roll-Up Term Loans. Subject to the terms and conditions of the Interim DIP Order
and this Agreement, effective immediately upon the completion of Syndication on the Syndication Date
and after giving effect to all related Assignments and Assumptions, and without any further action by any
party to this Agreement or the Loan Documents, the Bankruptcy Court or any other Person (i) up to
$500,000,000 of Prepetition Senior Priority Loans (together with accrued and unpaid interest thereon) held
by the Lenders party hereto (or any of their respective designated Approved Funds) as of the Syndication
Date that are Prepetition Senior Priority Secured Parties shall be, on the Syndication Date, automatically
deemed (on a cashless two dollars of Roll-Up Term Loans for every dollar of the sum of (x) the principal
amount of New Money Term Loans outstanding as of the Syndication Date plus (y) the amount of New
Money Term Loan Commitments of such Lender as of the Syndication Date (i.e., $250,000,000) basis) to
constitute U.S. Dollar-denominated term loans under this Agreement (“Roll-Up Term Loans”) based upon
each such Person’s (or any of their respective designated Approved Funds) pro rata share of principal
amount of New Money Term Loans, which Roll-Up Term Loans shall be due and payable in accordance
with the terms and conditions set forth in this Agreement as if originally funded hereunder on the Effective
Date and (ii) from and after the Effective Date, the outstanding aggregate amount of the Prepetition Senior
Priority Loans held by each such Lender (or any of its designated Approved Funds that is an Eligible
Assignee) shall be automatically and irrevocably deemed reduced by such amount of Roll-Up Term Loans
allocated to each such Lender (or any of its designated Approved Funds that is an Eligible Assignee).

                  (c)    Subject to the terms and conditions of this Agreement (including the priorities set
forth herein), the Term Loans may be repaid or prepaid in accordance with the provisions hereof, but once
repaid or prepaid may not be reborrowed. The Term Loans may from time to time be SOFR Loans or ABR
Loans, as determined by the Borrower and notified to the Administrative Agent as set forth herein.

                SECTION 2.02         Loans and Borrowings.

                 (a)     Each Loan shall be made as part of a Borrowing consisting of Loans of the same
Class and Type made by the Lenders ratably in accordance with their respective Commitments of the
applicable Class. The failure of any Lender to make any Loan required to be made by it shall not relieve
any other Lender of its obligations hereunder, provided that the Commitments of the Lenders are several
and other than as expressly provided herein with respect to a Defaulting Lender, no Lender shall be
responsible for any other Lender’s failure to make Loans as required hereby.

                (b)     Subject to Section 2.14, each Term Loan Borrowing shall be comprised entirely of
ABR Loans or SOFR Loans as the Borrower may request in accordance herewith. Each Lender at its option
may make any Loan by causing any domestic or foreign branch or Affiliate of such Lender to make such
Loan; provided that any exercise of such option shall not affect the obligation of the Borrower to repay such
Loan in accordance with the terms of this Agreement;


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                 (c)      At the commencement of each Interest Period for any SOFR Borrowing, such
Borrowing shall be in an aggregate amount that is an integral multiple of the Borrowing Multiple and not
less than the Borrowing Minimum; provided that a SOFR Borrowing that results from a continuation of an
outstanding SOFR Borrowing may be in an aggregate amount that is equal to such outstanding Borrowing.
At the time that each ABR Borrowing is made, such Borrowing shall be in an aggregate amount that is an
integral multiple of the Borrowing Multiple and not less than the Borrowing Minimum. Borrowings of more
than one Type and Class may be outstanding at the same time; provided that there shall not at any time be
more than a total of fifteen (15) SOFR Borrowings outstanding.

                SECTION 2.03         Requests for Borrowings.

                 To request a Term Loan Borrowing, the Lead Borrower shall notify the Administrative
Agent, and in the case of Borrowings on the Effective Date, the Fronting Lender, of such request in writing
by telecopy, electronic mail, facsimile or overnight courier (a) in the case of a SOFR Borrowing, not later
than 12:00 p.m., New York City time, three (3) U.S. Government Securities Business Days before the date
of the proposed Borrowing, (b) in the case of an ABR Borrowing, not later than 12:00 p.m., New York City
time, on the date of the proposed Borrowing; provided that any notice given in connection with Borrowings
on the Effective Date (including SOFR Borrowings) may be given not later than 2:00 p.m., New York City
time, one (1) Business Day before the Effective Date; provided further that, in each case, the Administrative
Agent may in its discretion accept any later request. Each such written Borrowing Request shall be signed
by the Lead Borrower substantially in the form of Exhibit E and shall be irrevocable. Each such written
Borrowing Request shall specify the following information:

                      (i)     whether the requested Borrowing is to be a Borrowing of New Money
        Term Loans and/or a Borrowing of any other Class (specifying the Class thereof);

                         (ii)    the aggregate amount of such Borrowing;

                         (iii)   the date of such Borrowing, which shall be a Business Day;

                         (iv)    whether such Borrowing is to be an ABR Borrowing or a SOFR
        Borrowing;

                        (v)     in the case of a SOFR Borrowing, the initial Interest Period to be
        applicable thereto, which shall be a period contemplated by the definition of the term “Interest
        Period”;

                        (vi)    the location and number of the Borrower’s account to which funds are to
        be disbursed, which shall comply with the requirements of Section 2.06; and

                        (vii)   that the Borrowing amounts are being used solely in accordance with the
        Approved Budget and that, as of the date of such Borrowing, the conditions set forth in
        Sections 4.02(e) and 4.02(f) are satisfied.

If no election as to the Type of Borrowing is specified as to any Borrowing, then the requested Borrowing
shall be an ABR Borrowing. If no Interest Period is specified with respect to any requested SOFR
Borrowing, then the Lead Borrower shall be deemed to have selected an Interest Period of one month’s
duration. Promptly following receipt of a Borrowing Request in accordance with this Section 2.03, the
Administrative Agent shall advise each Lender of the applicable Class of the details thereof and of the
amount of such Lender’s Loan to be made as part of the requested Borrowing.




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                 SECTION 2.04 Syndication.

         Following the Effective Date, the Lead Borrower shall use commercially reasonable efforts to assist
the Fronting Lender in connection with a syndication process (the “Syndication”) for the assignment of a
proportionate share of New Money Term Loans and New Money Term Loan Commitments in each case in
accordance with syndication procedures set forth in Exhibit F (the “Syndication Procedures”), which shall
be acceptable to each of the Administrative Agent (acting in consultation with the Required Lenders), the
Fronting Lender and the Lead Borrower (each in their reasonable discretion). The Syndication shall
terminate on the date the Fronting Lender shall have notified Lead Borrower and the Administrative Agent
that the syndication of the New Money Term Loans and New Money Term Loan Commitments (including
any fees that have been capitalized and paid in the form of New Money Term Loans pursuant to Section
2.12) has been completed (such date, the “Syndication Date”). Upon completion of the Syndication, a
Schedule 2.04, which shall be prepared by the Lender Professionals and reasonably satisfactory to the
Required Lenders, shall be delivered to the Administrative Agent and the Borrower, which shall set forth
the aggregate New Money Term Loans and New Money Term Loan Commitment held by each Lender
upon closing of the Syndication (broken out by New Money Term Loans, New Money Term Loan
Commitments, Roll-Up Term Loans and Roll-Up Term Loan Commitments). The Administrative Agent (i)
shall be entitled to conclusively rely on the Schedule 2.04 prepared by the Lender Professionals without
investigation, (ii) shall incur no liability for acting in reliance upon such Schedule 2.04 delivered to it by
the Lender Professionals, and (iii) is hereby directed by the Borrower and the Lenders to update the Register
pursuant to Section 9.04(b)(iv) to reflect the Lender allocations set forth in such Schedule 2.04.

                 SECTION 2.05         [Reserved].

                 SECTION 2.06         Funding of Borrowings.

                (a)     Each Lender shall make each Loan to be made by it hereunder on the proposed
date thereof by wire transfer of immediately available funds by 12:00 noon, New York City time, to the
Applicable Account of the Administrative Agent most recently designated by it for such purpose by notice
to the Lenders. The Administrative Agent will make such Loans available to the Borrower by promptly
crediting the amounts so received, in like funds, to an account of the Borrower designated by the Lead
Borrower in the applicable Borrowing Request.

                   (b)     Unless the Administrative Agent shall have received notice from a Lender prior to
the proposed date of any Borrowing that such Lender will not make available to the Administrative Agent
such Lender’s share of such Borrowing, the Administrative Agent may assume that such Lender has made
such share available on such date in accordance with paragraph (a) of this Section 2.06 and may, in reliance
on such assumption and in its sole discretion, make available to the Borrower a corresponding amount. In
such event, if a Lender has not in fact made its share of the applicable Borrowing available to the
Administrative Agent, then the applicable Lender agrees to pay to the Administrative Agent an amount
equal to such share on demand of the Administrative Agent. If such Lender does not pay such corresponding
amount forthwith upon demand of the Administrative Agent therefor, the Administrative Agent shall
promptly notify the Borrower, and the Borrower agrees to pay such corresponding amount to the
Administrative Agent forthwith on demand. The Administrative Agent shall also be entitled to recover from
such Lender or Borrower interest on such corresponding amount, for each day from and including the date
such amount is made available to the Borrower to but excluding the date of payment to the Administrative
Agent, at (i) in the case of such Lender, the greater of the Federal Funds Effective Rate and a rate determined
by the Administrative Agent in accordance with banking industry rules on interbank compensation, or (ii)
in the case of the Borrower, the interest rate applicable to such Borrowing in accordance with Section 2.13.
If such Lender pays such amount to the Administrative Agent, then such amount shall constitute such
Lender’s Loan included in such Borrowing.


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                  (c)     The obligations of the Lenders hereunder to make Term Loans and to make
payments pursuant to Section 9.03(c) are several and not joint. The failure of any Lender to make any Loan,
to fund any such participation or to make any payment under Section 9.03(c) on any date required hereunder
shall not relieve any other Lender of its corresponding obligation to do so on such date, and no Lender shall
be responsible for the failure of any other Lender to so make its Loan, to purchase its participation or to
make its payment under Section 9.03(c).

                SECTION 2.07          Interest Elections.

                 (a)     Each Term Loan Borrowing initially shall be of the Type specified in the
applicable Borrowing Request or designated by Section 2.03 and, in the case of a SOFR Borrowing, shall
have an initial Interest Period as specified in such Borrowing Request or designated by Section 2.03.
Thereafter, the Lead Borrower may elect to convert such Borrowing to a different Type or to continue such
Borrowing and, in the case of a SOFR Borrowing, may elect Interest Periods therefor, all as provided in
this Section 2.07. The Lead Borrower may elect different options with respect to different portions of the
affected Borrowing, in which case each such portion shall be allocated ratably among the Lenders holding
the Loans comprising such Borrowing, and the Loans comprising each such portion shall be considered a
separate Borrowing.

                 (b)     To make an election pursuant to this Section 2.07, the Lead Borrower shall notify
the Administrative Agent of such election in writing by telecopy, electronic mail, facsimile or overnight
courier by the time that a Borrowing Request would be required under Section 2.03 if the Lead Borrower
were requesting a Borrowing of the Type resulting from such election to be made on the effective date of
such election. Each such written Interest Election Request shall be irrevocable and shall be signed by the
Lead Borrower.

               (c)     Each written Interest Election Request shall specify the following information in
compliance with Section 2.03:

                          (i)      the Borrowing to which such Interest Election Request applies and, if
        different options are being elected with respect to different portions thereof, the portions thereof to
        be allocated to each resulting Borrowing (in which case the information to be specified pursuant to
        clauses (iii) and (iv) below shall be specified for each resulting Borrowing);

                       (ii)     the effective date of the election made pursuant to such Interest Election
        Request, which shall be a Business Day;

                         (iii)   whether the resulting Borrowing is to be an ABR Borrowing or a SOFR
        Borrowing; and

                         (iv)     if the resulting Borrowing is to be a SOFR Borrowing, the Interest Period
        to be applicable thereto after giving effect to such election, which shall be a period contemplated
        by the definition of the term “Interest Period.”

If any such Interest Election Request requests a SOFR Borrowing but does not specify an Interest Period,
then the Lead Borrower shall be deemed to have selected an Interest Period of one month’s duration.

                 (d)    Promptly following receipt of an Interest Election Request in accordance with this
Section 2.07, the Administrative Agent shall advise each Lender of the applicable Class of the details
thereof and of such Lender’s portion of each resulting Borrowing.




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                (e)      If the Lead Borrower fails to deliver a timely Interest Election Request with respect
to a SOFR Borrowing prior to the end of the Interest Period applicable thereto, then, unless such Borrowing
is repaid as provided herein, at the end of such Interest Period such Borrowing shall be converted to an
ABR Borrowing. Notwithstanding any contrary provision hereof, if an Event of Default has occurred and
is continuing and the Administrative Agent, at the request of the Required Lenders, so notifies the Lead
Borrower, then, so long as an Event of Default is continuing (i) no outstanding Borrowing may be converted
to or continued as a SOFR Borrowing and (ii) unless repaid, each SOFR Borrowing shall be converted to
an ABR Borrowing at the end of the Interest Period applicable thereto.

                SECTION 2.08          Termination and Reduction of Commitments.

                 (a)     Each Lender’s New Money Term Loan Commitments shall each be (A)
permanently reduced on a dollar-for-dollar basis by the aggregate principal amount of any New Money
Term Loans made by such Lender in accordance with Section 2.01(a) in respect of such applicable New
Money Term Loan Commitments, (B) terminated in full on the Maturity Date, and (C) terminated in full to
the extent done so pursuant to Article VII. The Roll-Up Term Loan Commitments shall be reduced on a
dollar-for-dollar basis by the aggregate principal amount of Roll-Up Term Loans deemed made by such
Lender in accordance with Section 2.01(b), in respect of such Roll-Up Term Loan Commitments, and shall
be reduced to zero upon the entry of the Final DIP Order after giving effect to the Roll-Up Term Loans
deemed made on such date in accordance with Section 2.01(b).

                 (b)     The Lead Borrower may at any time terminate, or from time to time reduce, the
Commitments of any Class, provided that each reduction of the Commitments of any Class shall be in an
amount that is an integral multiple of $500,000 and not less than $1,000,000 unless such amount represents
all of the remaining Commitments of such Class.

                 (c)     The Lead Borrower shall notify the Administrative Agent of any election to
terminate or reduce the Commitments under paragraph (b) of this Section 2.08 at least one (1) Business
Day prior to the effective date of such termination or reduction, specifying such election and the effective
date thereof. Promptly following receipt of any such notice, the Administrative Agent shall advise the
Lenders of the contents thereof. Each notice delivered by the Borrower pursuant to this Section 2.08 shall
be irrevocable. Any termination or reduction of the Commitments of any Class shall be permanent. Each
reduction of the Commitments of any Class shall be made ratably among the Lenders in accordance with
their respective Commitments of such Class.

                SECTION 2.09          Repayment of Loans; Evidence of Debt.

                (a)      The Borrower hereby unconditionally promises to repay to the Administrative
Agent for the account of each Lender in cash the entire outstanding principal amount of, and all accrued
but unpaid interest on, the Loans and all other Secured Obligations then due and payable (if any) on the
Maturity Date.

                (b)     Each Lender shall maintain in accordance with its usual practice an account or
accounts evidencing the indebtedness of the Borrower to such Lender resulting from each Loan made by
such Lender, including the amounts of principal and interest payable and paid to such Lender from time to
time hereunder.

                 (c)      The Administrative Agent shall maintain accounts in which it shall record (i) the
amount of each Loan made hereunder, the Class and Type thereof and the Interest Period applicable thereto,
(ii) the amount of any principal or interest due and payable or to become due and payable from the Borrower




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to each Lender hereunder and (iii) the amount of any sum received by the Administrative Agent hereunder
for the account of the Lenders and each Lender’s share thereof.

                (d)      The entries made in the accounts maintained pursuant to paragraph (b) or (c) of
this Section 2.09 shall be prima facie evidence of the existence and amounts of the obligations recorded
therein, provided that the failure of any Lender or the Administrative Agent to maintain such accounts or
any error therein shall not in any manner affect the obligation of the Borrower to pay any amounts due
hereunder in accordance with the terms of this Agreement. In the event of any inconsistency between the
entries made pursuant to paragraphs (b) and (c) of this Section 2.09, the accounts maintained by the
Administrative Agent pursuant to paragraph (c) of this Section 2.09 shall control.

                  (e)    Any Lender may request that Loans of any Class made by it be evidenced by a
Note. In such event, the Borrower shall execute and deliver to such Lender a Note payable to such Lender
(or, if requested by such Lender, to such Lender and its registered assigns).

Notwithstanding anything to the contrary in the foregoing, each Lender agrees that, on the Plan Effective
Date (as defined in the Restructuring Support Agreement) and so long as the Restructuring Support
Agreement remains in effect (and there shall not have occurred and be continuing any event, act, or
omission that, but for the expiration of time, would permit the Required Consenting First Lien Lenders (as
defined in the Restructuring Support Agreement) to terminate the Restructuring Support Agreement, unless
such act or occurrence was waived, cured or extended in accordance with the terms of the Restructuring
Support Agreement), the New Money Term Loans, Roll-Up Term Loans held by each Lender (or any of its
designated Approved Funds), the Commitment Premium, the Exit Premium and the DIP Backstop Premium,
in each case to the extent outstanding at such time, shall convert either into “Loans” under the Take-Back
Debt Facility (as such term is defined in the Restructuring Support Agreement) or Reorganized Common
Equity, in each case in accordance with the terms set forth in the Restructuring Support Agreement and
Restructuring Term Sheet. For the avoidance of doubt, in no event will any Agent be required to track,
calculate or confirm the amount of the Commitment Premium, the Exit Premium or the DIP Backstop
Premium, in each case except to the extent such Commitment Premium, DIP Backstop Premium, or Exit
Premium has been capitalized and “paid in kind” by being added to the outstanding principal amount of
New Money Term Loans.

                SECTION 2.10         [Reserved].

                SECTION 2.11         Prepayment of Loans.

                 (a)     The Lead Borrower shall have the right at any time and from time to time to prepay
any Borrowing in whole or in part, without penalty or premium, except with respect to the Exit Premium
described in Section 2.12(c), in each case subject to the requirements of this Section 2.11 and Section 2.16.
All voluntary prepayments shall be applied first toward repayment of the New Money Term Loans and then,
following payment in full of the New Money Term Loans, to the repayment of the Roll-Up Term Loans, in
each case, on a pro rata basis.

                 (b)     In the event and on each occasion that any Net Proceeds are received by or on
behalf of the Borrower or any of its Subsidiaries in respect of any Prepayment Event, the Borrower shall,
within three (3) Business Days after such Net Proceeds are received by or on behalf of the Borrower (or, in
the case of a Prepayment Event described in clauses (b) and (c) of the definition of “Prepayment Event”,
on the date of such Prepayment Event), prepay Term Loan Borrowings (with respect to a Prepayment Event
described in clause (b) of the definition of “Prepayment Event”, in each case, pro rata based on the
aggregate principal amount of outstanding Borrowings of each such Class, among (x) first New Money
Term Loans until paid in full and (y) second to Roll-Up Term Loans until paid in full) in an aggregate


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amount equal to the Prepayment Percentage of the amount of such Net Proceeds. All mandatory
prepayments subject to this Section 2.11(b) shall be applied first toward repayment of the New Money
Term Loans and then, following payment in full of the New Money Term Loans, to the repayment of the
Roll-Up Term Loans until paid in full, in each case, pro rata based on the aggregate principal amount of
outstanding Borrowings of each such Class.

                (c)      [Reserved]

                  (d)    All optional prepayment of Borrowings pursuant to Section 2.11(a), shall be
applied (x) first toward repayment of the New Money Term Loans and (y) then to the repayment of the
Roll-Up Term Loans, in each case, pro rata based on the aggregate principal amount of outstanding
Borrowings of each such Class. Optional prepayments of Term Loan Borrowings shall be allocated in direct
order of maturity, and subject to the foregoing, the Administrative Agent shall apply such prepayments in
its reasonable discretion with a view, but no obligation, to minimize breakage costs owing under Section
2.16; provided that, in connection with any mandatory prepayments by the Borrower of the Term Loans
pursuant to Section 2.11(c) or (d), such prepayments shall be applied on a pro rata basis to the then
outstanding Term Loans being prepaid irrespective of whether such outstanding Term Loans are ABR
Loans or SOFR Loans.

                 (e)     The Borrower shall notify the Administrative Agent of any optional prepayment
pursuant to Section 2.11(a)(i) in writing by telecopy, electronic mail, facsimile or overnight courier of any
prepayment hereunder (i) in the case of prepayment of a SOFR Borrowing, not later than 11:00 a.m., New
York City time, three (3) U.S. Government Securities Business Days before the date of prepayment or (ii) in
the case of prepayment of an ABR Borrowing, not later than 11:00 a.m., New York City time, one (1)
Business Day before the date of prepayment (or, in each case, such later date or date which the
Administrative Agent may agree to in its sole discretion). Each such notice shall be irrevocable and shall
specify the prepayment date and the principal amount of each Borrowing or portion thereof to be prepaid
and, in the case of a mandatory prepayment, a reasonably detailed calculation of the amount of such
prepayment; provided that a notice of optional prepayment may state that such notice is conditional upon
the effectiveness of other credit facilities or the receipt of the proceeds from the issuance of other
Indebtedness or the occurrence of some other identifiable event or condition, in which case such notice of
prepayment may be revoked by the Borrower (by notice to the Administrative Agent on or prior to the
specified date of prepayment) if such condition is not satisfied. Promptly following receipt of any such
notice, the Administrative Agent shall advise the Lenders of the contents thereof. Each partial prepayment
of any Borrowing shall be in an amount that would be permitted in the case of an advance of a Borrowing
of the same Type as provided in Section 2.02, except as necessary to apply fully the required amount of a
mandatory prepayment. Each prepayment of a Borrowing shall be applied ratably to the Loans included in
the prepaid Borrowing. Prepayments shall be accompanied by accrued interest to the extent required by
Section 2.13, and subject to Section 2.11(b), shall be without premium or penalty. At the Borrower’s
election in connection with any prepayment pursuant to this Section 2.11, such prepayment shall not be
applied to any Term Loan of a Defaulting Lender (under any of subclauses (a), (b) or (c) of the definition
of “Defaulting Lender”) and shall be allocated ratably among the relevant non-Defaulting Lenders.

                SECTION 2.12          Fees.

               (a)       The Borrower agrees to pay to the Agents for their own account, fees payable in
the amounts and at the times separately agreed upon between the Borrower and the Agents pursuant to the
Administrative Agent Fee Letter.

                (b)    The Borrower agrees to pay, on the Effective Date, for the ratable account of each
of the Lenders providing New Money Term Loan Commitments on the Effective Date, as compensation


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for the funding of such Lender’s New Money Term Loans, a commitment premium (the “Commitment
Premium”) in an amount equal to 2.50% of such Lender’s New Money Term Loan Commitments on the
Effective Date. The Commitment Premium shall be payable in kind on the Effective Date by adding the
aggregate amount thereof to the outstanding principal balance of the New Money Term Loans on such date,
on a ratable basis with respect to the New Money Term Loans of each Lender as of the Effective Date and
shall be subject to the Syndication. The Commitment Premium will be in all respects fully earned, due and
payable on the Effective Date and non-refundable and non-creditable thereafter. For the avoidance of doubt,
the Lenders agree to the treatment of the Commitment Premium as set forth in the final paragraph of Section
2.09.

                (c)     The Borrower agrees to pay to the Administrative Agent, for the ratable account
of each of the Lenders on the Maturity Date or on any other date that the Loans are repaid in full (whether
through a mandatory prepayment, voluntary prepayment, acceleration or otherwise) a non-refundable fee
(the “Exit Premium”) equal to 2.50% of the aggregate principal amount of the Loans repaid on such
applicable date, which fee shall be in all respects fully earned, due and payable on such date and non-
refundable and non-creditable thereafter. For the avoidance of doubt, the Lenders agree to the treatment of
the Exit Premium as set forth in the final paragraph of Section 2.09.

                  (d)     The Borrower agrees to pay to the Fronting Lender for the sole account of the
Fronting Lender, the fronting fee set forth in the Fronting Fee Letter (the “Fronting Fee”). The Fronting Fee
will be in all respects fully earned, due and payable pursuant to the terms and conditions of the Fronting
Fee Letter.

                 (e)    The Borrower agrees to pay to the Fronting Lender, for the ratable account of the
DIP Backstop Parties, a non-refundable put option premium as set forth in the Restructuring Support
Agreement (the “DIP Backstop Premium”). The DIP Backstop Premium will be in all respects fully due,
earned and payable in accordance with the terms of the Restructuring Term Sheet. For the avoidance of
doubt, the Lenders agree to the treatment of the DIP Backstop Premium as set forth in the final paragraph
of Section 2.09.

                 (f)     Notwithstanding the foregoing, and subject to Section 2.22, the Borrower shall not
be obligated to pay any amounts to any Defaulting Lender pursuant to this Section 2.12.

                SECTION 2.13         Interest.

                (a)     The Loans comprising each ABR Borrowing shall bear interest at the Alternate
Base Rate plus the Applicable Rate.

               (b)      The Loans comprising each SOFR Borrowing shall bear interest at Adjusted Term
SOFR for the Interest Period in effect for such Borrowing plus the Applicable Rate.

                 (c)      Notwithstanding the foregoing, if upon the occurrence and during the continuance
of any Event of Default under paragraph (a), (b), (h) or (i) of Section 7.01 any principal of or interest on
any Loan or any fee or other amount payable by any Loan Party under a Loan Document is not paid when
due, whether at stated maturity, upon acceleration or otherwise, all overdue principal amounts of the Loans
shall bear interest, after as well as before judgment, at a rate per annum equal to (i) in the case of the
principal of any Loan, 2.00% per annum plus the rate otherwise applicable to such Loan as provided in the
preceding paragraphs of this Section 2.13 or (ii) in the case of any other amount, 2.00% per annum plus the
rate applicable to ABR Loans as provided in paragraph (a) of this Section 2.13; provided that no amount
shall be payable pursuant to this Section 2.13(c) to a Defaulting Lender so long as such Lender shall be a
Defaulting Lender; provided, further that no amounts shall accrue pursuant to this Section 2.13(c) on any



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overdue amount or other amount payable to a Defaulting Lender so long as such Lender shall be a
Defaulting Lender.

                 (d)     Accrued interest on each Loan shall be payable in arrears on each Interest Payment
Date for such Loan, provided that (i) interest accrued pursuant to paragraph (c) of this Section 2.13 shall be
payable on demand, (ii) in the event of any repayment or prepayment of any Loan, accrued interest on the
principal amount repaid or prepaid shall be payable on the date of such repayment or prepayment and (iii) in
the event of any conversion of any SOFR Loan prior to the end of the current Interest Period therefor,
accrued interest on such Loan shall be payable on the effective date of such conversion.

                 (e)      All interest hereunder shall be computed on the basis of a year of 360 days, except
that interest computed by reference to the Prime Rate shall be computed on the basis of a year of 365 days
(or 366 days in a leap year), and in each case shall be payable for the actual number of days elapsed
(including the first day but excluding the last day). The applicable Alternate Base Rate or Adjusted Term
SOFR shall be determined by the Administrative Agent, and such determination shall be conclusive absent
manifest error.

                SECTION 2.14          Benchmark Unavailability; Benchmark Replacement Setting.

                (a)      If prior to the commencement of any Interest Period for a SOFR Borrowing:

                 (1)      the Administrative Agent or the Required Lenders determines (which
        determination shall be conclusive absent manifest error) that adequate and reasonable means do not
        exist for ascertaining Adjusted Term SOFR or Term SOFR, as applicable, for such Interest Period;
        provided that no Benchmark Transition Event with respect to such benchmark shall have occurred
        at such time; or

                 (2)     the Administrative Agent is advised by the Required Lenders that Adjusted Term
        SOFR or Term SOFR, as applicable, for such Interest Period will not adequately and fairly reflect
        the cost to such Lenders of making or maintaining their Loans included in such Borrowing for such
        Interest Period;

then in each such case, the Administrative Agent shall give notice thereof to the Lead Borrower and the
Lenders in writing by telecopy, electronic mail, facsimile or overnight courier as promptly as practicable
thereafter and, until the Administrative Agent (acting at the direction of the Required Lenders) notifies the
Lead Borrower and the Lenders that the circumstances giving rise to such notice no longer exist, (i) any
Interest Election Request that requests the conversion of any Borrowing to, or continuation of any
Borrowing as, a SOFR Borrowing shall be ineffective and (ii) if any Borrowing Request requests a SOFR
Borrowing, then such Borrowing shall be made as an ABR Borrowing; provided, however, that, in each
case, the Lead Borrower may revoke any Borrowing Request that is pending when such notice is received.

                (b)     Benchmark Replacement. Notwithstanding anything to the contrary herein or in
any other Loan Document (and any Swap Agreement shall be deemed not to be a “Loan Document” for
purposes of this Section 2.14), if a Benchmark Transition Event and its related Benchmark Replacement
Date have occurred prior to the Reference Time in respect of any setting of the then-current Benchmark,
then (x) if a Benchmark Replacement is determined in accordance with clause (a) of the definition of
“Benchmark Replacement” for such Benchmark Replacement Date, such Benchmark Replacement will
replace such Benchmark for all purposes hereunder and under any Loan Document in respect of such
Benchmark setting and subsequent Benchmark settings without any amendment to, or further action or
consent of any other party to, this Agreement or any other Loan Document and (y) if a Benchmark
Replacement is determined in accordance with clause (b) of the definition of “Benchmark Replacement”



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for such Benchmark Replacement Date, such Benchmark Replacement will replace such Benchmark for all
purposes hereunder and under any Loan Document in respect of any Benchmark setting at or after 5:00 p.m.
(New York City time) on the fifth (5th) Business Day after the date notice of such Benchmark Replacement
is provided to the Lenders without any amendment to, or further action or consent of any other party to, this
Agreement or any other Loan Document so long as the Administrative Agent has not received, by such
time, written notice of objection to such Benchmark Replacement from Lenders comprising the Required
Lenders (or, if such Benchmark Replacement affects fewer than all Classes, the Majority in Interest Lenders
of each affected Class). If the Benchmark Replacement is Daily Simple SOFR, all interest payments will
be payable on a monthly basis.

                  (c)     Benchmark Replacement Conforming Changes. In connection with the use,
administration, adoption or implementation of a Benchmark Replacement, the Administrative Agent (acting
at the direction of the Required Lenders) will have the right to make Benchmark Replacement Conforming
Changes from time to time and, notwithstanding anything to the contrary herein or in any other Loan
Document, any amendments implementing such Benchmark Replacement Conforming Changes will
become effective without any further action or consent of any other party to this Agreement or any other
Loan Document.

                 (d)      Notices; Standards for Decisions and Determinations. The Administrative Agent
will promptly notify the Lead Borrower and the Lenders of (i) the occurrence of a Benchmark Transition
Event and its related Benchmark Replacement Date, (ii) the implementation of any Benchmark
Replacement, (iii) the effectiveness of any Benchmark Replacement Conforming Changes, (iv) the removal
or reinstatement of any tenor of a Benchmark pursuant to Section 2.14(e) and (v) the commencement or
conclusion of any Benchmark Unavailability Period. Any determination, decision or election that may be
made by the Administrative Agent or, if applicable, any Lender (or group of Lenders) pursuant to this
Section 2.14, including any determination with respect to a tenor, rate or adjustment or of the occurrence
or non-occurrence of an event, circumstance or date and any decision to take or refrain from taking any
action or any selection, will be conclusive and binding absent manifest error and may be made in its or their
sole discretion and without consent from any other party to this Agreement or any other Loan Document,
except, in each case, as expressly required pursuant to this Section 2.14.

                  (e)    Unavailability of Tenor of Benchmark. Notwithstanding anything to the contrary
herein or in any other Loan Document, at any time (including in connection with the implementation of a
Benchmark Replacement), (i) if the then-current Benchmark is a term rate (including the Term SOFR
Reference Rate) and either (A) any tenor for such Benchmark is not displayed on a screen or other
information service that publishes such rate from time to time as selected by the Administrative Agent in
its reasonable discretion or (B) the regulatory supervisor for the administrator of such Benchmark has
provided a public statement or publication of information announcing that any tenor for such Benchmark
is not or will no longer be representative, then the Administrative Agent may modify the definition of
“Interest Period” (or any similar or analogous definition) for any Benchmark settings at or after such time
to remove such unavailable or non-representative tenor and (ii) if a tenor that was removed pursuant to
clause (i) above either (A) is subsequently displayed on a screen or information service for a Benchmark
(including a Benchmark Replacement) or (B) is not, or is no longer, subject to an announcement that it is
not or will no longer be representative for a Benchmark (including a Benchmark Replacement), then the
Administrative Agent may modify the definition of “Interest Period” (or any similar or analogous
definition) for all Benchmark settings at or after such time to reinstate such previously removed tenor.

              (f)    Benchmark Unavailability Period. Upon the Lead Borrower’s receipt of notice of
the commencement of a Benchmark Unavailability Period, the Borrower may revoke any request for a
SOFR Borrowing of, conversion to or continuation of SOFR Loans to be made, converted or continued
during any Benchmark Unavailability Period and, failing that, the Borrower will be deemed to have


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converted any such request into a request for a Borrowing of or conversion to ABR Loans. During any
Benchmark Unavailability Period or at any time that a tenor for the then-current Benchmark is not an
Available Tenor, the component of the Alternate Base Rate based upon the then-current Benchmark or such
tenor for such Benchmark, as applicable, will not be used in any determination of the Alternate Base Rate.

                 SECTION 2.15         Increased Costs.

                 (a)     If any Change in Law shall:

                         (i)      impose, modify or deem applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
        account of, or credit extended by, any Lender;

                          (ii)     subject the Administrative Agent, any Lender or any other recipient of any
        payment to be made by or on account of any obligation of any Loan Party hereunder or under any
        other Loan Document to any Taxes (other than Indemnified Taxes, Other Taxes or Excluded Taxes)
        on its loans, loan principal, letters of credit, commitments, or other obligations, or its deposits,
        reserves, other liabilities or capital attributable thereto; or

                        (iii)   impose on any Lender any other condition, cost or expense (other than
        Taxes) affecting this Agreement or SOFR Loans made by such Lender;

and the result of any of the foregoing shall be to increase the cost to such Lender of making or maintaining
any SOFR Loan (or of maintaining its obligation to make any such Loan) or to reduce the amount of any
sum received or receivable by such Lender (whether of principal, interest or otherwise), then, from time to
time upon request of such Lender, the Borrower will pay to such Lender such additional amount or amounts
as will compensate such Lender for such increased costs actually incurred or reduction actually suffered;
provided that the Borrower shall not be liable for such compensation if, in the case of requests for
reimbursement under clause (ii) above resulting from a market disruption, (A) the relevant circumstances
are not generally affecting the banking market or (B) the applicable request has not been made by the
Majority in Interest of Term Lenders with respect to Term Loans; provided, further, that to the extent any
such costs or reductions are incurred by any Lender as a result of any requests, rules, guidelines or directives
enacted or promulgated under the Dodd-Frank Wall Street Reform and Consumer Protection Act of 2010
and Basel III, then such Lender shall be compensated pursuant to this Section 2.15(a) only to the extent
such Lender is imposing such charges on similarly situated borrowers where the terms of other syndicated
credit facilities permit it to impose such charges.

                 (b)     If any Lender determines that any Change in Law regarding capital requirements
has the effect of reducing the rate of return on such Lender’s capital or on the capital of such Lender’s
holding company, if any, as a consequence of this Agreement or the Loans made by such Lender to a level
below that which such Lender or such Lender’s holding company could have achieved but for such Change
in Law (taking into consideration such Lender’s policies and the policies of such Lender’s holding company
with respect to capital adequacy), then, from time to time upon request of such Lender, the Borrower will
pay to such Lender, as the case may be, such additional amount or amounts as will compensate such Lender
or such Lender’s holding company for any such reduction actually suffered.

                 (c)      A certificate of a Lender setting forth the amount or amounts necessary to
compensate such Lender or its holding company in reasonable detail, as the case may be, as specified in
paragraph (a) or (b) of this Section 2.15 delivered to the Borrower shall be conclusive absent manifest error.
The Borrower shall pay such Lender the amount shown as due on any such certificate within fifteen
(15) days after receipt thereof.


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                   (d)    Failure or delay on the part of any Lender to demand compensation pursuant to
this Section 2.15 shall not constitute a waiver of such Lender’s right to demand such compensation;
provided that the Borrower shall not be required to compensate a Lender pursuant to this Section 2.15 for
any increased costs incurred or reductions suffered more than one hundred and eighty (180) days prior to
the date that such Lender, as the case may be, notifies the Borrower of the Change in Law giving rise to
such increased costs or reductions and of such Lender’s intention to claim compensation therefor; provided
further that, if the Change in Law giving rise to such increased costs or reductions is retroactive, then the
180-day period referred to above shall be extended to include the period of retroactive effect thereof.

                SECTION 2.16         [Reserved].

                SECTION 2.17         Taxes.

                (a)      Any and all payments by or on account of any obligation of any Loan Party under
any Loan Document shall be made free and clear of and without deduction for any Taxes, except as required
by applicable Requirements of Law. If the applicable withholding agent shall be required by applicable
Requirements of Law (as determined in the good faith discretion of the applicable withholding agent) to
deduct any Taxes from such payments, then the applicable withholding agent shall make such deductions
and shall timely pay the full amount deducted to the relevant Governmental Authority in accordance with
applicable Requirements of Law, and if such Taxes are Indemnified Taxes, then the amount payable by the
applicable Loan Party shall be increased as necessary so that after all such required deductions have been
made (including such deductions applicable to additional amounts payable under this Section 2.17), each
Lender (or, in the case of a payment made to the Administrative Agent for its own account, the
Administrative Agent) receives an amount equal to the sum it would have received had no such deductions
been made.

                (b)     The Borrower shall timely pay to the relevant Governmental Authority in
accordance with Requirements of Law or, at the option of the Administrative Agent, timely reimburse it
for the payment of, any Other Taxes.

                  (c)      The Borrower, jointly and severally, shall indemnify the Administrative Agent and
each Lender within thirty (30) days after written demand therefor, for the full amount of any Indemnified
Taxes paid by the Administrative Agent or such Lender as the case may be, on or with respect to any
payment by or on account of any obligation of any Loan Party under any Loan Document, as the case may
be (including Indemnified Taxes imposed or asserted on or attributable to amounts payable under this
Section 2.17) and any reasonable expenses arising therefrom or with respect thereto, whether or not such
Indemnified Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority.
A certificate setting forth in reasonable detail the basis and calculation of the amount of such payment or
liability delivered to the Borrower by a Lender or by the Administrative Agent shall be conclusive absent
manifest error.

                  (d)    As soon as practicable after any payment of any Taxes by a Loan Party to a
Governmental Authority pursuant to this Section 2.17, the Borrower shall deliver to the Administrative
Agent the original or a certified copy of a receipt issued by such Governmental Authority evidencing such
payment, a copy of the return reporting such payment or other evidence of such payment reasonably
satisfactory to the Administrative Agent.

               (e)     Each Lender shall, at such times as are reasonably requested by Borrower or the
Administrative Agent, provide Borrower and the Administrative Agent with any properly completed and
executed documentation prescribed by any Requirement of Law, or reasonably requested by Borrower or
the Administrative Agent, certifying as to any entitlement of such Lender to an exemption from, or


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reduction in, any withholding Tax with respect to any payments to be made to such Lender under the Loan
Documents. Each such Lender shall, whenever a lapse in time or change in circumstances renders any such
documentation expired, obsolete or inaccurate in any respect (including any specific documentation
required below in this Section 2.17(e)), deliver promptly to Borrower and the Administrative Agent updated
or other appropriate documentation (including any new documentation reasonably requested by the
applicable withholding agent) or promptly notify Borrower and the Administrative Agent in writing of its
legal ineligibility to do so. Unless the applicable withholding agent has received forms or other documents
satisfactory to it indicating that payments under any Loan Document to or for a Lender are not subject to
withholding tax or are subject to Tax at a rate reduced by an applicable tax treaty, Borrower, Administrative
Agent or other applicable withholding agent shall withhold amounts required to be withheld by applicable
law from such payments at the applicable statutory rate.

                Without limiting the generality of the foregoing:

                        (i)      Each Lender that is a United States person (as defined in Section
        7701(a)(30) of the Code) shall deliver to Borrower and the Administrative Agent on or before the
        date on which it becomes a party to this Agreement (and from time to time thereafter upon the
        reasonable request of the Borrower or the Administrative Agent) two properly completed and duly
        signed copies of Internal Revenue Service Form W-9 (or any successor form) certifying that such
        Lender is exempt from U.S. federal backup withholding tax.

                         (ii)   Each Lender that is not a United States person (as defined in Section
        7701(a)(30) of the Code) (such Lender, a “Foreign Lender”) shall deliver (to the extent it is legally
        entitled to do so) to Borrower and the Administrative Agent on or before the date on which it
        becomes a party to this Agreement (and from time to time thereafter upon the reasonable request
        of Borrower or the Administrative Agent) whichever of the following is applicable:

                         (A)      in the case of a Foreign Lender claiming the benefits of an income tax
                treaty to which the United States is a party (x) with respect to payments of interest under
                any Loan Document, executed copies of IRS Form W-8BEN or IRS Form W-8BEN-E
                establishing an exemption from, or reduction of, U.S. federal withholding Tax pursuant to
                the “interest” article of such tax treaty and (y) with respect to any other applicable payments
                under any Loan Document, IRS Form W-8BEN or IRS Form W-8BEN-E establishing an
                exemption from, or reduction of, U.S. federal withholding Tax pursuant to the “business
                profits” or “other income” article of such tax treaty,

                        (B)    two properly completed and duly signed copies of Internal Revenue
                Service Form W-8ECI (or any successor forms),

                         (C)     in the case of a Foreign Lender claiming the benefits of the exemption for
                portfolio interest under Section 871(h) or Section 881(c) of the Code, (x) two properly
                completed and duly signed certificates, substantially in the form of Exhibit C-1, C-2, C-3
                or C-4, as applicable, to the effect that such Foreign Lender is not a “bank” within the
                meaning of Section 881(c)(3)(A) of the Code, a “10 percent shareholder” of such Borrower
                within the meaning of Section 871(h)(3)(B) of the Code, or a “controlled foreign
                corporation” related to such Borrower as described in Section 881(c)(3)(C) of the Code
                (any such certificate a “United States Tax Compliance Certificate”), and (y) two properly
                completed and duly signed copies of Internal Revenue Service Form W-8BEN or W-
                8BEN-E, as applicable (or any successor forms),

                         (D)     to the extent a Foreign Lender is not the beneficial owner (for example,


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                where the Lender is a partnership or a participating Lender), two properly completed and
                duly signed copies of Internal Revenue Service Form W-8IMY (or any successor forms)
                of the Foreign Lender, accompanied by a Form W-8ECI, W-8BEN or W-8BEN-E, United
                States Tax Compliance Certificate, Form W-9, Form W-8IMY (or other successor forms)
                or any other required information from each beneficial owner, as applicable (provided that,
                if the Lender is a partnership and one or more direct or indirect partners are claiming the
                portfolio interest exemption, the United States Tax Compliance Certificate may be
                provided by such Lender on behalf of such direct or indirect partner(s)), or

                         (E)    any other form prescribed by applicable Requirements of Law as a basis
                for claiming exemption from or a reduction in U.S. federal withholding tax duly completed
                together with such supplementary documentation as may be prescribed by applicable
                Requirements of Law to permit Borrower and the Administrative Agent to determine the
                withholding or deduction required to be made.

                         (iii)   If a payment made to any Lender under any Loan Document would be
        subject to U.S. federal withholding tax imposed by FATCA if such Lender were to fail to comply
        with the applicable reporting requirements of FATCA (including those contained in Section
        1471(b) or 1472(b) of the Code, as applicable), such Lender shall deliver to the Borrower and the
        Administrative Agent at the time or times prescribed by law and at such time or times reasonably
        requested by the Borrower or the Administrative Agent such documentation prescribed by
        applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such
        additional documentation reasonably requested by the Borrower or the Administrative Agent as
        may be necessary for the Borrower and the Administrative Agent to comply with their obligations
        under FATCA and to determine whether such Lender has or has not complied with such Lender’s
        obligations under FATCA and to determine the amount, if any, to deduct and withhold from such
        payment. Solely for purposes of this clause (iii), “FATCA” shall include any amendments made to
        FATCA after the date of this Agreement.

                 On or prior to the date on which the Administrative Agent becomes the Administrative
        Agent under this Agreement (and from time to time thereafter upon the reasonable request of
        Borrower or the expiration or lapse of such certification, unless the Administrative Agent promptly
        notifies Borrower in writing of its legal ineligibility to do so), the Administrative Agent will deliver
        to Borrower (i) if the Administrative Agent is a U.S. Person, a properly completed and duly signed
        Internal Revenue Service Form W-9 (or any successor form) certifying that it is not subject to U.S.
        federal backup withholding, or (ii) if the Administrative Agent is not a U.S. Person, a (A) properly
        completed and duly signed Internal Revenue Service Form W-8ECI (or any successor form) with
        respect to any amounts received on its own account and (B) properly completed and duly signed
        Internal Revenue Service Form W-8IMY (or any successor form) with respect to any amounts
        payable under any Loan Document to the Administrative Agent for the account of others, certifying
        that it is a “U.S. branch” and that the payments it receives for the account of others are not
        effectively connected with the conduct of its trade or business within the United States and that it
        is using such form as evidence of its agreement with Borrower to be treated as a U.S. Person (and
        Borrower and the Administrative Agent agree to so treat the Administrative Agent as a U.S. Person
        with respect to such payments as contemplated by Treasury Regulations Section 1.1441-
        1(b)(2)(iv)(A)).

                 (f)      If the Administrative Agent or a Lender determines, in its sole discretion exercised
in good faith, that it has received a refund of Taxes as to which it has been indemnified pursuant to this
Section 2.17 or with respect to which additional amounts have been paid pursuant to this Section 2.17, it
shall pay over such refund to the Borrower (but only to the extent of indemnity payments made, or


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additional amounts paid, under this Section 2.17 with respect to the Taxes giving rise to such refund), net
of all out-of-pocket expenses (including Taxes) of the Administrative Agent or such Lender and without
interest (other than any interest paid by the relevant Governmental Authority with respect to such refund);
provided that the Borrower, upon the request of the Administrative Agent or such Lender, agrees promptly
to repay the amount paid over to the Borrower pursuant to this Section 2.17(f) (plus any penalties, interest
or other charges imposed by the relevant Governmental Authority) to the Administrative Agent or such
Lender in the event the Administrative Agent or such Lender is required to repay such refund to such
Governmental Authority. The Administrative Agent or such Lender, as the case may be, shall, at the
Borrower’s request, provide the Borrower with a copy of any notice of assessment or other evidence of the
requirement to repay such refund received from the relevant taxing authority (provided that the
Administrative Agent or such Lender may delete any information therein that the Administrative Agent or
such Lender deems confidential). Notwithstanding anything to the contrary in this Section 2.17(f), in no
event will the Administrative Agent or any Lender be required to pay any amount to the Borrower pursuant
to this Section 2.17(f) the payment of which would place the Administrative Agent or such Lender in a less
favorable net after-Tax position than the Administrative Agent or such Lender would have been in if the
Tax subject to indemnification and giving rise to such refund had not been deducted, withheld or otherwise
imposed and the indemnification payments or additional amounts with respect to such Tax had never been
paid. Notwithstanding anything to the contrary, this Section 2.17(f) shall not be construed to require the
Administrative Agent or any Lender to make available its Tax returns (or any other information relating to
Taxes which it deems confidential) to any Loan Party or any other person.

                (g)     The agreements in this Section 2.17 shall survive the resignation or replacement
of the Administrative Agent or any assignment of rights by, or the replacement of, a Lender, the termination
of this Agreement and the payment of the Loans and all other amounts payable hereunder.

              (h)       For purposes of this Section 2.17, the term “applicable Requirements of Law”
includes FATCA.

                SECTION 2.18         Payments Generally; Pro Rata Treatment; Sharing of Setoffs.

                 (a)      The Borrower shall make each payment required to be made by it under any Loan
Document (whether of principal, interest or fees, or of amounts payable under Sections 2.15, 2.16 or 2.17,
or otherwise) prior to the time expressly required hereunder or under such other Loan Document for such
payment (or, if no such time is expressly required, prior to 2:00 p.m., New York City time), on the date
when due, in immediately available funds, without condition or deduction for any counterclaim,
recoupment or setoff. Any amounts received after such time on any date may, in the discretion of the
Administrative Agent, be deemed to have been received on the next succeeding Business Day for purposes
of calculating interest thereon. All such payments shall be made to such account as may be specified by the
Administrative Agent, except that payments pursuant to Sections 2.15, 2.16, 2.17 and 9.03 shall be made
directly to the Persons entitled thereto and payments pursuant to other Loan Documents shall be made to
the Persons specified therein. The Administrative Agent shall distribute any such payments received by it
for the account of any other Person to the appropriate recipient promptly following receipt thereof. Except
as otherwise provided herein, if any payment under any Loan Document shall be due on a day that is not a
Business Day, the date for payment shall be extended to the next succeeding Business Day. If any payment
on a SOFR Loan becomes due and payable on a day other than a Business Day, the maturity thereof shall
be extended to the next succeeding Business Day unless the result of such extension would be to extend
such payment into another calendar month, in which event such payment shall be made on the immediately
preceding Business Day. In the case of any payment of principal pursuant to the preceding two sentences,
interest thereon shall be payable at the then applicable rate for the period of such extension. All payments
or prepayments of any Loan shall be made in dollars, all payments of accrued interest payable on a Loan
shall be made in dollars, and all other payments under each Loan Document shall be made in dollars. All


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payments of principal of any of the Roll-Up Term Loans shall be accompanied by accrued and unpaid post-
petition interest thereon.

                 (b)     If at any time insufficient funds are received by and available to the Administrative
Agent to pay fully all amounts of principal, interest and fees then due hereunder, such funds shall be applied
towards payment of interest and fees then due hereunder (first, to the interest and fees with respect to the
New Money Term Loans and second, to the interest and fees with respect to the Roll-Up Term Loans),
ratably among the parties entitled thereto in accordance with the amounts of interest and fees then due to
such parties.

                  (c)     If any Lender shall, by exercising any right of setoff or counterclaim or otherwise,
obtain payment in respect of any principal of or interest on any of its Term Loans resulting in such Lender
receiving payment of a greater proportion of the aggregate amount of its Term Loans and accrued interest
thereon than the proportion received by any other Lender, then the Lender receiving such greater proportion
shall purchase (for cash at face value) participations in the Term Loans to the extent necessary so that the
benefit of all such payments shall be shared by the Lenders ratably in accordance with the aggregate amount
of principal of and accrued interest on their respective Term Loans; provided that (i) if any such
participations are purchased and all or any portion of the payment giving rise thereto is recovered, such
participations shall be rescinded and the purchase price restored to the extent of such recovery, without
interest and (ii) the provisions of this paragraph shall not be construed to apply to (A) any payment made
by the Borrower pursuant to and in accordance with the express terms of this Agreement (including the
application of funds arising from the existence of a Defaulting Lender) or (B) any disproportionate payment
obtained by a Lender of any Class as a result of the extension by Lenders of the maturity date or expiration
date of some but not all Loans or any increase in the Applicable Rate in respect of Loans of Lenders that
have consented to any such extension. The Borrower consents to the foregoing and agrees, to the extent it
may effectively do so under applicable law, that any Lender acquiring a participation pursuant to the
foregoing arrangements may exercise against the Borrower rights of setoff and counterclaim with respect
to such participation as fully as if such Lender were a direct creditor of the Borrower in the amount of such
participation.

                 (d)     Unless the Administrative Agent shall have received notice from the Borrower
prior to the date on which any payment is due to the Administrative Agent for the account of the Lenders
hereunder that the Borrower will not make such payment, the Administrative Agent may assume that the
Borrower has made such payment on such date in accordance herewith and may, in reliance upon such
assumption and in its sole discretion, distribute to the Lenders the amount due. In such event, if the
Borrower has not in fact made such payment, then each of the Lenders severally agrees to repay to the
Administrative Agent forthwith on demand the amount so distributed to such Lender with interest thereon,
for each day from and including the date such amount is distributed to it to but excluding the date of payment
to the Administrative Agent, at the greater of the Federal Funds Effective Rate and a rate determined by the
Administrative Agent in accordance with banking industry rules on interbank compensation.

                  (e)     If any Lender shall fail to make any payment required to be made by it pursuant to
Section 2.06(a) or Section 2.06(b), Section 2.18(d) or Section 9.03(c), then the Administrative Agent may,
in its discretion and in the order determined by the Administrative Agent (notwithstanding any contrary
provision hereof), (i) apply any amounts thereafter received by the Administrative Agent for the account of
such Lender to satisfy such Lender’s obligations under such Section until all such unsatisfied obligations
are fully paid and/or (ii) hold any such amounts in a segregated account as cash collateral for, and to be
applied to, any future funding obligations of such Lender under any such Section.




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                 SECTION 2.19         Mitigation Obligations; Replacement of Lenders.

                  (a)      If any Lender requests compensation under Section 2.15, or if the Borrower is
required to pay any additional amount to any Lender or any Governmental Authority for the account of any
Lender pursuant to Section 2.17 or any event gives rise to the operation of Section 2.23, then such Lender
shall (at the request of the Lead Borrower) use reasonable efforts to designate a different lending office for
funding or booking its Loans hereunder affected by such event, or to assign and delegate its rights and
obligations hereunder to another of its offices, branches or Affiliates, if, in the judgment of such Lender,
such designation or assignment and delegation (i) would eliminate or reduce amounts payable pursuant to
Sections 2.15 or 2.17 or mitigate the applicability of Section 2.23, as the case may be, and (ii) would not
subject such Lender to any unreimbursed cost or expense reasonably deemed by such Lender to be material
and would not be inconsistent with the internal policies of, or otherwise be disadvantageous in any material
economic, legal or regulatory respect to, such Lender.

                 (b)      If (i) any Lender requests compensation under Section 2.15 or gives notice under
Section 2.23, (ii) the Borrower is required to pay any additional amount to any Lender or to any
Governmental Authority for the account of any Lender pursuant to Section 2.17 or (iii) any Lender is a
Defaulting Lender, then the Lead Borrower may, at its sole expense and effort, upon notice to such Lender
and the Administrative Agent, require such Lender to assign and delegate, without recourse (in accordance
with and subject to the restrictions contained in Section 9.04), all its interests, rights and obligations under
this Agreement and the other Loan Documents to an Eligible Assignee that shall assume such obligations
(which assignee may be another Lender, if a Lender accepts such assignment and delegation); provided that
(A) the Lead Borrower shall have received the prior written consent of the Administrative Agent to the
extent such consent would be required under Section 9.04(b) for an assignment of Loans or Commitments,
as applicable, which consents, in each case, shall not unreasonably be withheld or delayed, (C) such Lender
shall have received payment of an amount equal to the outstanding principal of its Loans, accrued but
unpaid interest thereon, accrued but unpaid fees and all other amounts payable to it hereunder from the
assignee (to the extent of such outstanding principal and accrued interest and fees) or the Borrower (in the
case of all other amounts), (B) the Borrower or such assignee shall have paid (unless waived) to the
Administrative Agent the processing and recordation fee specified in Section 9.04(b)(ii) and (D) in the case
of any such assignment resulting from a claim for compensation under Section 2.15, or payments required
to be made pursuant to Section 2.17 or a notice given under Section 2.23, such assignment will result in a
material reduction in such compensation or payments. A Lender shall not be required to make any such
assignment and delegation if, prior thereto, as a result of a waiver by such Lender or otherwise (including
as a result of any action taken by such Lender under paragraph (a) above), the circumstances entitling the
Borrower to require such assignment and delegation cease to apply. Each party hereto agrees that an
assignment required pursuant to this paragraph may be effected pursuant to an Assignment and Assumption
executed by the Lead Borrower, the Administrative Agent and the assignee and that the Lender required to
make such assignment need not be a party thereto.

                 SECTION 2.20         [Reserved].

                 SECTION 2.21         [Reserved].

                 SECTION 2.22         Defaulting Lenders.

                (a)     Adjustments. Notwithstanding anything to the contrary contained in this
Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that Lender is no longer a
Defaulting Lender, to the extent permitted by applicable law:




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                          (i)     Waivers and Amendments. Such Defaulting Lender’s right to approve or
        disapprove any amendment, waiver or consent with respect to this Agreement shall be restricted as
        set forth in Section 9.02.

                         (ii)     Reallocation of Payments. Subject to the last sentence of Section 2.11(f),
        any payment of principal, interest, fees or other amounts received by the Administrative Agent for
        the account of that Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to
        Article VII or otherwise, and including any amounts made available to the Administrative Agent
        by that Defaulting Lender pursuant to Section 9.08), shall be applied at such time or times as may
        be determined by the Administrative Agent as follows: first, to the payment of any amounts owing
        by that Defaulting Lender to the Administrative Agent hereunder; second, as the Borrower may
        request (so long as no Default or Event of Default exists), to the funding of any Loan in respect of
        which that Defaulting Lender has failed to fund its portion thereof as required by this Agreement,
        as determined by the Administrative Agent; third, to the payment of any amounts owing to the
        Lenders as a result of any judgment of a court of competent jurisdiction obtained by any Lender
        against that Defaulting Lender as a result of that Defaulting Lender’s breach of its obligations under
        this Agreement; fourth, so long as no Default or Event of Default exists, to the payment of any
        amounts owing to any Loan Party as a result of any judgment of a court of competent jurisdiction
        obtained by any Loan Party against that Defaulting Lender as a result of that Defaulting Lender’s
        breach of its obligations under this Agreement; and fifth, to that Defaulting Lender or as otherwise
        directed by a court of competent jurisdiction; provided that if such payment is a payment of the
        principal amount of any Loans and such Lender is a Defaulting Lender under clause (a) of the
        definition thereof, such payment shall be applied solely to pay the relevant Loans of the relevant
        non-Defaulting Lenders on a pro rata basis prior to being applied pursuant to this Section 2.22(a)(ii).
        Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that are
        applied (or held) to pay amounts owed by a Defaulting Lender shall be deemed paid to and
        redirected by that Defaulting Lender, and each Lender irrevocably consents hereto.

                 (b)     Defaulting Lender Cure. If the Borrower and the Administrative Agent agree in
writing in their sole discretion that a Defaulting Lender should no longer be deemed to be a Defaulting
Lender, the Administrative Agent will so notify the parties hereto, whereupon as of the effective date
specified in such notice and subject to any conditions set forth therein (which may include arrangements
with respect to any cash collateral), such Lender will, to the extent applicable, purchase that portion of
outstanding Loans of the other Lenders or take such other actions as the Administrative Agent may
determine to be necessary to cause the Loans to be held on a pro rata basis by the Lenders, whereupon that
Lender will cease to be a Defaulting Lender; provided that no adjustments will be made retroactively with
respect to fees accrued or payments made by or on behalf of the Borrower while that Lender was a
Defaulting Lender; and provided further that except to the extent otherwise expressly agreed by the affected
parties, no change hereunder from Defaulting Lender to Lender will constitute a waiver or release of any
claim of any party hereunder arising from that Lender’s having been a Defaulting Lender.

                SECTION 2.23          Illegality.

                 If any Lender determines that any law has made it unlawful, or that any Governmental
Authority has asserted that it is unlawful, for any Lender to make, maintain or fund Loans whose interest
is determined by reference to Adjusted Term SOFR, or to determine or charge interest rates based upon
Adjusted Term SOFR, then, on notice thereof by such Lender to the Lead Borrower through the
Administrative Agent, (i) any obligation of such Lender to make or continue SOFR Loans denominated in
dollars or to convert ABR Loans denominated in dollars to SOFR Loans shall be suspended, and (ii) if such
notice asserts the illegality of such Lender making or maintaining ABR Loans the interest rate on which is
determined by reference to the Adjusted Term SOFR component of the Alternate Base Rate, the interest


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rate on such ABR Loans of such Lender shall be determined by the Administrative Agent without reference
to the Adjusted Term SOFR component of the Alternate Base Rate, in each case until such Lender notifies
the Administrative Agent and the Lead Borrower that the circumstances giving rise to such determination
no longer exist. Upon receipt of such notice, (x) the Borrower shall, upon three (3) Business Days’ notice
from such Lender (with a copy to the Administrative Agent), prepay or, if applicable, convert all SOFR
Loans denominated in dollars of such Lender to ABR Loans (the interest rate on which ABR Loans of such
Lender shall be determined by the Administrative Agent without reference to the Adjusted Term SOFR
component of the Alternate Base Rate), either on the last day of the Interest Period if the Administrative
Agent is advised in writing by such Lender that it may lawfully continue to maintain such SOFR Loans to
such day, or immediately, if the Administrative Agent is advised in writing by such Lender that it may not
lawfully continue to maintain such SOFR Loans, and (y) if such notice asserts the illegality of such Lender
determining or charging interest rates based upon Adjusted Term SOFR, the Administrative Agent shall
during the period of such suspension compute the Alternate Base Rate applicable to such Lender without
reference to the Adjusted Term SOFR component thereof until the Administrative Agent is advised in
writing by such Lender that it is no longer illegal for such Lender to determine or charge interest rates based
upon Adjusted Term SOFR. Each Lender agrees to notify the Administrative Agent and the Lead Borrower
in writing promptly upon becoming aware that it is no longer illegal for such Lender to determine or charge
interest rates based upon Adjusted Term SOFR. Upon any such prepayment or conversion, the Borrower
shall also pay accrued interest on the amount so prepaid or converted.

                                                ARTICLE III

                               REPRESENTATIONS AND WARRANTIES

                 Each Loan Party represents and warrants to the Lenders and each Agent that:

                 SECTION 3.01         Organization; Powers.

                  Each Loan Party is a Chapter 11 Debtor and is a debtor in the Chapter 11 Cases. Each
Loan Party and each of their respective Subsidiaries (a) is duly organized or incorporated, validly existing
and in good standing (to the extent such concept exists in the relevant jurisdictions) under the laws of the
jurisdiction of its organization or incorporation, (b) subject to the entry of the Orders, has the corporate or
other organizational power and authority to carry on its business as now conducted and to execute, deliver
and perform its obligations under each Loan Document to which it is a party and (c) is qualified to do
business in, and is in good standing (to the extent such concept exists in the relevant jurisdictions) in, every
jurisdiction where such qualification is required, except, with respect to clause (a) above (other than with
respect to the Borrower), clause (b) above (other than with respect to the Borrower) and clause (c) above,
where the failure to do so, individually or in the aggregate, would not reasonably be expected to result in a
Material Adverse Effect.

                 SECTION 3.02         Authorization; Enforceability.

                 Subject to the entry of the Orders, this Agreement has been duly authorized, executed and
delivered by each Loan Party and constitutes, and each other Loan Document to which any Loan Party is
to be a party, when executed and delivered by such Loan Party, will constitute, a legal, valid and binding
obligation of such Loan Party, as the case may be, enforceable against it in accordance with its terms,
subject to (i) applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting
creditors’ rights generally and (ii) general principles of equity, regardless of whether considered in a
proceeding in equity or at law, and similar concepts under applicable law.




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                  SECTION 3.03         Governmental Approvals; No Conflicts.

                   Subject to the entry of the Orders, the execution, delivery and performance by any Loan
Party of this Agreement or any other Loan Document (a) does not require any consent or approval of,
registration or filing with, or any other action by, any Governmental Authority, except such as have been
obtained or made and are in full force and effect and except filings necessary to perfect Liens created under
the Loan Documents, (b) will not violate (i) the Organizational Documents of any Loan Party, or (ii) any
Requirements of Law applicable to any Loan Party, (c) will not violate or result in a default under any
indenture or other agreement or instrument binding upon the Loan Parties or any of their respective
Subsidiaries or their respective assets, or give rise to a right thereunder to require any payment, repurchase
or redemption to be made by the Loan Parties or any of their respective Subsidiaries, or give rise to a right
of, or result in, termination, cancellation or acceleration of any obligation thereunder and (d) will not result
in the creation or imposition of any Lien on any asset of the Loan Parties or any of their respective
Subsidiaries, except Liens created under the Loan Documents or permitted by Section 6.02, except (in the
case of each of clauses (a), (b)(ii), (c) and (d)) to the extent that the failure to obtain or make such consent,
approval, registration, filing or action, or such violation, default or right, or imposition of Lien, as the case
may be, individually or in the aggregate, would not reasonably be expected to have a Material Adverse
Effect.

                  SECTION 3.04         Financial Condition; No Material Adverse Effect.

                (a)      The Audited Financial Statements (i) were prepared in accordance with GAAP
consistently applied throughout the period covered thereby, except as otherwise expressly noted therein,
including the notes thereto and (ii) fairly present in all material respects the financial condition of the
Persons covered thereby as of the respective dates thereof and their results of operations for the period
covered thereby in accordance with GAAP consistently applied throughout the period covered thereby,
except as otherwise expressly noted therein, including the notes thereto.

                  (b)     The Unaudited Financial Statements (i) were prepared in accordance with GAAP
consistently applied throughout the period covered thereby, except as otherwise expressly noted therein,
and (ii) fairly present in all material respects the financial condition of the Persons covered thereby as of
the respective dates thereof and their results of operations for the period covered thereby, subject, in the
case of clauses (i) and (ii), to the absence of footnotes and to normal year-end audit adjustments.

                  (c)     Since the date of the Restructuring Support Agreement, there has been no Material
Adverse Effect.

                  SECTION 3.05         Properties.

                   Subject to the entry of the Orders, each of the Loan Parties and their respective Subsidiaries
has good title to, or valid interests in, all its real and personal property material to its business, if any (i)
free and clear of all Liens except for Liens permitted by Section 6.02 and (ii) except for minor defects in
title that do not interfere with its ability to conduct its business as currently conducted or as proposed to be
conducted or to utilize such properties for their intended purposes, in each case, except where the failure to
do so would not reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

                  SECTION 3.06         Litigation and Environmental Matters.

                (a)      Except as set forth in Schedule 3.06 and the commencement of the Chapter 11
Cases, there are no actions, suits or proceedings by or before any arbitrator or Governmental Authority
pending against or, to the knowledge of any Loan Party, threatened in writing against or affecting such



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Loan Party or any of their respective Subsidiaries that could reasonably be expected, individually or in the
aggregate, to result in a Material Adverse Effect.

                  (b)      Except as set forth in Schedule 3.06, and except with respect to any other matters
that, individually or in the aggregate, would not reasonably be expected to result in a Material Adverse
Effect, none of the Loan Parties or any of their respective Subsidiaries (i) has failed to comply with any
Environmental Law or to obtain, maintain or comply with any permit, license or other approval required
under any Environmental Law, (ii) has, to the knowledge of such Loan Party, become subject to any
Environmental Liability, (iii) has received written notice of any claim with respect to any Environmental
Liability or (iv) has, to the knowledge of such Loan Party, any basis to reasonably expect that such Loan
Party or any of its Subsidiaries will become subject to any Environmental Liability.

                SECTION 3.07         Compliance with Laws.

                Each of the Loan Parties and their respective Subsidiaries is in compliance with all
Requirements of Law applicable to it or its property, except where the failure to do so, individually or in
the aggregate, would not reasonably be expected to result in a Material Adverse Effect.

                SECTION 3.08         Investment Company Status.

              None of the Loan Parties is required to register as an “investment company” under the
Investment Company Act of 1940, as amended from time to time.

                SECTION 3.09         Taxes.

                 Except as would not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect, the Loan Parties and each of their respective Subsidiaries (a) have timely filed or
caused to be filed all Tax returns and reports required to have been filed and (b) have paid or caused to be
paid all Taxes levied or imposed on their properties, income or assets otherwise due and payable (whether
or not shown on a Tax return), except any Taxes that are being contested in good faith by appropriate
proceedings, provided that each Loan Party, as the case may be, has set aside on its books adequate reserves
therefor in accordance with GAAP. There is no proposed Tax assessment, deficiency or other claim against
any Loan Party or any of their respective Subsidiaries that would reasonably be expected to, individually
or in the aggregate, have a Material Adverse Effect.

                SECTION 3.10         ERISA; Labor Matters.

                (a)     Except as would not, individually or in the aggregate, reasonably be expected to
result in a Material Adverse Effect, each Plan is in compliance with the applicable provisions of ERISA,
the Code and other federal or state laws.

                 (b)     Except as would not reasonably be expected, individually or in the aggregate, to
result in a Material Adverse Effect, (i) no ERISA Event has occurred during the six year period prior to the
date on which this representation is made or deemed made or is reasonably expected to occur, and (ii)
neither any Loan Party nor any ERISA Affiliate has engaged in a transaction that could reasonably be
expected to be subject to Section 4069 or 4212(c) of ERISA.

                 (c)     Except as would not reasonably be expected, individually or in the aggregate to
result in a Material Adverse Effect, (i) each employee benefit plan (as defined in Section 3(2) of ERISA)
that is intended to be a qualified plan under Section 401(a) of the Code has received a favorable
determination letter from the Internal Revenue Service to the effect that the form of such plan is qualified



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under Section 401(a) of the Code and the trust related thereto has been determined by the Internal Revenue
Service to be exempt from federal income tax under Section 501(a) of the Code, or an application for such
a letter is currently being processed by the Internal Revenue Service; (ii) to the knowledge of the Loan
Parties, nothing has occurred that would prevent or cause the loss of such tax-qualified status; and (iii) there
are no pending or, to the knowledge of the Loan Parties, threatened in writing claims, actions or lawsuits,
or action by any Governmental Authority, with respect to any such plan.

                  (d)     Except as would not reasonably be expected to have a Material Adverse Effect, (i)
none of the Loan Parties or their respective Subsidiaries has experienced any labor strike or work stoppage
or other collective labor dispute by employees due to labor disagreements and (ii) each of the Loan Parties
and their respective Subsidiaries is in compliance in all respects with any collective bargaining agreement
to which it is a party.

                 SECTION 3.11          Disclosure.

                  (a)    The written reports, financial statements, certificates or other written factual
information (other than projections and information of a general economic or industry specific nature)
furnished by or on behalf of any Loan Party to the Administrative Agent or any Lender in connection with
the negotiation of any Loan Document or delivered thereunder (as modified or supplemented by other
information so furnished), when taken as a whole, do not contain any untrue statement of a material fact or
omit to state any material fact necessary to make the statements therein, in the light of the circumstances
under which they were made, not materially misleading; provided that, with respect to projected and pro
forma financial information, the Loan Parties represent only that such information, when taken as a whole,
was prepared in good faith based upon assumptions believed by it to be reasonable at the time delivered, it
being understood that (i) any such projected financial information is merely a prediction as to future events
and is not to be viewed as fact, (ii) such projected financial information is subject to significant uncertainties
and contingencies, many of which are beyond the control of the Loan Parties or any of their respective
Subsidiaries and (iii) no assurance can be given that any particular projections will be realized and that
actual results during the period or periods covered by any such projections may differ significantly from
the projected results and such differences may be material.

                  (b)    As of the Effective Date, to the best knowledge of the Loan Parties, the information
included in the Beneficial Ownership Certification (if any) provided pursuant to Section 4.01(h) is true and
correct in all respects.

                 SECTION 3.12          Subsidiaries.

                 Schedule 3.12 sets forth the name of, and the ownership interest of the Loan Parties and
each of their subsidiaries in, each subsidiary of the Loan Parties as of the Effective Date.

                 SECTION 3.13          Intellectual Property; Licenses, Etc.

                Except as would not reasonably be expected to have a Material Adverse Effect, to the
knowledge of the Loan Parties, each of the Loan Parties and their respective Subsidiaries owns, licenses or
possesses the right to use all Intellectual Property that is reasonably necessary for the operation of its
business substantially as currently conducted. To the knowledge of the Loan Parties, no Intellectual
Property owned by the Loan Parties or any of their respective Subsidiaries and used in the operation of its
business as currently conducted infringes upon the Intellectual Property of any Person except for such
infringements that would not reasonably be expected to have, individually or in the aggregate, a Material
Adverse Effect. No claim or litigation regarding any of the Intellectual Property is pending or, to the
knowledge of the Loan Parties, threatened in writing against the Loan Parties or any of their respective



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Subsidiaries, which, individually or in the aggregate, would reasonably be expected to have a Material
Adverse Effect.

                 SECTION 3.14          [Reserved].

                 SECTION 3.15          Federal Reserve Regulations.

                 None of the Loan Parties or any of their respective Subsidiaries is engaged or will engage,
principally or as one of its important activities, in the business of purchasing or carrying margin stock
(within the meaning of Regulation U of the Board of Governors), or extending credit for the purpose of
purchasing or carrying margin stock. No part of the proceeds of the Loans will be used, directly or indirectly,
to purchase or carry any margin stock or to refinance any Indebtedness originally incurred for such purpose,
or for any other purpose that entails a violation (including on the part of any Lender) of the provisions of
Regulations U or X of the Board of Governors.

                 SECTION 3.16          Use of Proceeds.

                Subject to the Orders and the other Loan Documents, proceeds of the New Money Term
Loans shall be used only for the following purposes: (a) to make adequate protection payments as required
in the Loan Documents and the Orders, (b) to pay the administrative costs of the Chapter 11 Cases
(including professional fees and expenses) and the Transactions, (c) to fund the Carve-Out and to make
payments under the Carve-Out in accordance with the terms of the Orders, and (d) for general corporate
purposes, in each case, solely to the extent in accordance with and subject to the Loan Documents and the
Orders (including the Approved Budget, subject to the Permitted Variances under Section 6.18).

                 SECTION 3.17          Anti-Corruption Laws and Sanctions.

             (a)          Each Loan Party and each of their respective Subsidiaries will not, directly or to
their knowledge indirectly, use the proceeds of the Loans to fund any activity or business with any Person,
or in any country or territory that, at the time of such funding, is the subject of Sanctions, or in violation of
any Anti-Corruption Laws, the USA PATRIOT Act, any sanctions administered by the Office of Foreign
Assets Control of the U.S. Department of Treasury and any successor Governmental Authority, or other
applicable anti-money laundering or anti-terrorism laws.

             (b)          Each Loan Party and each of their respective Subsidiaries and, to the knowledge
of the Loan Parties, the officers, directors, employees and agents of the Loan Parties and their Subsidiaries
are in compliance in all material respects with applicable Anti-Corruption Laws and applicable Sanctions,
the USA PATRIOT Act, and other applicable anti-money laundering and anti-terrorism laws.

              (c)         (i) None of the Loan Parties or any of their respective Subsidiaries and (ii) to the
knowledge of the Loan Parties or any of their Subsidiaries, none of their respective directors, officers,
employees and agents that will act in any capacity in connection with or benefit from the credit facility
established hereby, is a Sanctioned Person.

             (d)         The Loan Parties have implemented and maintains in effect policies and
procedures reasonably designed to ensure compliance in all material respects by the Loan Parties and their
respective Subsidiaries with applicable Anti-Corruption Laws and applicable Sanctions.




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                SECTION 3.18          Security Documents.

               (a)          The Security Documents, after giving effect to the Orders, are effective to create
in favor of the Collateral Agent for the benefit of the Secured Parties (other than the Holdco Loan Parties),
a legal, valid, enforceable, non-avoidable and automatically and fully perfected security interest in the
Collateral described therein and pledged under the Loan Documents and the Orders, in each case, having
the priorities set forth in the Orders and subject only to the Carve-Out and other exceptions set forth in the
Orders. Upon entry of the Orders, the Collateral Agent shall have a legal, valid, enforceable, non-avoidable
and automatically and fully perfected security interest in all right, title and interest in the Collateral, as
security for the Secured Obligations, having the priorities set forth in the Orders and subject only to the
Carve-Out and other exceptions set forth in the Orders, in each case, for the benefit of the Secured Parties.

              (b)         Pursuant to, and except as expressly otherwise set forth in, the Orders, no filing
or other action will be necessary under applicable U.S. federal law to perfect or protect such Liens and
security interests; provided that the Loan Parties, upon the reasonable request of the Lenders, shall make
such filings or take such other actions as necessary to perfect or protect such Liens and security interests.

              (c)         Pursuant to and to the extent provided in the Orders, the Secured Obligations of
the Loan Parties under this Agreement will constitute allowed superpriority administrative expense claims
in the Chapter 11 Cases under section 364(c) of the Bankruptcy Code, having priority over all administrative
expense claims and unsecured claims against such Loan Parties now existing or hereafter arising, of any
kind whatsoever, including, without limitation, all administrative expense claims of the kind specified in
sections 503(b) and 507(b) of the Bankruptcy Code on a joint and several basis and all superpriority
administrative expense claims granted to any other Person, subject only to the Carve-Out and other
exceptions set forth in the Orders, which claims shall have recourse to all of the Loan Parties’ assets.

                SECTION 3.19          Insurance.

                 Each Loan Party and each of their respective Subsidiaries maintain, with insurance
companies that the Lead Borrower believes (in the good faith judgment of the management of the Lead
Borrower) were financially sound and responsible at the time the relevant coverage was last placed or
renewed, insurance in at least such amounts (after giving effect to any self-insurance which the Lead
Borrower believes (in the good faith judgment of management of the Lead Borrower) is reasonable and
prudent in light of the size and nature of its business) and against at least such risks (and with such risk
retentions) as the Lead Borrower believes (in the good faith judgment or the management of the Lead
Borrower) are reasonable and prudent in light of the size and nature of its business.

                SECTION 3.20          Franchise Agreements.

            (a)        Schedule 3.20 sets forth a complete and accurate list as of the Effective Date of all
Franchise Agreements to which any Loan Party or any of their respective Subsidiaries is a party.

               (b)        Except as set forth on Schedule 3.20, to the knowledge of the Loan Parties, none
of the Franchise Agreements contains any grant of exclusive rights to a territory designated therein which
conflicts, or potentially conflicts, with any grant of exclusive rights to a territory granted under any other
Franchise Agreement. Except as set forth in Schedule 3.20, no current franchisee under a Franchise
Agreement has given written notice to a Loan Party’s management during the six (6) month period before
the date of the Restructuring Support Agreement of its intention to rescind or terminate (with or without
cause) any Franchise Agreement.

              (c)        Except as could not reasonably be expected to have a Material Adverse Effect, (i)



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each Loan Party has prepared and maintained each of its Franchise Disclosure Documents, in an accurate
and correct manner, (ii) each Loan Party has filed all required Franchise Disclosure Documents required
by law in all states and jurisdictions requiring registration and approval prior to any offers or sales of
franchises in such states, and (iii) each Loan Party has filed all material changes, amendments, renewals
thereto on a timely and accurate basis as required under, and required by applicable Requirements of Law.
Except as could not reasonably be expected to have a Material Adverse Effect, each Loan Party’s Franchise
Disclosure Documents were prepared in compliance with applicable Franchise Laws and disclosure
guidelines, and there were no misrepresentations or omissions of information in any Franchise Disclosure
Documents at the time such Loan Party was using such Franchise Disclosure Documents. Each Franchise
Agreement complies, and the offer and sale of such Franchise Agreement complied, in each case at the time
such offer and sale was made, with all Franchise Laws, except to the extent of any non-compliance
therewith which could not reasonably be expected to have a Material Adverse Effect.

                 SECTION 3.21         Budget; Variance Report. The Initial Budget, each Approved Budget
and each Updated Budget is based upon good faith estimates and assumptions believed by management of
the Loan Parties to be reasonable at the time made, in light of the circumstances under which they were
made, it being recognized by the Agents and the Lenders that such financial information as it relates to
future events is not to be viewed as fact, such financial information as it relates to future events are subject
to uncertainties and contingencies, many of which are beyond the Loan Parties’ control, no assurance can
be given that such financial information as it relates to future events will be realized and that actual results
during the period or periods covered by such financial information may differ from the projected results set
forth therein and such differences may be material. A true and complete copy of the Initial Budget, as
agreed to with the Required Lenders as of the Effective Date, is attached as Annex A. From and after the
delivery of any Variance Report in accordance with this Agreement, such Variance Report shall be true,
complete and correct in all material respects and fairly represent in all material respects the results of
operations of the Loan Parties and their respective Subsidiaries for the period covered thereby and in the
detail to be covered thereby.

                  SECTION 3.22         Orders. The Interim DIP Order is in full force and effect and has not
been vacated, reversed or rescinded or, without the prior written consent of the Administrative Agent and
the Required Lenders, amended or modified and no appeal of such Interim DIP Order has been timely filed
or, if timely filed, no stay pending such appeal is currently effective. After entry of the Final DIP Order,
the Final DIP Order is in full force and effect and has not been vacated, reversed or rescinded or, without
the prior written consent of the Administrative Agent and the Required Lenders, amended or modified and
no appeal of such Final DIP Order has been timely filed or, if timely filed, no stay pending such appeal is
currently effective.

                 SECTION 3.23         Bankruptcy Matters.

              (a)        The Chapter 11 Cases were validly commenced on the Petition Date, and (x)
proper notice under the circumstances of the motion seeking approval of the Loan Documents and entry of
the Orders was given, and (y) the hearing for the approval of the Interim DIP Order has been held by the
Bankruptcy Court.

              (b)          After the entry of the Orders, and subject to the terms of the Orders, the Secured
Obligations will constitute a DIP Superpriority Claim and the liens securing the Secured Obligations shall
be senior secured, valid, enforceable, and automatically and properly perfected priming liens on the
Collateral, having the priorities set forth in the Orders, subject in all respects to the Carve-Out and other
exceptions set forth in the Orders and the Loan Documents.




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                                               ARTICLE IV
                                               CONDITIONS

                 SECTION 4.01         Effective Date.

                  The obligation of each Lender to make Loans hereunder on the Effective Date shall be
subject to satisfaction of the following conditions (or waiver thereof in accordance with Section 9.02):

                  (a)    The Administrative Agent (or its counsel) shall have received from each party
hereto either (i) a counterpart of this Agreement signed on behalf of such party or (ii) written evidence
satisfactory to the Administrative Agent (which may include facsimile or other electronic transmission of
a signed counterpart of this Agreement) that such party has signed a counterpart of this Agreement.

                 (b)      The Administrative Agent shall have received (i) a certificate of each Loan Party,
dated the Effective Date, with appropriate insertions, or otherwise in form and substance reasonably
satisfactory to the Administrative Agent, executed by any Responsible Officer of such Loan Party, and
including or attaching the documents referred to in paragraph (c) of this Section 4.01 or certifying as to no
change as to documentation previously delivered by each Loan Party to the Prepetition Senior Priority
Secured Parties, and (ii) a certificate of the Loan Parties, dated the Effective Date, substantially in the form
of Exhibit B, executed by any Responsible Officer of each Loan Party.

                  (c)      The Administrative Agent shall have received a copy of (i) each Organizational
Document of each Loan Party certified, to the extent applicable, as of a recent date by the applicable
Governmental Authority, (ii) with respect to each Loan Party executing the Loan Documents, an
incumbency certificate identifying the name and title and bearing the signatures of the authorized
signatories of such Loan Party, (iii) copies of resolutions of the Board of Directors of each Loan Party
approving and authorizing the execution, delivery and performance of Loan Documents to which it is a
party, certified as of the Effective Date by its secretary, an assistant secretary or a Responsible Officer as
being in full force and effect without modification or amendment and (iv) a good standing certificate (to
the extent such concept exists) from the applicable Governmental Authority of each Loan Party’s
jurisdiction of incorporation, organization or formation.

                  (d)    All first day motions filed by the Loan Parties on the Petition Date and related
orders entered by the Bankruptcy Court in the Chapter 11 Cases (including any motions related to cash
management or any critical vendor or supplier motions) shall be in form and substance reasonably
satisfactory to the Required Lenders and subject to Section 3.02 of the Restructuring Support Agreement.

                 (e)      The Bankruptcy Court shall have entered the Interim DIP Order no later than five
(5) days after the Petition Date (or such longer period agreed to by the Required Lenders), which Interim
DIP Order shall be in full force and effect and shall not have been reversed, vacated or stayed, and shall not
have been amended, supplemented or otherwise modified without the prior written consent of the Required
Lenders.

                 (f)     The Administrative Agent and the Required Lenders shall have received the Initial
Budget.

                 (g)      The Loan Parties shall have obtained a consent from the Prepetition ABL Agent
and Prepetition ABL Secured Parties agreeing to the use of cash collateral and the granting of adequate
protection to the Prepetition Secured Parties on an interim basis in accordance with the terms of the Interim
DIP Order, which consent shall be in form and substance acceptable to the Administrative Agent and the
Required Lenders, in each case, solely to the extent required, and subject to the terms and conditions under



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the Existing ABL Intercreditor Agreement; provided that if the Bankruptcy Court has entered into an order
permitting the non-consensual use of cash collateral and the granting of adequate protection to the
Prepetition Secured Parties on an interim basis then the condition set forth in this clause (g) shall be deemed
satisfied.

                  (h)     The representations and warranties of each Loan Party set forth in the Loan
Documents shall be true and correct in all material respects on and as of the Effective Date; provided that,
in each case, to the extent that such representations and warranties specifically refer to an earlier date, they
shall be true and correct in all material respects as of such earlier date; provided further that, in each case,
any representation and warranty that is qualified as to “materiality,” “Material Adverse Effect” or similar
language shall be true and correct (after giving effect to any qualification therein) in all respects on the
Effective or on such earlier date, as the case may be.

                (i)    At the time of and immediately after giving effect to the borrowing on the Effective
Date, no Event of Default shall have occurred and be continuing.

                 (j)     The Restructuring Support Agreement shall be in full force and effect, and no
breach, default or event of default shall have occurred or be continuing thereunder except to the extent such
default or event of default has been cured or waived in accordance with the terms of the Restructuring
Support Agreement.

              (k)      The Administrative Agent shall have received a fully executed and delivered
Borrowing Request in accordance with the requirements hereof.

                 (l)     The Administrative Agent and the Lenders shall have received all other premiums,
payments, fees, costs and expenses, including, without limitation, (i) all fees required to be paid on the
Effective Date, including the Commitment Premium, DIP Backstop Premium (each of which shall have
been paid in accordance with Section 2.09) and the fees pursuant to the Administrative Agent Fee Letter,
and (ii) the reasonable and documented fees and expenses of the Lender Professionals and other counsel,
financial advisors and other professionals of the Lenders and Administrative Agent due on or prior to the
Effective Date (whether incurred before or after the Petition Date but only until the Effective Date), in each
case, to the extent earned, due and payable, and invoiced no later than one (1) Business Day prior to the
Effective Date.

                   (m)     (i) The Administrative Agent shall have received at least three (3) Business Days
before the Effective Date all documentation and other information about the Loan Parties that the
Administrative Agent reasonably determines is required by United States regulatory authorities under
applicable “know your customer” and anti-money-laundering rules and regulations, including the USA
PATRIOT Act and (ii) if any Loan Party qualifies as a “legal entity customer” under the Beneficial
Ownership Regulation, the Administrative Agent and each initial Lender that requests a Beneficial
Ownership Certification will have received, at least one (1) Business Day prior to the Effective Date, a
Beneficial Ownership Certification in relation to such Loan Party, in each case of clauses (i) and (ii), to the
extent that the Administrative Agent has reasonably requested such items in writing delivered to the Loan
Parties at least ten (10) Business Days prior to the Effective Date.

               (n)      The Effective Date shall have occurred on or before the date that is one (1)
Business Day after the entry of the Interim DIP Order unless the Required Lenders consent to a later date.




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                 SECTION 4.02          Each Credit Event after the Effective Date.

                The obligation of each Lender to make a Loan on the occasion of any Borrowing following
the Effective Date is subject to receipt of the request therefor in accordance herewith and to the satisfaction
of the following conditions:

                 (a)      The Bankruptcy Court shall have entered the Final DIP Order no later than forty-
five (45) days after the Petition Date, which shall be in full force and effect and shall not have been reversed,
vacated or stayed, and shall not have been amended, supplemented or otherwise modified without the prior
written consent of the Required Lenders.

                  (b)      The Collateral Agent, for the benefit of the Secured Parties, shall have valid,
binding, enforceable, non-avoidable, and automatically and fully and perfected Liens on, and security
interest in, the Collateral, in each case, having the priorities set forth in the Interim DIP Order.

              (c)      The Administrative Agent shall have received a fully executed and delivered
Borrowing Request in accordance with the requirements hereof.

                (d)     The Restructuring Support Agreement shall be in full force and effect, and no
breach, default or event of default shall have occurred or be continuing thereunder except to the extent
waived or cured in accordance with the terms thereof.

                  (e)     In the case of any Borrowing, the representations and warranties of each Loan
Party set forth in the Loan Documents shall be true and correct in all material respects on and as of the date
of such Borrowing; provided that, in each case, to the extent that such representations and warranties
specifically refer to an earlier date, they shall be true and correct in all material respects as of such earlier
date; provided further that, in each case, any representation and warranty that is qualified as to “materiality,”
“Material Adverse Effect” or similar language shall be true and correct (after giving effect to any
qualification therein) in all respects on the date of such credit extension or on such earlier date, as the case
may be.

                (f)      At the time of and immediately after giving effect to such Borrowing, no Default
or Event of Default shall have occurred and be continuing.

Each Borrowing (provided that a conversion or a continuation of a Borrowing shall not constitute a
“Borrowing” for purposes of this Section 4.02) shall be deemed to constitute a representation and warranty
by the Loan Parties on the date thereof as to the matters specified in paragraphs (e) and (f) of this Section
4.02.

                                                 ARTICLE V

                                       AFFIRMATIVE COVENANTS

                 From and after the Effective Date and until the Commitments shall have expired or been
terminated, the principal of and interest on each Loan and all fees, expenses and other amounts (other than
contingent amounts not yet due) payable under any Loan Document shall have been paid in full, each Loan
Party covenants and agrees with the Lenders that:




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                 SECTION 5.01           Financial Statements and Other Information.

                The Loan Parties and their respective Subsidiaries will furnish to the Administrative Agent,
on behalf of each Lender:

                 (a)     (i) on or before the date that is one hundred and twenty (120) days after the end of
each fiscal year of Topco, commencing with the fiscal year of Topco ended on or about December 31, 2024,
the audited consolidated balance sheet and audited consolidated statements of operations and
comprehensive income, shareholders’ equity and cash flows of Topco and its Subsidiaries as of the end of
and for such year, and related notes thereto, setting forth in each case, in comparative form the figures for
the previous fiscal year, all reported on by BDO, Deloitte or other independent public accountants of
recognized national standing to the effect that such consolidated financial statements present fairly in all
material respects the financial condition as of the end of and for such year and results of operations and
cash flows of Topco and such Subsidiaries on a consolidated and consolidating basis in accordance with
GAAP consistently applied and (ii) management’s discussion and analysis of the important operational and
financial developments during such fiscal year;

                 (b)      (i) on or before the date that is 30 days after the end of each of the first three fiscal
quarters of each fiscal year of Topco, commencing with the first fiscal quarter of Topco ended after the
Effective Date, the unaudited consolidated balance sheet and unaudited consolidated statements of
operations and comprehensive income, shareholders’ equity and cash flows of Topco and its Subsidiaries
as of the end of and for such fiscal quarter and the then elapsed portion of the fiscal year, setting forth in
each case, in comparative form the figures for the corresponding period or periods of (or, in the case of the
balance sheet, as of the end of) the previous fiscal year, all certified by a Financial Officer as presenting
fairly in all material respects the financial condition as of the end of and for such fiscal quarter and such
portion of the fiscal year and results of operations and cash flows of Topco and its Subsidiaries on a
consolidated and consolidating basis in accordance with GAAP consistently applied, subject to normal
year-end audit adjustments and the absence of footnotes and (ii) management’s discussion and analysis of
the important operational and financial developments during such fiscal quarter;

                 (c)      on or before the date that is 30 days after the last day of each calendar month of
Topco, the unaudited consolidated balance sheet and unaudited consolidated statements of operations and
comprehensive income, shareholders’ equity and cash flows of Topco and its Subsidiaries as of the end of
and for such calendar month, including an income statement for such calendar month, balance sheet as of
the end of such month and a cash flow statement for such month; provided, that with respect to any month
that is a year-end month, the Lead Borrower will provide preliminary financial statements thirty (30) days
respectively after such year-end and final financial statements within ninety (90) calendar days, respectively,
of year-end;

                (d)     not later than ten (10) Business Days of any delivery of financial statements under
paragraph (a) above, a reasonably detailed annual budget for the Loan Parties and their respective
Subsidiaries on a consolidated basis, in a form customarily prepared by the Lead Borrower or otherwise as
may be reasonably agreed between the Lead Borrower and the Administrative Agent (it being agreed that
such annual budget shall not be provided to Public Lenders);

                 (e)      [reserved];

                 (f)      [reserved]; and

                (g)    promptly following any request therefor, such other information regarding the
operations, business affairs and financial condition of the Loan Parties or any of their respective


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Subsidiaries, or compliance with the terms of any Loan Document, as the Administrative Agent on its own
behalf or on behalf of any Lender may reasonably request in writing.

                 Notwithstanding the foregoing, the obligations in paragraphs (a), (b) and (c) of this
Section 5.01 may be satisfied with respect to financial information of the Loan Parties and their respective
Subsidiaries by furnishing the Form 10-K or 10-Q (or the equivalent), as applicable, of the Loan Parties (or
a parent company thereof) filed with the SEC within the applicable time periods required by applicable law
and regulations; provided that such materials are accompanied by a report and opinion of BDO, Deloitte or
any other independent registered public accounting firm of nationally recognized standing, which report
and opinion shall be prepared in accordance with generally accepted auditing standards.

                 Documents required to be delivered pursuant to Section 5.01(a), (b), (c) or (f) (to the extent
any such documents are included in materials otherwise filed with the SEC) may be delivered electronically
and if so delivered, shall be deemed to have been delivered on the date (i) on which the Lead Borrower
posts such documents, or provides a link thereto on the Lead Borrower’s website on the Internet at the
website address listed on Schedule 9.01 (or otherwise notified pursuant to Section 9.01(d)); or (ii) on which
such documents are posted on the Lead Borrower’s behalf on an Internet or intranet website, if any, to
which each Lender and the Administrative Agent have access (whether a commercial, third-party website
or whether sponsored by the Administrative Agent). The Administrative Agent shall have no obligation to
request the delivery of or maintain paper copies of the documents referred to above, and each Lender shall
be solely responsible for timely accessing posted documents and maintaining its copies of such documents.

                 Notwithstanding anything to the contrary herein, no Loan Party nor any Subsidiary thereof
shall be required to deliver, disclose, permit the inspection, examination or making of copies of or excerpts
from, or any discussion of, any document, information, or other matter (i) that constitutes non-financial
trade secrets or non-financial proprietary information, (ii) in respect of which disclosure to the
Administrative Agent (or any Lender (or their respective representatives or contractors)) is prohibited by
applicable law, (iii) that is subject to attorney-client or similar privilege or constitutes attorney work product
or (iv) with respect to which any Loan Party owes confidentiality obligations (to the extent not created in
contemplation of such Loan Party’s obligations under this Section 5.01) to any third party.

                  The Loan Parties hereby acknowledges that (a) the Administrative Agent will make
available to the Lenders materials and/or information provided by or on behalf of the Borrower or the other
Loan Parties hereunder (collectively, “Borrower Materials”) by posting the Borrower Materials on
IntraLinks or another similar electronic system (the “Platform”) and (b) certain of the Lenders (each, a
“Public Lender”) may have personnel who do not wish to receive Material Non-Public Information and
who may be engaged in investment and other market-related activities with respect to the Loan Parties’ or
their Affiliates’ securities. Each Loan Party hereby agrees that it will use commercially reasonable efforts
to identify that portion of the Borrower Materials that may be distributed to the Public Lenders and that (w)
all such Borrower Materials shall be clearly and conspicuously marked “PUBLIC” which, at a minimum,
shall mean that the word “PUBLIC” shall appear prominently on the first page thereof; (x) by marking
Borrower Materials “PUBLIC,” the Loan Parties shall be deemed to have authorized the Administrative
Agent and the Lenders to treat such Borrower Materials as not containing any Material Non-Public
Information (although it may be sensitive and proprietary) (provided, however, that to the extent such
Borrower Materials constitute Information, they shall be treated as set forth in Section 9.12); (y) all
Borrower Materials marked “PUBLIC” are permitted to be made available through a portion of the Platform
designated “Public Side Information”; and (z) the Administrative Agent shall be entitled to treat any
Borrower Materials that are not marked “PUBLIC” as being suitable only for posting on a portion of the
Platform not designated “Public Side Information”; provided that the Loan Parties’ failure to comply with
this sentence shall not constitute a Default or an Event of Default under this Agreement or the Loan
Documents. Notwithstanding the foregoing, the Loan Parties shall be under no obligation to mark any


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Borrower Materials as “PUBLIC”. Each Loan Party hereby acknowledges and agrees that, unless the
Borrower notifies the Administrative Agent in advance, all financial statements and certificates furnished
pursuant to Sections 5.01(a), (b) and (c) above are hereby deemed to be suitable for distribution, and to be
made available, to all Lenders and may be treated by the Administrative Agent and the Lenders as not
containing any Material Non-Public Information.

                 SECTION 5.02         Notices of Material Events.

                Promptly after any Responsible Officer of any Loan Party or any of their respective
Subsidiaries obtains knowledge thereof, the applicable Loan Party or the applicable Subsidiary of such
Loan Party will furnish to the Administrative Agent (for distribution to each Lender through the
Administrative Agent) written notice of the following:

               (a)    the occurrence of any Default or Event of Default (other than any Default resulting
from any non-compliance with Section 5.01);

                 (b)     the occurrence of any ERISA Event that would reasonably be expected,
individually or in the aggregate, to result in a Material Adverse Effect;

                (c)      any litigation, or governmental investigation or proceeding pending against the
Loan Parties or any of their respective Subsidiaries which, either individually or in the aggregate, has had,
or would reasonably be expected to have, a Material Adverse Effect; and

                (d)      any other development or event that would reasonably be expected, individually
or in the aggregate, to result in a Material Adverse Effect (including, any default notice received by the
Loan Parties with respect to each of the Prepetition Junior Priority Credit Agreements, Holdco Credit
Agreement and Prepetition ABL Credit Agreement).

Each notice delivered under this Section 5.02 shall be accompanied by a written statement of a Responsible
Officer of the Lead Borrower setting forth the details of the event or development requiring such notice and
any action taken or proposed to be taken with respect thereto.

                 SECTION 5.03         Information Regarding Collateral.

                 The Loan Parties will furnish to the Administrative Agent prompt (and in any event within
thirty (30) days or such longer period as reasonably agreed to by the Administrative Agent) written notice
of any change (i) in any Loan Party’s legal name (as set forth in its certificate of organization or
incorporation or like document), (ii) in the jurisdiction of incorporation or organization of any Loan Party
or in the form of its organization or (iii) in any Loan Party’s organizational identification number to the
extent that such Loan Party is organized or owns Material Real Property in a jurisdiction where an
organizational identification number is required to be included in a UCC financing statement for such
jurisdiction.

                 SECTION 5.04         Existence; Conduct of Business.

                  The Loan Parties will, and will cause each of their respective Subsidiaries to, do or cause
to be done all things necessary to obtain, preserve, renew and keep in full force and effect its legal existence
and the rights, licenses, permits, privileges, franchises, Material Intellectual Property and Governmental
Approvals used in the conduct of its business, except to the extent (other than with respect to the
preservation of the existence of any Loan Party) that the failure to do so would not reasonably be expected




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to have a Material Adverse Effect; provided that the foregoing shall not prohibit any merger, consolidation,
liquidation or dissolution permitted under Section 6.03 or any Disposition permitted by Section 6.05.

                 SECTION 5.05         Payment of Taxes, etc.

                 The Loan Parties will, and will cause each of their respective Subsidiaries to, pay all Taxes
(whether or not shown on a Tax return) imposed upon it or its income or properties or in respect of its
property or assets, before the same shall become delinquent or in default, except where (a) the same are
being contested in good faith by an appropriate proceeding diligently conducted by the Loan Parties or any
of their respective Subsidiaries or (b) the failure to make payment would not reasonably be expected,
individually or in the aggregate, to result in a Material Adverse Effect.

                 SECTION 5.06         Maintenance of Properties.

                 The Loan Parties will, and will cause each of their respective Subsidiaries to, keep and
maintain all tangible property material to the conduct of its business in good working order and condition
(subject to casualty, condemnation and ordinary wear and tear), except where the failure to do so would not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect.

                 SECTION 5.07         Insurance.

                  (a)     The Loan Parties will, and will cause each of their respective Subsidiaries to,
maintain, with insurance companies that the Lead Borrower believes (in the good faith judgment of the
management of the Lead Borrower) are financially sound and responsible at the time the relevant coverage
is placed or renewed, insurance in at least such amounts (after giving effect to any self-insurance which the
Lead Borrower believes (in the good faith judgment of management of the Lead Borrower) is reasonable
and prudent in light of the size and nature of its business) and against at least such risks (and with such risk
retentions) as the Lead Borrower believes (in the good faith judgment or the management of the Lead
Borrower) are reasonable and prudent in light of the size and nature of its business, and will furnish to the
Lenders, upon written request from the Collateral Agent, information presented in reasonable detail as to
the insurance so carried. Upon the reasonable request of the Lenders, the Loan Parties shall use
commercially reasonable efforts to deliver to the Collateral Agent endorsements with respect to each such
general liability policy of insurance (other than directors and officers policies, workers compensation
policies and business interruption insurance), to the extent covering Collateral and to the extent that
Collateral Agent can be granted an insurable interest therein, (i) in the case of each such general liability
policy, naming the Collateral Agent, on behalf of the Secured Parties, as an additional insured thereunder
as its interests may appear and (ii) in the case of each such casualty insurance policy, containing a loss
payable clause that names the Collateral Agent, on behalf of the Secured Parties as the loss payee thereunder.

                 SECTION 5.08         Books and Records; Inspection and Audit Rights.

                  (a)    The Loan Parties will, and will cause each of their respective Subsidiaries to,
maintain proper books of record and account in which entries that are full, true and correct in all material
respects and are in conformity with GAAP (or applicable local standards) consistently applied shall be
made of all material financial transactions and matters involving the assets and business of the Loan Parties
or their respective Subsidiaries, as the case may be. The Loan Parties will, and will cause each of their
respective Subsidiaries that is a Loan Party to, permit any representatives designated by the Administrative
Agent or any Lender, during normal business hours and upon reasonable prior notice, to visit and inspect
its properties, to examine and make extracts from its books and records, and to discuss its affairs, finances
and condition with its officers and independent accountants, all at such reasonable times and as often as
reasonably requested; provided that, excluding any such visits and inspections during the continuation of



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an Event of Default, only the Administrative Agent (or its designees) on behalf of the Lenders may exercise
visitation and inspection rights of the Administrative Agent and the Lenders under this Section 5.08 and
the Administrative Agent shall not exercise such rights more often than one time during any calendar year
absent the existence of an Event of Default and such time shall be at the Loan Parties’ expense; provided,
further that (a) when an Event of Default exists, the Administrative Agent or any Lender (or any of their
respective representatives or independent contractors) may do any of the foregoing at the expense of the
Loan Parties at any time during normal business hours and upon reasonable advance notice and (b) the
Administrative Agent and the Lenders shall give the Loan Parties the opportunity to participate in any
discussions with the Loan Parties’ independent public accountants.

                  (b)     The Lead Borrower will, within 30 days (or, after using commercially reasonable
efforts to schedule such call at a later date agreed to by the Required Lenders, at their sole discretion) after
the date of the delivery (or, if later, required delivery) of the quarterly and annual financial information
pursuant to Sections 5.01(a) and (b), hold a conference call or teleconference, at a time selected by the Lead
Borrower and reasonably acceptable to the Required Lenders, with all of the Lenders that choose to
participate, to review the financial results of the previous fiscal quarter or fiscal year of the Lead Borrower,
as the case may be, of the Lead Borrower (it being understood that any such call may be combined with
any similar call held for any of the Lead Borrower’s other lenders or security holders).

                 SECTION 5.09          Compliance with Laws.

                 (a)     The Loan Parties will, and will cause each of their respective Subsidiaries to,
comply with its Organizational Documents and all Requirements of Law (including ERISA, Environmental
Laws, the USA PATRIOT Act, Office of Foreign Assets Control of the U.S. Department of the Treasury
or the U.S. Department of State, the U.S. Foreign Corrupt Practices Act of 1977 and other anti-money
laundering, anti-corruption, sanctions and anti-terrorism laws) with respect to it, its property and operations,
except where the failure to do so, individually or in the aggregate, would not reasonably be expected to
result in a Material Adverse Effect.

                  (b)      The Borrower will not request any Borrowing, and the Borrower shall not use, and
shall procure that its Subsidiaries and the other Loan Parties and its or their respective directors, officers,
employees and agents shall not use, the proceeds of any Borrowing (i) for the purpose of funding, financing
or facilitating any activities, business or transaction of or with any Sanctioned Person, or in any Sanctioned
Country except to the extent permissible for a Person required to comply with Sanctions, (ii) in any manner
that would result in the violation of any Sanctions applicable to such Loan Party and their respective
Subsidiaries or to the knowledge of the Loan Parties, any other party hereto or (iii) in furtherance of an
offer, payment, promise to pay, or authorization of the payment or giving of money, or anything else of
value, to any Person in violation of any legislation.

                 SECTION 5.10          Use of Proceeds.

                 The Loan Parties will use the proceeds of the Loans for the purposes set forth in Section
3.16.

                 SECTION 5.11          Additional Subsidiaries.

                  If any additional Subsidiary of a Loan Party is formed or acquired after the Effective Date,
then, such Loan Party will, concurrently with such formation or acquisition, cause such Subsidiary to satisfy
the Collateral and Guarantee Requirement with respect to such Subsidiary and with respect to any Equity
Interest in or Indebtedness of such Subsidiary owned by or on behalf of any Loan Party.




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                SECTION 5.12          Further Assurances.

                  (a)    The Loan Parties will, and will cause each of their respective Subsidiaries to,
execute any and all further documents, financing statements, agreements and instruments, and take all such
further actions (including the filing and recording of financing statements, fixture filings, mortgages, deeds
of trust and other documents), that may be required under any applicable law and that the Administrative
Agent or the Required Lenders may reasonably request, in each case, to cause the “Collateral and Guarantee
Requirement” to be and remain satisfied, all at the expense of the Loan Parties.

                  (b)     If, after the Effective Date, any material assets, including any owned (but not
leased or ground-leased) Material Real Property or improvements thereto or any interest therein, are
acquired by the Borrower or any other Loan Party or are held by any Subsidiary of any Loan Party on or
after the time it becomes a Loan Party pursuant to Section 5.11 (other than assets constituting Collateral
under a Security Document that become subject to the Lien created by such Security Document upon
acquisition thereof), the Loan Parties will notify the Administrative Agent thereof, and, if requested by the
Administrative Agent or the Required Lenders, the Loan Parties will cause such assets to be subjected to a
Lien securing the Secured Obligations and will take and cause the other Loan Parties to take, such actions
as shall be necessary and reasonably requested by the Administrative Agent or the Required Lenders to
grant and perfect such Liens, including actions described in paragraph (a) of this Section and as required
pursuant to the “Collateral and Guarantee Requirement”, all at the expense of the Loan Parties and subject
to the last paragraph of the definition of the term “Collateral and Guarantee Requirement”.

                SECTION 5.13          Franchise Agreements.

                The Loan Parties will, and will cause each of their respective Subsidiaries to, satisfy and
perform in all material respects all obligations of each such Person under each Franchise Agreement, except
such non-compliance that, individually or in the aggregate, could not reasonably be expected to result in a
Material Adverse Effect.

                SECTION 5.14          [Reserved].

                SECTION 5.15          Maintenance of Ratings.

                 The Loan Parties (i) shall use commercially reasonable efforts to maintain a public
corporate credit rating (but not any particular rating) from S&P and a public corporate family rating (but
not any particular rating) from Moody’s, in each case in respect of the Lead Borrower, and (ii) within
seventy-five (75) days following the Effective Date, shall use commercially reasonable efforts to obtain a
public rating (but not any particular rating) in respect of the Term Loans made available under this
Agreement from each of S&P and Moody’s.

                SECTION 5.16          Additional Chapter 11 Reporting.

                  (a)     Updated Budgets. No later than 5:00 p.m. (New York City time) on every fourth
Thursday following the Petition Date (each such Thursday, the “Updated Budget Deadline”), the Loan
Parties shall deliver to the Lender Professionals a supplement to the Initial Budget (each, an “Updated
Budget”), covering the then-upcoming 13-week period that commences with Saturday of the calendar week
immediately preceding such Updated Budget Deadline, in each case consistent with the form and detail set
forth in the Initial Budget and including a forecasted unrestricted cash balance as well as a line-item report
setting forth the estimated fees and expenses to be incurred by each professional advisor on a weekly basis;
provided, however, that (x) (i) the Updated Budget will be deemed, in each case, conditionally approved
unless the Required Lenders provide written notice of their objection to such Updated Budget (which notice



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may be provided by one of the Lender Professionals on their behalf via email) within four (4) Business
Days of the delivery of such Updated Budget, and during such period, the Initial Budget or most recent
Approved Budget, as applicable, shall remain in effect (the “Interim Approval Period”), (ii) following the
Interim Approval Period, if no objection is received from the Required Lenders pursuant to clause (i), the
Updated Budget shall be deemed the Approved Budget, shall be in full force and effect and shall constitute
the “Approved Budget” (which Approved Budget shall be the Initial Budget until superseded by an
approved Updated Budget), provided, that the Required Lenders may, at any time after such Interim
Approval Period and until the date that is seven (7) Business Days after delivery of the Updated Budget
(each such date, an “Objection Deadline”), object to such Updated Budget, and upon receipt of such
objection, the Initial Budget or the most recent Approved Budget shall be deemed the Approved Budget
and (y) if the Required Lenders do not provide written notice of their objection to such Updated Budget
(which notice of objection may be provided by one the Lender Professionals on their behalf via email) by
the applicable Objection Deadline, the Updated Budget shall be in full force and effect and shall constitute
the Approved Budget for all purposes hereunder; (iii) the Required Lenders shall not have any obligation
to approve any Updated Budget, and (iv) no modification to the Initial Budget or any Updated Budget, any
reforecasting of any information relating to any period covered thereby or the inclusion of new line items
in any Updated Budget, as the case may be, shall in any event be effective without the affirmative written
consent of the Required Lenders (which may be provided by one of the Lender Professionals on their behalf
via email).

                 (b)      Variance Reporting. No later than 5:00 p.m. (New York City time) every Thursday,
commencing with the first Thursday immediately following the first full week after the week in which the
Petition Date occurs (each such Thursday, the “Variance Report Deadline”), the Loan Parties shall deliver
to the Lender Professionals a variance report, each in form, detail and substance satisfactory to the Required
Lenders in their sole discretion (each, a “Variance Report”), setting forth the difference between, on a line-
by-line and aggregate basis, (i) actual operating receipts and budgeted operating receipts as set forth in the
Approved Budget, as the case may be (the “Receipts Variance”), and (ii) actual operating disbursements
and budgeted operating disbursements as set forth in the Approved Budget, as the case may be (the
“Disbursements Variance”), in each case, for the Applicable Period, in each case, together with a reasonably
detailed explanation of such Receipts Variance and Disbursements Variance.

                 (c)      Management Calls. On the first [Thursday] immediately following the Effective
Date, upon request by the Lender Professionals and on no more than a weekly basis thereafter, at a time to
be agreed with the Ad Hoc Lender Group (or the Lender Professionals on their behalf), the Loan Parties
shall host a conference call with the Lenders who are subject to a non-disclosure agreement and their
advisors (including the Lender Professionals) that choose to participate to discuss, among other things, the
Loan Parties’ financial performance, the Initial Budget and any Updated Budget, the Variance Report, and
any other issues related to the financial affairs, finances, business, assets, operations or condition (financial
or otherwise) of the Loan Parties and their respective Subsidiaries with the relevant members of the Loan
Parties’ management and their advisors, including, to the extent applicable, the Financial Advisor, Willkie
Farr & Gallagher LLP, as special counsel to the Loan Parties, and Ducera Partners LLC, as the investment
banker for the Loan Parties (collectively, the “Company Advisors”).

                  (d)    Liquidity Reporting. No later than 5:00 p.m. (New York City time) every
Thursday, commencing with the first Thursday immediately following the first full week after the week in
which the Petition Date occurs (each such Thursday, the “Liquidity Report Deadline”), the Loan Parties
shall deliver to the Lender Professionals and the Lenders a report setting forth the Liquidity as of the Friday
most recently ended prior to such Liquidity Report Deadline, in each case, as well as the aggregate amounts
outstanding and available under the Prepetition ABL Credit Agreement (to the extent updated information
is available to the Loan Parties) and a certification as to compliance with Section 6.15.



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                  SECTION 5.17 [Reserved].

                  SECTION 5.18 Bankruptcy Related Matters.

                 (a)     The Loan Parties shall cause all proposed (i) “first day” orders, (ii) “second day”
orders, (iii) orders related to or affecting the Secured Obligations and/or the Loan Documents, the
Prepetition Secured Obligations and applicable loan documents, any other financing or use of cash collateral,
any sale or other disposition of Collateral outside the ordinary course or adequate protection, (iv) any Plan
of Reorganization and/or any disclosure statement related thereto, (v) orders concerning the financial
condition of the Chapter 11 Debtors, or other Indebtedness of the Chapter 11 Debtors and (vi) orders
establishing procedures for administration of the Chapter 11 Cases or approving significant transactions
submitted to the Bankruptcy Court, in each case, proposed by the Chapter 11 Debtors, to be in accordance
with the terms of this Agreement in all material respects and the relevant consent rights under the
Restructuring Support Agreement, to the extent applicable;

               (b)     The Loan Parties shall comply in all material respects with each order entered by
the Bankruptcy Court in connection with the Chapter 11 Cases Bankruptcy Order;

                 (c)      The Loan Parties shall deliver to the Administrative Agent and the Lender
Professionals not less than five (5) days (or, if not reasonably practicable as a result of exigent circumstances,
as soon as reasonably practicable) prior to any filing, copies of all proposed material pleadings, motions,
applications, orders, financial information and other documents to be filed by or on behalf of the Loan
Parties with the Bankruptcy Court in the Chapter 11 Cases, and shall consult in good faith with the Lender
Professionals and the Required Lenders regarding the form and substance of any such document; and

                (d)     The Loan Parties shall if not otherwise provided through the Bankruptcy Court’s
electronic docketing system, as soon as available, deliver to the Administrative Agent and to the Lender
Professionals promptly as soon as available, copies of all final pleadings, motions, applications, orders,
financial information and other documents distributed by or on behalf of the Loan Parties to any official or
unofficial committee appointed or appearing in the Chapter 11 Cases or any other party in interest.

                                                 ARTICLE VI

                                         NEGATIVE COVENANTS

                 From and after the Effective Date and until the Commitments have expired or been
terminated and the principal of and interest on each Loan and all fees, expenses and other amounts payable
(other than (i) contingent amounts not yet due and (ii) Cash Management Obligations) under any Loan
Document have been paid in full, the Loan Parties covenants and agrees with the Lenders that:

                  SECTION 6.01         Indebtedness; Certain Equity Securities.

                  (a)     The Loan Parties will not, and will not permit any of their respective Subsidiaries
to, create, incur, assume or permit to exist any Indebtedness, except:

                        (i)   Indebtedness of the Loan Parties and any of their respective Subsidiaries
        under the Loan Documents (including any Indebtedness incurred pursuant to Sections 2.20 or 2.21);

                          (ii)    Indebtedness outstanding on the Effective Date and set forth on Schedule
        6.01;




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                (iii)   Guarantees by the Loan Parties and their respective Subsidiaries in respect
of Indebtedness of the Loan Parties (other than Holdco Loan Parties) or any of their respective
Subsidiaries otherwise permitted hereunder; provided that (A) such Guarantee is otherwise
permitted by Section 6.04, (B) no Guarantee by any Subsidiary of a Loan Party of any unsecured
Indebtedness for borrowed money that constitutes Material Indebtedness shall be permitted unless
such Subsidiary shall have also provided a Guarantee of the applicable Secured Obligations
pursuant to the Guaranty, as the case may be, and (C) if the Indebtedness being guaranteed is
subordinated to the Secured Obligations, such Guarantee shall be subordinated to the Guarantee of
the Secured Obligations on terms at least as favorable to the Lenders as those contained in the
subordination of such Indebtedness;

                  (iv)     Indebtedness of the Loan Parties or any of their respective Subsidiaries
owing to the Loan Parties (other than Holdco Loan Parties) or any of their Subsidiaries, to the
extent permitted by Section 6.04; provided that all such Indebtedness of any Loan Party owing to
any Subsidiary of a Loan Party that is not a Loan Party shall be subordinated to the Secured
Obligations (to the extent any such Indebtedness is outstanding at any time after the date that is
thirty (30) days after the Effective Date (or the date of acquisition of such Subsidiary) or such later
date as the Required Lenders, may reasonably agree) (but only to the extent permitted by applicable
law and not giving rise to material adverse tax consequences) on terms otherwise reasonably
satisfactory to the Required Lenders;

                  (v)     Indebtedness (including Capital Lease Obligations and purchase money
indebtedness) incurred, issued or assumed by the Borrower or any Subsidiary to finance the
acquisition, purchase, lease, construction, repair, replacement or improvement of fixed or capital
property, equipment or other assets; provided that, in the case of any purchase money Indebtedness,
such Indebtedness is incurred concurrently with or within 270 days after the applicable acquisition,
purchase, lease, construction, repair, replacement or improvement; provided, further that, at the
time of any such incurrence of Indebtedness and after giving Pro Forma Effect thereto and the use
of the proceeds thereof, the aggregate principal amount of Indebtedness that is outstanding in
reliance of this clause (v) shall not exceed $10,000,000 in the aggregate at any time outstanding, to
the extent that the incurrence of such debt and the payments in respect thereof are expressly
permitted by the Approved Budget then in effect;

                 (vi)     [reserved];

                 (vii)    [reserved];

                 (viii)   [reserved];

                 (ix)     [reserved];

                 (x)      Indebtedness in respect of Cash Management Obligations and other
Indebtedness in respect of netting services, automated clearinghouse arrangements, overdraft
protections and similar arrangements, in each case, in connection with deposit accounts or from the
honoring of a bank or other financial institution of a check, draft or similar instrument drawn against
insufficient funds in the ordinary course of business;

                (xi)    Indebtedness consisting of obligations under deferred compensation
(including indemnification obligations, obligations in respect of purchase price adjustments, Earn-
Outs, incentive non-competes and other contingent obligations) or other similar arrangements




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incurred or assumed in connection with any Permitted Acquisition, any other Investment or any
Disposition, in each case, permitted under this Agreement;

                (xii)    [reserved];

                (xiii)   [reserved];

                (xiv)    [reserved];

                (xv)     Indebtedness consisting of (A) the financing of insurance premiums or
(B) take-or-pay obligations contained in supply arrangements, in each case, in the ordinary course
of business;

                (xvi) Indebtedness supported by a letter of credit, in a principal amount not to
exceed the face amount of such letter of credit;

                (xvii)   [reserved];

                (xviii) [reserved];

                (xix)    [reserved];

                (xx)     [reserved];

                (xxi)    [reserved];

                  (xxii) Indebtedness incurred by the Loan Parties or any of their respective
Subsidiaries in respect of letters of credit, bank guarantees, warehouse receipts, bankers’
acceptances or similar instruments issued or created in the ordinary course of business, including
in respect of workers compensation claims, health, disability or other employee benefits or property,
casualty or liability insurance or self-insurance or other reimbursement-type obligations regarding
workers compensation claims;

                  (xxiii) obligations in respect of self-insurance and obligations in respect of
performance, bid, appeal and surety bonds and performance and completion guarantees and similar
obligations provided by the Loan Parties or any of their respective Subsidiaries or obligations in
respect of letters of credit, bank guarantees or similar instruments related thereto, in each case, in
the ordinary course of business or consistent with past practice;

                 (xxiv) (x) Indebtedness representing retention payments, deferred compensation
or stock-based compensation owed to employees, consultants or independent contractors of the
Borrower or its Subsidiaries, to the extent that the incurrence of such debt and the payments in
respect thereof are expressly permitted by the Approved Budget then in effect;

                (xxv)    [reserved];

                (xxvi) [reserved];

                (xxvii) [reserved];

                (xxviii) to the extent constituting Indebtedness, motor vehicle leases in the
ordinary course of business;


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                         (xxix) [reserved];

                         (xxx)    [reserved];

                         (xxxi) [reserved];

                         (xxxii) [reserved]; and

                        (xxxiii) all premiums (if any), interest (including post-petition interest), fees,
        expenses, charges and additional or contingent interest on obligations described in clauses (i)
        through (xxxii) above.

                 (b)     The Loan Parties will not, and will not permit any of their respective Subsidiaries
to, issue any preferred Equity Interests or any Disqualified Equity Interests.

                          For purposes of determining compliance with any dollar denominated restriction
on the incurrence of Indebtedness, the dollar equivalent principal amount of Indebtedness denominated in
a foreign currency will be calculated based on the relevant currency exchange rate in effect on the date such
Indebtedness was incurred, in the case of term debt, or first committed, in the case of revolving credit debt.
Notwithstanding any other provision of this Section 6.01, the maximum amount of Indebtedness the Loan
Parties or any of their respective Subsidiaries may incur pursuant to this Section 6.01 shall not be deemed
exceeded by fluctuations in the exchange rate of currencies.

                         This Agreement will not treat (1) unsecured Indebtedness as subordinated or junior
to secured Indebtedness merely because it is unsecured or (2) senior Indebtedness as subordinated or junior
to any other senior Indebtedness merely because it has a junior priority with respect to the same collateral.

                 SECTION 6.02         Liens.

                 The Loan Parties will not, and will not permit any of their respective Subsidiaries to, create,
incur, assume or permit to exist any Lien on any property or asset now owned (but not leased or ground-
leased) or hereafter acquired (but not leased or ground-leased) by it, except:

                         (i)      Liens created under the Loan Documents;

                         (ii)     Permitted Encumbrances;

                         (iii)    Liens existing on the Effective Date and set forth on Schedule 6.02;

                         (iv)     Liens on cash collateral posted to secure insurance policy premiums or
        other obligations in respect of existing insurance policies in an amount not to exceed $3,000,000 in
        the aggregate, to the extent expressly permitted by the Approved Budget then in effect;

                         (v)      (i) easements, leases, licenses, subleases or sublicenses granted to others
        (including licenses and sublicenses of Intellectual Property) that do not (A) interfere in any material
        respect with the business of the Loan Parties and their respective Subsidiaries, taken as a whole, or
        (B) secure any Indebtedness and (ii) any interest or title of a lessor or licensee under any lease or
        license entered into by the Loan Parties or any of their respective Subsidiaries in the ordinary course
        of its business and covering only the assets so leased or licensed;




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                (vi)   Liens in favor of customs and revenue authorities arising as a matter of
law to secure payment of customs duties in connection with the importation of goods;

                  (vii)   Liens (A) of a collection bank arising under Section 4-210 of the Uniform
Commercial Code, or any comparable or successor provision, on items in the course of collection,
(B) attaching to pooling, commodity trading accounts or other commodity brokerage accounts
incurred in the ordinary course of business or (C) in favor of a banking or other financial institution
or entity, or electronic payment service provider, arising as a matter of law encumbering deposits
(including the right of setoff) and that are within the general parameters customary in the banking
or finance industry;

                (viii) Liens consisting of an agreement to dispose of any property in a
Disposition permitted under Section 6.05, in each case, solely to the extent such Disposition would
have been permitted on the date of the creation of such Lien;

                 (ix)     [reserved];

                (x)      Liens granted by a Subsidiary of a Loan Party that is not a Loan Party in
favor of any Subsidiary of a Loan Party or the Borrower and Liens granted by a Loan Party in favor
of any other Loan Party (other than Holdco Loan Parties);

                 (xi)     [reserved];

                (xii)    any interest or title of a lessor or sublessor under leases or subleases (other
than leases constituting Capital Lease Obligations) entered into by the Loan Parties or any of their
respective Subsidiaries in the ordinary course of business;

                 (xiii) Liens arising out of conditional sale, title retention, consignment or similar
arrangements for sale or purchase of goods by the Loan Parties or any of their respective
Subsidiaries in the ordinary course of business;

               (xiv) Liens deemed to exist in connection with Investments in repurchase
agreements under clause (e) of the definition of the term “Permitted Investments”;

                 (xv)    Liens encumbering reasonable customary initial deposits and margin
deposits and similar Liens attaching to commodity trading accounts or other brokerage accounts
incurred in the ordinary course of business and not for speculative purposes;

                 (xvi) Liens that are contractual rights of setoff (A) relating to the establishment
of depository relations with banks not given in connection with the incurrence of Indebtedness,
(B) relating to pooled deposit or sweep accounts to permit satisfaction of overdraft or similar
obligations incurred in the ordinary course of business of the Loan Parties and their respective
Subsidiaries or (C) relating to purchase orders and other agreements entered into with customers
of the Loan Parties or any of their respective Subsidiaries in the ordinary course of business;

                 (xvii)   [reserved];

                 (xviii) Liens on insurance policies and the proceeds thereof securing the
financing of the premiums with respect thereto;

                 (xix)    [reserved];



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                        (xx)     [reserved];

                        (xxi)    [reserved];

                        (xxii)   [reserved];

                        (xxiii) Liens on cash and Permitted Investments to secure Indebtedness permitted
        under Section 6.01(a)(x);

                        (xxiv) [reserved];

                       (xxv) receipt of progress payments and advances from customers in the ordinary
        course of business to the extent the same creates a Lien on the related inventory and proceeds
        thereof;

                        (xxvi) [reserved];

                        (xxvii) [reserved];

                         (xxviii) other Liens to the extent contemplated by the Approved Budget then in
        effect; provided that at the time of the granting of and after giving Pro Forma Effect to any such
        Lien and the obligations secured thereby (including the use of proceeds thereof) the lesser of (x)
        the aggregate outstanding face amount of obligations secured by Liens existing in reliance on this
        clause (xxviii) and (y) the fair market value of the assets securing such obligations shall not exceed
        $2,000,000 in the aggregate at any time outstanding;

                       (xxix) Liens in favor of credit card issuers and credit card processors arising in
        the ordinary course of business securing the obligation to pay customary fees and expenses in
        connection with credit card arrangements;

                        (xxx)    Liens granted pursuant to the Orders; and

                         (xxxi) Liens on motor vehicles securing Indebtedness permitted by clause
        (xxviii) of Section 6.01.

                SECTION 6.03         Fundamental Changes; Lead Borrower Covenant.

                (a)      The Loan Parties will not, and will not permit any of their respective Subsidiaries
to, merge into or consolidate with any other Person (including pursuant to a division), or permit any other
Person to merge into or consolidate with it, or liquidate or dissolve, except that:

                        (i)     any Loan Party (other than a Borrower) may merge or consolidate with or
        into any other Loan Party (other than a Holdco Loan Party);

                          (ii)   a Borrower may merge or consolidate with any other Person (including
        another Borrower); provided that a Borrower shall be the continuing or surviving Person (or, if one
        of the parties to such merger or consolidation is the Lead Borrower, then the Lead Borrower shall
        be the continuing or surviving Person); and

                       (iii)    any Subsidiary may effect a merger, dissolution, liquidation, consolidation
        or amalgamation to effect a Disposition permitted pursuant to Section 6.05.



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                (b)    No Loan Party nor any of their respective Subsidiaries, shall amend or permit any
amendments to such Person’s Organizational Documents after the Effective Date in any manner that (when
taken as a whole) would be materially adverse to the Lenders.

                  (c)      The Lead Borrower will not conduct, transact or otherwise engage in any material
business or material operations other than (i) the ownership and/or acquisition of the Equity Interests of its
Subsidiaries and any other Persons engaged in a Similar Business (subject to Section 6.04), (ii) the
performance of obligations under and compliance with its Organizational Documents, or other Requirement
of Law (including the maintenance of its legal existence, including the ability to incur fees, costs and
expenses relating to such maintenance), ordinance, regulation, rule, order, judgment, decree or permit,
including as a result of or in connection with the activities of any of its Subsidiaries, and including in
connection with the maintenance of its status as public company and any activities related or incidental
thereto, including compliance with Requirements of Law and requirements, rules, regulations and guidance
(whether or not binding) of the SEC and Nasdaq, Inc., (iii) subject to Section 6.04, repurchases of
Indebtedness through open market purchases and Dutch auctions (to the extent not in violation hereof and
to the extent any Loans so purchased are automatically and irrevocably cancelled after repurchase), the
making of any loan to any officers, directors, managers, members of management, consultants or
independent contractors and the making of any Investment in any of its Subsidiaries, (iv) participating in
tax, accounting and other administrative matters related to the Lead Borrower and its Subsidiaries, (v) the
entry into, and exercise of rights and performance of its obligations under and in connection with the Loan
Documents and Guarantees of other Indebtedness not prohibited from being incurred under this Agreement
by the Lead Borrower and its Subsidiaries, including borrowings under this Agreement, the Prepetition
Senior Priority Credit Agreement, the Prepetition ABL Credit Agreement, each of the Prepetition Junior
Priority Credit Agreements and any other Indebtedness not prohibited from being incurred under this
Agreement, (vi) any issuance or registration of its Qualified Equity Interests for sale or resale (including,
for the avoidance of doubt, the making of any dividend or distribution on account of, or any redemption,
retirement, sinking fund or similar payment, purchase or other acquisition for value of, any shares of any
class of Qualified Equity Interests), including the costs, fees and expenses related thereto, (vii) holding of
any cash and Permitted Investments, (viii) the payment of dividends or making of distributions, making of
loans and contributions to the capital of its Subsidiaries and any other Persons engaged in a Similar Business
and guaranteeing the obligations of its Subsidiaries and making Investments, in each case, not in violation
of Article VI of this Agreement, (ix) incurring fees, costs and expenses relating to overhead and general
operating expenses including professional fees for legal, tax and accounting issues and paying taxes, (x)
providing indemnification for its current and former officers, directors, managers, members of management,
employees, advisors, consultants or independent contractors, (xi) [reserved], (xii)(1) the payment of Public
Company Costs or (2) activities reasonably incidental to the consummation of a Tax Restructuring, (xiii)
activities incidental to the businesses or activities described in the foregoing clauses and (xiv) any business
or other activities that are identical, reasonably similar, ancillary, incidental, complementary or related to,
or a reasonable extension, development or expansion of, the business and activities conducted by or
proposed to be conducted by the Lead Borrower on or immediately prior to the Effective Date.

                SECTION 6.04          Investments, Loans, Advances, Guarantees and Acquisitions.

                The Loan Parties will not, and will not permit any of their respective Subsidiaries to, make
or hold any Investment, except:

                (a)      Permitted Investments at the time such Permitted Investment is made and
purchases of assets in the ordinary course of business consistent with past practice;

                (b)      loans or advances to officers, members of the Board of Directors and employees
of the Loan Parties and their respective Subsidiaries (i) subject to the Approved Budget, for reasonable and


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customary business-related travel, entertainment, relocation and analogous ordinary business purposes,
(ii) [reserved] and (iii) [reserved];

                (c)      [reserved];

                (d)      Investments consisting of extensions of trade credit and accommodation
guarantees in the ordinary course of business;

                (e)      [reserved];

               (f)       Investments existing or contemplated on the Effective Date and set forth on
Schedule 6.04(e);

                 (g)    promissory notes and other non-cash consideration received in connection with
Dispositions permitted by Section 6.05, subject to prior written consent by the Required Lenders in their
sole discretion;

                (h)      [reserved];

                (i)      Investments in connection with the Transactions;

                (j)     Investments in the ordinary course of business consisting of Uniform Commercial
Code Article 3 endorsements for collection or deposit and Uniform Commercial Code Article 4 customary
trade arrangements with customers in the ordinary course of business;

                 (k)      Investments (including debt obligations and Equity Interests) received in
connection with the bankruptcy or reorganization of suppliers and customers or in settlement of delinquent
obligations of, or other disputes with, customers and suppliers or upon the foreclosure with respect to any
secured Investment or other transfer of title with respect to any secured Investment;

                 (l)      subject to prior written consent by the Required Lenders to be granted in their sole
discretion, loans and advances to officers or members of the Board of Directors of any equity holder of the
Lead Borrower (or any direct or indirect parent thereof) in lieu of, and not in excess of the amount of (after
giving effect to any other loans, advances or Restricted Payments in respect thereof), Restricted Payments
to the extent permitted to be made to such holder (or such parent) in accordance with Section 6.07(a);

                (m)      [reserved];

                (n)      advances of payroll payments to employees in the ordinary course of business;

                (o)      [reserved];

                (p)      [reserved];

                (q)      receivables owing to the Loan Parties or any of their respective Subsidiaries, if
created or acquired in the ordinary course of business;

                 (r)     Investments (A) for utilities, security deposits, leases and similar prepaid expenses
incurred in the ordinary course of business and (B) trade accounts created, or prepaid expenses accrued, in
the ordinary course of business;

                (s)      [reserved];


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                 (t)      [reserved];

                 (u)     Investments consisting of Indebtedness, Liens, fundamental changes, Dispositions
and Restricted Payments permitted (other than by reference to this Section 6.04(u)) under Sections 6.01,
6.02, 6.03, 6.05 and 6.07, respectively;

                (v)      contributions to a “rabbi” trust for the benefit of employees, directors, consultants,
independent contractors or other service providers or other grantor trust subject to claims of creditors in the
case of a bankruptcy of the Loan Parties;

                 (w)      to the extent that they constitute Investments, purchases and acquisitions of
inventory, supplies, materials or equipment or purchases, acquisitions, licenses or leases of other assets,
Intellectual Property, or other rights, in each case in the ordinary course of business;

                 (x)      Investments in any other Loan Party (other than a Holdco Loan Party);

                 (y)      [reserved];

                 (z)      [reserved];

                 (aa)     [reserved];

                 (bb)     [reserved]; and

                 (cc)   loans and advances to franchisees in the ordinary course of business to the extent
contemplated by the Approved Budget then in effect (A) in connection with the sale of Franchise Rights or
(B) to provide working capital to franchisees; provided that (i) such loans and advances in excess of
$750,000 individually shall be evidenced by promissory notes and any such promissory notes shall be
pledged to the Collateral Agent and (ii) the aggregate outstanding principal amount of such loans and
advances made in reliance of this clause (cc) shall not exceed $3,000,000 for the most recently ended Test
Period at any time.

Notwithstanding anything to the contrary in this Section 6.04, other than by virtue of the sale of the Equity
Interests of, or all or substantially all of the assets of, one or more Subsidiaries of the Loan Parties in a
transaction not prohibited by this Agreement, no Material Intellectual Property (except for non-exclusive
leases or non-exclusive licenses with respect thereto) as of the Effective Date owned or thereafter acquired
by any Loan Party or any interest in any Franchise Agreement may be contributed and/or assigned as an
Investment or otherwise transferred to any non-Loan Party.

                 SECTION 6.05           Asset Sales.

                 The Loan Parties will not, and will not permit any of their Subsidiaries to, (i) sell, transfer,
lease or otherwise dispose (including pursuant to a division) of any asset, including any Equity Interest
owned by it or (ii) permit any Subsidiary to issue any additional Equity Interest in such Subsidiary (other
than issuing directors’ qualifying shares, nominal shares issued to foreign nationals to the extent required
by applicable Requirements of Law and other than issuing Equity Interests to the Loan Parties or any of
their respective Subsidiaries in compliance with Section 6.04(c)) (each, a “Disposition” and the term
“Dispose” as a verb has the corresponding meaning), except:

              (a)      Dispositions of obsolete, damaged, used, surplus or worn out property, whether
now owned or hereafter acquired, in the ordinary course of business and Dispositions of property no longer



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used or useful, or economically practicable to maintain, in the conduct of the business of the Loan Parties
and their respective Subsidiaries (including allowing any registration or application for registration of any
Intellectual Property that is no longer used or useful, or economically practicable to maintain, to lapse, go
abandoned, be dedicated to the public domain or be invalidated);

                (b)     Dispositions of inventory and other assets in the ordinary course of business and
immaterial assets (considered in the aggregate) in the ordinary course of business;

                (c)      Dispositions of property to the extent that (i) such property is exchanged for credit
against the purchase price of similar replacement property or (ii) an amount equal to Net Proceeds of such
Disposition are promptly applied to the purchase price of such replacement property;

                 (d)      Dispositions of property between or to the Loan Parties (other than a Holdco Loan
Party) or any of their respective Subsidiaries; provided that if the transferor in such a transaction is a Loan
Party, then (i) the transferee must be a Loan Party or (ii) to the extent constituting an Investment, such
Investment must be a Permitted Investment in a Subsidiary that is not a Loan Party in accordance with
Section 6.04;

               (e)     Dispositions permitted by Section 6.03 and Investments permitted by Section 6.04,
Restricted Payments permitted by Section 6.07 and Liens permitted by Section 6.02;

                 (f)     [reserved];

                 (g)     Dispositions of Permitted Investments;

              (h)      Dispositions of accounts receivable in connection with the collection or
compromise thereof (including sales to factors or other third parties);

                 (i)     leases, subleases, service agreements, product sales, abandonments, licenses,
sublicenses or other disposals (including of Intellectual Property), in each case, (A) granted in the ordinary
course of business or (B) that do not materially interfere with the business of the Loan Parties and their
Subsidiaries, taken as a whole;

                 (j)     transfers of property subject to Casualty Events;

                (k)      Dispositions of property to Persons other than Subsidiaries (including the sale or
issuance of Equity Interests of a Subsidiary and including the sale of real property) solely to the extent such
Disposition is made in connection with a Sufficient Bid or that is otherwise consented to by the Required
Supermajority Lenders in their sole discretion.

                 (l)     [reserved];

                (m)     Dispositions or forgiveness of accounts receivable in the ordinary course of
business in connection with the collection or compromise thereof;

                 (n)     [reserved];

                 (o)     [reserved];

                 (p)     transfers of condemned property as a result of the exercise of “eminent domain”
or other similar powers to the respective Governmental Authority or agency that has condemned the same



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(whether by deed in lieu of condemnation or otherwise), and transfers of property arising from foreclosure
or similar action or that have been subject to a casualty to the respective insurer of such real property as
part of an insurance settlement;

                 (q)     [reserved];

                 (r)     [reserved];

                 (s)     [reserved];

                 (t)       sales or other dispositions by any Loan Parties or any of their respective
Subsidiaries of assets in connection with the closing or sale of a retail store location (the closure of a store
is not in and of itself the disposition of assets), warehouse, distribution center or corporate office of such
Loan Party or Subsidiary in the ordinary course of business of such Loan Party or Subsidiary, which sale
or disposition consists of leasehold interests in the premises of such store or distribution center, the
equipment and fixtures located at such premises and the books and records relating exclusively and directly
to the operations of such store or distribution center; provided, that, such sale shall be on commercially
reasonable prices and terms in a bona fide arm’s length transaction; and

                 (u)     [reserved].

Notwithstanding anything to the contrary in this Section 6.05, (x) other than by virtue of the sale of the
Equity Interests of, or all or substantially all of the assets of, one or more Subsidiaries in a transaction not
prohibited by this Agreement, no Loan Party shall, directly or indirectly, sell or otherwise transfer (except
for non-exclusive leases or non-exclusive licenses with respect thereto) any Material Intellectual Property
owned as of the Effective Date or thereafter acquired or any interest in any Franchise Agreement to any
non-Loan Party (y) on and following the Effective Date, (i) any sales or other dispositions by any Loan
Party or any of their respective Subsidiaries of assets outside the ordinary course of business in excess of
$5,000,000 in the aggregate require prior written consent by the Required Lenders to be granted in their
sole discretion and (ii) no Loan Party nor any of their Subsidiaries shall undertake any receivables
securitization, any whole business securitization or any other securitization transaction with respect to its
assets or businesses.

                 SECTION 6.06          [Reserved].

                 SECTION 6.07          Restricted Payments; Certain Payments of Indebtedness.

                 (a)     The Loan Parties will not, and will not permit any of their respective Subsidiaries
to, declare or make, or agree to pay or make, directly or indirectly, any Restricted Payment, except:

                       (i)     each Subsidiary of the Borrower may make Restricted Payments to the
        Borrower or any other Subsidiary of the Borrower; provided that in the case of any such Restricted
        Payment by a Subsidiary that is not a Wholly Owned Subsidiary of the Borrower, such Restricted
        Payment is made to the Borrower and/or any Subsidiary;

                       (ii)   the Loan Parties and each of their respective Subsidiaries may declare and
        make dividend payments or other distributions payable solely in the Equity Interests of such Person;

                         (iii)    [reserved];

                         (iv)     [reserved];



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                         (v)      [reserved];

                         (vi)     [reserved];

                         (vii)    [reserved];

                         (viii)   [reserved];

                         (ix)     [reserved];

                         (x)      [reserved];

                         (xi)   the Loan Parties and each of their respective Subsidiaries may make
        payments with respect to retention payments, deferred compensation or stock-based compensation
        owed to employees, consultants or independent contractors of the Borrower or its Subsidiaries, to
        the extent that such payment is expressly permitted by the Approved Budget then in effect;

                         (xii)    [reserved];

                         (xiii)   [reserved];

                         (xiv)    [reserved];

                         (xv)     [reserved];

                         (xvi)    [reserved]; and

                         (xvii)   [reserved].

                 (b)     The Loan Parties will not, and will not permit any of their respective Subsidiaries
to, make or agree to pay or make, directly or indirectly, any payment or other distribution (whether in cash,
securities or other property) of or in respect of any Prepetition Debt, or any payment or other distribution
(whether in cash, securities or other property), including any sinking fund or similar deposit, or any other
payment (including any payment under any Swap Agreement) that has a substantially similar effect to any
of the foregoing, in each case, except:

                        (i)     payments required by the Orders and payments in accordance with the
        First Day Orders or otherwise with the consent of the Required Lenders;

                         (ii)     [reserved];

                         (iii)    [reserved];

                         (iv)     [reserved];

                         (v)      [reserved];

                         (vi)     [reserved];

                         (vii)    [reserved];

                         (viii)   [reserved];


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                          (ix)     [reserved]; and

                          (x)      the Roll-Up.

Notwithstanding anything to the contrary in this Agreement, no Material Intellectual Property (except for
non-exclusive leases, non-exclusive licenses with respect thereto) owned as of the Effective Date or
thereafter acquired by any Loan Party or any interest in any Franchise Agreement may be made as a
Restricted Payment or Investment, or otherwise transferred to or held by, any non-Loan Party.

                 SECTION 6.08           Transactions with Affiliates.

                  The Loan Parties will not, and will not permit any of their respective Subsidiaries to, sell,
lease or otherwise transfer any property or assets to, or purchase, lease or otherwise acquire any property
or assets from, or otherwise engage in any other transactions with, any of its Affiliates, except (i)
transactions between or among any Borrower or any Subsidiary of the Borrower or any entity that becomes
a Subsidiary of the Borrower as a result of such transaction, (ii) on terms not materially less favorable to
the Borrower or such Subsidiary of the Borrower as would be obtainable by such Person at the time in a
comparable arm’s length transaction with a Person other than an Affiliate (as determined by the majority
of the members of the Board of Directors (or a majority of the disinterested members of the Board of
Directors of the Lead Borrower in good faith)), (iii) the payment of Transaction Costs, fees and expenses
related to the Transactions, (iv) Dispositions in the form of a sale of furniture and assignment of lease
agreements to franchisees in the ordinary course of business consistent with past practices, so long as the
sale thereof is approved by disinterested members of the Board of Directors, (v) issuances of Equity
Interests of the Borrower and its Subsidiaries to the extent otherwise permitted by this Agreement, (vi)
employment and severance arrangements and other compensation arrangements between the Borrower and
its Subsidiaries and their respective officers and employees in the ordinary course of business or otherwise
in connection with the Transactions (including loans and advances pursuant to Sections 6.04(b) and 6.04(n)),
(vii) investments by Affiliates in Indebtedness and preferred Equity Interests of the Borrower and its
Subsidiaries, (viii) the payment of customary fees and reasonable out-of-pocket costs to, and indemnities
provided on behalf of, members of the Board of Directors, officers and employees of the Lead Borrower
(or any direct or indirect parent thereof) and its Subsidiaries in the ordinary course of business to the extent
attributable to the ownership or operation of the Lead Borrower and its Subsidiaries, (ix) transactions
pursuant to agreements in existence or contemplated on the Effective Date and set forth on Schedule 6.08
or any amendment thereto to the extent such an amendment is not adverse to the Lenders in any material
respect, (x) Restricted Payments permitted under Section 6.07 and Investments permitted under Section
6.04, (xi) payments to or from, and transactions with, any joint venture in the ordinary course of business
(including any cash management activities related thereto), and (xii) transactions with customers, clients,
suppliers, contractors, joint venture partners or purchasers or sellers of goods or services that are Affiliates,
in each case in the ordinary course of business and which are fair to the Borrower and its Subsidiaries, in
the reasonable determination of the Lead Borrower, or are on terms at least as favorable as might reasonably
have been obtained at such time from an unaffiliated party; provided that, each such transaction (other than
any transaction pursuant to clauses (i)(A), (ii), (iii), (iv), (vi), (x) and (xiii)) shall be on terms not materially
less favorable to the Borrower or such Subsidiary as would be obtainable by such Person at the time in a
comparable arm’s-length transaction with a Person other than an Affiliate.

                 SECTION 6.09           Restrictive Agreements.

                  The Loan Parties will not, and will not permit any of their respective Subsidiaries to enter
into any agreement, instrument, deed or lease that prohibits or limits the ability of any Loan Party, after
giving effect to the Orders, to create, incur, assume or suffer to exist any Lien upon any of their respective
properties or revenues, whether now owned or hereafter acquired, for the benefit of the Secured Parties


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with respect to the Secured Obligations or under the Loan Documents; provided that the foregoing shall not
apply to:

               (a)     restrictions and conditions imposed by (1) Requirements of Law, (2) any Loan
Document, (3) [reserved], (4) [reserved] or (5) [reserved];

               (b)    customary restrictions and conditions existing on the Effective Date and any
extension, renewal, amendment, modification or replacement thereof, except to the extent any such
amendment, modification or replacement expands the scope of any such restriction or condition;

                (c)      restrictions and conditions contained in agreements relating to the sale of a
Subsidiary or any assets pending such sale; provided that such restrictions and conditions apply only to the
Subsidiary or assets that is or are to be sold and such sale is permitted hereunder;

                (d)     customary provisions in leases, licenses, sublicenses and other contracts restricting
the assignment thereof;

               (e)      restrictions imposed by any agreement relating to secured Indebtedness permitted
by this Agreement to the extent such restriction applies only to the property securing such Indebtedness;

                  (f)      any restrictions or conditions set forth in any agreement in effect at any time any
Person becomes a Subsidiary (but not any modification or amendment expanding the scope of any such
restriction or condition); provided that such agreement was not entered into in contemplation of such Person
becoming a Subsidiary and the restriction or condition set forth in such agreement does not apply to the
Loan Parties or any of their respective Subsidiaries;

                 (g)   conditions in any agreement that was effective prior to the Effective Date and to
the extent such agreement was permitted under the Prepetition Senior Priority Credit Agreement;

                (h)     restrictions on cash (or Permitted Investments) or other deposits imposed by
agreements entered into in the ordinary course of business (or other restrictions on cash or deposits
constituting Permitted Encumbrances);

                 (i)    restrictions set forth on Schedule 6.09 and any extension, renewal, amendment,
modification or replacement thereof, except to the extent any such amendment, modification or replacement
expands the scope of any such restriction or condition;

                 (j)     customary provisions in joint venture agreements and other similar agreements
applicable to joint ventures permitted by Section 6.04;

               (k)     customary restrictions contained in leases, subleases, licenses, sublicenses or asset
sale agreements otherwise permitted hereby so long as such restrictions relate only to the assets subject
thereto;

                 (l)      customary provisions restricting subletting or assignment of any lease governing a
leasehold interest of the Loan Parties or any of their respective Subsidiaries; and

                 (m)     customary provisions related to creditworthiness of the tenant contained in real
property leases entered into by Subsidiaries of any Borrower, so long as the Lead Borrower has determined
in good faith that such creditworthiness provisions could not reasonably be expected to impair the ability
of any Borrower and its Subsidiaries to meet their ongoing obligations.



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                 SECTION 6.10         [Reserved].

                 SECTION 6.11         Changes in Fiscal Periods.

                 No Loan Party will make any change in its fiscal year; provided, however, that the Lead
Borrower may, upon written notice to the Administrative Agent, change its fiscal year to any other fiscal
year reasonably acceptable to the Required Lenders, in which case, the Lead Borrower and the
Administrative Agent (acting at the direction of the Required Lenders) will, and are hereby authorized by
the Lenders to, make any adjustments to this Agreement that are necessary to reflect such change in fiscal
year, without any requirement of consent by any Lender or other Person (notwithstanding anything to the
contrary in Section 9.02).

                 SECTION 6.12         Amendment of Financing Documents.

                 The Loan Parties will not, and will not permit any of their respective Subsidiaries to, amend,
modify, waive, terminate or release any Prepetition ABL Loan Document, any Prepetition Junior Priority
Loan Document or any Holdco Loan Document, in each case, in a manner restricted by the terms of any
applicable intercreditor or subordination agreement.

                 SECTION 6.13         Franchise Agreements.

                 The Loan Parties will not, and will not permit any of their respective Subsidiaries to,
maintain or distribute any Franchise Disclosure Documents, or enter into any Franchise Agreements, in
violation of Section 3.20(c).

                 SECTION 6.14         [Reserved].

                 SECTION 6.15         Minimum Liquidity.

                The Lead Borrower shall not permit Liquidity of the Lead Borrower and its Subsidiaries,
determined in accordance with Section 5.16(d) on a consolidated basis in accordance with GAAP, to be
less than $50,000,000.

                 SECTION 6.16         [Reserved].

                 SECTION 6.17         Milestones.

                  The Loan Parties will not and will not permit any of their respective Subsidiaries to,
directly or indirectly, fail to comply with any of the milestones set forth on Schedule 6.17 (the “Milestones”),
except with the prior written consent of the Required Lenders (including by one of the Lender Professionals
on their behalf via email).

                 SECTION 6.18         Permitted Variance.

               The Loan Parties shall not permit (i) the Receipts Variance on an aggregate basis or (ii) the
Disbursements Variance, in each case on an aggregate basis with respect to any Applicable Period, to
exceed the Permitted Variance.

                 SECTION 6.19         Chapter 11 Cases.

                 The Loan Parties shall not, and shall not permit any of their respective Subsidiaries to:



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                (a)     except for the Carve-Out, incur, create, assume, suffer to exist or permit, or file
any motion seeking, any other superpriority claim which is pari passu with, or senior to, the Secured
Obligations (except as may be set forth in the Orders or the Loan Documents);

                 (b)     incur, create, assume, suffer to exist or permit or file any motion seeking, any lien
which is pari passu with, or senior to, the liens granted hereunder, (except as may be set forth in the Orders
or the Loan Documents);

                (c)      make or permit to be made any amendment, modification, supplement or change
to the Orders, as applicable, (other than technical modifications to correct grammatical, ministerial or
typographical errors) without the prior written consent of the Required Lenders;

                 (d)      (A) make payments under any management incentive, severance, retention or other
bonus or compensation plan or on account of claims or expenses arising under section 503(c) of the
Bankruptcy Code, except, in each case, (a) in amounts and on terms and conditions that (i) are approved by
order of the Bankruptcy Court after notice and hearing, (ii) are expressly permitted by the terms of the Loan
Documents and within the limits, including any allowed variance, of the Approved Budget, and (iii) as
approved in writing by the Required Lenders, or (B)(1) enter into or make or implement any amendment,
waiver, supplement, or other modification to any employment agreement or employee compensation plan
or (2) pay or cause to be paid any amount contemplated by such agreements or plans before the date on
which such amount becomes due and payable pursuant to the terms of such agreements or plans, as
applicable, in each case, unless in the ordinary course of business;

                (e)    commence any adversary proceeding, contested matter or other action (or
otherwise support any party) asserting any claims or defenses or otherwise against (or asserting any
surcharge under section 506(c) of the Bankruptcy Code or otherwise against) the Administrative Agent,
any Lender, any other Secured Party and any Prepetition Secured Parties, the other Loan Documents, the
transactions contemplated hereby or thereby, the Prepetition Loan Documents, the other documents or
agreements executed or delivered in connection therewith or the transactions contemplated thereby;

                 (f)      except as expressly set forth in the Orders and solely to the extent of the budgeted
amount set forth therein with respect to an Official Committee investigation prior to the Challenge Deadline,
use any cash collateral, proceeds of the Loans, or any cash or other amounts to (i) investigate, challenge,
object to or contest the extent, validity, enforceability, security, perfection or priority of any of the Liens
securing the Loans, the Liens securing the Prepetition Debt or the Secured Obligations hereunder, (ii)
investigate or initiate any claim or cause of action against any of the Administrative Agent, the Collateral
Agent or the Lenders or Prepetition Secured Parties, (iii) object to or seek to prevent, hinder or delay or
take any action to adversely affect the rights or remedies of the Lenders or the Prepetition Secured Parties,
(iv) seek to approve superpriority claims or grant liens or security interests (other than those expressly
permitted under the Loan Documents and the Orders) that are senior to or pari passu with the Liens securing
the Prepetition Debt, the DIP Superpriority Claims or the adequate protection liens or claims granted under
the Orders or (v) take any other actions prohibited by the Orders; or

                 (g)     file any motion or application with the Bankruptcy Court with regard to actions
taken outside the ordinary course of business of the Loan Parties without consulting with the Lenders and
providing the Lenders three (3) Business Days’ (or as soon thereafter as is practicable) notice and the
opportunity to review and comment on each such motion.

                                               ARTICLE VII

                                         EVENTS OF DEFAULT


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                SECTION 7.01           Events of Default.

                If any of the following events (any such event, an “Event of Default”) shall occur:

                (a)      any Loan Party shall fail to pay any principal or interest on any Loan or any other
amount (other than reimbursement of professional fees pursuant to Section 9.03) of any Loan when and as
the same shall become due and payable, whether at the due date thereof or at a date fixed for prepayment
thereof or otherwise, and such failure shall continue unremedied for a period of three (3) days;

                 (b)     any Loan Party shall fail to pay the reimbursement of any professional fees
pursuant to Section 9.03 when and as the same shall become due and payable, and such failure shall continue
unremedied for a period of three (3) days;

                 (c)      any representation or warranty made or deemed made by or on behalf of any Loan
Party or any of their respective Subsidiaries in connection with any Loan Document or any amendment or
modification thereof or waiver thereunder, or in any report, certificate, financial statement or other
document furnished pursuant to or in connection with any Loan Document or any amendment or
modification thereof or waiver thereunder, shall prove to have been incorrect in any material respect (or all
respects to the extent already qualified by materiality) when made or deemed made, and such incorrect
representation or warranty (if curable) shall remain incorrect for a period of thirty (30) days after notice
thereof from the Administrative Agent to the Borrower;

                 (d)    the Loan Parties or any of their respective Subsidiaries shall fail to observe or
perform any covenant, condition or agreement contained in Sections 5.02(a), 5.04 (with respect to the
existence of the Borrower), 5.10, 5.14, 5.16, 5.17, 5.18 or in Article VI (other than Section 6.17);

                 (e)      the Loan Parties or any of their respective Subsidiaries shall fail to observe or
perform any covenant, condition or agreement contained in any Loan Document (other than those specified
in paragraph (a), (b) or (d) of this Section 7.01) and such failure shall continue unremedied for a period of
five (5) Business Days after written notice thereof from the Administrative Agent to the Borrower;

                 (f)     the Loan Parties or any of their respective Subsidiaries shall fail to observe or
perform any covenant, condition or agreement contained in Section 6.17, except where such failure to
achieve a Milestone has been waived or extended by the Required Lenders, or the failure to achieve the
Milestone is directly caused by, or results from, an act, omission, or delay by one or more Lenders;

                 (g)      so long as the enforcement of remedies is not subject to the automatic stay as a
result of the commencement of the Chapter 11 Cases, any event or condition occurs that results in any
Material Indebtedness, Indebtedness under the Prepetition ABL Loan Documents, Indebtedness under the
Prepetition Junior Priority Credit Agreements, or Indebtedness under the Secured Holdco Obligations
Guarantee becoming due prior to its scheduled maturity or that enables or permits (with all applicable grace
periods having expired) the holder or holders of any such Indebtedness or any trustee or agent on its or their
behalf to cause any such Indebtedness to become due, or to require the prepayment, repurchase, redemption
or defeasance thereof, prior to its scheduled maturity, provided that this paragraph (g) shall not apply to
(i) secured Indebtedness that becomes due as a result of the sale, transfer or other disposition (including as
a result of a casualty or condemnation event) of the property or assets securing such Indebtedness (to the
extent such sale, transfer or other disposition is not prohibited under this Agreement) or (ii) termination
events or similar events occurring under any Swap Agreement that constitutes Material Indebtedness, other
than on account of failure to make a payment required as a result of such termination or similar events;

                (h)      [reserved];



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                (i)     [reserved];

                 (j)     so long as the enforcement of remedies is not subject to the automatic stay as a
result of the commencement of the Chapter 11 Cases, one or more final, non-appealable, enforceable
judgments for the payment of money in an aggregate amount in excess of $10,000,000 (to the extent not
covered by insurance (including self-insurance) as to which the insurer has been notified of such judgment
or order and has not denied coverage) shall be rendered against any Loan Parties and any of their respective
Subsidiaries or any combination thereof and the same shall remain undischarged for a period of sixty
(60) consecutive days during which execution shall not be effectively stayed, or any judgment creditor shall
legally attach or levy upon assets of such Loan Party that are material to the businesses and operations of
the Loan Parties and their Subsidiaries, taken as a whole, to enforce any such judgment;

                (k)     an ERISA Event occurs that has resulted or would reasonably be expected to result
in a Material Adverse Effect;

                (l)     [reserved];

                (m)     any material provision of any Loan Document or any material Guarantee of the
Secured Obligations shall for any reason be asserted in writing by any Loan Party not to be a legal, valid
and binding obligation of any Loan Party thereto other than as expressly permitted hereunder or thereunder;

               (n)      any material Guarantee of the Secured Obligations by any Loan Party pursuant to
the Guaranty shall cease to be in full force and effect (other than in accordance with the terms of the Loan
Documents);

                (o)     [reserved]; or

                (p)     any of the following shall have occurred in the Chapter 11 Cases;

                (i) the Effective Date shall not have occurred within three (3) Business Days after the date
                    of entry of the Interim DIP Order (or such later date as the Required Lenders may agree
                    in their sole discretion);

                (ii) any act or occurrence that would, upon the delivery of notice, permit the Restructuring
                     Support Agreement to be terminated unless such act or occurrence was waived, cured
                     or extended in accordance with the terms of the Restructuring Support Agreement;

                (iii) the Loan Parties’ failure to satisfy any of the Milestones subject to the waiver or
                     extension of such Milestones pursuant to the terms of the Restructuring Support
                     Agreement;

                (iv) the Loan Parties’ (i) (A) failure to conduct a marketing and sale process for the Loan
                    Parties’ assets or (B) taking of actions during such a marketing and sale process that
                    are not provided by the Bidding Procedures (as defined in the Restructuring Support
                    Agreement), or (ii) subject to the terms of the Restructuring Support Agreement, failure
                    to promptly terminate the Sale Process (as defined in the Restructuring Support
                    Agreement) if the Loan Parties have not received a Sufficient Bid (as defined in the
                    Restructuring Support Agreement) on or before the Bid Deadline (as defined in the
                    Restructuring Support Agreement), in each case, without the prior written consent of
                    the Required Consenting First Lien Lenders (as defined in the Restructuring Support
                    Agreement);



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  (v) the filing by any Chapter 11 Debtor of any chapter 11 plan (or any amendment thereof
     or supplement thereto), other than the Plan of Reorganization, that is inconsistent in
     any material respect with the Plan of Reorganization or the Restructuring Support
     Agreement to which the Required Lenders do not consent in writing;

  (vi) the Interim DIP Order (a) at any time ceases to be in full force and effect or (b) shall
      be vacated, reversed, stayed, amended, supplemented or modified without the prior
      written consent of the Required Lenders;

  (vii)    except with the prior written consent of the Required Lenders, the entry of an order
       in any of Chapter 11 Cases (a) staying, reversing, amending, supplementing, vacating
       or otherwise modifying any of the Loan Documents, the Interim DIP Order or the Final
       DIP Order, or (b) impairing or modifying any of the liens, security interests, claims,
       rights, remedies, privileges, benefits or protections granted under the Loan Documents
       or under the Orders to the Secured Parties or the Prepetition Secured Parties;

  (viii) the failure of any of the Chapter 11 Debtors to comply with any of the terms or
       conditions of the Interim DIP Order or the Final DIP Order;

  (ix) the dismissal of any of the Chapter 11 Cases or conversion of any of the Chapter 11
       Cases to a Chapter 7 case;

  (x) the appointment or election of a Chapter 11 trustee, a responsible officer or an
      examiner (other than a fee examiner) under section 1104 of the Bankruptcy Code with
      enlarged powers (beyond those set forth in Section 1106(a)(3) and (4) of the
      Bankruptcy Code) relating to the operation of the business of any Chapter 11 Debtor
      in the Chapter 11 Cases;

  (xi) the entry of an order in any of the Chapter 11 Cases authorizing the Chapter 11 Debtors
       (i) to obtain additional financing under section 364(c) or (d) of the Bankruptcy Code
       that does not provide for the repayment in full in cash of all Secured Obligations under
       this Agreement (without the prior written consent of the Required Lenders); or (ii) to
       grant any Lien, other than Liens expressly permitted under this Agreement and the
       Orders, upon or affecting any Collateral;

  (xii)     (a) the consensual use of prepetition cash collateral is terminated or modified, or
       (b) the entry of an order in any of the Chapter 11 Cases terminating or modifying the
       use of cash collateral other than as provided in this Agreement and the Orders, in each
       case, without the prior written consent of the Required Lenders;

  (xiii) except for the Carve-Out, and except as expressly permitted hereunder, the entry
       of an order in any of the Chapter 11 Cases granting any claim against any Chapter 11
       Debtor entitled to superpriority administrative expense status in any of the Chapter 11
       Cases pursuant to section 364(c)(2) of the Bankruptcy Code that is pari passu with or
       senior to the claims of the Secured Parties or the Adequate Protection Claims granted
       to the Prepetition Secured Parties (without the prior written consent of the Required
       Lenders or the requisite Prepetition Secured Parties with respect to the obligations
       owed to each of them);

  (xiv) except for the Carve-Out or as expressly permitted hereunder, the entry of an order
      in any of the Chapter 11 Cases granting any Lien in Collateral that is pari passu with



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      or senior to any Lien granted to the Secured Parties, or any Adequate Protection Lien
      granted to the Prepetition Secured Parties (without the prior written consent of the
      Required Lenders or the requisite the Prepetition Secured Parties with respect to the
      obligations owed to each of them);

  (xv)    except as provided in the Orders, the making of any adequate protection payment
      or the granting of any adequate protection (including, without limitation, the granting
      of any Liens on the Collateral, superpriority claims, the right to receive cash payments
      or otherwise), without the prior written consent of the Required Lenders and the
      requisite Prepetition Secured Parties;

  (xvi) the Chapter 11 Debtors’ “exclusive period” under Section 1121 of the Bankruptcy
      Code for the filing and/or solicitation of a chapter 11 plan is terminated or shortened
      for any reason;

  (xvii) the payment of, or any Chapter 11 Debtors file a motion or application seeking
      authority to pay, any Prepetition Debt or other prepetition claim other than (A) as
      provided in any of the First Day Orders, (B) to the extent such payment is expressly
      permitted pursuant to this Agreement and the Approved Budget, or (C) with the prior
      written consent of the Required Lenders;

  (xviii) the entry of an order in any of the Chapter 11 Cases granting relief from or
      otherwise modifying any stay of proceeding (including the automatic stay) to allow a
      third party to execute upon or enforce a Lien against any assets of the Chapter 11
      Debtors that have an aggregate value in excess of $2,000,000 or with respect to any
      Lien of or the granting of any Lien on any assets of the Chapter 11 Debtors to any state
      or local environmental or regulatory agency or authority having priority over the Liens
      in favor of the Secured Parties, without the prior written consent of the Required
      Lenders;

  (xix) (A) any Chapter 11 Debtor shall (i) challenge or contest the validity or
      enforceability of the Orders or any Loan Document or deny that it has further liability
      thereunder, (ii) challenge or contest the nature, extent, amount, enforceability, validity,
      priority or perfection of the Secured Obligations, Liens securing the Secured
      Obligations, the DIP Superpriority Claims, Loan Documents, Adequate Protection
      Liens, Adequate Protection Claims, the Prepetition Senior Priority Obligations, the
      Liens securing the Prepetition Senior Priority Obligations or the Prepetition Senior
      Priority Loan Documents, (iii) assert any claim, defense or cause of action that seeks
      to avoid, recharacterize, subordinate (whether equitable subordination or otherwise),
      disgorge, disallow, impair or offset all or any portion of the Secured Obligations, Liens
      securing the Secured Obligations, the DIP Superpriority Claims, Loan Documents,
      Adequate Protection Liens, Adequate Protection Claims, the Prepetition Senior
      Priority Obligations, the Liens securing the Prepetition Senior Priority Obligations and
      the Prepetition Senior Priority Loan Documents, (iv) investigate, join or file any
      motion, application or other pleading in support of, or publicly support any other
      Person that has asserted any of the claims, challenges or other requested relief
      contemplated in clauses (i) - (iii) above, or fails to timely contest such claims,
      challenges or other requested relief in good faith (provided, that responding to any
      investigation conducted by an Official Committee or other party with respect to the
      nature, extent, amount, enforceability, validity, priority or perfection of the Prepetition
      Senior Priority Obligations, the Liens securing the Prepetition Senior Priority


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                     Obligations and the Prepetition Senior Priority Loan Documents, subject in each case
                     to the Orders, shall not, in and of itself, constitute an Event of Default hereunder); or
                     (B) the entry of a judgment or order in any of the Chapter 11 Cases sustaining any of
                     the claims, challenges, causes of action or other relief contemplated in clauses (i) - (iii)
                     above;

                 (xx)    the entry of an order in any of the Chapter 11 Cases, avoiding, disallowing,
                     offsetting, recharacterizing, subordinating, disgorging or requiring repayment of any
                     payments made to the Secured Parties on account of the Secured Obligations owing
                     under the Orders, this Agreement, the other Loan Documents;

                 (xxi)    the entry of any order in any of the Chapter 11 Cases (a) charging any of the
                     Collateral with respect to the Secured Parties, whether under Section 506(c) of the
                     Bankruptcy Code or otherwise or (b) charging any of the Prepetition Senior Priority
                     Collateral with respect to the Prepetition Senior Priority Secured Parties, whether under
                     Section 506(c) of the Bankruptcy Code or otherwise;

                 (xxii)   any Chapter 11 Debtor shall consummate or seek to obtain Bankruptcy Court
                     approval of any sale or other disposition of all or any portion of the Collateral pursuant
                     to Section 363 of the Bankruptcy Code or otherwise (other than in ordinary course of
                     business and that is contemplated by the Approved Budget and not prohibited by this
                     Agreement), without the prior written consent of the Required Lenders;

                 (xxiii) the Restructuring Support Agreement is terminated by any party thereto or
                     otherwise terminates in accordance with the terms thereof;

                 (xxiv) if any Chapter 11 Debtor is enjoined, restrained, or in any way prevented by court
                     order or a Governmental Authority from continuing to conduct all or any material part
                     of the business affairs of the Chapter 11 Debtors and their Subsidiaries;

                 (xxv)     any Chapter 11 Debtor initiates, commences, joins, publicly supports, pursues,
                     files any motion, application or other pleading in support of, or fails to contest in good
                     faith, the actions or relief described in clauses (viii), (x) through (xvii), (xxi) and (xxii)
                     of this Section 7.01(k);

then, and in every such event, and at any time thereafter during the continuance of such event and without
order from or application to the Bankruptcy Court, the automatic stay provisions of section 362 of the
Bankruptcy Code shall be vacated and modified to the extent necessary to permit the applicable Agent, at
the direction of the Required Lenders, to: (A) deliver to the Borrower a notice declaring the occurrence of
an Event of Default, (B) declare the termination, reduction, or restriction of the Commitments, (C) declare
the Term Loans then outstanding to be due and payable, (D) declare the termination, reduction or restriction
on the ability of the Loan Parties to use any cash collateral, (E) terminate this Agreement, (F) charge the
default rate of interest under this Agreement, (G) freeze all monies in any deposit accounts of the Loan
Parties, (H) exercise any and all rights of setoff, (I) exercise any right or remedy with respect to the
Collateral or the Liens created under the Loan Documents, or (J) take any other action or exercise any other
right or remedy permitted under the Loan Documents, the Orders or Requirements of Law; provided,
however, that in the case of the enforcement of rights against the Collateral pursuant to clauses (D), (F),
(G), (H), (I) and (J) above, (i) the Administrative Agent, acting at the request of the Required Lenders, shall
provide counsel to the Loan Parties, counsel to the Official Committee (if any), and the Office of the United
States Trustee with five (5) days’ prior written notice (such period, the “Remedies Notice Period”), and
(ii) during the Remedies Notice Period, the applicable Agent shall refrain from exercising its rights and


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remedies and the Loan Parties and/or any Official Committee shall be permitted to request an emergency
hearing before the Bankruptcy Court (which request must be made prior to the conclusion of the Remedies
Notice Period and shall seek consideration of such request on an expedited basis) solely to the extent they,
in good faith, dispute the occurrence of an Event of Default, to consider on an expedited basis whether an
Event of Default has in fact occurred or is continuing; provided, further, that during the Remedies Notice
Period, the Loan Parties shall be permitted to use cash collateral solely to fund expenses critically necessary
to preserve the value of the Loan Parties’ business, as determined by Required Lenders.

                 SECTION 7.02         [Reserved].

                 SECTION 7.03         Application of Proceeds.

                 (a)     Subject to the terms of any applicable Existing Intercreditor Agreement, in
connection with the exercise of remedies provided for in Section 7.01, any amounts received on account of
the Secured Obligations (including in respect of any sale of, collection from or other realization upon all or
any part of the Collateral (including any Collateral consisting of cash) or the Guarantees) shall be applied
by the Administrative Agent to the payment of the Secured Obligations as follows:

                 (i)      first, to the payment of (x) first, all reasonable and documented or invoiced out of
pocket costs and expenses incurred by the Agents in connection with such sale, collection, other realization
or otherwise and to the payment of all other amounts owing to each of the Administrative Agent, and the
Collateral Agent in connection with this Agreement, any other Loan Document or any of the Secured
Obligations, including all reasonable and documented out of pocket costs and the fees and expenses of its
agents and counsel (limited, in the case of legal fees and expenses, to the reasonable and documented fees,
disbursements and other charges of Seward & Kissel LLP, as counsel to the Agents and, if reasonably
necessary, of a single firm of local counsel to the Agents, in each relevant material jurisdiction (which may
include a single special counsel acting in multiple jurisdictions)), the repayment of all advances made by it
under any Loan Document on behalf of any Grantor and any other costs or expenses incurred in connection
with the exercise of any right or remedy under any Loan Document, in each case, if and to the extent payable
pursuant to the terms of the Loan Documents and (y) second, all reasonable and documented out-of-pocket
costs and expenses incurred by the Lender Professionals in connection with such sale, collection, other
realization or otherwise, in each case to the extent required to be reimbursed pursuant to Section 9.03(a) of
this Agreement;

                 (ii)    second, to the payment in full of the New Money Term Loans, (including both the
principal and interest owed thereon) (the amounts so applied to be distributed among such Secured Parties
pro rata in accordance with the amounts of the New Money Term Loans owed to them on the date of any
such distribution) in accordance with this Agreement;

                  (iii)  third, to the payment in full of the Roll-Up Term Loans (including both the
principal and interest owed thereon) (the amounts so applied to be distributed among such Secured Parties
pro rata in accordance with the amounts of the Roll-Up Term Loans owed to them on the date of any such
distribution) in accordance with this Agreement;

                (iv)     fourth, to any agent of any other junior secured debt, in accordance with any
applicable Existing Intercreditor Agreement; and

                (v)     fifth, to the Borrower, its successors or assigns, or as a court of competent
jurisdiction may otherwise direct.

                 In the event that application of payments, Collateral proceeds is to be made after any



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bankruptcy or insolvency proceeding has been commenced, references in this Section 7.03(a) with respect
to (i) interest shall include interest accruing after the commencement of such bankruptcy or insolvency
proceeding whether or not such interest is an allowed claim in such bankruptcy or insolvency proceeding,
and (ii) any other amounts shall only include amounts that are allowed claims in such bankruptcy or
insolvency proceeding.

                 (b)     [Reserved]

                 SECTION 7.04         Bankruptcy Code and Other Remedies.

                 (a)     Without in any way limiting the foregoing, during the continuance of an Event of
Default, subject to the Orders, the applicable Agent (acting at the direction of the Required Lenders) may
exercise, in addition to all other rights and remedies granted to it in this Agreement (including, without
limitation, Section 7.01) and in any other instrument or agreement securing, evidencing or relating to any
Secured Obligation, all rights and remedies of a secured party under the Bankruptcy Code, the Uniform
Commercial Code and any other applicable law.

                  (b)       Disposition of Collateral. Subject to the Orders, without limiting the generality
of the foregoing, the Collateral Agent (acting at the direction of the Required Lenders) may, without demand
of performance or other demand, presentment, protest, advertisement or notice of any kind (except any
notice required by the Orders and any notice required by law referred to below) to or upon any Loan Party
or any other Person (all and each of which demands, defenses, advertisements and notices are hereby waived
(except as required by the Orders)), during the continuance of any Event of Default (directly or through its
agents, designees or an acquisition vehicle), (i) enter upon the premises where any Collateral is located,
without any obligation to pay rent, through self- help, without judicial process, without first obtaining a
final judgment or giving any Loan Party or any other Person notice or opportunity for a hearing on the
Collateral Agent’s claim or action, (ii) collect, receive, appropriate and realize upon any Collateral, (iii)
dispose of, sell, grant option or options to purchase and deliver any Collateral (enter into contractual
obligations to do any of the foregoing), in one or more parcels at public or private sale or sales, at any
exchange, broker’s board or office of any Secured Party or elsewhere upon such terms and conditions as it
may deem advisable and at such prices as it may deem best, for cash or on credit or for future delivery
without assumption of any credit risk, (iv) withdraw all cash and Cash Equivalents in any deposit account
or securities account of a Loan Party and apply such cash and Cash Equivalents and other cash, if any, then
held by it as Collateral in satisfaction of the Secured Obligations, and (v) give notice and take sole
possession and control of all amounts on deposit in or credited to any deposit account or securities account
pursuant to any related control agreement. The Collateral Agent (directly or via one or more acquisition
vehicles), acting at the direction of the Required Lenders, shall have the right, upon any such public sale or
sales and, to the extent permitted by the Bankruptcy Code and other applicable Requirements of Law, upon
any such private sale, to purchase the whole or any part of the Collateral so sold (and, in lieu of actual
payment of the purchase price, may “credit bid” or otherwise set off the amount of such price against all or
any portion of the Secured Obligations), free of any right or equity of redemption of any Loan Party, which
right or equity is hereby waived and released.

                  (c)      Management of the Collateral. Subject to the Orders, each Loan Party further
agrees, that, during the continuance of any Event of Default, (i) at the Collateral Agent’s request (acting at
the direction of the Required Lenders), it shall assemble the Collateral and make it available to the Collateral
Agent at places that the Collateral Agent shall reasonably select, whether at such Loan Party’s premises or
elsewhere, (ii) without limiting the foregoing, the Collateral Agent (acting at the direction of the Required
Lenders) also has the right to require that each Loan Party store and keep any Collateral pending further
action by the Collateral Agent and, while any such Collateral is so stored or kept, provide such guards and
maintenance services as shall be necessary to protect the same and to preserve and maintain such Collateral


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in good condition, (iii) until the Collateral Agent is able to sell any Collateral, the Collateral Agent shall
have the right to hold or use such Collateral for the purpose of preserving the Collateral or its value or for
any other purpose deemed appropriate by the Collateral Agent and (iv) the Collateral Agent may, at the
direction of the Required Lenders, seek the appointment of a receiver or keeper to take possession of any
Collateral and to enforce any of the Collateral Agent’s remedies (for the benefit of the Secured Parties),
with respect to such appointment without prior notice or hearing as to such appointment. The Collateral
Agent shall not have any obligation to any Loan Party to maintain or preserve the rights of any Loan Party
as against third parties with respect to any Collateral.

                 (d)       Direct Obligation. Subject to the Orders, neither the Collateral Agent nor any
other Secured Party shall be required to make any demand upon, or pursue or exhaust any right or remedy
against, any Loan Party or any other Person with respect to the payment of the Secured Obligations or to
pursue or exhaust any right or remedy with respect to any Collateral therefor or any direct or indirect
guaranty thereof. All of the rights and remedies of the Collateral Agent and any other Secured Party under
any Loan Document shall be cumulative, may be exercised individually or concurrently and not exclusive
of any other rights or remedies provided by any Requirements of Law. To the extent it may lawfully do so,
each Loan Party absolutely and irrevocably waives and relinquishes the benefit and advantage of, and
covenants not to assert against the Collateral Agent or any Lender or other Secured Party, any valuation,
stay, appraisement, extension, redemption or similar laws and any and all rights or defenses it may have as
a surety, now or hereafter existing, arising out of the exercise by them of any rights hereunder. If any notice
of a proposed sale or other disposition of any Collateral shall be required by law, such notice shall be
deemed reasonable and proper if given at least ten (10) calendar days before such sale or other disposition.

                  (e)       Commercially Reasonable. To the extent that any Requirements of Law impose
duties on the Collateral Agent to exercise remedies in a commercially reasonable manner, each Loan Party
acknowledges and agrees that it is not commercially unreasonable for the Collateral Agent to do any of the
following: (i) fail to incur significant costs, expenses or other liabilities reasonably deemed as such by the
Collateral Agent to prepare any Collateral for disposition or otherwise to complete raw material or work in
process into finished goods or other finished products for disposition; (ii) fail to obtain permits, or other
consents, for access to any Collateral to sell or for the collection or sale of any Collateral, or, if not required
by other Requirements of Law, fail to obtain permits or other consents for the collection or disposition of
any Collateral; (iii) fail to exercise remedies against account debtors or other Persons obligated on any
Collateral or to remove Liens on any Collateral or to remove any adverse claims against any Collateral; (iv)
advertise dispositions of any Collateral through publications or media of general circulation, whether or not
such Collateral is of a specialized nature or to contact other Persons, whether or not in the same business
as any Loan Party, for expressions of interest in acquiring any such Collateral; (v) exercise collection
remedies against account debtors and other Persons obligated on any Collateral, directly or through the use
of collection agencies or other collection specialists, hire one or more professional auctioneers to assist in
the disposition of any Collateral, whether or not such Collateral is of a specialized nature or, to the extent
deemed appropriate by the Collateral Agent (acting at the direction of the Required Lenders), obtain the
services of other brokers, investment bankers, consultants and other professionals to assist the Collateral
Agent in the collection or disposition of any Collateral, or utilize Internet sites that provide for the auction
of assets of the types included in the Collateral or that have the reasonable capacity of doing so, or that
match buyers and sellers of assets to dispose of any Collateral; (vi) dispose of assets in wholesale rather
than retail markets; (vii) disclaim disposition warranties, such as title, possession or quiet enjoyment; or
(viii) purchase insurance or credit enhancements to insure the Collateral Agent against risks of loss,
collection or disposition of any Collateral or to provide to the Collateral Agent a guaranteed return from
the collection or disposition of any Collateral. Each Loan Party acknowledges that the purpose of clauses
(i) through (viii) of this Section 7.04(e) is to provide a non-exhaustive list of actions or omissions that are
commercially reasonable when exercising remedies against any Collateral and that other actions or
omissions by the Secured Parties shall not be deemed commercially unreasonable solely on account of not


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being indicated in such clauses. Without limitation upon the foregoing, nothing contained herein shall be
construed to grant any rights to any Loan Party or to impose any duties on the Collateral Agent that would
not have been granted or imposed by this Agreement or by applicable Requirements of Law in the absence
of this Section 7.04.

                 (f)      Deficiency. Each Loan Party shall remain liable for any deficiency if the proceeds
of any sale or other disposition of any Collateral are insufficient to pay the Secured Obligations and the
fees and disbursements of brokers, investment bankers, consultants and any attorney or other professionals
employed by the Collateral Agent or any other Secured Party to collect such deficiency, in each case to the
extent required to be reimbursed pursuant to Section 9.03.

                                               ARTICLE VIII

                                       ADMINISTRATIVE AGENT

                 SECTION 8.01         Appointment and Authority.

                 (a)     Each of the Lenders hereby irrevocably (i) designates and appoints (A)
Wilmington Trust, National Association to act on its behalf as the Administrative Agent hereunder and
under the other Loan Documents and (B) Wilmington Trust, National Association to act on its behalf as
Collateral Agent hereunder and under the other Loan Documents and (ii) authorizes the Administrative
Agent and the Collateral Agent (in their capacities as such), as applicable, to take such actions on such
Lender’s behalf and to exercise such powers as are expressly delegated to the Administrative Agent and the
Collateral Agent, as applicable, by the terms hereof or thereof, together with such actions and powers as
are reasonably incidental thereto. Each Secured Party that is not a party hereto, by accepting the benefits of
the Security Documents, hereby irrevocably appoints Wilmington Trust, National Association to act on its
behalf as Collateral Agent under the Security Documents and authorizes Wilmington Trust, National
Association (in its capacity as Collateral Agent) to take such actions on such Secured Party’s behalf and to
exercise such powers as are expressly delegated to the Collateral Agent by the terms hereof or thereof
together with such actions and powers as are reasonably incidental thereto. The provisions of this Article
are solely for the benefit of the Administrative Agent, the Collateral Agent and the Lenders, and the
Borrower shall not have rights as a third party beneficiary of any of such provisions. It is understood and
agreed that the use of the term “agent” herein or in any other Loan Documents (or any other similar term)
with reference to the Administrative Agent or the Collateral Agent is not intended to connote any fiduciary
or other implied (or express) obligations arising under agency doctrine of any applicable Requirements of
Law. Instead such term is used as a matter of market custom, and is intended to create or reflect only an
administrative relationship between contracting parties.

                 (b)      Each of the Lenders and each Secured Party that is not a party hereto, by accepting
the benefits of the Security Documents, hereby irrevocably appoints and authorizes the Collateral Agent,
as applicable, to act as the agent of such Lender for purposes of acquiring, holding and enforcing any and
all Liens on Collateral granted by any of the Loan Parties to secure any of the Secured Obligations, together
with such powers as are reasonably incidental thereto. In this connection, the Collateral Agent and any co-
agents, sub-agents and attorneys-in-fact appointed by the Administrative Agent and/or the Collateral Agent
pursuant to Section 8.05 for purposes of holding or enforcing any Lien on the Collateral (or any portion
thereof) granted under the Security Documents, or for exercising any rights and remedies thereunder at the
direction of the Administrative Agent, shall be entitled to the benefits of all provisions of this Article VIII
and Article IX (including Section 9.03 as though such co-agents, sub-agents and attorneys-in-fact were the
“collateral agent” under the Loan Documents) as if set forth in full herein with respect thereto.




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                  (c)    Notwithstanding anything to the contrary in the Loan Documents, each of the
Lenders hereby authorize and empower each Agent, upon prior written consent by the Required Lenders,
to (i) execute all documents and (ii) make all acknowledgements.

                 SECTION 8.02         Rights as a Lender.

                Any Person serving as an Agent hereunder shall have the same rights and powers in its
capacity as a Lender as any other Lender and may exercise the same as though it were not an Agent and the
term “Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context otherwise
requires, include the Person serving as Agent hereunder in its individual capacity. Such Person and its
Affiliates may accept deposits from, own securities of, lend money to, act as the financial advisor or in any
other advisory capacity for and generally engage in any kind of business with the Borrower or any
Subsidiary or other Affiliate thereof as if such Person were not an Agent hereunder and without any duty
to account therefor to the Lenders.

                 SECTION 8.03         Exculpatory Provisions.

                No Agent shall have any duties or obligations except those expressly set forth herein and
in the other Loan Documents. Without limiting the generality of the foregoing, each Agent:

                (a)     shall not be subject to any fiduciary or other implied duties, regardless of whether
a Default has occurred and is continuing;

                 (b)       shall not have any duty to take any discretionary action or exercise any
discretionary powers, and shall not be required to exercise any discretion or to take any action, but shall be
required to act or refrain from acting (and shall be fully protected in so acting or refraining from acting) as
directed in writing by the Required Lenders (or such other number or percentage of the Lenders as shall be
expressly provided for herein or in the other Loan Documents); provided that such Agent shall not be
required to take any action (i) unless it is furnished with an indemnification satisfactory to such Agent from
the Lenders with respect thereto or (ii) that, in its opinion or the opinion of its counsel, may expose such
Agent to liability or that is contrary to any Loan Document or applicable law;

                 (c)       shall not, except as expressly set forth herein and in the other Loan Documents,
have any duty to disclose, and shall not be liable for the failure to disclose, any information relating to the
Borrower or any of its Affiliates that is communicated to or obtained by the Person serving as such Agent
or any of its Affiliates in any capacity;

                 (d)     shall in no event be responsible or liable for any failure or delay in the performance
of its obligations hereunder arising out of or caused by, directly or indirectly, forces beyond its control,
including without limitation, any act or provision of any present or future law or regulation or governmental
authority; acts of God; earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage;
epidemics; riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or
communications service; accidents; labor disputes; acts of civil or military authority or governmental
actions;

                  (e)    shall not be liable for any action taken or not taken by it (i) with the consent or at
the request of the Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) or (ii) in the absence of its own gross negligence or
willful misconduct as determined by a court of competent jurisdiction by final and non-appealable
judgment;




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                (f)     shall be deemed not to have knowledge of any Default unless and until written
notice describing such Default conspicuously marked as a “notice of default” is given to such Agent by the
Borrower or a Lender and received by an officer of such Agent responsible for the administration of this
Agreement;

                  (g)      shall not be responsible for or have any duty to ascertain or inquire into (i) any
statement, warranty or representation made in or in connection with this Agreement or any other Loan
Document, (ii) the contents of any certificate, report or other document delivered hereunder or thereunder
or in connection herewith or therewith, (iii) the performance or observance of any of the covenants,
agreements or other terms or conditions set forth herein or therein or the occurrence of any Default or Event
of Default, (iv) the validity, enforceability, effectiveness or genuineness of this Agreement, any other Loan
Document or any other agreement, instrument or document, or the creation, perfection or priority of any
Lien or security interests purported to be granted to such Agent pursuant to this Agreement or any other
Loan Document have been or will continue to be properly or sufficiently or lawfully created, perfected or
enforced or are entitled to any particular priority, (v) the value or the sufficiency of any Collateral, or (vi)
the satisfaction of any condition set forth in Article IV, or (vii) the validity, enforceability, effectiveness or
genuineness of this Agreement, any other Loan Document or any other agreement, instrument or document,
or the creation, perfection or priority of any Lien purported to be created by the Security Documents;

                (h)     shall not be responsible for nor have any duty to monitor the performance or any
action of the Borrower or other Loan Party, or any of their directors, members, officers, agents, affiliates
or employees, nor shall it have any liability in connection with the malfeasance or nonfeasance by such
party, and may assume performance by all such Persons of their respective obligations and shall have no
enforcement or notification obligations relating to breaches of representations or warranties of any other
Person;

                 (i)      shall not be liable for any action taken in good faith and reasonably believed by it
to be within the powers conferred upon it, or taken by it pursuant to any direction or instruction by which
it is governed, or omitted to be taken by it by reason of the lack of direction or instruction required hereby
for such action (including without limitation for refusing to exercise discretion or for withholding its
consent in the absence of its receipt of, or resulting from a failure, delay or refusal on the part of any Lender
to provide, written instructions to exercise such discretion or grant such consent from any such Lender, as
applicable);

               (j)    shall not be liable for any error of judgment made by it (or by an officer or other
employee of such Agent) in good faith;

                 (k)     not be liable for any indirect, special, punitive or consequential damages (including,
without limitation, lost profits) whatsoever, even if it has been informed of the likelihood thereof and
regardless of the form of action;

                (l)       not be required to take any action under this Agreement, the other Loan Documents
or any related document if taking such action would (A) subject such Agent to a tax in any jurisdiction
where it is not then subject to a tax or (B) would require such Agent to qualify to do business in any
jurisdiction where it is not then so qualified;

                 (m)      shall not have any duty as to any collateral in its possession or in the possession
of someone under its control or in the possession or control of any agent or nominee of the Agents or any
income thereon or as to the preservation of rights prior parties or any other rights pertaining thereto, except
the duty to accord such of the collateral as may be in its possession substantially the same care as it accords
similar assets held for the benefit of third parties and the duty to account for monies received by it. The


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Agents shall not be under any obligation to independently request or examine insurance coverage with
respect to any collateral nor shall the Agent’s be liable for the acts or omissions of any bank, depositary
bank, custodian, independent counsel of any other Person or any other party selected by the Agents with
reasonable care or selected by any other party hereto that may hold or possess collateral or documents
related to collateral, and the Agents shall not be required to monitor the performance of any such Persons
holding collateral. For the avoidance of doubt, the Agents shall not be responsible to the Lenders for the
perfection of any lien or for the filing, form, content or renewal of any UCC financing statements, fixture
filings, mortgages, deeds of trust and such other documents or instruments;

                 (n)       notwithstanding anything contained in this Agreement or any other Loan
Document to the contrary, shall not be under any obligation (i) to monitor, determine or verify the
unavailability or cessation of any Benchmark (or other applicable benchmark interest rate), or whether or
when there has occurred, or to give notice to any other transaction party of the occurrence of, any date on
which such rate may be required to be transitioned or replaced in accordance with the terms of the Loan
Documents, applicable law or otherwise, (ii) to select, determine or designate any replacement to such rate,
or other successor or replacement benchmark index, or whether any conditions to the designation of such a
rate have been satisfied, (iii) to select, determine or designate any adjustment or modifier to any replacement
or successor index, or (iv) to determine whether or what any amendments to this Agreement or the other
Loan Documents are necessary or advisable, if any, in connection with any of the foregoing. The Agents
shall not be liable for any inability, failure or delay on its part to perform any of its duties set forth in this
Agreement or any other Loan Document as a result of the unavailability of any Benchmark (or other
applicable benchmark interest rate), including as a result of any inability, delay, error or inaccuracy on the
part of any other party, including without limitation any Lenders or any Borrower, in providing any
direction, instruction, notice or information required or contemplated by the terms of this Agreement and
reasonably required for the performance of such duties. The Agents shall have no liability for any interest
rate published by any publication that is the source for determining the interest rates of the Loans, including
but not limited to Bloomberg (or any successor source) and the Bloomberg or Reuters screen (or any
successor source), or for any rates published on any publicly available source, including without limitation
the Federal Reserve Bank of New York’s Website or any website administered by the Term SOFR
Administrator, or in any of the foregoing cases for any delay, error or inaccuracy in the publication of any
such rates, or for any subsequent correction or adjustment thereto; and

                 (o)     if at any time an Agent is served with any judicial or administrative order,
judgment, decree, writ or other form of judicial or administrative process (including orders of attachment
or garnishment or other forms of levies or injunctions or stays relating to the transfer of any Collateral),
such Agent is authorized to comply therewith in any manner as it or its legal counsel of its own choosing
deems appropriate, and if such Agent complies with any such judicial or administrative order, judgment,
decree, writ or other form of judicial or administrative process, such Agent shall not be liable to any of the
parties hereto or to any other Person even though such order, judgment, decree, writ or process may be
subsequently modified or vacated or otherwise determined to have been without legal force or effect.

The Agents’ rights, protections, indemnities and immunities provided in this Agreement shall apply to such
Agent for any actions taken or omitted to be taken under this agreement and any other Loan Documents
and any other related agreements in any of its respective capacities.

                 SECTION 8.04          Reliance by Agents.

                Each Agent shall be entitled to conclusively rely upon, and shall not incur any liability for
relying upon, any notice, request, certificate, consent, statement, instrument, document or other writing
(including any electronic message, Internet or intranet website posting or other distribution) believed by it
to be genuine and to have been signed, sent or otherwise authenticated by the proper Person. Each Agent


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also may conclusively rely upon any statement made to it orally or by telephone and believed by it to have
been made by the proper Person, and shall not incur any liability for relying thereon. In determining
compliance with any condition hereunder to the making of a Loan, that by its terms must be fulfilled to the
satisfaction of a Lender, the Administrative Agent may presume that such condition is satisfactory to such
Lender unless the Administrative Agent shall have received notice to the contrary from such Lender prior
to the making of such Loan. Each Agent may consult with legal counsel (who may be counsel for the
Borrower), independent accountants and other experts selected by it, and shall not be liable for any action
taken or not taken by it in accordance with the advice of any such counsel, accountants or experts. As to
any matters not expressly provided for in this Agreement and in the other Loan Documents (including
enforcement or collection), the Administrative Agent and/or the Collateral Agent shall not be required to
exercise any discretion or take any action, but shall be required to act or to refrain from acting (and shall be
fully protected in so acting or refraining from acting) upon the written instructions of the Required Lenders
(or such other number or percentage of the Lenders as shall be expressly provided for herein or in the other
Loan Documents), and, unless and until revoked in writing, such instructions shall be binding upon each
Lender. Each Agent shall be fully justified in failing or refusing to take any action under this Agreement
or any other Loan Document unless it shall first receive such advice or concurrence of the Required Lenders
as it deems appropriate. Each Agent shall in all cases be fully protected in acting, or in refraining from
acting, under this Agreement and the other Loan Documents in accordance with a request of the Required
Lenders. Notwithstanding anything herein or in any other Loan Document to the contrary, and without
limiting any rights, protections, immunities or indemnities to the Agents hereunder, phrases such as
“satisfactory to the [Administrative Agent][Collateral Agent],” “approved by the [Administrative
Agent][Collateral Agent],” “acceptable to the [Administrative Agent][Collateral Agent],” “as determined
by the [Administrative Agent][Collateral Agent],” “in the [Administrative Agent][Collateral Agent]’s
discretion,” “selected by the [Administrative Agent][Collateral Agent],” “elected by the [Administrative
Agent][Collateral Agent],” “requested by the [Administrative Agent][Collateral Agent],” and phrases of
similar import that authorize and permit an Agent to approve, disapprove, determine, act or decline to act
in its discretion shall be subject to such Agent receiving written direction from the Required Lenders (or
such other number or percentage of the Lenders as shall be expressly provided for herein or in the other
Loan Documents) to take such action or to exercise such rights. Upon request by the Administrative Agent
and/or the Collateral Agent, as the case may be, the Required Lenders shall confirm in writing the
Administrative Agent’s authority and/or the Collateral Agent’s authority, as the case may be, to take any
action in accordance with the terms of the Loan Documents and this Section 8.04 and may refrain from
acting until such confirmation has been provided.

                   Notwithstanding anything else to the contrary herein, whenever reference is made in this
Agreement, or any other Loan Document, to any discretionary action by, consent, designation, specification,
requirement or approval of, notice, request or other communication from, or other direction given or action
to be undertaken or to be (or not to be) suffered or omitted by the Administrative Agent or the Collateral
Agent or to any election, decision, opinion, acceptance, use of judgment, expression of satisfaction or other
exercise of discretion, rights or remedies to be made (or not to be made) by the Administrative Agent or the
Collateral Agent, it is understood that in all cases the Administrative Agent or such Collateral Agent shall
be fully justified in failing or refusing to take any such action if it shall not have received written instruction,
advice or concurrence from the Required Lenders (or such other number or percentage of the Lenders as
shall be expressly provided for herein or in any other Loan Document). The Administrative Agent and
Collateral Agent shall have no liability for any failure or delay in taking any actions contemplated above as
a result of a failure or delay on the part of the Required Lenders (or such other number or percentage of the
Lenders as shall be expressly provided for herein or in any other Loan Document) to provide such
instruction, advice or concurrence. This provision is intended solely for the benefit of each of the
Administrative Agent and the Collateral Agent and its successors and permitted assigns and is not intended
to and will not entitle the other parties hereto to any defense, claim or counterclaim, or confer any rights or
benefits on any party hereto.


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                  The Administrative Agent and the Collateral Agent shall in all cases be fully justified in
failing or refusing to act unless it shall receive further assurances to its reasonable satisfaction, including
indemnification, from the Lenders against any and all liability and expense that may be incurred by it by
reason of taking or continuing to take any such action. No provision of this Agreement or any Loan
Document shall require the Administrative Agent or the Collateral Agent to take any action that it
reasonably believes to be contrary to applicable law or to expend or risk its own funds or otherwise incur
financial liability in the performance of any of its duties thereunder or in the exercise of any of its rights or
powers if it shall have reasonable grounds to believe that repayment of such funds or adequate indemnity
against such risk or liability is not reasonably assured to it.

                 SECTION 8.05          Delegation of Duties.

                  Each Agent may perform any and all of its duties and exercise its rights and powers
hereunder or under any other Loan Document by or through any one or more sub-agents appointed by such
Agent. Any Agent and any such sub-agent may perform any and all of its duties and exercise its rights and
powers by or through their respective Related Parties. No Agent shall be responsible for the acts or
omissions of any sub-agents selected by it without gross negligence or willful misconduct as determined
by a court of competent jurisdiction by final and non-appealable judgment. The exculpatory provisions of
this Article shall apply to any such sub-agent and to the Related Parties of any Agent and any such sub-
agent, and shall apply to their respective activities in connection with the syndication of the DIP Facility as
well as activities as such Agent.

                 SECTION 8.06          Resignation of Administrative Agent; Mergers.

                 Each Agent may resign upon thirty (30) days’ notice to the Lenders and the Lead Borrower,
whether or not a successor Agent has been appointed. Upon receipt of any such notice of resignation, the
Required Lenders shall have the right, with the Lead Borrower’s consent (such consent not to be
unreasonably withheld or delayed) unless an Event of Default has occurred and is continuing, to appoint a
successor, which shall be a bank with an office in the United States, or an Affiliate of any such bank with
an office in the United States. If no such successor shall have been so appointed by the Required Lenders
and shall have accepted such appointment within thirty (30) days after the retiring Agent gives notice of its
resignation, then the retiring Agent may (but shall not be obligated to) on behalf of the Lenders, appoint, or
petition a court of competent jurisdiction to appoint, a successor Agent, which shall be an Approved Bank
with an office in New York, New York, or an Affiliate of any such Approved Bank (the date upon which
the retiring Agent is replaced, the “Resignation Effective Date”); provided that if the retiring Agent shall
notify the Lead Borrower and the Lenders that no qualifying Person accepted such appointment, then such
resignation shall nonetheless become effective in accordance with such notice.

                 If the Person serving as an Agent is a Defaulting Lender, the Required Lenders and the
Lead Borrower may, to the extent permitted by applicable law, by notice in writing to such Person remove
such Person as Agent and, with the consent of the Lead Borrower, appoint a successor. If no such successor
shall have been so appointed by the Required Lenders and shall have accepted such appointment within
thirty (30) days (the “Removal Effective Date”), then such removal shall nonetheless become effective in
accordance with such notice on the Removal Effective Date.

                 With effect from the Resignation Effective Date or the Removal Effective Date (as
applicable) (1) the retiring or removed Agent shall be discharged from its duties and obligations hereunder
and under the other Loan Documents (except (i) that in the case of any collateral security held by the
Collateral Agent on behalf of the Lenders under any of the Loan Documents, the retiring or removed
Collateral Agent shall continue to hold such collateral security until such time as a successor Collateral
Agent is appointed and (ii) with respect to any outstanding payment obligations) and (2) except for any


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indemnity payments or other amounts then owed to the retiring or removed Agent, all payments,
communications and determinations provided to be made by, to or through the Administrative Agent shall
instead be made by or to each Lender directly, until such time, if any, as the Required Lenders appoint a
successor Agent as provided for above. Upon the acceptance of a successor’s appointment as Agent
hereunder, such successor shall succeed to and become vested with all of the rights, powers, privileges and
duties of the retiring (or removed) Agent (other than any rights to indemnity payments or other amounts
owed to the retiring or removed Agent as of the Resignation Effective Date or the Removal Effective Date,
as applicable), and the retiring or removed Agent shall be discharged from all of its duties and obligations
hereunder and under the other Loan Documents as set forth in this Section. The fees payable by the
Borrower to a successor Agent shall be the same as those payable to its predecessor unless otherwise agreed
between the Borrower and such successor. After the retiring or removed Agent’s resignation or removal
hereunder and under the other Loan Documents, the provisions of this Article and Section 9.04 shall
continue in effect for the benefit of such retiring or removed Agent, its sub-agents and their respective
Related Parties in respect of any actions taken or omitted to be taken by any of them while the retiring or
removed Agent was acting as Agent.

                 Any corporation or association into which an Agent may be converted or merged, or with
which it may be consolidated, or to which it may sell or transfer all or substantially all of its corporate trust
business and assets as a whole or substantially as a whole, or any corporation or association resulting from
any such conversion, sale, merger, consolidation or transfer to which an Agent is a party, will be and become
the successor Agent under this Agreement and related Loan Documents and will have and succeed to the
rights, powers, duties, immunities and privileges as its predecessor, without the execution or filing of any
instrument or paper or the performance of any further act.

                 SECTION 8.07          Non-Reliance on Agents and Lenders.

                 Each Lender acknowledges that it has, independently and without reliance upon any Agent,
any Lender or any of their Related Parties and based on such documents and information as it has deemed
appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender also
acknowledges that it will, independently and without reliance upon any Agent or any Lender or any of their
Related Parties and based on such documents and information as it shall from time to time deem appropriate,
continue to make its own decisions in taking or not taking action under or based upon this Agreement, any
other Loan Document or any related agreement or any document furnished hereunder or thereunder.

                  Each Lender, by delivering its signature page to this Agreement and funding its Loans on
the Effective Date, or delivering its signature page to an Assignment and Assumption pursuant to which it
shall become a Lender hereunder, shall be deemed to have acknowledged receipt of, and consented to and
approved, each Loan Document and each other document required to be delivered to, or be approved by or
satisfactory to, the Agents and/or the Lenders on the Effective Date.

                 No Lender and no other Secured Party shall have any right individually to realize upon any
of the Collateral or to enforce any Guarantee of the Secured Obligations, it being understood and agreed
that all powers, rights and remedies under the Loan Documents may be exercised solely by the
Administrative Agent and the Collateral Agent on behalf of the Lenders and the other Secured Parties in
accordance with the terms thereof. In the event of a foreclosure by the Administrative Agent or the
Collateral Agent on any of the Collateral pursuant to a public or private sale or other disposition, the
Administrative Agent, the Collateral Agent or any Lender may be the purchaser or licensor of any or all of
such Collateral at any such sale or other disposition, and the Administrative Agent or such Collateral Agent,
as agent for and representative of the Lenders and the other Secured Parties (but not any Lender, Lenders,
Secured Party or Secured Parties in its or their respective individual capacities) (either directly or through
one or more acquisition vehicles), upon instructions from Required Lenders, shall be entitled, for the


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purpose of bidding and making settlement or payment of the purchase price for all or any portion of the
Collateral sold at any such public sale, to use and apply any of the Secured Obligations (other than Secured
Obligations owing to the Agents) as a credit on account of the purchase price for any collateral payable by
the Administrative Agent or the Collateral Agent on behalf of the Lenders at such sale or other disposition.
Each Lender, whether or not a party hereto, will be deemed, by its acceptance of the benefits of the
Collateral and the Guarantees of the Secured Obligations, to have agreed to the foregoing provisions.

                SECTION 8.08          Existing Intercreditor Agreements.

                 The parties hereto acknowledge and agree that: (a) in accordance with the Interim DIP
Order and any other order of the Bankruptcy Court, each Agent shall be subject to the terms of the Existing
Intercreditor Agreements as if the Agents were party thereto as a “First Lien Term Loan Representative”
(as defined in each of the Existing Intercreditor Agreements) and (b) each Agent, acting in the capacity as
a First Lien Term Loan Representative, is authorized to perform and take or refrain from taking any actions,
and providing any consents or directions, in connection with the Existing Intercreditor Agreements.

                SECTION 8.09          Administrative Agent May File Proofs of Claim.

                 In case of the pendency of any proceeding under any Debtor Relief Law or any other
judicial proceeding relative to any Loan Party, the Administrative Agent (irrespective of whether the
principal of any Loan shall then be due and payable as herein expressed or by declaration or otherwise and
irrespective of whether the Administrative Agent shall have made any demand on the Borrower) shall be
entitled and empowered, by intervention in such proceeding or otherwise:

                (a)      to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans and all other Secured Obligations that are owing and unpaid and to file
such other documents as may be necessary or advisable in order to have the claims of the Lenders, and any
Agent (including any claim for the reasonable compensation, expenses, disbursements and advances of the
Lenders and such Agent and their respective agents and counsel and all other amounts due the Lenders and
each Agent under Sections 2.12 and 9.03) allowed in such judicial proceeding; and

                (b)      to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
judicial proceeding is hereby authorized by each Lender and, by its acceptance of the benefits of the Security
Documents, each Secured Party that is not a party hereto, to make such payments to the Administrative
Agent and, if the Administrative Agent shall consent to the making of such payments directly to the Lenders,
to pay to the Administrative Agent any amount due for the reasonable compensation, expenses,
disbursements and advances of any Agent and its agents and counsel, and any other amounts due such
Agent under Sections 2.12 and 9.03.

                Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender or any Secured Party that is not a party
hereto any plan of reorganization, arrangement, adjustment or composition affecting the Secured
Obligations or the rights of any Lender or any Secured Party that is not a party hereto to authorize the
Administrative Agent to vote in respect of the claim of any Lender or in any such proceeding.

                SECTION 8.10          No Waiver; Cumulative Remedies; Enforcement.

                No failure by any Lender or any Agent to exercise, and no delay by any such Person in



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exercising, any right, remedy, power or privilege hereunder or under any other Loan Document shall
operate as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or privilege
hereunder preclude any other or further exercise thereof or the exercise of any other right, remedy, power
or privilege. The rights, remedies, powers and privileges herein provided, and provided under each other
Loan Document, are cumulative and not exclusive of any rights, remedies, powers and privileges provided
by law.

                  Notwithstanding anything to the contrary contained herein or in any other Loan Document,
the authority to enforce rights and remedies hereunder and under the other Loan Documents against the
Loan Parties or any of them shall be vested exclusively in, and all actions and proceedings at law in
connection with such enforcement shall be instituted and maintained exclusively by, the Agents in
accordance with Article VII for the benefit of all the Secured Parties; provided, however, that the foregoing
shall not prohibit (a) any Agent from exercising on its own behalf the rights and remedies that inure to its
benefit (solely in its capacity as Agent) hereunder and under the other Loan Documents, (b) any Lender
from exercising setoff rights in accordance with Section 9.08 (subject to the terms of Section 2.18), or (c)
any Lender from filing proofs of claim or appearing and filing pleadings on its own behalf during the
pendency of a proceeding relative to any Loan Party under any Debtor Relief Law; and provided further
that if at any time there is no Person acting as an Agent hereunder and under the other Loan Documents,
then (i) the Required Lenders shall have the rights otherwise ascribed to such Agent pursuant to Article VII
and (ii) in addition to the matters set forth in clauses (b), (c) and (d) of the preceding proviso and subject to
Section 2.18, any Lender may, with the consent of the Required Lenders, enforce any rights and remedies
available to it and as authorized by the Required Lenders.

                 SECTION 8.11          Withholding Taxes.

                 To the extent required by any applicable Requirements of Law (as determined in good faith
by the Administrative Agent), the Administrative Agent may deduct or withhold from any payment to any
Lender an amount equivalent to any applicable withholding Tax. If the Internal Revenue Service or any
other Governmental Authority of the United States or other jurisdiction asserts a claim that the
Administrative Agent did not properly withhold Tax from amounts paid to or for the account of any Lender
for any reason (including because the appropriate form was not delivered or not property executed, or
because such Lender failed to notify the Administrative Agent of a change in circumstance that rendered
the exemption from, or reduction of withholding Tax ineffective), such Lender shall indemnify and hold
harmless the Administrative Agent (to the extent that the Administrative Agent has not already been
reimbursed by the Loan Parties pursuant to Section 2.17 and without limiting any obligation of the Loan
Parties to do so pursuant to such Section) fully for all amounts paid, directly or indirectly, by the
Administrative Agent as Taxes or otherwise, together with all expenses incurred, including legal expenses
and any other out-of-pocket expenses, whether or not such Tax was correctly or legally imposed or asserted
by the relevant Governmental Authority. A certificate as to the amount of such payment or liability
delivered to any Lender by the Administrative Agent shall be conclusive absent manifest error. Each Lender
hereby authorizes the Administrative Agent to set off and apply any and all amounts at any time owing to
such Lender under this Agreement or any other Loan Document against any amount due to the
Administrative Agent under this Section 8.11. The agreements in this Section 8.11 shall survive the
resignation and/or replacement of the Administrative Agent, any assignment of rights by, or the replacement
of, a Lender, the termination of this Agreement and the repayment, satisfaction or discharge of all other
obligations under any Loan Document.

                 SECTION 8.12          Credit Bidding.

                The Secured Parties hereby irrevocably authorize the Administrative Agent, at the direction
of the Required Lenders, to credit bid all or any portion of the Secured Obligations (other than any Secured


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Obligations owing to the Agents) (including by accepting some or all of the Collateral in satisfaction of
some or all of the Secured Obligations pursuant to a deed in lieu of foreclosure or otherwise) and in such
manner purchase (either directly or through one or more acquisition vehicles) all or any portion of the
Collateral (a) at any sale thereof conducted under the provisions of the Bankruptcy Code, including under
Sections 363, 1123 or 1129 of the Bankruptcy Code, or any similar laws in any other jurisdictions to which
a Loan Party is subject, or (b) at any other sale, foreclosure or acceptance of collateral in lieu of debt
conducted by (or with the consent or at the direction of) the Administrative Agent (whether by judicial
action or otherwise) in accordance with any applicable law. In connection with any such credit bid and
purchase, such Secured Obligations owed to the Secured Parties shall be entitled to be, and shall be, credit
bid by the Administrative Agent at the direction of the Required Lenders on a ratable basis (with Secured
Obligations with respect to contingent or unliquidated claims receiving contingent interests in the acquired
assets on a ratable basis that shall vest upon the liquidation of such claims in an amount proportional to the
liquidated portion of the contingent claim amount used in allocating the contingent interests) for the asset
or assets so purchased (or for the equity interests or debt instruments of the acquisition vehicle or vehicles
that are issued in connection with such purchase). In connection with any such bid, (i) the Administrative
Agent (or the Required Lenders on its behalf) shall be authorized to form one or more acquisition vehicles
and to assign any successful credit bid to such acquisition vehicle or vehicles, (ii) each of the Secured
Parties’ ratable interests in the Secured Obligations which were credit bid shall be deemed without any
further action under this Agreement to be assigned to such vehicle or vehicles for the purpose of closing
such sale, (iii) the Required Lenders shall be authorized to adopt documents providing for the governance
of the acquisition vehicle or vehicles (provided that any actions with respect to such acquisition vehicle or
vehicles, including any disposition of the assets or equity interests thereof, shall be governed, directly or
indirectly, by, and the governing documents shall provide for, control by the vote of the Required Lenders
or their permitted assignees under the terms of this Agreement or the governing documents of the applicable
acquisition vehicle or vehicles, as the case may be, irrespective of the termination of this Agreement and
without giving effect to the limitations on actions by the Required Lenders contained in Section 9.02 of this
Agreement), (iv) each of the Secured Parties shall be authorized to receive, ratably on account of the
relevant Secured Obligations which were credit bid, interests, whether as equity, partnership interests,
limited partnership interests or membership interests, in any such acquisition vehicle and/or debt
instruments issued by such acquisition vehicle, all without the need for any Secured Party or acquisition
vehicle to take any further action, and (v) to the extent that Secured Obligations that are assigned to an
acquisition vehicle are not used to acquire Collateral for any reason (as a result of another bid being higher
or better, because the amount of Secured Obligations assigned to the acquisition vehicle exceeds the amount
of Secured Obligations credit bid by the acquisition vehicle or otherwise), such Secured Obligations shall
automatically be reassigned to the Secured Parties pro rata with their original interest in such Secured
Obligations and the equity interests and/or debt instruments issued by any acquisition vehicle on account
of such Secured Obligations shall automatically be cancelled, without the need for any Secured Party or
any acquisition vehicle to take any further action. Notwithstanding that the ratable portion of the Secured
Obligations of each Secured Party are deemed assigned to the acquisition vehicle or vehicles as set forth in
clause (ii) above, each Secured Party shall execute such documents and provide such information regarding
the Secured Party (and/or any designee of the Secured Party which will receive interests in or debt
instruments issued by such acquisition vehicle) as the Administrative Agent or the Required Lenders may
reasonably request in connection with the formation of any acquisition vehicle, the formulation or
submission of any credit bid or the consummation of the transactions contemplated by such credit bid.

                SECTION 8.13          Erroneous Payments.

               (a)     If the Administrative Agent (x) notifies a Lender, Secured Party, or any Person
who has received funds on behalf of a Lender or Secured Party (any such Lender, Secured Party or other
recipient (and each of their respective successors and assigns), a “Payment Recipient”) that the
Administrative Agent has determined in its sole discretion (whether or not after receipt of any notice under


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immediately succeeding clause (b)) that any funds (as set forth in such notice from the Administrative
Agent) received by such Payment Recipient from the Administrative Agent or any of its Affiliates were
erroneously or mistakenly transmitted to, or otherwise erroneously or mistakenly received by, such Payment
Recipient (whether or not known to such Payment Recipient on its behalf) (any such funds, whether
transmitted or received as a payment, prepayment or repayment of principal, interest, fees or otherwise;
individually and collectively, an “Erroneous Payment”) and (y) demands in writing the return of such
Erroneous Payment (or a portion thereof), such Erroneous Payment shall at all time remain the property of
the Administrative Agent pending its return or repayment as contemplated below in this Section 8.13 and
held in trust for the benefit of the Administrative Agent, and such Lender or Secured Party shall (or, with
respect to any Payment Recipient who received funds on its behalf, shall cause such Payment Recipient to)
promptly, but in no event later than one (1) Business Day thereafter, return to the Administrative Agent the
amount of any such Erroneous Payment (or portion thereof) as to which such a demand was made in same
day funds (in the currency so received), together with interest thereon (except to the extent waived in writing
by the Administrative Agent) in respect of each day from and including the date such Erroneous Payment
(or portion thereof) was received by such Payment Recipient to the date such amount is repaid to the
Administrative Agent at the greater of the NYFRB Rate and a rate determined by the Administrative Agent
in accordance with banking industry rules on interbank compensation from time to time in effect. A notice
of the Administrative Agent to any Payment Recipient under this Section 8.13 shall be conclusive, absent
manifest error.

                 (b)      Without limiting the immediately preceding clause (a), each Lender hereby further
agrees that if it (or a Payment Recipient on its behalf) receives a payment, prepayment or repayment
(whether received as a payment, prepayment or repayment of principal, interest, fees distribution or
otherwise) from the Administrative Agent or any of its Affiliates (x) that is in a different amount than, or
on a different date from, that specified in this Agreement or in a notice of payment, prepayment or
repayment sent by the Administrative Agent (or any of its Affiliates) with respect to such payment,
prepayment or repayment, (y) that was not preceded or accompanied by a notice of payment, prepayment
or repayment sent by the Administrative Agent (or any of its Affiliates), or (z) that such Lender or Secured
Party or other such recipient, otherwise becomes aware was transmitted, or received, in error or by mistake
(in whole or in part), then in each such case:

                        (i)     it acknowledges and agrees that (A) in the case of immediately preceding
        clauses (x) or (y), an error and mistake shall be presumed to have been made (absent written
        confirmation from the Administrative Agent to the contrary) or (B) an error and mistake has been
        made (in the case of immediately preceding clause (z)), in each case, with respect to such payment,
        prepayment or repayment; and

                         (ii)     such Lender or Secured Party shall (and shall cause any other recipient
        that receives funds on its respective behalf to) promptly (and, in all events, within one (1) Business
        Day of its knowledge of the occurrence of any of the circumstances described in immediately
        preceding clauses (x), (y) and (z)) notify the Administrative Agent of its receipt of such payment,
        prepayment or repayment, the details thereof (in reasonable detail) and that it is so notifying the
        Administrative Agent pursuant to this Section 8.13(b).

For the avoidance of doubt, the failure to deliver a notice to the Administrative Agent pursuant to this
Section 8.13(b) shall not have any effect on a Payment Recipient’s obligations pursuant to Section 8.13(a)
or on whether or not an Erroneous Payment has been made.

                 (c)     Each Lender or Secured Party hereby authorizes the Administrative Agent to set
off, net and apply any and all amounts at any time owing to such Lender or Secured Party under any Loan
Document, or otherwise payable or distributable by the Administrative Agent to such Lender or Secured


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Party under any Loan Document or from any other source against any amount that the Administrative Agent
has demanded to be returned under the immediately preceding clause (a).

                 (d)      The parties hereto agree that (x) irrespective of whether the Administrative Agent
may be equitably subrogated, in the event an Erroneous Payment (or portion thereof) are not recovered
from any Payment Recipient that has received such Payment (or portion thereof) for any reason, the
Administrative Agent shall be subrogated to all the rights and interests of such Payment Recipient (and in
the case of any Payment Recipient who has received funds on behalf of a Lender or Secured Party, to the
rights and interests of such Lender or Secured Party as the case may be) under the Loan Documents with
respect to such amount (the “Erroneous Payment Subrogation Rights”) and (y) an Erroneous Payment shall
not pay, prepay, repay, discharge or otherwise satisfy any Secured Obligations owed by any Borrower or
any other Loan Party; provided that this Section 8.13(d) shall not be interpreted to increase (or accelerate
the due date for), or have the effect of increasing (or accelerating the due date for), the Secured Obligations
of the Borrower relative to the amount of the Secured Obligations that would have been payable had such
Erroneous Payment not been made by the Administrative Agent; provided further, that for the avoidance
of doubt, the immediately preceding clauses, (x) and (y) shall not apply, to the extent such Erroneous
Payment is, and solely with respect to the amount of such Erroneous Payment that is, comprised of funds
received by the Administrative Agent from the Borrower for purposes of making such Erroneous Payment.

                (e)     Notwithstanding anything to the contrary contained herein, and for the avoidance
of doubt, in no event shall the occurrence of an Erroneous Payment (or the existence of any Erroneous
Payment Subrogation Rights or other rights of the Administrative Agent in respect of an Erroneous
Payment) result in the Administrative Agent becoming, or being deemed to be, a Lender hereunder or the
holder of any Loans hereunder.

                 (f)     To the extent permitted by applicable law, no Payment Recipient shall assert any
right or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any claim,
counterclaim, defense or right of set-off or recoupment with respect to any demand, claim or counterclaim
by the Administrative Agent for the return of any Erroneous Payment received, including, without
limitation, any defense based on “discharge for value” or any similar doctrine.

                 (g)      Notwithstanding anything in this Section 8.13 to the contrary, the Borrower shall
not be liable for the losses of any party due to an Erroneous Payment. Each party’s obligations under this
Section 8.13 shall survive the resignation or replacement of the Administrative Agent or any transfer of
rights or obligations by, or the replacement of, a Lender, the termination of the Commitments or the
repayment, satisfaction or discharge of all Secured Obligations under any Loan Document.

                                                 ARTICLE IX

                                            MISCELLANEOUS

                 SECTION 9.01         Notices.

                 (a)     Except in the case of notices and other communications expressly permitted to be
given by telephone, all notices and other communications provided for herein shall be in writing and shall
be delivered by hand or overnight courier service, mailed by certified or registered mail or sent by fax or
other electronic transmission, as follows:

                         (i)     if to the Borrower, the Administrative Agent or the Collateral Agent, to
        the address, fax number, e-mail address or telephone number specified for such Person on Schedule
        9.01; and


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                          (ii)    if to any other Lender, to it at its address (or fax number, telephone number
        or e-mail address) set forth in its Administrative Questionnaire (including, as appropriate, notices
        delivered solely to the Person designated by a Lender on its Administrative Questionnaire then in
        effect for the delivery of notices that may contain Material Non-Public Information relating to the
        Borrower).

                  Notices and other communications sent by hand or overnight courier service, or mailed by
certified or registered mail, shall be deemed to have been given when received; notices and other
communications sent by fax or other electronic transmission shall be deemed to have been given when sent
(except that, if not given during normal business hours for the recipient, shall be deemed to have been given
at the opening of business on the next Business Day for the recipient). Notices and other communications
delivered through electronic communications to the extent provided in subsection (b) below shall be
effective as provided in such subsection (b).

                (b)      Electronic Communications. Notices and other communications to the Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and Internet or
intranet websites) pursuant to procedures reasonably approved by the Administrative Agent, provided that
the foregoing shall not apply to notices to any Lender pursuant to Article II if such Lender has notified the
Administrative Agent that it is incapable of receiving notices under such Article by electronic
communication.

                  Unless the Administrative Agent otherwise prescribes, (i) notices and other
communications sent to an e-mail address shall be deemed received upon the sender’s receipt of an
acknowledgement from the intended recipient (such as by the “return receipt requested” function, as
available, return e-mail or other written acknowledgement), provided that if such notice or other
communication is not sent during the normal business hours of the recipient, such notice or communication
shall be deemed to have been sent at the opening of business on the next Business Day for the recipient,
and (ii) notices or communications posted to an Internet or intranet website shall be deemed received upon
the deemed receipt by the intended recipient at its e-mail address as described in the foregoing clause (i) of
notification that such notice or communication is available and identifying the website address therefor.

                (c)      The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS
AVAILABLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE
ACCURACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE ADEQUACY OF
THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR ERRORS IN OR OMISSIONS
FROM THE BORROWER MATERIALS. NO WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR
STATUTORY, INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, NON-INFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM
FROM VIRUSES OR OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY IN
CONNECTION WITH THE BORROWER MATERIALS OR THE PLATFORM. In no event shall the
Administrative Agent or any of its Related Parties (collectively, the “Agent Parties”) have any liability to
the Borrower, any Lender or any other Person for losses, claims, damages, liabilities or expenses of any
kind (whether in tort, contract or otherwise) arising out of the Borrower’s or the Administrative Agent’s
transmission of Borrower Materials through the Internet, provided, further, that in no event shall any Agent
Party have any liability to the Borrower, any Lender or any other Person for indirect, special, incidental,
consequential or punitive damages (as opposed to direct or actual damages).

                (d)       Change of Address, Etc. Each of the Borrower and the Administrative Agent may
change its address, electronic mail address, fax or telephone number for notices and other communications
or website hereunder by notice to the other parties hereto. Each other Lender may change its address, fax
or telephone number for notices and other communications hereunder by notice to the Borrower and the


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Administrative Agent. In addition, each Lender agrees to notify the Administrative Agent from time to time
to ensure that the Administrative Agent has on record (i) an effective address, contact name, telephone
number, fax number and electronic mail address to which notices and other communications may be sent
and (ii) accurate wire instructions for such Lender.

                  (e)     Reliance by Administrative Agent and Lenders. The Agents and the Lenders shall
be entitled to conclusively rely and act upon any notices purportedly given by or on behalf of the Borrower
even if (i) such notices were not made in a manner specified herein, were incomplete or were not preceded
or followed by any other form of notice specified herein, or (ii) the terms thereof, as understood by the
recipient, varied from any confirmation thereof. The Borrower shall indemnify the each Agent, each Lender
and the Related Parties from all losses, costs, expenses and liabilities resulting from the reliance by such
Person on each notice purportedly given by or on behalf of the Borrower in the absence of gross negligence
or willful misconduct as determined in a final and non-appealable judgment by a court of competent
jurisdiction. All telephonic notices to and other telephonic communications with the Administrative Agent
may be recorded by the Administrative Agent and each of the parties hereto hereby consents to such
recording.

                SECTION 9.02          Waivers; Amendments.

                 (a)     No failure or delay by the Agents or any Lender in exercising any right or power
under this Agreement or any Loan Document shall operate as a waiver thereof, nor shall any single or partial
exercise of any such right or power, or any abandonment or discontinuance of steps to enforce such a right
or power, preclude any other or further exercise thereof or the exercise of any other right or power. The
rights and remedies of the Agents and the Lenders hereunder and under the other Loan Documents are
cumulative and are not exclusive of any rights or remedies that they would otherwise have. No waiver of
any provision of this Agreement or any Loan Document or consent to any departure by any Loan Party
therefrom shall in any event be effective unless the same shall be permitted by paragraph (b) of this Section
9.02, and then such waiver or consent shall be effective only in the specific instance and for the purpose for
which given. Without limiting the generality of the foregoing, the making of a Loan shall not be construed
as a waiver of any Default, regardless of whether the Agents or any Lender may have had notice or
knowledge of such Default at the time. No notice or demand on the Borrower in any case shall entitle the
Borrower to any other or further notice or demand in similar or other circumstances.

                 (b)     Except as provided in Section 2.14, neither this Agreement, any Loan Document
nor any provision hereof or thereof may be waived, amended or modified except, in the case of this
Agreement, pursuant to an agreement or agreements in writing entered into by the Lead Borrower, the
Administrative Agent (to the extent that such waiver, amendment or modification does not affect the rights,
duties, privileges or obligations of the Administrative Agent under this Agreement, the Administrative
Agent shall execute such waiver, amendment or other modification to the extent approved by the Required
Lenders) and the Required Lenders or, in the case of any other Loan Document, pursuant to an agreement
or agreements in writing entered into by the Administrative Agent or the Collateral Agent, as the case may
be, and the Loan Party or Loan Parties that are parties thereto, in each case with the consent of the Required
Lenders; provided that no such agreement shall (i) increase the Commitment of any Lender or change any
ratable sharing or payment provision that directly and adversely affects any Lender (with only such Lenders
whose entitlement to a payment under such provisions is reduced being “directly and adversely affected”)
without the written consent of such Lender (it being understood that a waiver of any condition precedent
set forth in Section 4.02 or the waiver of any Default, Event of Default, mandatory prepayment or
mandatory reduction of the Commitments shall not constitute an extension or increase of any Commitment
of any Lender), (ii) reduce the principal amount of any Loan (it being understood that a waiver of any
Default, Event of Default, mandatory prepayment or mandatory reduction of the Commitments shall not
constitute a reduction or forgiveness of principal) or reduce the rate of interest thereon, or reduce any fees


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payable hereunder, without the written consent of each Lender directly and adversely affected thereby,
provided that only the consent of the Required Lenders shall be necessary to waive any obligation of the
Borrower to pay default interest pursuant to Section 2.13(c), (iii) postpone the maturity of any Loan (other
than pursuant to (A) a Sale Transaction Qualified Extension or (B) an extension of the Outside Date up to
ninety (90) days pursuant to the definition thereof, which in each case of clauses (A) or (B), shall require
approval by the Required Supermajority Lenders), or any date for the payment of any interest or fees
payable hereunder, or reduce the amount of, waive or excuse any such payment, or postpone the scheduled
date of expiration of any Commitment (it being understood that a waiver of any Default, Event of Default,
mandatory prepayment or mandatory reduction of the Commitments shall not constitute an extension of
any maturity date, any scheduled amortization payment or the date for payment of any interest or fees),
without the written consent of each Lender directly and adversely affected thereby, (iv) change any of the
provisions of this Section without the written consent of each Lender directly and adversely affected
thereby; provided that any such change which is in favor of a Class of Lenders holding Loans maturing
after the maturity of other Classes of Lenders (and only takes effect after the maturity of such other Classes
of Loans or Commitments) will require the written consent of the Required Lenders with respect to each
Class directly and adversely affected thereby, (v) change the percentage set forth in the definition of
“Required Lenders”, “Majority in Interest” or any other provision of any Loan Document specifying the
number or percentage of Lenders (or Lenders of any Class) required to waive, amend or modify any rights
thereunder or make any determination or grant any consent thereunder, without the written consent of each
Lender (or each Lender of such Class, as the case may be), (vi) subordinate (or have the effect of
subordinating) Liens securing any material portion of the Collateral, without the written consent of each
Lender directly and adversely affected thereby, (vii) release (or have the effect of releasing) all or
substantially all or any material portion of the value of the Guarantees under the Guaranty (except as
expressly provided in the Loan Documents) without the written consent of each Lender (other than a
Defaulting Lender), (viii) release (or have the effect of releasing) all or substantially all or any material
portion of the Collateral from the Liens of the Security Documents, without the written consent of each
Lender (other than a Defaulting Lender) except as expressly provided in the Loan Documents, (ix) change
any pro rata sharing and/or payment provisions or any payment “waterfall” herein or in any other Loan
Document, without the written consent of each Lender directly and adversely affected thereby, or (x) change
any provisions of any Loan Document in a manner that by its terms adversely affects the rights in respect
of payments due to Lenders holding Loans of any Class differently than those holding Loans of any other
Class, without the written consent of the Required Lenders with respect to any Class directly and adversely
affected thereby; provided further that (A) no such agreement shall amend, modify or otherwise affect the
rights, duties, immunities, or indemnities of the Administrative Agent or the Collateral Agent without the
prior written consent of the Administrative Agent or the Collateral Agent, as applicable, (B) any provision
of this Agreement or any other Loan Document may be amended by an agreement in writing entered into
by the Lead Borrower and the Administrative Agent in order (i) to comply with local law or advice of local
counsel, (ii) to cure any (1) ambiguity, omission, defect or inconsistency or technical or obvious error or
(2) mistake, the cure of which mistake would not be adverse to the Lenders, in the good faith determination
of the Lead Borrower and counsel to the Required Lenders, so long as the Required Lenders shall not have
provided written objection thereto to the Administrative Agent within five days of receipt of notice thereof,
or (iii) to add any provisions to any Loan Documents that, in the reasonable judgment of counsel to the
Required Lenders, are more favorable to the Lenders (or to the applicable subset thereof), so long as the
Required Lenders shall not have provided written objection thereto to the Administrative Agent within five
days of receipt of notice thereof, (C) any waiver, amendment or modification of this Agreement that by its
terms affects the rights or duties under this Agreement of Lenders holding Loans or Commitments of a
particular Class (but not the Lenders holding Loans or Commitments of any other Class) may be effected
by an agreement or agreements in writing entered into by the Lead Borrower and the requisite percentage
in interest of the affected Class of Lenders that would be required to consent thereto under this Section if
such Class of Lenders were the only Class of Lenders hereunder at the time and (D) no Lenders other than
the Lenders holding a Majority in Interest of the applicable Class shall be required to waive, amend,


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supplement or modify the conditions precedent to any Borrowings of Loans of such Class. Notwithstanding
the foregoing, (a) this Agreement may be amended (or amended and restated) with the written consent of
the Required Lenders, the Administrative Agent and the Lead Borrower (i) to add one or more additional
credit facilities to this Agreement and to permit the extensions of credit from time to time outstanding
thereunder and the accrued interest and fees in respect thereof to share ratably in the benefits of this
Agreement and the other Loan Documents and (ii) to include appropriately the Lenders holding such credit
facilities in any determination of the Required Lenders on substantially the same basis as the Lenders prior
to such inclusion and (b) guarantees, Security Documents and related documents in connection with this
Agreement may be in a form reasonably determined by the Administrative Agent (acting at the direction of
the Required Lenders) and may be, together with this Agreement and the other Loan Documents, amended
and waived with the consent of the Administrative Agent (acting at the direction of the Required Lenders)
at the request of the Lead Borrower without the need to obtain the consent of any other Lender if such
amendment or waiver is delivered in order (i) to comply with local law or advice of local counsel, (ii) to
cure any (1) ambiguity, omission, defect or inconsistency or technical or obvious error or (2) mistake, the
cure of which mistake would not be adverse to the Lenders, in the good faith determination of the Lead
Borrower and counsel to the Required Lenders, so long as the Required Lenders shall not have provided
written objection thereto to the Administrative Agent within five days of receipt of notice thereof or (iii) to
cause such guarantee, collateral security document or other document to be consistent with this Agreement
and the other Loan Documents.

                 (c)      In connection with any proposed amendment, modification, waiver or termination
(a “Proposed Change”) requiring the consent of all Lenders or all directly and adversely affected Lenders,
if the consent of the Required Lenders (and, to the extent any Proposed Change requires the consent of
Lenders holding Loans of any Class pursuant to clause (iv), (v) or (ix) of paragraph (b) of this Section 9.02,
the consent of a Majority in Interest of the outstanding Loans and unused Commitments of such Class) to
such Proposed Change is obtained, but the consent to such Proposed Change of other Lenders whose
consent is required is not obtained (any such Lender whose consent is not obtained as described in paragraph
(b) of this Section 9.02 being referred to as a “Non-Consenting Lender”), then, the Borrower may, at its
sole expense and effort, upon notice to such Non-Consenting Lender and the Administrative Agent, (i) if
no Event of Default under Sections 7.01(a) or (b) exists, permanently prepay all of the Loans of any Class
owing by it to, and terminate any Commitments of, such Non-Consenting Lender or (ii) require such Non-
Consenting Lender to assign and delegate, without recourse (in accordance with and subject to the
restrictions contained in Section 9.04), all its interests, rights and obligations under this Agreement to an
Eligible Assignee that shall assume such obligations (which Eligible Assignee may be another Lender, if a
Lender accepts such assignment), provided that (a) the Borrower shall have received the prior written
consent of the Administrative Agent to the extent such consent would be required under Section 9.04(b) for
an assignment of Loans or Commitments, as applicable, which consent shall not unreasonably be withheld,
conditioned or delayed, (b) such Non-Consenting Lender shall have received payment of an amount equal
to the outstanding par principal amount of its Loans, accrued interest thereon, accrued fees and all other
amounts payable to it hereunder (including pursuant to Section 2.11(a)(i)) from the Eligible Assignee (to
the extent of such outstanding principal and accrued interest and fees) or the Borrower (in the case of all
other amounts) and (c) unless waived, the Borrower or such Eligible Assignee shall have paid to the
Administrative Agent the processing and recordation fee specified in Section 9.04(b).

                 (d)     Notwithstanding anything in this Agreement or the other Loan Documents to the
contrary, Term Loans of any Lender that is at the time a Defaulting Lender shall not have any voting or
approval rights under the Loan Documents and shall be excluded in determining whether all Lenders (or
all Lenders of a Class), all affected Lenders (or all affected Lenders of a Class), a Majority in Interest of
Lenders of any Class or the Required Lenders have taken or may take any action hereunder (including any
consent to any amendment or waiver pursuant to this Section 9.02); provided that (x) the Commitment of
any Defaulting Lender may not be increased or extended without the consent of such Lender and (y) any


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waiver, amendment or modification requiring the consent of all Lenders or each affected Lender that affects
any Defaulting Lender more adversely than other affected Lenders shall require the consent of such
Defaulting Lender.

                 SECTION 9.03           Expenses; Indemnity; Damage Waiver.

                  (a)     The Borrower shall pay, if the Effective Date occurs and the Transactions have
been consummated, (i) all reasonable and documented out-of-pocket costs and expenses incurred by the
Agents and the Required Lenders (limited, in the case of legal fees and expenses, to the reasonable and
documented fees, disbursements and other charges of (A) Seward & Kissel LLP, as counsel to the
Administrative Agent, and (B) Paul Hastings LLP, as counsel to the Required Lenders and, if reasonably
necessary, of a single firm of local counsel to the Agents, taken as a whole and to a single firm of local
counsel to the Required Lenders, taken as a whole, in each case, in each relevant material jurisdiction (which
may include a single special counsel acting in multiple jurisdictions) and of such other counsel retained
with the Lead Borrower’s prior written consent (such consent not to be unreasonably withheld, conditioned
or delayed), in each case incurred in connection with the DIP Facility, and the preparation, execution,
delivery and administration of the Loan Documents or any amendments, modifications or waivers of the
provisions thereof and including the reasonable and documented fees and expense of Lazard Frères & Co.,
as financial advisor to the Required Lenders) and (ii) all reasonable and documented out-of-pocket
expenses incurred by each Agent or any Lender, including the fees, charges and disbursements of counsel
for such Agent and the Lenders, in connection with the preservation, enforcement or protection of any rights
or remedies (A) in connection with the Loan Documents (including all such costs and expenses incurred
during any legal proceeding, including any proceeding under any Debtor Relief Laws), including its rights
under this Section 9.03 or (B) in connection with the Loans made hereunder, including all such out-
of-pocket costs and expenses incurred during any workout, restructuring or negotiations in respect of such
Loans; provided that such counsel shall be limited to one lead counsel and one local counsel to the Agents,
taken as a whole, and one lead counsel and one local counsel to the Lenders, taken as a whole, in each case,
in each applicable jurisdiction (exclusive of any reasonably necessary special counsel) (and, in the case of
a conflict of interest, where each Agent or any Lender affected by such conflict notifies the Lead Borrower
of the existence of such conflict and thereafter retains its own counsel, one additional counsel) and such
other counsel as may be retained with the Lead Borrower’s consent (such consent not to be unreasonably
withheld or delayed). Notwithstanding the foregoing, the expenses of counsel shall not include any
allocated costs of in-house counsel.

                 (b)      The Borrower shall indemnify each Agent, each Lender and each Related Party of
any of the foregoing Persons (but excluding any such Person to the extent such Person is acting as a financial
advisor to the Investors in connection with the Transactions (any such Person to the extent acting in such
capacity, an “Excluded Party”)) (each such Person being called an “Indemnitee”) against, and hold each
Indemnitee harmless from (without duplication), any and all losses, claims, damages, liabilities and
reasonable and documented out-of-pocket fees and expenses (limited, in the case of legal fees and expenses,
to the reasonable and documented fees, charges and disbursements of one counsel for the Agents, to the
extent reasonably necessary, a single firm of local counsel in each relevant material jurisdiction (which may
include a single special counsel acting in multiple jurisdictions) for the Agents, taken as a whole, and one
counsel for all other Indemnitees, to the extent reasonably necessary, a single firm of local counsel in each
relevant material jurisdiction (which may include a single special counsel acting in multiple jurisdictions)
for all such Indemnitees, taken as a whole (and, solely in the case of an actual or potential conflict of interest,
where the Indemnitee affected by such conflict notifies the Lead Borrower of the existence of such conflict
and thereafter retains its own counsel after receipt of consent from the Lead Borrower (not to be
unreasonably withheld or delayed), of one additional firm of counsel for the affected Indemnitees, and, if
reasonably necessary, one additional firm of local counsel in each appropriate material jurisdiction (which
may include a single special counsel acting in multiple jurisdictions) for such affected Indemnitees, taken


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as a whole)), incurred by or asserted against any Indemnitee by any third party or by the Borrower or any
Subsidiary arising out of, in connection with, or as a result of any claim, litigation, investigation or
proceeding (including any inquiry or investigation), regardless of whether any such Indemnitee is a party
thereto, whether based on contract, tort or any other theory, relating to (i) the execution or delivery of this
Agreement, any Loan Document or any other agreement or instrument contemplated hereby or thereby, the
performance by the parties to the Loan Documents of their respective obligations thereunder, the
consummation of the Transactions or any other transactions contemplated thereby, the syndication of the
DIP Facility or the enforcement of any obligations of a Loan Party hereunder or under any other Loan
Document, (ii) any Loan or the use of the proceeds therefrom or (iii) to the extent in any way arising from
or relating to any of the foregoing, any actual or alleged presence or Release or threat of Release of
Hazardous Materials on, at, to or from any property currently or formerly owned or operated by the
Borrower or any Subsidiary, or any other Environmental Liability related in any way to the Borrower or
any Subsidiary; provided that such indemnity shall not, as to any Indemnitee, be available to the extent that
such losses, claims, damages, liabilities, costs or related expenses (w) resulted from the gross negligence
or willful misconduct of such Indemnitee or its Related Parties acting on behalf of, or at the direction of,
the Indemnitee (in each case, as determined by a court of competent jurisdiction in a final and non-
appealable judgment), (x) (other than with respect to the Agents and their Related Parties) resulted from a
material breach of the Loan Documents by, or the bad faith of, such Indemnitee or its Related Parties acting
on behalf of, or at the direction of, the Indemnitees (in each case, as determined by a court of competent
jurisdiction in a final and non-appealable judgment) or (y) arise from disputes between or among
Indemnitees (other than disputes involving claims against the Agents in their respective capacities) that
does not arise from an act or omission by the Borrower or any Subsidiary. This Section 9.03 shall not apply
with respect to Taxes other than any Taxes that represent losses, claims, damages, etc. arising from any
non-Tax claim.

                 (c)     To the extent that the Borrower fails to pay any amount required to be paid by it to
any Agent or any Lender under paragraph (a) or (b) of this Section 9.03, each Lender severally agrees to
pay to such Agent or such Lender, as the case may be, such Lender’s pro rata share (determined as of the
time that the applicable unreimbursed expense or indemnity payment is sought) of such unpaid amount;
provided that the unreimbursed expense or indemnified loss, claim, damage, liability or related expense, as
the case may be, was incurred by or asserted against such Agent or such Lender in its capacity as such. For
purposes hereof, a Lender’s “pro rata share” shall be determined based upon its share of the aggregate
outstanding Term Loans and unused Commitments at such time (or if all such amounts have been reduced
to zero, at the time immediately preceding such reduction). The obligations of the Lenders under this
paragraph (c) are subject to the last sentence of Section 2.02(a) (which shall apply mutatis mutandis to the
Lenders’ obligations under this paragraph (c)).

                  (d)      To the extent permitted by applicable law, (i) the Borrower shall not assert, and
each hereby waives, any claim against any Indemnitee for any direct or actual damages arising from the use
by unintended recipients of information or other materials distributed to such unintended recipients by such
Indemnitee through telecommunications, electronic or other information transmission systems (including
the Internet) in connection with this Agreement or the other Loan Documents or the transactions
contemplated hereby or thereby; provided that such indemnity shall not, as to any Indemnitee, be available
to the extent that such direct or actual damages are determined by a court of competent jurisdiction by final,
non-appealable judgment to have resulted from the gross negligence or willful misconduct of, or a material
breach of the Loan Documents by, such Indemnitee or its Related Parties and (ii) no Loan Party (or any
Affiliate thereof), Investor (or any Affiliate thereof), or Indemnitee shall be liable for any special, indirect,
consequential, incidental, exemplary or punitive damages (as opposed to direct or actual damages) arising
out of, in connection with, or as a result of, this Agreement, any other Loan Document or any agreement or
instrument contemplated hereby or thereby, the Financing Transactions, any Loan or the use of the proceeds
thereof; provided that nothing in this paragraph shall limit any Loan Party’s (or any Affiliate thereof) or


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Investor’s (or any Affiliate thereof) indemnity and reimbursement obligations to the extent that such
indirect, special, punitive or consequential damages are included in any claim by a third party unaffiliated
with the applicable Indemnitee with respect to which the applicable Indemnitee is entitled to
indemnification as set forth in this Section 9.03.

                (e)      All amounts due under this Section 9.03 shall be payable not later than thirty (30)
Business Days after written demand therefor; provided, however, that any Indemnitee shall promptly refund
an indemnification payment received hereunder to the extent that there is a final judicial determination that
such Indemnitee was not entitled to indemnification with respect to such payment pursuant to this Section
9.03.

                SECTION 9.04          Successors and Assigns.

                 (a)      The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that (i) the Borrower
may not assign or otherwise transfer any of its rights or obligations hereunder without the prior written
consent of each Lender and the acknowledgement of the Administrative Agent (and any attempted
assignment or transfer by the Borrower without such consent shall be null and void), (ii) no assignment
shall be made to any Defaulting Lender or any of its Subsidiaries, or any Persons who, upon becoming a
Lender hereunder, would constitute any of the foregoing Persons described in this clause (ii) and (iii) no
Lender may assign or otherwise transfer its rights or obligations hereunder except in accordance with this
Section 9.04. Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person
(other than the parties hereto, their respective successors and assigns permitted hereby, Participants (to the
extent provided in paragraph (c) of this Section 9.04), the Indemnitees and, to the extent expressly
contemplated hereby, the Related Parties of each of the Administrative Agent and the Lenders) any legal
or equitable right, remedy or claim under or by reason of this Agreement.

                  (b)     (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may
assign to one or more Eligible Assignees all or a portion of its rights and obligations under this Agreement
(including all or a portion of its Commitment and the Loans at the time owing to it) with the prior written
consent (such consent (except with respect to assignments to competitors of the Borrower) not to be
unreasonably withheld, conditioned or delayed) of (A) the Lead Borrower; provided that no consent of the
Lead Borrower shall be required for an assignment (x) by a Term Lender to any other Lender, any Affiliate
of a Lender or any Approved Fund, or (y) if an Event of Default with respect to the Lead Borrower has
occurred and is continuing (other than in respect of a proposed assignment to a Disqualified Lender);
provided further that no assignee contemplated by the immediately preceding proviso shall be entitled to
receive any greater payment under Section 2.15 or Section 2.17 than the applicable assignor would have
been entitled to receive with respect to the assignment made to such assignee, unless the assignment to such
assignee is made with the Lead Borrower’s prior written consent; provided further that the Lead Borrower
shall have the right to withhold its consent to any assignment if in order for such assignment to comply with
applicable law, the Lead Borrower or any Subsidiary would be required to obtain the consent of, or make
any filing or registration with, any Governmental Authority and (B) the Administrative Agent; provided
that no consent of the Administrative Agent shall be required for an assignment of all or any portion of a
Loan or Term Commitment to (x) a Lender, an Affiliate of a Lender or an Approved Fund or (y) subject to
Section 9.04(g), the Borrower or any of its Subsidiaries. Notwithstanding anything in this Section 9.04 to
the contrary, if the Lead Borrower has not given the Administrative Agent written notice of its objection to
an assignment of Loans within five (5) Business Days after written notice of such assignment, the Lead
Borrower shall be deemed to have consented to such assignment (other than in respect of a proposed
assignment to a Disqualified Lender).




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                  (i)     Assignments shall be subject to the following additional conditions:
(A) except in the case of an assignment to a Lender, an Affiliate of a Lender or an Approved Fund
or an assignment of the entire remaining amount of the assigning Lender’s Commitment or Loans
of any Class, the amount of the Commitment or Loans of the assigning Lender subject to each such
assignment (determined as of the trade date specified in the Assignment and Assumption with
respect to such assignment or, if no trade date is so specified, as of the date the Assignment and
Assumption with respect to such assignment is delivered to the Administrative Agent) shall not be
less than $2,500,000 (and integral multiples of $500,000 in excess thereof), unless the
Administrative Agent otherwise consents (such consent not to be unreasonably withheld,
conditioned or delayed), (B) each partial assignment shall be made as an assignment of a
proportionate part of all the assigning Lender’s rights and obligations under this Agreement;
provided that (x) this clause (B) shall not be construed to prohibit assignment of a proportionate
part of all the assigning Lender’s rights and obligations in respect of one Class of Commitments or
Loans, (y) the Fronting Lender may not assign New Money Term Loans separate from any New
Money Term Loan Commitments held by it at the time of such assignment and (z) any Assigning
Lender seeking to assign New Money Term Loans or New Money Term Loan Commitments must
also assign a proportionate amount of New Money Term Loan Commitments (in the case of an
assignment of New Money Term Loans) or New Money Term Loans (in the case of an assignment
of New Money Term Loan Commitments) held by such Assigning Lender; provided, further, this
clause (z) shall not apply where an Assigning Lender is assigning such New Money Term Loans
or New Money Term Loan Commitments, as applicable, to a Lender, an Affiliate of a Lender or an
Approved Fund, (C) the parties to each assignment shall execute and deliver to the Administrative
Agent an Assignment and Assumption via an electronic settlement system acceptable to the
Administrative Agent or, if previously agreed with the Administrative Agent, manually execute
and deliver to the Administrative Agent an Assignment and Assumption, and, in each case, together
with a processing and recordation fee of $3,500; provided that the Administrative Agent, in its sole
discretion, may elect to waive or reduce such processing and recordation fee; provided further that
any such Assignment and Assumption shall include a representation by the assignee that the
assignee is not a Disqualified Lender or an Affiliate of a Disqualified Lender; provided further that
assignments made pursuant to Section 2.19(b) or Section 9.02(c) shall not require the signature of
the assigning Lender to become effective, (D) the assignee, if it shall not be a Lender, shall deliver
to the Lead Borrower and the Administrative Agent any tax forms required by Section 2.17(e) and
an Administrative Questionnaire in which the assignee designates one or more credit contacts to
whom all syndicate-level information (which may contain Material Non-Public Information about
the Borrower, the other Loan Parties and their Related Parties or their respective securities) will be
made available and who may receive such information in accordance with the assignee’s
compliance procedures and applicable laws, including Federal and state securities laws; and (E) no
assignment may be made to any Person who is not a party to the Restructuring Support Agreement
or who does not, concurrently with the closing of such assignment, become a party to the
Restructuring Support Agreement; provided however that in no event shall any Agent be
responsible or liable for monitoring or confirming whether any assignee or proposed assignee is a
party, or will subsequently become a party, to the Restructuring Support Agreement.

                  (ii)    Subject to acceptance and recording thereof pursuant to paragraph (b)(v)
of this Section 9.04, from and after the effective date specified in each Assignment and Assumption,
the assignee thereunder shall be a party hereto and, to the extent of the interest assigned by such
Assignment and Assumption, have the rights and obligations of a Lender under this Agreement,
and the assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment
and Assumption, be released from its obligations under this Agreement (and, in the case of an
Assignment and Assumption covering all of the assigning Lender’s rights and obligations under
this Agreement, such Lender shall cease to be a party hereto but shall continue to be entitled to the


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        benefits of (and subject to the obligations and limitations of) Sections 2.15, 2.16, 2.17 and 9.03 and
        to any fees payable hereunder that have accrued for such Lender’s account but have not yet been
        paid). Any assignment or transfer by a Lender of rights or obligations under this Agreement that
        does not comply with this Section 9.04 shall be treated for purposes of this Agreement as a sale by
        such Lender of a participation in such rights and obligations in accordance with paragraph (c)(i) of
        this Section 9.04.

                          (iii)   The Administrative Agent, acting for this purpose as a non-fiduciary agent
        of the Borrower, shall maintain at one of its offices a copy of each Assignment and Assumption
        delivered to it and a register for the recordation of the names and addresses of the Lenders, and the
        Commitment of, and principal and interest amounts of the Loans owing to, each Lender pursuant
        to the terms hereof from time to time (the “Register”). The entries in the Register shall be conclusive
        absent manifest error, and the Borrower, the Administrative Agent and the Lenders shall treat each
        Person whose name is recorded in the Register pursuant to the terms hereof as a Lender hereunder
        for all purposes of this Agreement, notwithstanding notice to the contrary. In addition, the
        Administrative Agent shall maintain on the Register information regarding the designation, and
        revocation of designation, of any Lender as a Defaulting Lender. The Register shall be available
        for inspection by the Borrower, the Collateral Agent and any Lender, at any reasonable time and
        from time to time upon reasonable prior notice.

                         (iv)    Upon its receipt of a duly completed Assignment and Assumption
        executed by an assigning Lender and an assignee, the assignee’s completed Administrative
        Questionnaire and any tax forms required by Section 2.17(e) (unless the assignee shall already be
        a Lender hereunder), the processing and recordation fee referred to in paragraph (b) of this Section
        9.04 and any written consent to such assignment required by paragraph (b) of this Section 9.04, the
        Administrative Agent shall accept such Assignment and Assumption and record the information
        contained therein in the Register. No assignment shall be effective for purposes of this Agreement
        unless it has been recorded in the Register as provided in this paragraph.

                         (v)     The words “execution,” “signed,” “signature” and words of like import in
        any Assignment and Assumption shall be deemed to include electronic signatures or the keeping
        of records in electronic form, each of which shall be of the same legal effect, validity or
        enforceability as a manually executed signature or the use of a paper-based recordkeeping system,
        as the case may be, to the extent and as provided for in any applicable law, including the Federal
        Electronic Signatures in Global and National Commerce Act, the New York State Electronic
        Signatures and Records Act or any other similar state laws based on the Uniform Electronic
        Transactions Act.

                  (c)     (i) Any Lender may, without the consent of the Borrower or the Administrative
Agent, sell participations to one or more banks or other Persons (other than to a Person that is not an Eligible
Assignee) (a “Participant”), that are a party to the Restructuring Support Agreement or that, concurrently
with the closing of such participation, becomes a party to the Restructuring Support Agreement, in all or a
portion of such Lender’s rights and obligations under this Agreement (including all or a portion of its
Commitment and the Loans owing to it); provided that (A) such Lender’s obligations under this Agreement
shall remain unchanged, (B) such Lender shall remain solely responsible to the other parties hereto for the
performance of such obligations and (C) the Borrower, the Administrative Agent and the other Lenders
shall continue to deal solely and directly with such Lender in connection with such Lender’s rights and
obligations under this Agreement. Any agreement or instrument pursuant to which a Lender sells such a
participation shall provide that such Lender shall retain the sole right to enforce this Agreement and any
other Loan Documents and to approve any amendment, modification or waiver of any provision of this
Agreement and any other Loan Documents; provided that such agreement or instrument may provide that


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such Lender will not, without the consent of the Participant, agree to any amendment, modification or
waiver described in the first proviso to Section 9.02(b) that directly and adversely affects such Participant.
Subject to paragraph (c)(iii) of this Section, the Borrower agrees that each Participant shall be entitled to
the benefits of Sections 2.15, 2.16 and 2.17 (subject to the obligations and limitations thereof and Section
2.19, it being understood that any tax forms required by Section 2.17(e) shall be provided solely to the
participating Lender) to the same extent as if it were a Lender and had acquired its interest by assignment
pursuant to paragraph (b) of this Section 9.04. To the extent permitted by law, each Participant also shall
be entitled to the benefits of Section 9.08 as though it were a Lender; provided that such Participant agrees
to be subject to Section 2.18(c) as though it were a Lender.

                         (i)       Each Lender that sells a participation shall, acting solely for this purpose
        as a non-fiduciary agent of the Borrower, maintain a register on which it enters the name and
        address of each Participant and the principal amounts (and related stated interest amounts) of each
        participant’s interest in the Loans or other obligations under this Agreement (the “Participant
        Register”). The entries in the Participant Register shall be conclusive, absent manifest error, and
        the parties hereto shall treat each person whose name is recorded in the Participant Register as the
        owner of such participation for all purposes of this Agreement notwithstanding any notice to the
        contrary. No Lender shall have any obligation to disclose all or any portion of its Participant
        Register to any Person (including the identity of any Participant or any information relating to a
        Participant’s interest in any Commitments, Loans or other obligations under the Loan Documents)
        except to the extent that the relevant parties, acting reasonably and in good faith, determine that
        such disclosure is necessary in connection with a Tax audit or other proceeding to establish that
        any Loan or other obligation under the Loan Documents is in registered form under Section 5f.103-
        1(c) and proposed Section 1.163-5(b) of the United States Treasury regulations.

                        (ii)     A Participant shall not be entitled to receive any greater payment under
        Section 2.15, 2.16 or 2.17 than the applicable Lender would have been entitled to receive with
        respect to the participation sold to such Participant, unless the sale of the participation to such
        Participant is made with the Borrower’s prior written consent (not to be unreasonably withheld,
        conditioned or delayed).

                  (d)      Any Lender may, without the consent of the Borrower or the Administrative Agent,
at any time pledge or assign a security interest in all or any portion of its rights under this Agreement to
secure obligations of such Lender, including any pledge or assignment to secure obligations to a Federal
Reserve Bank or other “central” bank, and this Section 9.04 shall not apply to any such pledge or assignment
of a security interest, provided that no such pledge or assignment of a security interest shall release a Lender
from any of its obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
hereto.

                 (e)      In connection with any assignment of rights and obligations of any Defaulting
Lender hereunder, no such assignment shall be effective unless and until, in addition to the other conditions
thereto set forth herein, the parties to the assignment shall make such additional payments to the
Administrative Agent in an aggregate amount sufficient, upon distribution thereof as appropriate (which
may be outright payment, purchases by the assignee of participations or subparticipations, or other
compensating actions, including funding, with the consent of the Lead Borrower and the Administrative
Agent, the applicable pro rata share of Loans previously requested but not funded by the Defaulting Lender,
to each of which the applicable assignee and assignor hereby irrevocably consent), to (x) pay and satisfy in
full all payment liabilities then owed by such Defaulting Lender to the Agents or any Lender hereunder
(and interest accrued thereon) and (y) acquire (and fund as appropriate) its full pro rata share of all Loans.
Notwithstanding the foregoing, in the event that any assignment of rights and obligations of any Defaulting
Lender hereunder shall become effective under applicable law without compliance with the provisions of


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this paragraph, then the assignee of such interest shall be deemed to be a Defaulting Lender for all purposes
of this Agreement until such compliance occurs.

                (f)      [Reserved].

                (g)      [Reserved].

                  (h)     Notwithstanding the foregoing, no assignment may be made or participation sold
to a Disqualified Lender without the prior written consent of the Lead Borrower. Upon inquiry by any
Lender to the Administrative Agent as to whether a specified potential assignee or prospective participant
is on the list of Disqualified Lenders, the Administrative Agent shall be permitted to make the list of
Disqualified Lenders available to such Lender for inspection. Notwithstanding anything contained in this
Agreement or any other Loan Document to the contrary, if any Lender was a Disqualified Lender at the
time of the assignment of any Loans or Commitments to such Lender, following written notice from the
Lead Borrower to such Lender and the Administrative Agent: (1) such Lender shall promptly assign all
Loans and Commitments held by such Lender to an Eligible Assignee; provided that (A) the Administrative
Agent shall not have any obligation to the Borrower, such Lender or any other Person to find such a
replacement Lender, (B) the Borrower shall not have any obligation to such Disqualified Lender or any
other Person to find such a replacement Lender or accept or consent to any such assignment to itself or any
other Person subject to the Lead Borrower’s consent in accordance with Section 9.04(b)(i) and (C) the
assignment of such Loans and/or Commitments, as the case may be, shall be at par plus accrued and unpaid
interest and fees; (2) such Lender shall not have any voting or approval rights under the Loan Documents
and shall be excluded in determining whether all Lenders (or all Lenders of any Class), all affected Lenders
(or all affected Lenders of any Class), a Majority in Interest of Lenders of any Class or the Required Lenders
have taken or may take any action hereunder (including any consent to any amendment or waiver pursuant
to Section 9.02); provided that (x) the Commitment of any Disqualified Lender may not be increased or
extended without the consent of such Lender and (y) any waiver, amendment or modification requiring the
consent of all Lenders or each affected Lender that affects any Disqualified Lender adversely and in a
manner that is disproportionate to other affected Lenders shall require the consent of such Disqualified
Lender; and (3) no Disqualified Lender is entitled to receive information provided solely to Lenders by the
Administrative Agent or any Lender or will be permitted to attend or participate in meetings attended solely
by the Lenders and the Administrative Agent, other than the right to receive notices or Borrowings, notices
or prepayments and other administrative notices in respect of its Loans or Commitments required to be
delivered to Lenders pursuant to Article II.

                SECTION 9.05           Survival.

                 All covenants, agreements, representations and warranties made by the Loan Parties in the
Loan Documents and in the certificates or other instruments delivered in connection with or pursuant to
any Loan Document shall be considered to have been relied upon by the other parties hereto and shall
survive the execution and delivery of the Loan Documents and the making of any Loans, regardless of any
investigation made by any such other party or on its behalf and notwithstanding that the Administrative
Agent or any Lender may have had notice or knowledge of any Default or incorrect representation or
warranty at the time any credit is extended hereunder, and shall continue in full force and effect as long as
the principal of or any accrued interest on any Loan or any fee or any other amount payable under this
Agreement is outstanding and unpaid and so long as the Commitments have not expired or terminated. The
provisions of Sections 2.15, 2.16, 2.17 and 9.03 and Article VIII shall survive and remain in full force and
effect regardless of the consummation of the transactions contemplated hereby, the repayment of the Loans
and all other amounts payable hereunder, the expiration or termination of the Commitments or the
termination of this Agreement or any provision hereof or the resignation or removal of any Agent.



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                 SECTION 9.06         Counterparts; Integration; Effectiveness.

                  This Agreement may be executed in counterparts (and by different parties hereto on
different counterparts), each of which shall constitute an original, but all of which when taken together shall
constitute a single contract. This Agreement, the other Loan Documents and any separate letter agreements
with respect to fees payable to the Agents or the syndication of the Loans and Commitments (including,
without limitation, the Fronting Fee Letter) constitute the entire contract among the parties relating to the
subject matter hereof and supersede any and all previous agreements and understandings, oral or written,
relating to the subject matter hereof. Except as provided in Section 4.01, this Agreement shall become
effective when it shall have been executed by the Administrative Agent and when the Administrative Agent
shall have received counterparts hereof that, when taken together, bear the signatures of each of the other
parties hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto and their
respective successors and assigns. Delivery of an executed counterpart of a signature page of (x) this
Agreement, (y) any other Loan Document and/or (z) any document, amendment, approval, consent,
information, notice, certificate, request, statement, disclosure or authorization related to this Agreement,
any other Loan Document and/or the transactions contemplated hereby and/or thereby (each an “Ancillary
Document”) that is an Electronic Signature transmitted by telecopy, emailed pdf. or any other electronic
means that reproduces an image of an actual executed signature page shall be effective as delivery of a
manually executed counterpart of this Agreement, such other Loan Document or such Ancillary Document,
as applicable. The words “execution,” “signed,” “signature,” “delivery,” and words of like import in or
relating to this Agreement, any other Loan Document and/or any Ancillary Document shall be deemed to
include Electronic Signatures, deliveries or the keeping of records in any electronic form (including
deliveries by telecopy, emailed pdf. or any other electronic means that reproduces an image of an actual
executed signature page), each of which shall be of the same legal effect, validity or enforceability as a
manually executed signature, physical delivery thereof or the use of a paper-based recordkeeping system,
as the case may be; provided that nothing herein shall require the Administrative Agent to accept Electronic
Signatures in any form or format without its prior written consent and pursuant to procedures approved by
it; provided, further, without limiting the foregoing, (i) to the extent the Administrative Agent has agreed
to accept any Electronic Signature, the Administrative Agent and each of the Lenders shall be entitled to
rely on such Electronic Signature purportedly given by or on behalf of the Borrower or any other Loan
Party without further verification thereof and without any obligation to review the appearance or form of
any such Electronic Signature and (ii) upon the request of the Administrative Agent (whether on its own
behalf or on behalf of any Lender), any Electronic Signature shall be promptly followed by a manually
executed counterpart. Without limiting the generality of the foregoing, the Borrower and each Loan Party
hereby (i) agrees that, for all purposes, including without limitation, in connection with any workout,
restructuring, enforcement of remedies, bankruptcy proceedings or litigation among the Administrative
Agent, the Lenders and the Loan Parties, Electronic Signatures transmitted by telecopy, emailed pdf. or any
other electronic means that reproduces an image of an actual executed signature page and/or any electronic
images of this Agreement, any other Loan Document and/or any Ancillary Document shall have the same
legal effect, validity and enforceability as any paper original, (ii) the Administrative Agent and each of the
Lenders may, at its option, create one or more copies of this Agreement, any other Loan Document and/or
any Ancillary Document in the form of an imaged electronic record in any format, which shall be deemed
created in the ordinary course of such Person’s business, and destroy the original paper document (and all
such electronic records shall be considered an original for all purposes and shall have the same legal effect,
validity and enforceability as a paper record), (iii) waives any argument, defense or right to contest the legal
effect, validity or enforceability of this Agreement, any other Loan Document and/or any Ancillary
Document based solely on the lack of paper original copies of this Agreement, such other Loan Document
and/or such Ancillary Document, respectively, including with respect to any signature pages thereto and
(iv) waives any claim against the Administrative Agent, any Lender or any Affiliates or Related Parties of
any of the foregoing for any losses, claims (including intraparty claims), demands, damages or liabilities of
any kind arising solely from the Administrative Agent’s and/or any Lender’s reliance on or use of Electronic


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Signatures and/or transmissions by telecopy, emailed pdf. or any other electronic means that reproduces an
image of an actual executed signature page, including any losses, claims (including intraparty claims),
demands, damages or liabilities of any kind arising as a result of the failure of any Loan Party to use any
available security measures in connection with the execution, delivery or transmission of any Electronic
Signature.

                SECTION 9.07          Severability.

                 Any provision of this Agreement held to be invalid, illegal or unenforceable in any
jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such invalidity, illegality or
unenforceability without affecting the validity, legality and enforceability of the remaining provisions
hereof; and the invalidity of a particular provision in a particular jurisdiction shall not invalidate such
provision in any other jurisdiction. Without limiting the foregoing provisions of this Section 9.07, if and to
the extent that the enforceability of any provisions in this Agreement relating to Defaulting Lenders shall
be limited by Debtor Relief Laws, as determined in good faith by the Administrative Agent then such
provisions shall be deemed to be in effect only to the extent not so limited.

                SECTION 9.08          Right of Setoff.

                  If an Event of Default shall have occurred and be continuing, each Lender is hereby
authorized at any time and from time to time, to the fullest extent permitted by law, to set off and apply any
and all deposits (general or special, time or demand, provisional or final, in whatever currency) at any time
held and other obligations (in whatever currency) at any time owing by such Lender to or for the credit or
the account of the Borrower against any of and all the obligations of the Borrower then due and owing
under this Agreement held by such Lender, irrespective of whether or not such Lender shall have made any
demand under this Agreement and although such obligations are owed to a branch or office of such Lender
different from the branch or office holding such deposit or obligated on such Indebtedness; provided that
in the event that any Defaulting Lender shall exercise any such right of setoff, (x) all amounts so set off
shall be paid over immediately to the Administrative Agent for further application in accordance with the
provisions of Section 2.22 and, pending such payment, shall be segregated by such Defaulting Lender from
its other funds and deemed held in trust for the benefit of the Administrative Agent and the Lenders and (y)
the Defaulting Lender shall provide promptly to the Administrative Agent a statement describing in
reasonable detail the Secured Obligations owing to such Defaulting Lender as to which it exercised such
right of setoff. The applicable Lender shall notify the Borrower and the Administrative Agent of such setoff
and application; provided that any failure to give or any delay in giving such notice shall not affect the
validity of any such setoff and application under this Section. The rights of each Lender under this Section
are in addition to other rights and remedies (including other rights of setoff) that such Lender may have.
Notwithstanding the foregoing, no amount set off from any Loan Party (other than the Borrower) shall be
applied to any Excluded Swap Obligation of such Loan Party (other than the Borrower).

                SECTION 9.09          Governing Law; Jurisdiction; Consent to Service of Process.

                 (a)    This Agreement shall be construed in accordance with and governed by the laws
of the State of New York and, as may be applicable, the Bankruptcy Code, regardless of the laws that might
otherwise govern under applicable principles of conflicts of laws thereof.

                 (b)    Each party hereto hereby irrevocably and unconditionally submits, for itself and
its property, to the exclusive jurisdiction of the Bankruptcy Court and, solely to the extent that the
Bankruptcy Court does not have (or abstains from exercising) jurisdiction over any matter, the Supreme
Court of the State of New York sitting in New York County and of the United States District Court of the
Southern District of New York, and any appellate court from any thereof, in any action or proceeding arising


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out of or relating to any Loan Document, or for recognition or enforcement of any judgment, and each of
the parties hereto hereby irrevocably and unconditionally agrees that all claims in respect of any such action
or proceeding may be heard and determined in the Bankruptcy Court and, to the extent the Bankruptcy
Court does not have (or abstains from exercising) jurisdiction, such New York State or, to the extent
permitted by law, in such Federal court. Each of the parties hereto agrees that a final judgment in any such
action or proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment
or in any other manner provided by law. Nothing in any Loan Document shall affect any right that the
Administrative Agent or any Lender may otherwise have to bring any action or proceeding relating to any
Loan Document against the Borrower or its properties in the courts of any jurisdiction.

                 (c)      Each party hereto hereby irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection that it may now or hereafter have to the laying of
venue of any suit, action or proceeding arising out of or relating to any Loan Document in any court referred
to in paragraph (b) of this Section 9.09. Each of the parties hereto hereby irrevocably waives, to the fullest
extent permitted by law, the defense of an inconvenient forum to the maintenance of such action or
proceeding in any such court.

                 (d)    Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 9.01. Nothing in any Loan Document will affect the right of any
party to this Agreement to serve process in any other manner permitted by law.

                SECTION 9.10          WAIVER OF JURY TRIAL.

             EACH PARTY HERETO HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO ANY
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED THEREBY (WHETHER BASED
ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT
NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT
IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS
IN THIS SECTION 9.10.

                SECTION 9.11          Headings.

                 Article and Section headings and the Table of Contents used herein are for convenience of
reference only, are not part of this Agreement and shall not affect the construction of, or be taken into
consideration in interpreting, this Agreement.

                SECTION 9.12          Confidentiality.

                  (a)     Each of the Administrative Agent and the Lenders agrees to maintain the
confidentiality of the Information (as defined below), except that Information may be disclosed (i) to its
and its Affiliates’ directors, officers, employees, trustees and agents, including accountants, legal counsel
and other agents and advisors, in each case, who need to know such Information in connection with the
Transactions (it being understood that the Persons to whom such disclosure is made will be informed of the
confidential nature of such Information and instructed to keep such Information confidential and any failure
of such Persons acting on behalf of the Administrative Agent or the relevant Lender to comply with this
Section 9.12 shall constitute a breach of this Section 9.12 by the Administrative Agent or the relevant



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Lender, as applicable), (ii) to the extent requested by any governmental authority or self-regulatory
authority having jurisdiction over the Administrative Agent, any Lender or any Affiliates of any of the
foregoing, as applicable, or, based on reasonable advice of counsel, to the extent required by (A) an order
of any court or administrative agency or in any pending legal, judicial or administrative proceeding, (B)
applicable law or by any subpoena or similar compulsory legal process or (C) in connection with the
exercise of remedies or enforcement of rights hereunder in any suit, action or proceeding relating to this
Agreement; provided that (x) solely to the extent permitted by law and other than in connection with routine
audits and reviews by bank accountants or governmental or self-regulatory authorities exercising
examination or regulatory authority, each Lender and the Administrative Agent shall notify the Lead
Borrower as promptly as practicable of any such requested or required disclosure and (y) in the case of
clause (ii) only, each Lender and the Administrative Agent shall use commercially reasonable efforts to
ensure that such Information is kept confidential in connection with the exercise of such remedies, and
provided further that in no event shall any Lender or the Administrative Agent be obligated or required to
return any materials furnished by the Borrower or any of its subsidiaries, (iii) to any other party to this
Agreement, (iv) subject to an agreement containing confidentiality undertakings substantially similar to
those of this Section 9.12, to (A) any assignee of or Participant in, or any prospective assignee of or
Participant in, any of its rights or obligations under this Agreement, (B) any direct or indirect contractual
counterparty to any Swap Agreement or derivative transaction relating to any Loan Party or its subsidiaries
and its obligations under the Loan Documents or (C) any pledgee referred to in Section 9.04(d), (v) if
required by any rating agency in connection with obtaining a rating; provided that prior to any such
disclosure, such rating agency shall have agreed in writing to maintain the confidentiality of such
Information, (vi) to service providers (including any numbering, administration or settlement service
providers) providing administrative and ministerial services solely in connection with the syndication and
administration of the Loan Documents and the DIP Facility (e.g., identities of parties, maturity dates,
interest rates, etc.) on a confidential basis, (vii) to the extent such Information (x) becomes publicly
available other than as a result of a breach of this Section 9.12 or otherwise by reason of improper disclosure
by the Administrative Agent any Lender or any Affiliates or Related Parties of any of the foregoing
(including the Persons referred to in clauses (i) above) in violation of any confidentiality obligations owing
to the Loan Parties or any subsidiaries, Affiliates or Related Parties of any of the foregoing or (y) becomes
available to the Administrative Agent, any Lender or any of their respective Affiliates on a non-confidential
basis from a source other than the Borrower or any subsidiary, which source is not known by the recipient
of such information to be subject to a confidentiality obligation, or (viii) to the extent that such information
was already in the possession of the Administrative Agent or any Lender prior to any duty or other
undertaking of confidentiality or is independently developed by the Administrative Agent or any Lender
without the use of such information and without otherwise violating the terms of this Section 9.12. For the
purposes hereof, “Information” means all information received from or on behalf of the Borrower or any
of its subsidiaries relating to the Borrower, any of its subsidiaries or their business. Any Person required to
maintain the confidentiality of Information as provided in this Section 9.12 shall be considered to have
complied with its obligation to do so if such Person has exercised the same degree of care to maintain the
confidentiality of such Information as such Person would accord to its own confidential information.
Notwithstanding the foregoing, other than as set forth in the proviso below, (x) no such information shall
be disclosed to a Disqualified Lender or Excluded Party that constitutes a Disqualified Lender or Excluded
Party, as applicable, at the time of such disclosure without the Lead Borrower’s prior written consent and
(y) in connection with any proposed assignment of Loans and/or Commitments in accordance with Section
9.04, upon request by the applicable potential assignee therefor, the applicable potential assigning Lender
may disclose the list of Disqualified Lenders to such potential assignee solely for purposes of enabling such
assignee to make a representation in its applicable Assignment and Assumption that such prospective
assignee is an Eligible Assignee, provided, however, that, subject to an agreement containing confidentiality
undertakings substantially similar to those of this Section 9.12, the list of Disqualified Lenders may be
disclosed to any bona fide potential assignee or Participant, so that such potential assignee or Participant
can represent and warrant that it is neither a Disqualified Lender nor an Affiliate of a Disqualified Lender.


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             (b)   EACH LENDER ACKNOWLEDGES THAT INFORMATION (AS DEFINED
IN THIS SECTION 9.12) FURNISHED TO IT PURSUANT TO THIS AGREEMENT MAY INCLUDE
MATERIAL NON-PUBLIC INFORMATION CONCERNING THE BORROWER, THE LOAN
PARTIES AND THEIR RELATED PARTIES OR THEIR RESPECTIVE SECURITIES AND
CONFIRMS THAT IT HAS DEVELOPED COMPLIANCE PROCEDURES REGARDING THE USE
OF MATERIAL NON-PUBLIC INFORMATION AND THAT IT WILL HANDLE SUCH MATERIAL
NON-PUBLIC INFORMATION IN ACCORDANCE WITH THOSE PROCEDURES AND
APPLICABLE LAW, INCLUDING FEDERAL AND STATE SECURITIES LAWS.

            (c)   ALL INFORMATION, INCLUDING REQUESTS FOR WAIVERS AND
AMENDMENTS FURNISHED BY THE BORROWER OR THE ADMINISTRATIVE AGENT
PURSUANT TO, OR IN THE COURSE OF ADMINISTERING, THIS AGREEMENT, WILL BE
SYNDICATE-LEVEL INFORMATION, WHICH MAY CONTAIN MATERIAL NON-PUBLIC
INFORMATION ABOUT THE BORROWER, THE LOAN PARTIES AND THEIR RELATED
PARTIES OR THEIR RESPECTIVE SECURITIES. ACCORDINGLY, EACH LENDER REPRESENTS
TO THE BORROWER AND THE ADMINISTRATIVE AGENT THAT IT HAS IDENTIFIED IN ITS
ADMINISTRATIVE QUESTIONNAIRE A CREDIT CONTACT WHO MAY RECEIVE
INFORMATION THAT MAY CONTAIN MATERIAL NON-PUBLIC INFORMATION IN
ACCORDANCE WITH ITS COMPLIANCE PROCEDURES AND APPLICABLE LAW, INCLUDING
FEDERAL AND STATE SECURITIES LAWS.

                SECTION 9.13          USA PATRIOT Act.

                 Each Lender that is subject to the USA PATRIOT Act and the Administrative Agent (for
itself and not on behalf of any Lender) hereby notifies the Borrower that pursuant to the requirements of
the USA PATRIOT Act, it is required to obtain, verify and record information that identifies each Loan
Party, which information includes the name and address of each Loan Party and other information that will
allow such Lender or the Administrative Agent, as applicable, to identify each Loan Party in accordance
with the USA PATRIOT Act.

                SECTION 9.14          Release of Liens and Guarantees.

                  (a)     A Loan Party shall automatically be released from its obligations under the Loan
Documents (including its Guarantee) and all security interests created by the Security Documents in
Collateral owned by such Loan Party shall be automatically released, (1) upon the consummation of any
transaction or designation permitted by this Agreement as a result of which such Loan Party ceases to be a
Subsidiary (including pursuant to a permitted merger with a Subsidiary that is not a Loan Party) or (2) upon
the request of the Lead Borrower, in connection with a transaction permitted under this Agreement (but
only a transaction (x) in which such Loan Party becomes a bona fide joint venture and the other Person
taking an equity interest in such Loan Party takes such equity interest for fair market value (as determined
in good faith by the Lead Borrower) and is not an Investor, an Affiliate of an Investor or an Affiliate of the
Borrower (other than as a result of such joint venture), (y) in which such Loan Party does not own or have
an exclusive license of any Material Intellectual Property or own any Equity Interests of any Person that
owns or is the exclusive licensee of any Material Intellectual Property and (z) the primary purpose (as
determined by the Lead Borrower in good faith) of which is not the release of any Guarantee of or Lien on
the assets of such Loan Party) as a result of which such Loan Party ceases to be a Wholly Owned Subsidiary.
Upon any sale or other transfer by any Loan Party (other than to the Borrower or any Loan Party) of any
Collateral in a transaction permitted under this Agreement, or upon the effectiveness of any written consent
to the release of the security interest created under any Security Document in any Collateral, the security
interests in such Collateral created by the Security Documents shall be automatically released. Upon the
release of any Loan Party from its Guarantee in compliance with this Agreement, the security interest in


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any Collateral owned by such Subsidiary created by the Security Documents shall be automatically released.
Upon termination of the aggregate Commitments and payment in full of all Secured Obligations (other than
contingent indemnification obligations), all obligations under the Loan Documents and all security interests
created by the Security Documents shall be automatically released. In connection with any termination or
release pursuant to this Section 9.14, each Agent shall execute and deliver to any Loan Party, at such Loan
Party’s expense, all documents that such Loan Party shall reasonably request and prepare to evidence such
termination or release so long as the Borrower or applicable Loan Party shall have provided such Agent a
certificate, upon which such Agent may conclusively rely and shall be fully protected in acting in reliance
upon, of a Responsible Officer certifying that the release of such Loan Party or Lien or such other release
and the transactions related thereto (and the execution and delivery of any instruments or documents by
such Agent in connection therewith) are authorized or permitted by the terms of this Agreement and the
other Loan Documents.

                 (b)     The Administrative Agent or the Collateral Agent, as the case may be, will, subject
to such Agent’s receipt of a certificate of a Responsible Officer of the Borrower as provided for in Section
9.14(a), at the Borrower’s expense, execute and deliver to the applicable Loan Party such documents as
such Loan Party may reasonably request and prepare to subordinate its Lien on any property granted to or
held by the Administrative Agent or the Collateral Agent, as the case may be, under any Loan Document
to the holder of any Lien on such property that is permitted by Section 6.02(iv).

                 (c)     Each of the Lenders, and by accepting the benefits of the Security Documents,
each Secured Party that is not a party hereto, irrevocably authorizes the Administrative Agent or the
Collateral Agent, as the case may be, to provide any release or evidence of release, termination or
subordination contemplated by this Section 9.14. Upon request by the Administrative Agent or the
Collateral Agent, as the case may be, at any time, the Required Lenders will confirm in writing the
Administrative Agent’s authority or that Collateral Agent’s authority, as the case may be, to release or
subordinate its interest in particular types or items of property, or to release any Loan Party from its
obligations under any Loan Document, in each case in accordance with the terms of the Loan Documents
and this Section 9.14.

                SECTION 9.15          No Advisory or Fiduciary Responsibility.

                  In connection with all aspects of each transaction contemplated hereby (including in
connection with any amendment, waiver or other modification hereof or of any other Loan Document), the
Borrower acknowledges and agrees that (i) (A) the arranging and other services regarding this Agreement
provided by the Administrative Agent and the Lenders are arm’s-length commercial transactions between
the Borrower and its Affiliates, on the one hand, and the Administrative Agent and the Lenders on the other
hand, (B) the Borrower has consulted its own legal, accounting, regulatory and tax advisors to the extent it
has deemed appropriate, and (C) the Borrower is capable of evaluating, and understands and accepts, the
terms, risks and conditions of the transactions contemplated hereby and by the other Loan Documents; (ii)
(A) each of the Administrative Agent and the Lenders is and has been acting solely as a principal and,
except as expressly agreed in writing by the relevant parties, has not been, is not and will not be acting as
an advisor, agent or fiduciary for the Borrower, any of its Affiliates or any other Person and (B) none of the
Administrative Agent and the Lenders has any obligation to the Borrower or any of its Affiliates with
respect to the transactions contemplated hereby except those obligations expressly set forth herein and in
the other Loan Documents; and (iii) the Administrative Agent and the Lenders and their respective
Affiliates may be engaged in a broad range of transactions that involve interests that differ from those of
the Borrower and its Affiliates, and none of the Administrative Agent and the Lenders has any obligation
to disclose any of such interests to the Borrower or any of its Affiliates. To the fullest extent permitted by
law, the Borrower hereby waives and releases any claims that it may have against the Administrative Agent



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and the Lenders with respect to any breach or alleged breach of agency or fiduciary duty in connection with
any aspect of any transaction contemplated hereby.

                  SECTION 9.16       Interest Rate Limitation.

                  Notwithstanding anything to the contrary contained in any Loan Document, the interest
paid or agreed to be paid under the Loan Documents shall not exceed the maximum rate of non-usurious
interest permitted by applicable law (the “Maximum Rate”). If the Administrative Agent or any Lender
shall receive interest in an amount that exceeds the Maximum Rate, the excess interest shall be applied to
the principal of the Loans or, if it exceeds such unpaid principal, refunded to the Borrower. In determining
whether the interest contracted for, charged or received by the Administrative Agent or a Lender exceeds
the Maximum Rate, such Person may, to the extent permitted by applicable law, (a) characterize any
payment that is not principal as an expense, fee or premium rather than interest, (b) exclude voluntary
prepayments and the effects thereof, and (c) amortize, prorate, allocate and spread in equal or unequal parts
the total amount of interest throughout the contemplated term of the obligations hereunder.

                  SECTION 9.17       [Reserved].

                  SECTION 9.18        Judgment Currency. If, for the purposes of obtaining judgment in any
court, it is necessary to convert a sum due hereunder or under any other Loan Document in one currency
into another currency, the rate of exchange used shall be that at which in accordance with the normal
banking procedures the Administrative Agent could purchase the first currency with such other currency
on the Business Day preceding that on which final judgment is given. The obligation of the Borrower in
respect of any such sum due from them to the Administrative Agent or the Lenders hereunder or under the
other Loan Documents shall, notwithstanding any judgment in a currency (the “Judgment Currency”) other
than that in which such sum is denominated in accordance with the applicable provisions of this Agreement
(the “Agreement Currency”), be discharged only to the extent that on the Business Day following receipt
by the Administrative Agent or the relevant Lender of any sum adjudged to be so due in the Judgment
Currency, the Administrative Agent or the relevant Lender may in accordance with the normal banking
procedures purchase the Agreement Currency with the Judgment Currency. If the amount of the Agreement
Currency so purchased is less than the sum originally due to the Administrative Agent or such Lender from
the Borrower in the Agreement Currency, each Borrower agrees, as a separate obligation and
notwithstanding any such judgment, to indemnify the Administrative Agent, or the Person to whom such
obligation was owing against such loss. If the amount of the Agreement Currency so purchased is greater
than the sum originally due to the Administrative Agent or such Lender in such currency, the Administrative
Agent or such Lender agrees to return the amount of any excess to the Borrower (or to any other Person
who may be entitled thereto under applicable law).

                  SECTION 9.19       Acknowledgement and Consent to Bail-In of Affected Financial
Institutions.

                Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any liability of
any Affected Financial Institution arising under any Loan Document, to the extent such liability is
unsecured, may be subject to the Write-Down and Conversion Powers of the applicable Resolution
Authority and agrees and consents to, and acknowledges and agrees to be bound by:

1.      the application of any Write-Down and Conversion Powers by the applicable Resolution
        Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
        that is an Affected Financial Institution; and




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2.      the effects of any Bail-In Action on any such liability, including, if applicable:

        i.       a reduction in full or in part or cancellation of any such liability;

       ii.       a conversion of all, or a portion of, such liability into shares or other instruments of
                 ownership in such Affected Financial Institution, its parent undertaking, or a bridge
                 institution that may be issued to it or otherwise conferred on it, and that such shares or
                 other instruments of ownership will be accepted by it in lieu of any rights with respect to
                 any such liability under this Agreement or any other Loan Document; or

      iii.       the variation of the terms of such liability in connection with the exercise of the Write-
                 Down and Conversion Powers of the applicable Resolution Authority.

                 SECTION 9.20         Acknowledgement Regarding Any Supported QFCs. To the extent
that the Loan Documents provide support, through a guarantee or otherwise, for Swap Agreements or any
other agreement or instrument that is a QFC (such support “QFC Credit Support” and each such QFC a
“Supported QFC”), the parties acknowledge and agree as follows with respect to the resolution power of
the Federal Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the
Dodd-Frank Wall Street Reform and Consumer Protection Act (together with the regulations promulgated
thereunder, the “U.S. Special Resolution Regimes”) in respect of such Supported QFC and QFC Credit
Support (with the provisions below applicable notwithstanding that the Loan Documents and any Supported
QFC may in fact be stated to be governed by the laws of the State of New York and/or of the United States
or any other state of the United States):

                  In the event a Covered Entity that is party to a Supported QFC (each, a “Covered Party”)
becomes subject to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported
QFC and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported
QFC and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC
Credit Support) from such Covered Party will be effective to the same extent as the transfer would be
effective under the U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support
(and any such interest, obligation and rights in property) were governed by the laws of the United States or
a state of the United States. In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes
subject to a proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
that might otherwise apply to such Supported QFC or any QFC Credit Support that may be exercised against
such Covered Party are permitted to be exercised to no greater extent than such Default Rights could be
exercised under the U.S. Special Resolution Regime if the Supported QFC and the Loan Documents were
governed by the laws of the United States or a state of the United States. Without limitation of the foregoing,
it is understood and agreed that rights and remedies of the parties with respect to a Defaulting Lender shall
in no event affect the rights of any Covered Party with respect to a Supported QFC or any QFC Credit
Support.

                SECTION 9.21          Orders Control. To the extent that any specific provision hereof is
inconsistent with any of the Orders, the Interim DIP Order or Final DIP Order (as applicable) shall control.

                                                 ARTICLE X

                                                GUARANTEE

                SECTION 10.01       Guarantee.       Each Guarantor absolutely, irrevocably and
unconditionally guarantees, as primary obligor and not merely as surety, to each of the Secured Parties,
jointly with the other Guarantors and severally, the due and punctual payment and performance of the


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Secured Obligations (which shall not be secured by any liens on the assets of the Holdco Borrower or the
Holdco Intermediate Parent). Each Guarantor further agrees that the Secured Obligations may be increased,
extended or renewed, in whole or in part, or amended or modified, without notice to or further assent from
it, and that it will remain bound upon its guarantee hereunder notwithstanding any such increase, extension
or renewal, or amendment or modification, of any of the Secured Obligations. Each Guarantor waives
presentment to, demand of payment from and protest to the Borrower or any other Loan Party of any of the
Secured Obligations, and also waives notice of acceptance of its guarantee and notice of protest for
nonpayment, notice of dishonor, default and nonpayment. Notwithstanding anything to the contrary
contained herein, the obligations of each Guarantor hereunder at any time shall be limited to an aggregate
amount equal to the largest amount that would not render its obligations hereunder subject to avoidance as
a fraudulent transfer or conveyance under Section 548 of the Bankruptcy Code or any comparable
provisions of any other applicable law.

                 SECTION 10.02        Guarantee of Payment; Continuing Guarantee. Each Guarantor
further agrees that its guarantee hereunder constitutes a guarantee of payment when due (whether or not
any bankruptcy or similar proceeding shall have stayed the accrual of collection of any of the Secured
Obligations or operated as a discharge thereof) and not merely of collection, and waives diligence,
marshaling (other than with respect to TopCo, whose guarantee shall be in all respects subject to paragraph
33 of the Interim DIP Order), and any right to require that any resort be had by the Administrative Agent
or any other Secured Party to any security held for the payment of any of the Secured Obligations or to any
balance of any deposit account or credit on the books of the Administrative Agent or any other Secured
Party in favor of any Borrower, any other Loan Party or any other Person. Each Guarantor agrees that its
guarantee hereunder is continuing in nature and applies to all of the Secured Obligations, whether currently
existing or hereafter incurred.

                SECTION 10.03         No Limitations.

                 (a)     Except for (x) the termination or release of a Guarantor’s obligations hereunder as
expressly provided in Section 9.14 and (y) the limitations set forth in Section 10.01, the obligations of each
Guarantor hereunder shall not be subject to any reduction, limitation, impairment or termination for any
reason, including any claim of waiver, release, surrender, alteration or compromise of any of the Secured
Obligations, and shall not be subject to any defense or set-off, counterclaim, recoupment or termination
whatsoever by reason of the invalidity, illegality or unenforceability of any of the Secured Obligations, any
impossibility in the performance of any of the Secured Obligations or otherwise. Without limiting the
generality of the foregoing, except for (x) the termination or release of a Guarantor’s obligations hereunder
as expressly provided in Section 9.14 and (y) the limitations set forth in Section 10.01, the obligations of
each Guarantor hereunder, to the fullest extent permitted by applicable Requirements of Law, shall not be
discharged or impaired or otherwise affected by:

                (i) the failure of any Secured Party or any other Person to assert any claim or demand or
                    to enforce any right or remedy under the provisions of any Loan Document or
                    otherwise;

                (ii) any rescission, waiver, amendment, supplement, restatement or modification of, or any
                     release or departure from any of the terms or provisions of, any Loan Document or any
                     other agreement, including with respect to any other Guarantor under this Agreement;

                (iii) the release of, or any impairment of or failure to perfect any Lien on, any security held
                      by any Secured Party for any of the Secured Obligations;




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                (iv) any default, failure or delay, willful or otherwise, in the performance of any of the
                     Secured Obligations;

                (v) any other act or omission that may or might in any manner or to any extent vary the
                    risk of any Guarantor or otherwise operate as a discharge of any Guarantor as a matter
                    of law or equity (other than the payment in full in cash of all the Secured Obligations
                    (excluding contingent obligations as to which no claim has been made or which are
                    otherwise not due));

                (vi) any illegality, lack of validity or lack of enforceability of any of this Agreement, any
                     other Loan Document, or the Secured Obligations;

                (vii)    any change in the corporate existence, structure or ownership of any Loan Party,
                     or any insolvency, bankruptcy, reorganization or other similar proceeding affecting
                     any Loan Party or its assets or any resulting release or discharge of any of the Secured
                     Obligations (other than the payment in full in cash of all the Secured Obligations
                     (excluding contingent obligations as to which no claim has been made or which are
                     otherwise not due));

                (viii) the existence of any claim, set-off or other rights that any Guarantor may have at
                     any time against the Borrower, any other Guarantor, the Administrative Agent, any
                     other Secured Party or any other Person, whether in connection with this Agreement,
                     the other Loan Documents or any unrelated transaction;

                (ix) this Agreement having been determined (on whatsoever grounds) to be invalid, non-
                     binding or unenforceable against any other Guarantor ab initio or at any time after the
                     Effective Date;

                (x) the fact that any Person that, pursuant to the Loan Documents, was required to become
                    a party hereto may not have executed or is not effectually bound by this Agreement,
                    whether or not this fact is known to the Secured Parties;

                (xi) any action permitted or authorized hereunder;

                (xii)     any other circumstance (including any statute of limitations), or any existence of
                     or reliance on any representation by the Administrative Agent, any other Secured Party
                     or any other Person, that might otherwise constitute a defense to, or a legal or equitable
                     discharge of, the Borrower, any other Guarantor or any other guarantor or surety (other
                     than the payment in full in cash of all the Secured Obligations (excluding contingent
                     obligations as to which no claim has been made or which are otherwise not due)); or

                (xiii) any renewal, extension or acceleration of, or any increase in the amount of the
                     Secured Obligations.

                 (b)      Each Guarantor expressly authorizes the Secured Parties to take and hold security
in accordance with the terms of the Loan Documents for the payment and performance of the Secured
Obligations, to exchange, waive or release any or all such security (with or without consideration), to
enforce or apply such security and direct the order and manner of any sale thereof in their sole discretion
or to release or substitute any one or more other guarantors or obligors upon or in respect of the Secured
Obligations, all without affecting the obligations of any Guarantor hereunder.




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                 (c)      To the fullest extent permitted by applicable Requirements of Law, each Guarantor
hereby waives any defense based on or arising out of any defense of the Borrower or any other Loan Party
or the unenforceability of the Secured Obligations or any part thereof from any cause, or the cessation from
any cause of the liability of the Borrower or any other Loan Party, other than the payment in full in cash of
all the Secured Obligations and/or the termination or release of such Guarantor’s obligations hereunder as
expressly provided under Section 9.14. Any Agent (acting at the direction of the Required Lenders) and the
other Secured Parties, at their election and in accordance with the terms of the Loan Documents, may
foreclose on any security held by one or more of them by one or more judicial or nonjudicial sales, accept
an assignment of any such security in lieu of foreclosure, compromise or adjust any part of the Secured
Obligations, make any other accommodation with the Borrower or any other Loan Party or exercise any
other right or remedy available to them against the Borrower or any other Loan Party, without affecting or
impairing in any way the liability of any Guarantor hereunder except to the extent the Secured Obligations
have been paid in full in cash and/or such Guarantor has been subject to the termination or release of such
Guarantor’s obligations hereunder as expressly provided in Section 9.14. To the fullest extent permitted by
applicable law, each Guarantor waives any defense arising out of any such election even though such
election operates, pursuant to applicable law, to impair or to extinguish any right of reimbursement or
subrogation or other right or remedy of such Guarantor against the Borrower or any other Loan Party, as
the case may be, or any security.

                 SECTION 10.04         Reinstatement. Each Guarantor agrees that, unless released pursuant
to Section 9.14, its guarantee hereunder shall continue to be effective or automatically and immediately be
reinstated, as the case may be, if at any time payment, or any part thereof, of any Secured Obligations is
rescinded or must otherwise be restored by any Secured Party upon the bankruptcy or reorganization (or
any analogous proceeding in any jurisdiction) of the Borrower, any other Loan Party or otherwise.

                  SECTION 10.05         Agreement to Pay; Subrogation. In furtherance of the foregoing and
not in limitation of any other right that the Administrative Agent or any other Secured Party has at applicable
law or in equity against any Guarantor by virtue hereof, upon the failure of the Borrower or any other Loan
Party to pay any Secured Obligation when and as the same shall become due, whether at maturity, by
acceleration, after notice of prepayment or otherwise, each Guarantor hereby promises to and will forthwith
pay, or cause to be paid, to the Administrative Agent for distribution to the applicable Secured Parties, in
cash the amount of such unpaid Secured Obligation. Upon payment by any Guarantor of any sums to the
Administrative Agent as provided above, all rights of such Guarantor against the Borrower or any other
Loan Party arising as a result thereof by way of right of subrogation, contribution, reimbursement,
indemnity or otherwise shall in all respects be subject to Sections 10.08, 10.09 and 10.10.

                  SECTION 10.06        Information. Each Guarantor assumes all responsibility for being and
keeping itself informed of the Borrower’s and each other Loan Party’s financial condition and assets, and
of all other circumstances bearing upon the risk of nonpayment of the Secured Obligations and the nature,
scope and extent of the risks that such Guarantor assumes and incurs hereunder, and agrees that none of the
Secured Parties will have any duty to advise such Guarantor of information known to it or any of them
regarding such circumstances or risks.

                 SECTION 10.07        [Reserved].

                SECTION 10.08       Indemnity and Subrogation. In addition to all such rights of indemnity
and subrogation as the Guarantors may have under applicable law (but subject to Section 10.10) in respect
of any payment hereunder, each Borrower agrees that (a) in the event a payment in respect of any obligation
of any Borrower shall be made by any Guarantor (other than a Borrower in respect of its own obligations)
under this Agreement, the Borrower shall indemnify such Guarantor for the full amount of such payment
and such Guarantor shall be subrogated to the rights of the Person to whom such payment shall have been


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made to the extent of such payment and (b) in the event any assets of any Guarantor (other than a Borrower
in respect of its own obligations) shall be sold pursuant to any Security Document to satisfy in whole or in
part any Secured Obligations owed to any Secured Party, the Borrower shall indemnify such Guarantor in
an amount equal to the greater of the book value or the fair market value of the assets so sold.

                 SECTION 10.09        Contribution and Subrogation. Each Guarantor (a “Contributing
Party”) agrees (subject to Section 10.10) that, in the event a payment shall be made by any other Guarantor
hereunder in respect of any Secured Obligations (other than payments made by a Borrower with respect to
its own obligations) or assets of any other Guarantor (other than a Borrower in satisfaction of its own
obligations) shall be sold pursuant to any Security Document to satisfy any Secured Obligation owed to
any Secured Party and such other Guarantor (the “Claiming Party”) shall not have been fully indemnified
as provided in Section 10.07, the Contributing Party shall indemnify the Claiming Party in an amount equal
to the amount of such payment or the greater of the book value or the fair market value of such assets, as
the case may be, in each case multiplied by a fraction of which the numerator shall be the net worth of the
Contributing Party on the date hereof (or, in the case of any Guarantor becoming a party hereto pursuant to
Section 5.11, the date of a joinder executed and delivered by such Guarantor) and the denominator shall be
the aggregate net worth of all the Guarantors on the date hereof (or, in the case of any Guarantor becoming
a party hereto pursuant to Section 5.11, such other date). Any Contributing Party making any payment to a
Claiming Party pursuant to this Section 10.09 shall be subrogated to the rights of such Claiming Party under
Section 10.08 to the extent of such payment.

                 SECTION 10.10        Subordination.

                 (a)     Notwithstanding any provision of this Agreement to the contrary, all rights of the
Guarantors under Sections 10.08 and 10.09 and all other rights of the Guarantors of indemnity, contribution
or subrogation under applicable law or otherwise shall be fully subordinated to the payment in full in cash
of all the Secured Obligations to the extent set forth in Section 10.10(b). No failure on the part of the
Borrower or any Guarantor to make the payments required by Sections 10.08 and 10.09 (or any other
payments required under applicable law or otherwise) shall in any respect limit the obligations and liabilities
of any Guarantor with respect to its obligations hereunder, and each Guarantor shall remain liable for the
full amount of the obligations of such Guarantor hereunder.

                 (b)     Each Guarantor hereby agrees that upon the occurrence and during the continuance
of an Event of Default, all Indebtedness and other monetary obligations owed by it to, or to it by, any other
Guarantor or any other Subsidiary shall be fully subordinated to the payment in full in cash of all the
Secured Obligations, and any such Indebtedness collected or received by such Guarantor after an Event of
Default has occurred and continuing shall be held in trust for the Administrative Agent on behalf of the
Secured Parties and shall forthwith be paid over to the Administrative Agent for the benefit of the Secured
Parties to be credited and applied against the Secured Obligations, but without affecting, impairing or
limiting in any manner the liability such Guarantor under any other provision hereof.


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         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by
their respective authorized officers as of the date first above written.


BORROWER:                                    FRANCHISE GROUP, INC.


                                             By: ____________________________
                                             Name:
                                             Title:

                                             FRANCHISE GROUP NEWCO PSP, LLC


                                             By:
                                             Name:
                                             Title:

                                             FRANCHISE GROUP NEWCO INTERMEDIATE
                                             AF, LLC


                                             By:
                                             Name:
                                             Title:

                                             VALOR ACQUISITION, LLC


                                             By:
                                             Name:
                                             Title:

GUARANTORS:                                 VITAMIN SHOPPE INDUSTRIES LLC


                                             By:
                                             Name:
                                             Title:

                                             AMERICAN FREIGHT GROUP, LLC


                                             By:
                                             Name:
                                             Title:




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                                PET SUPPLIES “PLUS”, LLC


                                By:
                                Name:
                                Title:

                                VITAMIN SHOPPE MARINER, LLC


                                By:
                                Name:
                                Title:

                                VITAMIN SHOPPE GLOBAL, LLC


                                By:
                                Name:
                                Title:

                                VITAMIN SHOP FLORIDA, LLC


                                By:
                                Name:
                                Title:

                                BETANCOURT SPORTS NUTRITION, LLC


                                By:
                                Name:
                                Title:

                                VITAMIN SHOPPE PROCUREMENT SERVICES,
                                LLC


                                By:
                                Name:
                                Title:

                                VITAMIN SHOPPE FRANCHISING, LLC


                                By:
                                Name:
                                Title:




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                                FRANCHISE GROUP INTERMEDIATE HOLDCO,
                                LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE S, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT HOLDINGS, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT MANAGEMENT
                                COMPANY, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT OUTLET STORES, LLC


                                By:
                                Name:
                                Title:

                                HOME & APPLIANCE OUTLET, LLC


                                By:
                                Name:
                                Title:



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                                FRANCHISE GROUP NEWCO S, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT FRANCHISING, LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT FRANCHISOR, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP NEW HOLDCO, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE V, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP NEWCO V, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE B, LLC


                                By:
                                Name:
                                Title:




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                                BUDDY’S NEWCO, LLC


                                By:
                                Name:
                                Title:

                                BUDDY’S FRANCHISING AND LICENSING LLC


                                By:
                                Name:
                                Title:

                                AMERICAN FREIGHT FFO, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP ACQUISITION TM, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE PSP, LLC


                                By:
                                Name:
                                Title:

                                PSP MIDCO, LLC


                                By:
                                Name:
                                Title:

                                PSP GROUP, LLC


                                By:
                                Name:
                                Title:




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                                PSP SERVICE NEWCO, LLC


                                By:
                                Name:
                                Title:

                                PSP STORES, LLC


                                By:
                                Name:
                                Title:

                                PSP SUBCO, LLC


                                By:
                                Name:
                                Title:

                                PSP FRANCHISING, LLC


                                By:
                                Name:
                                Title:

                                PSP DISTRIBUTION, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE BHF, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP NEWCO BHF, LLC


                                By:
                                Name:
                                Title:




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                                FRANCHISE GROUP INTERMEDIATE SL, LLC,


                                By:
                                Name:
                                Title:


                                FRANCHISE GROUP NEWCO SL, LLC


                                By:
                                Name:
                                Title:

                                EDUCATE, INC.


                                By:
                                Name:
                                Title:

                                FREEDOM VCM HOLDINGS, LLC


                                By:
                                Name:
                                Title:

                                FREEDOM VCM, INC.


                                By:
                                Name:
                                Title:

                                FREEDOM VCM INTERCO, INC.


                                By:
                                Name:
                                Title:

                                FREEDOM VCM INTERCO HOLDINGS, INC.


                                By:
                                Name:
                                Title:



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                                FREEDOM VCM RECEIVABLES, INC.


                                By:
                                Name:
                                Title:

                                FREEDOM RECEIVABLES II, LLC


                                By:
                                Name:
                                Title:

                                FRANCHISE GROUP INTERMEDIATE L, LLC


                                By:
                                Name:
                                Title:

                                WNW FRANCHISING, LLC


                                By:
                                Name:
                                Title:

                                WNW STORES, LLC


                                By:
                                Name:
                                Title:




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                                WILMINGTON TRUST, NATIONAL
                                ASSOCIATION, as Administrative Agent and
                                Collateral Agent


                                By: ____________________________
                                Name:
                                Title:




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                                JEFFRIES CAPITAL SERVICES, LLC, as a Lender


                                By: ____________________________
                                Name:
                                Title:




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                          Exhibit 2

                    Syndication Procedures

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                        Exhibit 3

                      Initial Budget
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Franchise Group, Inc.
13-wk Cash Flow Forecast



($ in millions)                                                                                                    Post Petition
Week:                                                1             2          3          4         5          6          7          8         9            10           11           12           13               0
Type:                                              Fcst          Fcst       Fcst       Fcst      Fcst       Fcst       Fcst       Fcst      Fcst          Fcst         Fcst         Fcst         Fcst              0
Period Starting                                  11/2/2024    11/9/2024 11/16/2024 11/23/2024 11/30/2024 12/7/2024 12/14/2024 12/21/2024 12/28/2024    1/4/2025     1/11/2025    1/18/2025    1/25/2025    13-Weeks
Period Ending:                                   11/8/2024    11/15/2024 11/22/2024 11/29/2024 12/6/2024 12/13/2024 12/20/2024 12/27/2024 1/3/2025     1/10/2025    1/17/2025    1/24/2025    1/31/2025      Fcst

Total Operating Receipts                              62.3         66.4       64.9       61.9      63.7         65.9     61.9       57.8       50.6         50.2         45.8         44.9         49.4       745.7

Total Operating Disbursements                        (31.3)       (75.6)     (67.6)     (57.4)     (60.3)      (39.1)   (51.2)     (47.0)     (56.1)       (42.7)       (36.9)       (52.8)       (61.3)      (679.3)

Net Operating Cash Flow                               31.0         (9.2)      (2.7)       4.6        3.3        26.9     10.6       10.8       (5.5)         7.4          8.9         (7.8)       (11.9)       66.4

Non Operating Disbursements
  Debt Service                                        (0.1)        (0.1)      (0.7)      (0.2)      (0.1)         -        -        (0.2)      (0.2)        (0.1)       (21.2)        (0.6)        (0.3)       (23.7)
  AF Liquidator Fees                                    -            -        (0.1)      (0.2)      (0.3)       (0.3)    (0.3)      (0.3)      (0.4)        (0.6)          -            -            -          (2.4)
  Other Expenses                                      (0.5)        (1.8)        -          -          -           -        -          -          -            -            -            -            -          (2.3)
Total Non Operating Disbursements                     (0.6)        (1.9)      (0.9)      (0.4)      (0.3)       (0.3)    (0.3)      (0.5)      (0.6)        (0.7)       (21.2)        (0.6)        (0.3)       (28.4)

Total Disbursements Prior to Professional Fees       (31.9)       (77.5)     (68.4)     (57.8)     (60.7)      (39.4)   (51.5)     (47.5)     (56.6)       (43.4)       (58.1)       (53.4)       (61.6)      (707.6)

  Professional Fees                                   (2.3)        (2.1)      (2.3)      (2.3)      (6.1)       (1.8)    (1.9)      (1.9)      (1.8)        (4.4)        (1.8)        (1.8)        (1.7)       (32.1)

Total Disbursements                                  (34.1)       (79.6)     (70.7)     (60.1)     (66.8)      (41.1)   (53.4)     (49.4)     (58.4)       (47.8)       (59.9)       (55.2)       (63.3)      (739.7)

Net Cash Flow                                         28.2        (13.2)      (5.8)       1.9       (3.1)       24.8      8.5        8.4       (7.8)         2.4        (14.1)       (10.3)       (13.9)         6.0

BOP Cash Balance                                      14.3        165.5      146.3     126.5      125.4        115.2    131.1      127.5     179.0         170.2        174.6        160.5        150.2        14.3
 Net Cash Flow                                        28.2        (13.2)      (5.8)      1.9       (3.1)        24.8      8.5        8.4      (7.8)          2.4        (14.1)       (10.3)       (13.9)        6.0
  DIP New Money Draw                                 125.0           -          -         -          -            -        -        50.0        -             -            -            -            -        175.0
  (Funding)/Draw of GOB Proceeds Escrow               (2.0)        (6.0)     (14.0)     (3.0)      (7.0)        (9.0)   (12.0)      (7.0)     (1.0)          2.0           -            -            -        (59.0)
EOP Cash Balance                                     165.5        146.3      126.5     125.4      115.2        131.1    127.5      179.0     170.2         174.6        160.5        150.2        136.3       136.3
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                                                            Exhibit 4
 Priority   DIP Collateral that constitutes   DIP Collateral that constitutes   Unencumbered Property           Claims
            ABL Priority Collateral or that   Term Loan Priority Collateral
             would otherwise constitute          or that would otherwise
              ABL Priority Collateral         constitute Term Loan Priority
                                                         Collateral
First       Carve Out and                     Carve Out and                     Carve Out               Carve Out
            Permitted Prior Liens             Permitted Prior Liens
Second      ABL Adequate Protection Liens     DIP Liens                         DIP Liens               DIP Superpriority Claims
Third       Prepetition ABL Liens             First Lien Adequate               First Lien Adequate     First Lien Adequate
                                              Protection Liens                  Protection Liens and    Protection Claims and
                                                                                ABL Adequate            ABL Adequate
                                                                                Protection Liens        Protection Claims
Fourth      DIP Liens                         Prepetition First Lien Liens      Second Lien Adequate    Second Lien Adequate
                                                                                Protection Liens and    Protection Claims and
                                                                                Second Lien Sidecar     Second Lien Sidecar
                                                                                Adequate Protection     Adequate Protection
                                                                                Liens                   Claims
Fifth       First Lien Adequate Protection    Prepetition Second Lien Liens
            Liens                             and
                                              Prepetition Second Lien
                                              Sidecar Liens

Sixth       Prepetition First Lien Liens      Second Lien Adequate
                                              Protection Liens and
                                              Second Lien Sidecar
                                              Adequate Protection Liens
Seventh     Second Lien Adequate              ABL Adequate Protection
            Protection Liens and              Liens
            Second Lien Sidecar Adequate
            Protection Liens
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Eighth   Prepetition Second Lien Liens   Prepetition ABL Liens
         and
         Prepetition Second Lien Sidecar
         Liens
